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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA
                              WEST PALM BEACH DIVISION


   M.C.C. a minor, by and with his parent and
   natural guardian, WALQUIRIA CASSINI,
                                                CIVIL ACTION NO. __________
               Plaintiff,

   v.
                                                COMPLAINT AND JURY DEMAND
   JUUL LABS, INC., previously d/b/a as PAX
   LABS, INC. and PLOOM INC.; ALTRIA
   GROUP, INC.; ALTRIA GROUP
   DISTRIBUTION COMPANY; ALTRIA
   CLIENT SERVICES LLC; PHILIP
   MORRIS USA, INC.; ALTRIA
   ENTERPRISES LLC; JAMES MONSEES;
   ADAM BOWEN; NICHOLAS PRITZKER;
   HOYOUNG HUH; RIAZ VALANI;
   MOTHER MURPHY’S LABS, INC.;
   ALTERNATIVE INGREDIENTS, INC.;
   TOBACCO TECHNOLOGY, INC.;
   ELIQUITECH, INC.; MCLANE
   COMPANY, INC.; EBY-BROWN
   COMPANY, LLC; and CORE-MARK
   HOLDING COMPANY, INC.

               Defendants.




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          Plaintiff M.C.C., by and with his parent and natural guardian, Walquiria Cassini, by and

  through their undersigned counsel, brings this Complaint against Defendants JUUL Labs, Inc.,

  previously d/b/a as Pax Labs, Inc. and Ploom Inc.; Altria Group, Inc.; Philip Morris USA, Inc.;

  Altria Client Services, LLC; Altria Group Distribution Company; and Altria Enterprises LLC

  (hereinafter “JUUL Defendants”); James Monsees; Adam Bowen; Nicholas Pritzker; Hoyoung

  Huh; and Riaz Valani (hereinafter “Management Defendants”); Mother Murphy’s Labs, Inc.;

  Alternative Ingredients, Inc.; Tobacco Technology, Inc.; eLiquitech, Inc.. (hereinafter

  “Manufacturing Defendants”); McLane Company, Inc.; Eby-Brown Company, LLC; and Core-

  Mark Holding Company, Inc. (hereinafter “Distributor Defendants”); and alleges as follows:

  I.      INTRODUCTION

          1.      Plaintiff M.C.C. is a victim of Defendants’ orchestrated efforts to addict a new

  generation of teenagers to nicotine. Although he is only 16 years old, Plaintiff has already

  developed a severe nicotine addiction through his use of the JUUL, an electronic nicotine delivery

  system (ENDS) or e-cigarette. This extreme addiction, particularly in his vulnerable, developing

  brain, has resulted in a permanent brain injury. Defendants’ wrongful conduct in marketing,

  promoting, manufacturing, designing, and selling JUUL substantially contributed to Plaintiff’s

  life-altering injuries.

          2.      The battle to end nicotine addiction and its associated diseases and death has

  consumed our nation’s public health resources for more than half a century. After five decades of

  tireless efforts by public health advocates, litigators, and regulators, the war on tobacco was on the

  path to victory. By 2014, rates of smoking and nicotine addiction in this country were finally at an

  all-time low, particularly among teenagers – until now. The United States, closer than ever to

  consigning the nicotine industry to the dustbin of history, now faces a youth nicotine epidemic of



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  historic proportions. The swift rise in a new generation of nicotine addicts has overwhelmed

  parents, schools, and the medical community, drawing governmental intervention at nearly every

  level—but it’s too little, too late.

          3.      This public health crisis is no accident. What had been lauded as progress in curbing

  cigarette use, JUUL LABS INC.’S (JLI) co-founders ADAM BOWEN and JAMES MONSEES

  viewed as opportunity. Seizing on the decline in cigarette consumption and the lax regulatory

  environment for e-cigarettes, BOWEN, MONSEES, and investors in their company sought to

  introduce nicotine to a whole new generation, with JLI as the dominant supplier. To achieve that

  common purpose, they knew they would need to create and market a product that would make

  nicotine cool again, without any of the stigma associated with cigarettes. With help from their

  early investors and board members, who include NICOLAS PRITZKER, HUYOUNG HUH, and

  RIAZ VALANI (together, the “MANAGEMENT DEFENDANTS”), they succeeded in hooking

  millions of youth, intercepting millions of adults trying to overcome their nicotine addictions, and,

  of course, earning billions of dollars in profits.

          4.      Every step of the way, JLI, by calculated intention, adopted the cigarette industry’s

  playbook, in coordination with one of that industry’s innovators, cigarette giant ALTRIA. JLI was

  created in the image of the iconic American cigarette companies, which JLI founders praised for

  creating “the most successful consumer product of all time. . . . an amazing product.” The secret

  to that “amazing product”? Nicotine, a chemical that has deleterious effects on the developing

  brains of youths, and is the fundamental reason that people persist in using tobacco products posing

  the risk of pulmonary injuries, cardiovascular disease and other serious, often fatal, conditions.

  Through careful study of decades of cigarette industry documents, JLI knew that the key to

  developing and sustaining addiction was the amount and the efficiency of the nicotine delivery.



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         5.      Three tactics were central to decades of cigarette industry market dominance:

  product design to maximize addiction; mass deception; and targeting of youth. JLI and its co-

  conspirators adopted and mastered them all. First, JLI and BOWEN designed JUUL products to

  create and sustain addiction, not break it. JLI and BOWEN were the first to design an e-cigarette

  that could compete with combustible cigarettes on the speed and strength of nicotine delivery.

  Indeed, JUUL products use nicotine formulas and delivery methods much stronger than

  combustible cigarettes, confirming that what JLI and BOWEN designed was a starter product, not

  a cessation or cigarette replacement product. JLI and BOWEN also innovated by making an e-

  cigarette that was smooth and easy to inhale, practically eliminating the harsh “throat hit,” which

  otherwise deters nicotine consumption, especially among nicotine “learners,” as R.J. Reynolds’

  chemist Claude Teague called new addicts, primarily young people.

         6.      Second, JLI, the MANAGEMENT DEFENDANTS and ALTRIA engaged in a

  campaign of deceit, through sophisticated mass media and social media communications,

  advertisements and otherwise, about the purpose and dangers of JUUL products. JUUL products’

  packaging and advertising grossly understates the nicotine content in its products. Advertising

  campaigns featured JUUL paired with food and coffee, positioning JUUL as part of a healthy meal,

  a normal part of a daily routine, and as safe as caffeine. In partnership with ALTRIA, JLI adopted

  a “Make the Switch” campaign to mislead consumers into thinking that JLI products were benign

  smoking cessation devices, even though JUUL was never designed to break addictions. JLI, the

  MANAGEMENT DEFENDANTS, and ALTRIA also concealed the results of studies that

  revealed that JUUL products were far more powerfully addictive than was disclosed. JLI’s

  deceptive marketing scheme was carried out across the country through broad distribution

  channels: veteran cigarette industry wholesalers, distributors and retailers ensured that JUUL



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  products would become widely available to a new market of nicotine-newcomers, especially

  youth. JLI and the MANAGEMENT DEFENDANTS joined with these veteran cigarette industry

  marketers to secure premium shelf space for vivid displays at convenience stores, like 7-11, and

  gas stations, including Chevron, that would lure e-cigarette users, young and old, who would

  become long-term customers. These marketing efforts have been resounding successes—when

  JUUL products were climbing in sales, most adults and youth believed that e-cigarettes did not

  contain nicotine at all.

          7.      Third, JLI and the MANAGEMENT DEFENDANTS, just like cigarette companies

  before them, targeted kids as their customer base. JUUL products were designed to appear slick

  and high-tech like a cool gadget, including video-game-like features like “party mode.” JLI

  offered kid-friendly flavors like mango and cool mint and partnered with ALTRIA to create and

  preserve the market for mint-flavored products—all because Defendants knew that flavors get

  young people hooked. Under the guise of youth smoking prevention, JLI sent representatives

  directly to schools to study teenager e-cigarette preferences.

          8.      JLI and the MANAGEMENT DEFENDANTS reached their intended demographic

  through a diabolical pairing of notorious cigarette company advertising techniques (long banned

  for cigarettes because they cause young people to start smoking) with cutting-edge viral marketing

  campaigns and social media. They hired young models and advertised using bright, “fun” themes,

  including on media long barred to the cigarette industry, such as billboards, on children’s websites

  such as “Nick Junior” and Cartoon Network, and on websites providing games and educational

  tools to students in middle school and high school. JLI and the MANAGEMENT DEFENDANTS

  also employed young social-media “influencers” and celebrities popular with teenagers. When

  regulators and Congress caught onto JLI’s relentless focus on children, JLI and the



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  MANAGEMENT DEFENDANTS simply lied, even though they knew well that they had

  purposefully targeted youth in their marketing and those efforts had been breathtakingly

  successful. JUUL products are rampant in the nation’s schools, with the percentage of 12th graders

  who reported consuming nicotine almost doubling between 2017 and 2018. The Surgeon General

  has warned that this new “epidemic of youth e-cigarette use” could condemn a generation to “a

  lifetime of nicotine addiction and associated health risks.”

         9.      It should come as little surprise that JLI and the MANAGEMENT DEFENDANTS’

  misconduct, expressly patterned after decades of cigarette company practices, could not have been

  carried out without the involvement and expertise of an actual cigarette company. Well before

  ALTRIA announced its investment in JUUL, the connections between the two companies ran deep.

  JLI and ALTRIA collaborated to grow the e-cigarette market and the number of users addicted to

  nicotine, including by sharing data and information and coordinating marketing activities,

  including acquisition of key shelf space next to top-selling Marlboro cigarettes. ALTRIA’s

  investment in JLI is not merely a financial proposition, but a key element of Defendants’ plan to

  stave off regulation and keep their most potent and popular products on the market. JLI has

  benefitted from ALTRIA’s expertise in designing and marketing addictive products, and in

  thwarting regulation.

         10.     There is no doubt about it—JLI, the MANAGEMENT DEFENDANTS, ALTRIA,

  and their co-Defendants have created this public health crisis. At the heart of this disastrous

  epidemic are the concerted efforts of JLI, its co-conspirators, and all those in JUUL’s supply and

  distribution chain to continuously expand their market share and profits by preying upon a

  vulnerable young population and deceiving the public about the true nature of the products they

  were selling. Nicotine is not benign like coffee, contrary to what many JUUL users believe. Nor



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  is the aerosol as harmless as puffing room air. Worse, the flavors in JUUL products are themselves

  toxic and dangerous, and have never been adequately tested to ensure they are safe for inhalation.

  According to the most recent scientific literature, JUUL products cause acute and chronic

  pulmonary injuries, cardiovascular conditions, and seizures. Yet JUUL products and advertising

  contain no health risk warnings at all. Many smokers, believing that JUUL would help them “make

  the switch,” ended up only further trapped in their nicotine addiction. Older adults who switch to

  JUUL are more susceptible to cardiovascular and pulmonary problems, and CDC data shows that

  older patients hospitalized due to vaping lung related conditions had much longer hospital stays

  than younger patients. And a generation of kids is now hooked, ensuring long-term survival of the

  nicotine industry because, today just as in the 1950s, 90% of smokers start as children.


  II.    PARTIES


   A.     PLAINTIFF

         11.     Plaintiff, M.C.C., is 16 years old and is domiciled in Boca Raton, Florida.

         12.     Plaintiff was a resident of Florida during the entire period during which the events

  giving rise to this action occurred.

         13.     Beginning in or about August 2017, when he was approximately 13 years old,

  Plaintiff was exposed to JUUL’s advertising and promotional efforts while visiting his local gas

  station. He remembers these ads and remembers perceiving the product as harmless, yet intriguing.

  These ads and promotions made JUUL seem fun, healthy, and cool. He remembers that the ads

  were colorful and featured young people using JUUL, and the ads made it seem like JUUL was

  something he wanted to try.

         14.     Plaintiff first tried JUUL on or around August 2017 once the device became

  ubiquitous among his friends.

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          15.     Plaintiff regularly used and/or consumed JUUL products, including JUUL devices

   and JUULpods, between approximately October 2017 to Novembr 2019.

          16.     When he first began “JUULing”, Plaintiff was not aware of the dangers associated

   with the use of nicotine or the extent and severity of addiction it would cause.

          17.     Prior to using a JUUL, none of the advertisements or in-store promotions Plaintiff

   saw nor would have seen disclosed the nature or addiction risks of JUUL’s products, nor that JUUL

   was engineered to deliver nicotine to the bloodstream more rapidly and in greater quantities than

   a cigarette. Nor did they indicate that the JUUL was an age-restricted product and not safe for

   anyone under the age of 26.

          18.     When he first began “JUULing”, Plaintiff was not aware of the dangers associated

   with the use of nicotine or the extent and severity of addiction it would cause.

          19.     Prior to using a JUUL, none of the advertisements or in-store promotions Plaintiff

   saw nor would have seen disclosed the nature or addiction risks of JUUL’s products, nor that JUUL

   was engineered to deliver nicotine to the bloodstream more rapidly and in greater quantities than

   a cigarette. Nor did they indicate that the JUUL was an age-restricted product and not safe for

   anyone under the age of 26.

          20.     Plaintiff was attracted to and most often used JUUL’s mint and mango flavors, but

   during the course of his addiction he has tried most other JUUL flavors. Plaintiff quickly became

   severely addicted to nicotine from his use of JUUL, reaching the point of vaping over one

   JUULpod per day as a minor. Plaintiff now struggles to function without nicotine. As a result of

   his JUUL use, Plaintiff suffered from multiple injuries, including an exacerbated Asthma and a

   Pneumomediastrinum with subcutaneous emphysema. Without regular nicotine dosing, Plaintiff

   would also suffer from anxiousness, irritability, physical shaking and trouble sleeping. Plaintiff’s



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   severe addiction to the nicotine contained in the JUUL has also resulted in severe behavioral issues

   causing severe conflict in his personal relationships.

          21.     Plaintiff still struggles with this nicotine addiction and will continue to struggle

   with this addiction for the rest of his life. Plaintiff’s nicotine addiction from JUUL permanently

   injured and altered his developing brain and lungs. In addition to his severe nicotine addiction and

   brain injury, Plaintiff has suffered harm through his lung injury and exposure to significant toxic

   substances, which may cause or contribute to causing disease and future health problems.

          22.     Defendants’ conduct has harmed Plaintiff, his family, and his friends physically,

   emotionally, and financially.

          23.     Plaintiff seeks compensatory, treble, punitive damages, medical monitoring, and all

   such other relief arising from Plaintiff's personal injuries as the Court deems proper.

          24.     Defendants’ conduct described herein, preying on youth and poisoning kids for

   profit, is so outrageous in character and so extreme in degree as to go beyond all possible bounds

   of decency. Defendants’ conduct is atrocious and utterly intolerable. Defendants’ outrageous

   conduct caused and/or substantially contributed to Plaintiff’s injuries alleged herein.

    B.     DEFENDANTS

      1) THE JUUL DEFENDANTS
          25.     Defendant JUUL LABS, INC. (“JLI”) is a Delaware corporation, with its principal

   place of business in San Francisco, California. Ploom, Inc., a predecessor company to JLI, was

   incorporated in Delaware on March 12, 2007. In 2015, Ploom, Inc. changed its name to PAX

   Labs, Inc. In April 2017, PAX Labs, Inc. changed its name to JUUL Labs, Inc., and formed a new

   subsidiary corporation with its old name, PAX Labs, Inc. That new subsidiary, PAX Labs, Inc.

   (“PAX”), was incorporated in Delaware on April 21, 2017 and has its principal place of business

   in San Francisco, California.

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          26.     JLI, designs, manufactures, sells, markets, advertises, promotes and distributes

   JUUL e-cigarettes devices, JUUL Pods and accessories (collectively “JUUL or JUUL products”).

   Prior to the formation of separate entities PAX Labs, Inc. and JLI in or around April 2017, JLI

   designed, manufactured, sold, marketed, advertised, promoted, and distributed JUUL under the

   name PAX Labs, Inc.

          27.     Together with its predecessors, JUUL Labs Inc. is referred to herein as “JLI.”

          28.     Defendant ALTRIA GROUP, INC., (AGI”) is a Virginia corporation, with its

   principal place of business in Richmond, Virginia. AGI is one of the world’s largest producers and

   marketers of tobacco products, manufacturing and selling “traditional” cigarettes for more than a

   century. On December 20, 2018, AGI purchased a 35% stake in JLI. ALTRIA and JLI executed a

   Services Agreement that provides that AGI through its subsidiaries, would assist JLI in the selling,

   marketing, promoting, and distributing of JUUL, among other things.

          29.     Defendant PHILIP MORRIS USA, INC. (“Philip Morris”), is a wholly-owned

   subsidiary of AGI. Philip Morris is a Virginia corporation with its principal place of business in

   Richmond, Virginia. Philip Morris is the largest cigarette company in the United States. Marlboro,

   the principal cigarette brand of Philip Morris, has been the largest selling cigarette brand in the

   United States for over 40 years. Philip Morris performs direct marketing support services for JLI

   under the Services Agreement to assist JLI in selling, marketing and promoting JUUL. This has

   included, among other things, placing JUUL Product inserts in millions of packs of L&M,

   Parliament, and Marlboro cigarettes and utilizing Philip Morris’s extensive consumer market

   database for targeted direct marketing purposes.

          30.     Defendant ALTRIA ENTERPRISES LLC (“AE”) is a wholly-owned subsidiary of

   AGI. AE is a Virginia limited liability company with its principal place of business in Portsmouth,



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   Virginia. AE is a party to the purchase agreement between AGI and JLI. AE purchased ALTRIA’s

   stake in JLI on ALTRIA’s behalf.

          31.      Upon information and belief, all of the members of AE are employees of AGI or

   of entities wholly-owned by AGI, and none of these members are domiciled in the state of Florida,

   specifically:

                       a. Marcus Palmer, domiciled in Virginia; and

                       b. Edmond J. Cadieux, Jr., domiciled in Virginia.

          32.      Defendant ALTRIA GROUP DISTRIBUTION COMPANY (“AGDC”) is a

   wholly-owned subsidiary of AGI. AGDC is a Virginia corporation with its principal place of

   business in Richmond, Virginia. AGDC provides sales, distribution, and consumer engagement

   services to Altria’s companies, including JLI. AGDC states it “focuses on increasing efficiency

   and helping these companies better connect with adult tobacco consumers and strengthen

   relationships with thousands of retailers and wholesalers nationwide. AGDC designs and executes

   trade programs to grow Altria’s tobacco companies’ businesses and their customers’ businesses.”

          33.      Defendant ALTRIA CLIENT SERVICES LLC (“ACS”) is a wholly-owned

   subsidiary of AGI. ACS is a Virginia limited liability company which is domiciled in Richmond,

   Virginia. ACS promotes itself as providing the following services to its companies in a “financially

   disciplined way”: Advanced Analytics, Compliance, Consumer & Market Insights, Corporate

   Citizenship,    Digital   Marketing   Services,    Engineering,   Finance,    Investor   Relations,

   Communications, Government Affairs, Human Resources, Information Technology, Legal,

   Packaging Design & Innovation, Procurement, Product Development, Regulatory Affairs, Safety,

   Health and Environmental. Such services from ACS were made available to JLI by AGI.

          34.      Upon information and belief, all of the members of ACS are employees of AGI or



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   of wholly-owned entities of AGI and none of these members are domiciled in the state of Florida,

   including:

                      a. William “Billy” Gifford, domiciled in Virginia;

                      b. Theodore J. Edlich, domiciled in Virginia;

                      c. Neil A. Simmons, domiciled in Virginia; and

                      d. Scott D. Scofield, domiciled in Virginia.

          35.     AGI, Philip Morris, AE, AGDC, and ACS are referred jointly as the “ALTRIA

   DEFENDANTS” or “ALTRIA.”

          36.     Upon information and belief, the ALTRIA DEFENDANTS conducted meetings,

   interviews and inspections at the JLI facilities in San Francisco and engaged in frequent

   communications regarding JUUL with JLI in California and elsewhere prior to, during and

   subsequent to its stock purchase.

          37.     JLI and the ALTRIA DEFENDANTS are referred to jointly in the causes of action

   below as the “JUUL DEFENDANTS.”

      2) THE MANAGEMENT DEFENDANTS

          38.     JAMES MONSEES is a resident of the San Francisco Bay Area with a domicile in

   California. In 2007, he co-founded Ploom with ADAM BOWEN. Mr. MONSEES served as Chief

   Executive Officer of JLI until October 2015. Since October 2015, Mr. MONSEES has been Chief

   Product Officer of JLI. At all relevant times, he has been a member of the Board of Directors of

   JLI or its predecessors.

          39.     ADAM BOWEN is a resident of the San Francisco Bay Area with a domicile in

   California. In 2007, he co-founded Ploom with Mr. MONSEES. At all relevant times, Mr.

   BOWEN has been Chief Technology Officer and a member of the Board of Directors of JLI or its


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   predecessors.

           40.      NICHOLAS PRITZKER is a resident of San Francisco, California, with a domicile

   in California, and a member of the PRITZKER family, which owned the chewing-tobacco giant

   Conwood before selling it to Reynolds American, Inc., a subsidiary of British American Tobacco.

   PRITZKER received a J.D. from the University of Chicago. He served as president of the Hyatt

   Hotels Corporation and was a member of its Board of Directors from 1980 to 2007. More recently,

   Mr. PRITZKER co-founded Tao Capital, an early investor in, among other companies, Tesla

   Motors and Uber. In 2007, he invested in JLI.1 Based upon information and belief, Mr. PRITZKER

   served on the Board of Directors of JLI and its predecessors at relevant times and served on the

   Executive Committee of JLI’s Board of Directors, which acted to fraudulently market JUUL

   products to youth.

           41.      HOYOUNG HUH a Silicon Valley-based entrepreneur and investor. Dr. HUH is

   domiciled in California. Dr. HUH holds an M.D. from Cornell and a Ph.D. in Genetics/Cell

   Biology from Cornell/Sloan-Kettering. He has been CEO or a Board member of numerous

   biotechnology businesses, including Geron Corporation. Dr. HUH has been on the Board of

   Directors of JLI or its predecessors since at least June 2015. Based upon information and belief,

   Dr. HUH served on the Board of Directors of JLI and its predecessors at relevant times and served

   on the Executive Committee of JLI’s Board of Directors, which acted to fraudulently market JUUL

   products to youth.

           42.      RIAZ VALANI is based out of Silicon Valley, is domiciled in California, and is a

   general partner at Global Asset Capital, a San Francisco-based private equity investment firm.



   1
     Ainsley Harris, How JUUL went from a Stanford thesis to $16 billion startup, Fast Company (March 8, 2020
   4:11PM PST), https://www.fastcompany.com/90263212/how-JUUL-went-from-a-stanford-thesis-to-16-billion-
   startup

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   Based upon information and belief, Dr. HUH served on the Board of Directors of JLI and its

   predecessors at relevant times and served on the Executive Committee of JLI’s Board of Directors,

   which acted to fraudulently market JUUL products to youth.

          43.     MONSEES, BOWEN, PRITZKER, HUH, and VALANI are referred to jointly as

   the “MANAGEMENT DEFENDANTS.”

      3) THE E-LIQUID MANUFACTURING DEFENDANTS

          44.     Defendant MOTHER MURPHY’S LABS, INC. (“MOTHER MURPHY’S”) is a

   North Carolina corporation, with a principal place of business in Greensboro, North Carolina.

   Mother Murphy’s is in the business of manufacturing and supplying E-Liquids and the ingredients

   and additives in E-Liquids including the E-Liquid in JUUL.

          45.     Defendant ALTERNATIVE INGREDIENTS, INC. (“ALTERNATIVE”) is a

   wholly owned subsidiary of Mother Murphy’s. Alternative is a North Carolina corporation, having

   a principal place of business in Greensboro, North Carolina. Alternative is in the business of

   manufacturing and supplying E-Liquids, flavoring additives and raw ingredients in E-Liquids,

   including the E-Liquid in JUUL.

          46.     Defendant TOBACCO TECHNOLOGY, INC. (“TTI”) is a Maryland corporation,

   with a principal place of business in Eldersburg, Maryland. TTI is in the business of manufacturing

   and supplying E-Liquids, flavoring additives and raw ingredients in E-Liquids, including the E-

   Liquid in JUUL.

          47.     Defendant ELIQUITECH, INC. (“ELIQUITECH”) is a wholly-owned subsidiary

   of TTI. ELiquitech is a Maryland corporation, with a principal place of business in Eldersburg,

   Maryland. ELiquitech is in the business of manufacturing and supplying E-Liquids, flavoring

   additives and raw ingredients in E-Liquids, including the E-Liquid in JUUL.


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             48.     Mother Murphy's, Alternative, TTI, and ELiquitech, are referred to jointly as the

   “E-LIQUID MANUFACTURING DEFENDANTS.”

        4) DISTRIBUTOR DEFENDANTS

             49.     Defendant MCLANE COMPANY, INC. (“MCLANE”) is a Texas corporation with

   a principal place of business in Temple, Texas. McLane is a wholly owned subsidiary of Berkshire

   Hathaway.2

             50.     Defendant EBY-BROWN COMPANY, LLC (“EBY-BROWN”) is a Delaware

   limited liability company with its principal place of business in Naperville, Illinois. In 2019, Eby-

   Brown was acquired by Performance Food Group, Inc..

             51.     Upon information and belief, the managing member of EBY-BROWN is

   Performance Food Group, Inc., a Colorado corporation with its principal place of business in

   Richmond, Virginia.

             52.     Defendant CORE-MARK HOLDING COMPANY, INC. (“CORE-MARK”) is a

   Delaware corporation. From 2015-2018, Core-Mark’s principal place of business was San

   Francisco, California. As of 2019, Core-Mark’s principal place of business is in Westlake, Texas.

             53.     McLane, Eby-Brown and Core-Mark will be referred to jointly as the

   “DISTRIBUTOR DEFENDANTS.”

             54.     The JUUL DEFENDANTS, the MANAGEMENT DEFENDANTS, the E-LIQUID

   MANUFACTURING DEFENDANTS, and the DISTRIBUTOR DEFENDANTS are jointly and

   collectively referred to as “DEFENDANTS.”

   III.      JURISDICTION AND VENUE

             55.     This Court has jurisdiction over this action pursuant to 28 U.S.C § 1332, because


   2
       https://www.mclaneco.com/content/mclaneco/en/home.html.

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   the amount in controversy as to the Plaintiff exceeds $75,000, exclusive of interest and costs, and

   because there is complete diversity of citizenship between the Plaintiff and Defendants.

          56.     United States District Court Southern District of Florida, West Palm Beach

   Division has specific personal jurisdiction over Defendants because this action arises out of and

   relates to Defendants’ contacts with that forum.

          57.     Defendants are registered to do business in the District and State of Florida.

   Defendants directed the JUUL product through the stream of commerce into that District.

   Defendants have advertised and marketed within that District through sales representatives,

   through the wires and mails, and via e-commerce websites through which residents of Florida and

   that District can purchase JUUL products.

          58.     As depicted below, the website for JUUL Labs, Inc., is directed to consumers in

   that District and includes a “store locator” feature that directs consumers in that District to local

   JUUL retailers based on zip code or location name:




          59.     Thus, these Defendants knowingly direct electronic activity into Florida and that



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   District with the intent to engage in business interactions and they have in fact engaged in such

   interactions.

            60.     Defendants sold JUUL products to retailers in that District for the purpose of

   making them available for purchase by consumers, including Plaintiff, in that District.

            61.     Defendants have done substantial business, have committed a tort in whole or in

   part, have substantial and continuing contact with, and derive substantial revenue from goods used

   and consumed within the State of Florida and throughout the United States. The Defendants

   actively sell, market, and promote their JUUL products to consumers, including minors, teens, and

   young adults, throughout the United States, including the State of Florida.

            62.     Venue is proper in the Southern District of Florida, West Palm Beach Division,

   pursuant to 28 U.S.C. § 1391, because a substantial part of the events or omissions giving rise to

   the claims occurred in Florida, and because Defendants conduct substantial business in Florida.

   IV.      FACTUAL ALLEGATIONS


       A.   Each Defendant Was Instrumental in Seeking to Develop and Market the
            Blockbuster Sequel to Combustible Cigarettes, the “Most Successful Consumer
            Product of All Time.”

            63.     JLI’s co-founder JAMES MONSEES has described the cigarette as “the most

   successful consumer product of all time. . . an amazing product.”3 In 1965, 42% of adults smoked

   cigarettes. This statement, which ignores the fact that cigarettes have caused more deaths than any

   other human invention, contained a kernel of truth. When U.S. smoking rates peaked in the mid-

   1960s, cigarettes were everywhere; people smoked on airplanes, in movie theatres, at the office,

   and at sports games. Movie stars and sports heroes smoked. Cigarette advertising wallpapered


   3
    Kathleen Chaykowski, Billionaires-to-be: Cigarette Breakers–JAMES MONSEES and Adam BOWEN Have
   Cornered the US E-Cigarette Market with Juul. Up Next: The World, Forbes India (Sept. 27, 2018, 3:10:35 PM
   IST), www.forbesindia.com/article/leaderboard/billionairestobe-cigarette-breakers/51425/1.
   https://socialunderground.com/2015/01/pax-ploom-origins-future-james-MONSEES/.

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   American life, glamorizing smoking as sophisticated, cool, and the thing to do.

           64.     But in reality, of course, this “successful” product has long been the world’s leading

   cause of preventable death.

           65.     Citing “some problems” inherent in the cigarette, MONSEES and JLI co-founder

   ADAM BOWEN set out to “deliver[] solutions that refresh the magic and luxury of the tobacco

   category.”4 MONSEES saw “a huge opportunity for products that speak directly to those

   consumers who aren’t perfectly aligned with traditional tobacco products.”5 Successfully

   capitalizing on this opportunity would mean not only billions of dollars in short-term revenue but

   lucrative acquisition by a cigarette industry power player.

           66.     BOWEN and MONSEES capitalized on that opportunity by deliberately creating

   an extremely potent nicotine product that looked nothing like cigarettes. But achieving widespread

   adoption of their highly addictive product required resources and expertise beyond those possessed

   by BOWEN, MONSEES or others at JLI.

           67.     When it became clear that BOWEN and MONSEES could not achieve their vision

   of growing the number of nicotine-addicted e-cigarette users to ensure a base of customers for life

   through JLI themselves, the MANAGEMENT DEFENDANTS planned a fundamental shift in

   roles to allow PRITZKER, HUH, and VALANI to direct and take control of JLI and use it to

   commit Defendants’ most problematic acts.

           68.     Specifically, in October 2015, MONSEES stepped-down from his role as Chief

   Executive Officer of JLI (to become Chief Product Officer) and, in his stead, PRITZKER, HUH,

   and VALANI formed an Executive Committee of the JLI Board of Directors that would take



   4
     Josh Mings, Ploom Model Two Slays Smoking With Slick Design and Heated Tobacco Pods, Solid Smack (Apr. 23,
   2014), www.solidsmack.com/ design/ploom-modeltwo-slick-design-tobacco-pods/.
   5
     Id.

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   charge of fraudulently marketing JUUL products, including to youth.

          69.     Before installation of, TYLER GOLDMAN as JLI’s new CEO in August 2016,

   Defendants PRITZKER, HUH, and VALANI used their newly formed Executive Committee to

   expand the number of addicted e-cigarette users through fraudulent advertising and representations

   to the public. They cleaned house at JLI by “dismiss[ing] other senior leaders and effectively

   tak[ing] over the company.”6

          70.     But the MANAGEMENT DEFENDANTS could not create a massive market for

   JUUL on their own; they needed an ally that knew the business. They turned to THE ALTRIA

   DEFENDANTS in the Spring of 2017. While Defendants JLI, BOWEN, MONSEES, HUH, and

   VALANI are relative newcomers to the tobacco industry, THE ALTRIA DEFENDANTS have

   been manufacturing and selling “combustible” cigarettes for more than a century. And Defendant

   PRITZKER, for his part, has been long familiar with the tobacco industry from his family's

   ownership of chewing-tobacco giant Conwood before selling it to Reynolds American, Inc., a

   subsidiary of British American Tobacco. Notwithstanding their different histories, JLI and the

   MANAGEMENT DEFENDANTS, for their part, invited THE ALTRIA DEFENDANTS into the

   fold as an ally with ample resources to further expand the market of nicotine-addicted e-cigarette

   users and to keep litigation and regulation at bay. While JLI, MONSEES, and BOWEN publicly

   claimed to be out to “disrupt” the industry, they and the other privately negotiated and ultimately

   relinquished a 35% ownership stake in the company to a cigarette giant.

          71.     Cigarette companies have long known that profitable growth requires a pipeline of

   “replacement” customers. ALTRIA, after decades of tobacco litigation and regulation, had little




    6
      Julie Creswell & Sheila Kaplan, How Juul Hooked a Generation on Nicotine, N.Y. Times (Nov. 24, 2019),
    https://www.nytimes.com/2019/11/23/health/juul-vaping-crisis.html.


                                                     21
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   ability to recruit new smokers in the ways that had driven PHILIP MORRIS’ success through most

   of the 1900s. In 2017, ALTRIA’s combustible cigarette products were facing increasing regulatory

   pressures. In late July 2017, ALTRIA’s stock value plummeted shortly after the FDA announced

   that it would reduce the amount of nicotine allowed in cigarettes with an eye toward reaching non-

   addictive levels.7 In late 2017, ALTRIA, and other major cigarette companies, also finally

   complied with a consent decree from the 1990s tobacco litigation that required them to issue

   corrective advertising statements that highlighted the addictiveness and health impacts of smoking

   cigarettes.

           72.      Due in large part to this litigation and regulation, cigarette use has been declining

   in the United States in the last decade, especially among youth.8 ALTRIA estimates that the

   cigarette industry declined by 4% in 2017 and by 4.5% in 2018, and it predicted a continued 4%

   to 5% decline in the average annual U.S. cigarette industry volume for 2019 through 2023.9

   ALTRIA later adjusted the estimated rate of decline to 4% to 6%, to reflect efforts to increase the

   legal age for cigarette smoking to 21.10

           73.      ALTRIA’s own efforts at marketing an e-cigarette product had, however, proven

   largely unsuccessful. ALTRIA had launched the MarkTen product nationwide in 2014 with an

   aggressive marketing campaign, eclipsing the advertising expenditures for the market leader at




   7
     See Dan Caplinger, ALTRIA Group in 2017: The Year in Review, The Motley Fool (Dec. 18, 2017),
   https://www.fool.com/investing/2017/12/18/ALTRIA-group-in-2017-the-year-in-review.aspx.
   8
     Current Cigarette Smoking Among Adults In the United States, CDC,
   https://www.cdc.gov/tobacco/data_statistics/fact_sheets/adult_data/cig_smoking/index.htm (last visited February 10,
   2020); Youth and Tobacco Use, CDC,
   https://www.cdc.gov/tobacco/data_statistics/fact_sheets/youth_data/tobacco_use/index.htm (last visited February
   10, 2020).
   9
     ALTRIA’s Fourth-Quarter 2018 Earnings Conference Call, ALTRIA (Jan. 31, 2019),
   http://investor.ALTRIA.com/Cache/1001247877.PDF?O=PDF&T=&Y=&D=&FID=1001247877&iid=4087349.
   10
      ALTRIA Shares Slide As Cigarette Sales Continue to Decline, Tobacco Bus. (July 31, 2019),
   https://tobaccobusiness.com/ALTRIA-shares-slide-as-cigarette-sales-continue-to-decline/.

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   that time, blu e-cigarettes.11 Of the $88.1 million spent on e-cigarette advertising in 2014, nearly

   40% of that was ALTRIA’s MarkTen campaign, at $35 million.12 ALTRIA was clear in its intent

   to dominate the e-cigarette market as it has the combustible cigarette market: “We are the market

   leader today and we will continue to be,” then-CEO Marty Barrington told investors at the time of

   MarkTen’s launch.13 The original MarkTen was a “cigalike,” designed to mimic the look and feel

   of a combustible cigarette. ALTRIA had also been acquiring small companies in the vaping

   industry, starting in 2014 with Green Smoke, Inc., whose e-cigarettes were also the “cigalike”

   style, and were sold in flavors including “Vanilla Dreams” and “Smooth Chocolate.”14 In 2016,

   ALTRIA acquired a vape product called Cync, from Vape Forward.15 Cync is a small vapor device

   that uses prefilled pods in a variety of flavors, similar to the JUUL.

           74.      In February 2017, ALTRIA told investors at the 2017 Consumer Analyst Group of

   New York (CAGNY) Conference that over the past year, “Nu Mark LLC (Nu Mark) made

   excellent progress toward its long-term aspiration of becoming a leader in e-vapor.”16 In his

   remarks, ALTRIA’s current CEO, Howard A. Willard III, said, “Nu Mark, our e-vapor company,

   had a very strong year. It made excellent progress toward establishing MarkTen as a leading brand

   in the category, continued to improve its supply chain, and took the necessary steps to comply with


   11
       Jennifer Cantrell et al., Rapid increase in e-cigarette advertising spending as ALTRIA’s MarkTen enters the
   marketplace, Tobacco Control 25 (10) (2015), http://dx.doi.org/10.1136/tobaccocontrol-2015-052532.
   12
      Id.
   13
       Melissa Kress, MarkTen National Rollout Hits 60,000 Stores, Convenience Store News (July 22, 2014),
   https://csnews.com/markten-national-rollout-hits-60000-stores.
   14
        Mike Esterl, ALTRIA To Launch MarkTen E-Cigarette Nationally, Wall St. J. (Feb. 19, 2014),
   https://www.wsj.com/articles/ALTRIA-to-launch-markten-e-cigarette-nationally-1392832378; Senator Richard J.
   Durbin et al., Gateway to Addiction? A Survey of Popular Electronic Cigarette Manufacturers and Targeted
   Marketing to Youth at 12 (Apr. 14, 2014), https://www.durbin.senate.gov/imo/media/doc/Report%20-%20E-
   Cigarettes%20with%20Cover.pdf.
   15
        Remarks by Jody Begley, 2017 ALTRIA Investor Day (Nov. 2, 2017), http://media.corporate-
   ir.net/media_files/IROL/80/80855/2017InvestorDay/Remarks_and_Reconciliations.pdf.
   16
      Remarks by Marty Barrington, ALTRIA Group, Inc.’s (ALTRIA) Chairman, CEO and President, and other members
   of ALTRIA’s senior management team 2017 Consumer Analyst Group of New York (CAGNY) (2017),
   http://investor.altria.com/Cache/IRCache/1ac8e46a-7eb4-5df2-843d-
   06673f29b6b0.PDF?O=PDF&T=&Y=&D=&FID=1ac8e46a-7eb4-5df2-843d-06673f29b6b0&iid=4087349

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   the deeming regulations.” He noted, however, that the estimated “total 2016 e-vapor consumer

   spending was roughly flat compared to the prior year at approximately $2.5 billion.”17 In 2017,

   ALTRIA’s MarkTen e-cigarettes had a market share of only 13.7%, well behind JLI’s growing

   market share of 40%.18 Thus, despite its public statements to the contrary, ALTRIA knew that it

   would not achieve its goal of dominating the e-cigarette market through its own commercially

   inferior products.

           75.      With smoking on the decline, litigation and regulatory controls were ramping up

   and threatening ALTRIA’s ability to attract new smokers, and ALTRIA’s own e-cigarette product

   proving unsuccessful, ALTRIA’s best bet for maintaining a market by increasing users addicted

   to nicotine was to partner with JLI (1) to maintain or increase the number of users hooked on

   JUUL; and (2) to delay and prevent regulation that could interfere with this first scheme.

           76.      In ALTRIA’s words, the company followed “JUUL’s journey rather closely” from

   its early beginnings.19 According to Howard Willard, ALTRIA’s CEO, ALTRIA first contacted

   JLI about a commercial relationship in early 2017, with “confidential discussions” beginning in

   the Spring of 2017.20 By the Fall of 2017, JLI, the MANAGEMENT DEFENDANTS, and

   ALTRIA had agreed to and had taken coordinated actions to maintain and expand the number of

   nicotine-addicted e-cigarette users in order to ensure a steady and growing customer base.

           77.      Confidential discussions between JLI and ALTRIA would have involved key

   employees and officers of JLI, which would have included MONSEES, BOWEN, PRITZKER,



   17
      Id.
   18
      Richard Craver, Vuse falls further behind Juul on e-cig sales, Winston-Salem Journal (Dec. 14, 2017),
   https://www.journalnow.com/business/vuse-falls-further-behind-juul-on-e-cig-sales/article_ed14c6bc-5421-5806-
   9d32-bba0e8f86571.html.
   19
      Olivia Zaleski & Ellen Huet, JLI Expects Skyrocketing Sales of $3.4 Billion, Despite Flavored Vape Restrictions,
   Bloomberg (Feb. 22, 2019), https://www.bloomberg.com/news/articles/2019-02-22/juul-expects-skyrocketing-sales-
   of-3-4-billion-despite-flavored-vape-ban.
   20
      ALTRIA’s October 14, 2019 letter to Senator Durbin, et. al., by Howard Willard III (2019).

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   HUH, and/or VALANI. During this roughly 18-month period when PRITZKER, HUH, VALANI

   and GOLDMAN started to coordinate with ALTRIA, it was JLI (through its executives and

   employees – including GOLDMAN and his successors) and ALTRIA (through its executives and

   employees) that primarily directed and conducted fraudulent acts designed to grow the market of

   nicotine-addicted e-cigarette users, although BOWEN, MONSEES, PRITZKER, HUH, and

   VALANI remained critical to the success of these efforts. Without their control of the JLI Board

   of Directors and prior fraudulent conduct, the close coordination between JLI and ALTRIA, and

   ALTRIA’s investment in JLI, would not have been possible.

           78.     In December 2018, ALTRIA decided to take the next step in its coordination with

   JLI and the MANAGEMENT DEFENDANTS by making a $12.8 billion equity investment in JLI,

   the largest equity investment in United States history. This arrangement was profitable for both

   companies, as well as MONSEES, BOWEN, PRITZKER, HUH, and VALANI. JLI employees

   received $2 billion in bonuses, which, split among the Company’s 1,500 employees, was

   approximately $1.3 million per employee;21 ALTRIA received millions of loyal teen customers;

   and MONSEES, BOWEN, PRITZKER, HUH, and VALANI received untold sums of money and

   saw the value of their shares in JLI skyrocket, allowing them to cash out via a special dividend and

   bonus, as well as through stock sales that were not available to other of JLI’s minority

   shareholders.22 In deciding to make a huge investment in JUUL, ALTRIA took into account that

   the e-cigarette industry would see significant year-over-year growth in the near term, and that

   “JUUL continu[es] to be a growth driver for the e-vapor category.”23


   21
       Olivia Zaleski, Juul Employees to Get $2 Billion Bonus in ALTRIA Deal, BLOOMBERG (Dec. 20, 2018),
   https://www.bloomberg.com/news/articles/2018-12-20/juul-employees-said-to-get-2-billion-bonus-in-ALTRIA-
   deal.
   22
      Tiffany Kary, JLI Founders Sued for Self-Dealing Over ALTRIA's $12.8 Billion, Bloomberg (Jan. 13, 2020),
   https://www.bloomberg.com/news/articles/2020-01-13/juul-founders-sued-for-self-dealing-over-ALTRIA-s-12-8-
   billion
   23
      ALTRIA’s October 14, 2019 letter to Senator Durbin, et. al., by Howard Willard III (2019).

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          79.     This investment further intertwined JLI and the ALTRIA DEFENDANTS.

   According to the terms of its investment, ALTRIA may appoint one-third of JLI’s board. And in

   October 2019, JLI’s CEO resigned to be replaced by another career ALTRIA executive, K.C.

   Crosthwaite. The key employees within JUUL—including BOWEN, MONSEES, PRITZKER,

   HUH, and/or VALANI—would have been instrumental in bringing Crosthwaite on board at JLI.

   Crosthwaite had most recently served as the Vice President and Chief Growth Officer of Altria

   Client Services, overseeing the company’s work to assist ALTRIA’S companies, including with

   digital marketing, packaging design & innovation, product development, and safety, health, and

   environmental affairs. Crosthwaite knows the cigarette industry’s playbook all too well, having

   previously served as the president and CEO of PHILIP MORRIS the Vice President and General

   Manager at Marlboro—the leading cigarette brand among youth, and the Vice President of

   Strategy and Business Development of at Altria Client Services.

          80.     In addition, Joe Murillo, who headed regulatory affairs for ALTRIA, and served as

   President and General Manager of Nu Mark, LLC (ALTRIA’s e-cigarette business), became JLI’s

   chief regulatory officer in October 2019.

          81.     Both before and after ALTRIA’s investment, JLI, through its employees and

   officers, provided ALTRIA with critical information regarding the design and nicotine content of

   the JUUL product, the labeling of the JUUL product, and related topics including advertising, retail

   distribution, online sales, age verification procedures, information on underage user’s flavor

   preferences, and regulatory strategies. ALTRIA, for its part, guided JLI and the MANAGEMENT

   DEFENDANTS in these areas and helped them devise and execute schemes to maintain and

   expand the e-cigarette market.

          82.     JLI, the MANAGEMENT DEFENDANTS, and ALTRIA DEFENDANTS worked



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   together to implement their shared goal of growing a new market in the image of the combustible

   cigarette market through a multi-pronged strategy to: (1) create an highly addictive product that

   consumers would not associate with cigarettes and that would appeal to the lucrative youth market,

   (2) deceive the public into thinking the product was a fun and safe alternative to cigarettes that

   would also help smokers quit, (3) actively attract young users through targeted marketing, and (4)

   use a variety of tools to delay regulation of e-cigarettes, including false and deceptive statements

   to the public and regulators. As detailed more fully throughout this Complaint, each of the

   DEFENDANTS played a critical role—at times overlapping and varying over time—in each of

   these strategies.

        B.        Defendants’ Strategy Was to Create a Nicotine Product That Would Maximize
                  Profits Through Addiction.

             1)         Defendants Understood that the “Magic” Behind Cigarettes’ Stratospheric
                        Commercial Success Was Nicotine Addiction.

                  83.     The first step in replicating the success of combustible cigarettes was to create a

   product that, like combustible cigarettes, was based on getting users addicted to the nicotine in the

   product. Nicotine is an alkaloid, a class of plant-derived nitrogenous compounds that is highly

   addictive and the key ingredient that drives addiction to cigarettes. Nicotine’s addictive properties

   are similar to heroin and cocaine.24

                  84.     Route of administration and speed of delivery are key to understanding nicotine’s

   addictive potential. Dr. Neal Benowitz, Scientific Editor of the 1988 Surgeon General’s Report on

   nicotine addiction, wrote: “After a puff, high levels of nicotine reach the brain in 10–20 s[econds],

   faster than with intravenous administration, producing rapid behavioral reinforcement. The

   rapidity of rise in nicotine levels permits the smoker to titrate the level of nicotine and related


   24
    See e.g., US Department of Health and Human Services. Nicotine Addiction: A Report of the Surgeon General.
   DHHS Publication Number (CDC) 88-8406, (1988).

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   effects during smoking, and makes smoking the most reinforcing and dependence-producing form

   of nicotine administration.”25

           85.      Again, according to Dr. Benowitz, “The rapid rate of delivery of nicotine by

   smoking … results in high levels of nicotine in the central nervous system with little time for

   development of tolerance. The result is a more intense pharmacologic action. The short-time

   interval between puffing and nicotine entering the brain also allows the smoker to titrate the dose

   of nicotine to a desired pharmacologic effect [often subconsciously], further reinforcing drug self-

   administration and facilitating the development of addiction.”26

           86.      Nicotine fosters addiction through the brain’s “reward” pathway. Both a stimulant

   and a relaxant, nicotine affects the central nervous system; increases blood pressure, pulse, and

   metabolic rate; constricts blood vessels of the heart and skin; and causes muscle relaxation. Long-

   term exposure to nicotine causes upregulation—an increase in the number of these high-affinity

   nicotinic receptors in the brain. When nicotine binds to these receptors it triggers a series of

   physiological effects in the user that are perceived as a “buzz” that includes pleasure, happiness,

   arousal, and relaxation of stress and anxiety. With regular nicotine use, however, these feelings

   diminish, and the user must consume increasing amounts of nicotine to achieve the same effects.

           87.      Kids are particularly vulnerable to nicotine addiction, as DEFENDANTS know

   well. As described by the United States Surgeon General, “Tobacco use is a pediatric epidemic.”

   Nine out of ten smokers begin by age 18 and 80% who begin as teens will smoke into adulthood.27

           88.      The above statements apply equally, if not more so, to e-cigarettes. Further, the




   25
      Neal L. Benowitz et al., Nicotine Chemistry, Metabolism, Kinetics and Biomarkers, 192 Handb. Exp. Pharmacol.,
   29 (2010), https://www.ncbi.nlm.nih.gov/pmc/articles/PMC2953858/.
   26
      Id.
   27
       Preventing Tobacco Use Among Youth and Adults, A Report of the Surgeon General at 1 (2012),
   https://www.hhs.gov/surgeongeneral/reports-and-publications/tobacco/index.html.

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   Surgeon General has explained how the nicotine in e-cigarettes affects the developing brain and

   can addict kids more easily than adults: “Until about age 25, the brain is still growing. Each time

   a new memory is created, or a new skill is learned, stronger connections—or synapses—are built

   between brain cells. Young people’s brains build synapses faster than adult brains. Because

   addiction is a form of learning, adolescents can get addicted more easily than adults.”28 The effects

   of nicotine exposure on the brain of youth and young adults include not only addiction, priming

   for use of other addictive substances, but also reduced impulse control, deficits in attention and

   cognition, and mood disorders.29 A highly addictive, psychoactive substance that targets brain

   areas involved in emotional and cognitive processing, nicotine poses a particularly potent threat to

   the adolescent brain, as it can “derange the normal course of brain maturation and have lasting

   consequences for cognitive ability, mental health, and even personality.”30

           89.      In 2014, the United States Surgeon General reported that nicotine addiction is the

   “fundamental reason” that individuals persist in using tobacco products, and this persistent tobacco

   use contributes to millions of needless deaths and many diseases, including diseases that affect the

   heart and blood vessels (cardiovascular disease), lung diseases (chronic obstructive pulmonary

   disease (COPD) and lung cancer), cancer almost anywhere in the body, and birth defects.

           90.      It took five decades of public health initiatives, government intervention, impact

   litigation, consumer education and tobacco regulation to finally see a significant drop in cigarette

   smoking and nicotine addiction.



   28
      Know The Risks: E-Cigarettes & Young People, https://e-cigarettes.surgeongeneral.gov/ knowtherisks.html.
   29
       Menglu Yuan et al., Nicotine and the Adolescent Brain, 593 J. of Physiology 3397 (2015),
   www.ncbi.nlm.nih.gov/pmc/articles/PMC4560573/; U.S Surgeon General and U.S. Centers for Disease Control &
   Prevention, Office on Smoking and Health, Know the Risks: E-Cigarettes and Young People (2019), https://e-
   cigarettes.surgeongeneral.gov/.
   30
      Natalia A. Goriounova & Huibert D. Mansvelder, Short- and Long-Term Consequences of Nicotine Exposure
   During Adolescence for Prefrontal Cortex Neuronal Network Function, 2 Cold Spring Harbor Persp. Med. 12 (2012),
   https://www.ncbi.nlm.nih.gov/pmc/articles/PMC3543069/.

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             91.     By 2014, the number of adults that reported using cigarettes had dropped to 18%,

   and the number of adult smokers who reported quitting smoking increased from 50.8% in 2005 to

   59% by 2016.31 By 2014, teen smoking also hit a record low.32 In June 2014, the Centers for Disease

   Control and Prevention (“CDC”) reported that “in achieving a teen smoking rate of 15.7 percent,

   the United States has met its national Healthy People 2020 objective of reducing adolescent

   cigarette use to 16 percent or less.”

             92.     The United States Surgeon General reported in 2014 that: “We are at a historic

   moment in our fight to end the epidemic of tobacco use that continues to kill more of our citizens

   than any other preventable cause. The good news is that we know which strategies work best. By

   applying these strategies more fully and more aggressively, we can move closer to our goal of

   making the next generation tobacco-free.”33

             93.     Where the public health community saw progress in curbing the use of cigarettes

   and nicotine addiction, Defendants saw an opportunity.


        2)         Following the Cigarette Industry Playbook, Defendants Sought to Market a
                   Product that would Create and Sustain Nicotine Addiction, but Without the
                   Stigma Associated with Cigarettes

             94.     Seeking to build and dominate a new market for nicotine products without the

   baggage of combustible cigarettes (i.e. well-established link to death and disease), JLI engineered


   31
      Centers for Disease Control and Prevention, U.S. Dep’t of Health and Human Services, Trends in Cigarette
   Smoking Among High School Students—United States, 1991-2001, 51 MORBIDITY AND MORTALITY
   WEEKLY REPORT 409 (May 17, 2002), https://www.cdc.gov/mmwr/preview/mmwrhtml/mm5119a1.htm; Teresa
   W. Wang et al., Tobacco Product Use Among Adults—United States, 2017, 67 MORBIDITY AND MORTALITY
   WEEKLY REPORT 1225 (Nov. 9, 2018), https://www.cdc.gov/mmwr/volumes/67/wr/pdfs/mm6744a2-H.pdf; US
   Department of Health and Human Services. 2014 Surgeon General's Report: The Health Consequences of
   Smoking—50 Years of Progress (2014), https://www.cdc.gov/tobacco/data_statistics/sgr/50th-
   anniversary/index.htm#report
   32
      Press Release, Centers for Disease Control and Prevention, Cigarette smoking among U.S. high school students at
   lowest level in 22 years (June 12, 2014), https://www.cdc.gov/media/releases/2014/p0612-YRBS.html
   33
      US Department of Health and Human Services. LET’S MAKE THE NEXT GENERATION TOBACCO-FREE:
   Your Guide to the 50th Anniversary Surgeon General’s Report on Smoking and Health,
   https://www.hhs.gov/sites/default/files/consequences-smoking-consumer-guide.pdf

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   a cool-looking e-cigarette device capable of delivering more nicotine and fueling higher levels of

   consumer addiction than ever before. JLI marketed that highly-addictive device as healthy, safe,

   cool and available in kid-friendly flavors.

           95.      In doing so, JLI followed the cigarette industry’s playbook. MONSEES admitted

   that when creating JLI, he and BOWEN carefully studied the marketing strategies, advertisements,

   and product design revealed in cigarette industry documents that were uncovered through litigation

   and made public under the November 1998 Master Settlement Agreement [hereinafter the Master

   Settlement Agreement] between the state Attorneys General of forty-six states, five U.S.

   territories, the District of Columbia and the four largest cigarette manufacturers in the United

   States. “[Cigarette industry documents] became a very intriguing space for us to investigate

   because we had so much information that you wouldn’t normally be able to get in most industries.

   And we were able to catch up, right, to a huge, huge industry in no time. And then we started

   building prototypes.”34

           96.      In a thesis presentation BOWEN and MONSEES gave in 2004, MONSEES

   candidly admitted, “The cigarette is actually a carefully engineered product for nicotine delivery

   and addiction.”35 JLI researched how cigarette companies engineered their products and

   chemically manipulated nicotine to maximize delivery: “We started looking at patent literature.

   We are pretty fluent in ‘Patentese.’ And we were able to deduce what had happened historically in

   the tobacco industry.”36 With access to the trove of documents made public to curb youth smoking

   and aid research to support tobacco control efforts, JLI was able to review literature on




   34
          Gabriel Montoya, Pax Labs: Origins with JAMES MONSEES, Social Underground,
   https://socialunderground.com/2015/01/pax-ploom-origins-future-james-MONSEES/.
   35
      Jordan Crook, This is the Stanford Thesis Presentation That Launched Juul, Tech Crunch (Feb. 27, 2019, 7:51 am
   PST), https://techcrunch.com/2019/02/27/this-is-the-stanford-thesis-presentation-that-launched-juul/.
   36
      Id.

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   manipulating nicotine pH to maximize its delivery in a youth-friendly vapor with minimal “throat

   hit.”

           97.    Through studying industry documents, JLI learned that the cigarette industry had

   tried for years to figure out ways to create and sustain addiction by delivering more nicotine in

   way that would be easy to ingest—without the nausea, cough, or other aversive side effects that

   many new smokers experienced. In the 1970s, R.J. Reynolds scientists eventually found a solution:

   Combine the high-pH nicotine with a low-pH acid. The result was a neutralized compound referred

   to as nicotine salt. In a 1973 RJR memorandum titled “Cigarette concept to assure RJR a larger

   segment of the youth market,” RJR highlighted that this chemical manipulation of the nicotine

   content was expected to give its cigarettes an “additional nicotine ‘kick’” that would be more

   appealing and addictive. A young RJ Reynolds chemist, Thomas Perfetti, synthesized 30 different

   nicotine salt combinations, tested the salts’ ability to dissolve into a liquid, and heated them in

   pursuit of the “maximum release of nicotine.”37 Pefetti published his results in a 1979 memo

   stamped “CONFIDENTIAL,” which was found among the documents that the FDA obtained from

   JLI in 2018. Relying on cigarette industry research like this, and assistance from Perfetti himself,

   JLI developed a cartridge-based e-cigarette using nicotine salts. As described herein, JLI’s use of

   nicotine salts, pioneered by major combustible tobacco companies, was a critical tool for addicting

   non-smokers, including youth.

           98.    JLI also engaged former cigarette industry researchers to consult on the design of

   their product. As MONSEES noted in an interview with WIRED magazine: “The people who

   understood the science and were listed on previous patents from tobacco companies aren’t at those




   37
       Thomas A. Perfetti, Smoking Satisfaction and Tar/Nicotine Control (Dec. 7, 1978), https://ca-
   times.brightspotcdn.com/3a/12/a5ec27874843a56e26b4ecdfd221/nicotine-salts-investigation.pdf.

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   companies anymore. If you go to ALTRIA’s R&D facility, it’s empty.”38 The WIRED article stated

   that “[s]ome of those people are now on [PAX Lab, Inc.’s] team of advisers, helping develop

   J[UUL].”39

           99.     One of the keys to JLI’s success was its ability to fuse addiction and technology.

   The JUUL e-cigarette system is comprised of three parts: (1) the JUUL e-cigarette device (2) the

   JUUL pod (with e-liquid), and (3) the Universal Serial Bus [USB] charger (collectively referred

   to herein as “JUUL” or “JUUL product”). The JUUL e-cigarette device is a thin, sleek rectangular

   e-cigarette device consisting of an aluminum shell, a battery, a magnet (for the USB-charger), a

   circuit board, an LED light, and a pressure sensor. JLI manufactures and distributes JUUL pods

   that contain liquid that includes nicotine, flavoring and other additives. Each JUUL pod is a plastic

   enclosure containing 0.7 milliliters of JLI’s patented nicotine liquid and a coil heater. When a

   sensor in the JUUL e-cigarette detects the movement of air caused by suction on the JUUL pod,

   the battery in the JUUL e-cigarette device activates the heating element, which in turn converts

   the nicotine solution in the JUUL pod into a vapor consisting of nicotine, benzoic acid, glycerin,

   and propylene glycol along with myriad chemical flavorings and other chemicals, many of which

   are recognized as toxic.40




   38
        David Pierce, This Might Just Be the First Great E-Cig, WIRED (Apr. 21, 2015, 8:00 AM),
   www.wired.com/2015/04/pax-juul-ecig/.
   39
      Id.
   40
      E-cigarettes and vapor products, King County, https://www.kingcounty.gov/depts/health/tobacco/data/e-
   cigarettes.aspx (last visited Mar. 8, 2020).

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          100.   JLI sells the JUUL pods in packs of four or two pods, and until recently, in a variety

   of enticing kid-friendly flavors. Many of the flavors have no combustible cigarette analog,

   including mango, “cool” cucumber, fruit medley, “cool” mint, and crème brûlée. Figure 1 shows

   the JLI device and a JLI “Starter Kit” with four flavored JUUL pods:




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           Figure 1




           101.     JLI attempted to distinguish JUUL products from the death and disease associated

   with cigarettes by deliberately providing a false assurance of safety. For example, on May 8, 2018,

   a document titled “Letter from the CEO” appeared on JUUL’s website. The document stated:

   “[JUUL]’s simple and convenient system incorporates temperature regulation to heat nicotine

   liquid and deliver smokers the satisfaction that they want without the combustion and the harm

   associated with it.”41

           102.     JLI even took this message to ninth graders: in 2018, a representative from JLI

   spoke at a high school during a presentation for ninth graders, stating that JUUL “was much safer

   than cigarettes,” that the JUUL was “totally safe,” that the JUUL was a “safer alternative than



   41
       U.S. Food and Drug Administration Warning Letter to JUUL Labs, (September 9, 2019),
   https://www.fda.gov/inspections-compliance-enforcement-and-criminal-investigations/warning-letters/juul-labs-inc-
   590950-09092019

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   smoking cigarettes,” and that the “FDA was about to come out and say it [JUUL] was 99% safer

   than cigarettes . . . and that. . . would happen very soon.”42

                   103.     JLI’s mission was not to improve public health. Rather, JLI sought to introduce a

   new generation of consumers to nicotine. JLI’s business model was never about reducing

   addiction. As one JLI engineer put it: “We don’t think a lot about addiction here because we’re

   not trying to design a cessation product at all . . . anything about health is not on our mind.”43

                   104.     JLI, BOWEN, and MONSEES achieved their vision. Pioneering a nicotine delivery

   technology that eliminated the harshness of traditional free-base nicotine, JLI’s e-cigarette system

   provided consumers with palatable access to high-concentrations of nicotine like never before.

   Since the JUUL’s launch in 2015, JLI has become the dominant e-cigarette manufacturer in the

   United States. Its revenues grew by 700 percent in 2017 alone. By 2019, JLI owned three-quarters

   of the e-cigarette market.44


              3)          Defendants Sought to Position JLI for Acquisition by a Major Cigarette
                          Company

                   105.     JLI, along with the MANAGEMENT DEFENDANTS, worked-together to

   maintain and expand the number of nicotine-addicted e-cigarette users in order to ensure a steady

   and growing customer base.

                   106.     That growing customer base was crucial to JLI’s and the MANAGEMENT

   DEFENDANTS’ long term objective—lucrative acquisition by another company. They

   recognized that JLI’s product, with its potential to dominate the nicotine products market by



   42
        Id.
   43
         Kevin    Roose,      Juul’s    Convenient    Smoke    Screen,    N.Y.    Times      (Jan.   11,    2019),
   https://www.nytimes.com/2019/01/11/technology/juul-cigarettes-marketing.html
   44
      Dick Durbin et al., Durbin & Senators to JUUL: You are More Interested in Profits Than Public Health, Durbin
   Newsroom (Apr. 8, 2019), https://www.durbin.senate.gov/newsroom/press-releases/durbin-and-senators-to-juul-you-
   are-more-interested-in-profits-than-public-health.

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   hooking new users, would appeal to one segment of the economy in particular: the cigarette

   industry.

          107.    JLI and the MANAGEMENT DEFENDANTS also recognized that their business

   goal—becoming part of the cigarette industry—was unlikely to endear them to the consumers that

   they needed to purchase their products. Years of anti-smoking campaigns have successfully

   stigmatized cigarette smoking. When MONSEES and BOWEN presented their thesis and product

   design to their classmates, they included a clip from a South Park episode showing the characters

   assembled at the Museum of Tolerance and shaming a smoker.45

          108.    MONSEES and BOWEN needed to shape social norms such that the public attitude

   towards e-cigarettes would allow consumers to use their product without the stigma and self-

   consciousness smokers experienced. MONSEES and BOWEN saw a market opportunity in a

   generation of non-smoking consumers brought up on anti-smoking norms. In MONSEES’ words,

   they wanted to redesign the cigarette “to meet the needs of people who want to enjoy tobacco but

   don’t self-identify with—or don’t necessarily want to be associated with—cigarettes.”46

          109.    Part of this approach was consistently portraying JUUL as an enemy of the cigarette

   industry, with a publicly announced goal of eliminating the cigarette. In an interview, BOWEN

   asserted that he and MONSEES spent a lot of time talking about “the kind of typical thoughts of

   evil Big Tobacco companies like coming down and squashing you.”47 The “Mission Statement”

   on JLI’s homepage proclaims:


                  Our mission is to transition the world’s billion adult smokers away
                  from combustible cigarettes, eliminate their use, and combat

   45
          Gabriel   Montoya,     Pax     Labs:    Origins  with     JAMES  Monsees, Social Underground,
   https://socialunderground.com/2015/01/pax-ploom-origins-future-james-MONSEES/.
   46
      Id.
   47
        Alison Keeley, Vice Made Nice? A high-tech alternative to cigarettes, Stanford Magazine,
   https://stanfordmag.org/contents/vice-made-nice

                                                   37
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                    underage usage of our products.

                    We envision a world where fewer adults use cigarettes, and where
                    adults who smoke cigarettes have the tools to reduce or eliminate
                    their consumption entirely, should they so desire.48

           110.     In fact, JLI’s Chief Administrative Officer has publicly stated that the goal behind

   JLI is “eliminating cigarettes.”49

           111.     This public message of eliminating cigarettes and challenging tobacco companies

   stands in direct contrast with JLI’s actual business and investment strategy. From the beginning,

   BOWEN and MONSEES actively sought the investment and assistance of major cigarette

   companies. BOWEN and MONSEES’ initial foray into the e-cigarette business, Ploom, launched

   its e-cigarette as the ModelOne in 2010, using pods of loose-leaf tobacco heated by butane. It did

   not catch on. Ploom only sold a few thousand devices. By then a company with a dozen employees,

   Ploom was faltering, in need of money, technological expertise, and marketing savvy.50

           112.     Help came from Japan Tobacco International (“Japan Tobacco”), a division of

   Japan Tobacco Inc., the fourth-largest tobacco company in the world. In December 2011, Japan

   Tobacco and Ploom entered into a strategic agreement, which gave Japan Tobacco a minority stake

   in Ploom and made it a strategic partner. In a statement regarding the agreement, MONSEES said,

   “We are very pleased to partner with [Japan Tobacco] as their deep expertise, global distribution

   networks and capital resources will enable us to enter our next phase of growth and capitalize on

   global expansion opportunities.”51 As BOWEN explained in an interview, “We were still doing a



   48
      Our Mission, JUUL LABS (2019), https://www.juul.com/mission-values
   49
      Ashley Gould, JUUL Labs is committed to eliminating cigarettes, Cal Matters, (March 18, 2019).
   50
      David H. Freedman, How do you Sell a Product When You Really Can’t Say What it Does?, Inc.,
   https://www.inc.com/magazine/201405/david-freedman/james-MONSEES-ploom-ecigarette-company-marketing-
   dilemma.html.
   51
      Innovative Partnership for Ploom and Japan Tobacco International JTI to Take Minority Share in Ploom, Japan
   Tobacco Int’l (Dec. 8, 2011), https://www.jti.com/sites/default/files/press-releases/documents/2011/innovative-
   partnership-for-ploom-and-japan-tobacco-international.pdf.

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   lot of our own internal product development, but now we had access to floors of scientists at [Japan

   Tobacco].”52

             113.   This goal—acquisition by a major cigarette company—was a motive that the JLI

   and the MANAGEMENT DEFENDANTS would return to in making decisions about the

   manufacture and marketing of JUUL products. BOWEN knew that to achieve the ultimate goal of

   acquisition, JLI and the MANAGEMENT DEFENDANTS would have to grow the market share

   of nicotine-addicted e-cigarette users, regardless of the human cost.

             114.   JLI and the MANAGEMENT DEFENDANTS sought to grow the market share of

   nicotine-addicted e-cigarette users beginning by at least early 2015 through two related schemes:

   first, by designing an unsafe product with a high nicotine content that was intended to addict, or

   exacerbate the addiction of, its users; and, second, by marketing and misbranding that potent

   product to the broadest possible audience of potential customers, including young people whose

   addiction would last the longest and be the most profitable for the DEFENDANTS.


        C.   JLI and BOWEN Designed a Nicotine Delivery Device Intended to Create and
             Sustain Addiction.

             115.   JLI was well-aware from the historical cigarette industry documents that the future

   of any nicotine-delivery business depends on snaring kids before they age beyond the window of

   opportunity. One memo from a Lorillard marketing manager to the company’s president put it

   most succinctly, “[t]he base of our business is the high school student.”53 It is no surprise, then,

   that the industry designed products specifically to attract and addict teen smokers. Claude Teague

   of R.J. Reynolds titled one internal memo “Research Planning Memorandum on Some Thoughts



   52
      David H. Freedman, How do you Sell a Product When You Really Can’t Say What it Does?, Inc.,
   https://www.inc.com/magazine/201405/david-freedman/james-MONSEES-ploom-ecigarette-company-marketing-
   dilemma.html.
   53
      Internal Memo from T.L. Achey (Lorillard Tobacco Company) to Curtis Judge, Product Information, (August 1978).

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   About New Brands of Cigarettes for the Youth Market.” In it he frankly observed, “Realistically,

   if our Company is to survive and prosper, over the long term, we must get our share of the youth

   market. In my opinion this will require new brands tailored to the youth market.”54 Dr. Teague

   noted that “learning smokers” have a low tolerance for throat irritation so the smoke should be “as

   bland as possible,” i.e., not harsh; and he specifically recommended an acidic smoke “by holding

   pH down, probably below 6.” As seen below, JLI heeded Dr. Teague’s advice.


        1)          JLI and BOWEN Made Highly Addictive E-Cigarettes Easy for Young People
                    and Non-Smokers to Inhale.

             116.     As combustible cigarettes were on the decline, e-cigarettes were introduced to the

   U.S. market beginning in 2007. Over time, e-cigarettes developed a small group of regular users,

   who were primarily current or former smokers. By 2014, the e-cigarette market in the U.S. was in

   decline.

             117.     E-cigarettes struggled to compete with combustible cigarettes, because of the

   technical challenge of delivering enough aerosolized nicotine to satisfy a smoker’s addiction in a

   palatable form.55 Before JUUL, most e-cigarettes used an alkaline form of nicotine called free-base

   nicotine.56 When aerosolized and inhaled, free-base nicotine is relatively bitter, irritates the throat,

   and is perceived as harsh by the user.57 This experience is often referred to as a “throat hit.” The

   higher the concentration of free-base nicotine, the more intense the “throat hit.”58 While some

   “harshness” would not have much impact on seasoned cigarette smokers, it would deter

   newcomers, or nicotine “learners,” as Claude Teague at R.J. Reynolds called young non-smokers


   54
      Internal Memo from Claude Teague (R.J. Reynolds), Research Planning Memorandum on Some Thoughts About
   New Brands of Cigarettes for the Youth Market, (Feb. 2, 1973).
   55
      Robert K. Jackler & Divya Ramamurthi, Nicotine Arms Race: JUUL and the High-nicotine Product Market, 28
   Tobacco Control 623 (2019).
   56
      Id.
   57
      Id.
   58
      Id.

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   decades ago.

             118.     Before 2015, most e-liquids on the market were between 1% and 2% concentration;

   3% concentrations were marketed as appropriate for consumers who were accustomed to smoking

   approximately forty cigarettes a day.59 None of these e-liquids delivered as much nicotine as

   quickly as a combustible cigarette.

             119.     Around 2013, JLI scientists developed new e-liquids and new devices to increase

   the amount of nicotine that e-cigarettes could deliver to users and to reduce the throat hit. JLI

   scientists focused on nicotine salts rather than free-base nicotine, and they tested their formulations

   in a variety of ways.


        2)          JLI’s Initial Experiments Measured Non-Smokers “Buzz” Levels and
                    Perceptions of Throat Harshness.

             120.     Based on information and belief, JLI intentionally designed its product to minimize

   “throat hit” and maximize “buzz.” The aim was to develop a nicotine salt formulation that

   maximized buzz, minimized harshness. “Employees tested new liquid-nicotine formulations on

   themselves or on strangers taking smoke breaks on the street. Sometimes, the mix packed too much

   punch – enough nicotine to make some testers’ hands shake or send them to the bathroom to

   vomit . . . .”60

             121.     A later study by Anna K. Duell et al., which examined 4% benzoate solutions—the

   basis for JUUL’s subsequent commercial formulations—explains why there was so little throat

   hit. The Duell study determined that the fraction of free-base nicotine in JUUL’s “Fruit Medley”

   flavor was 0.05 and in “Crème Brulee” was 0.07.61 Given total nicotine content of 58 mg/ml and


   59
      Id.
   60
      Chris Kirkham, Juul Disregarded Early Evidence it was Hooking Teens, Reuters (Nov. 5, 2019),
   https://www.reuters.com/investigates/special-report/juul-ecigarette/
   61
      U.S. Patent No. 9,215, 895; Anna K. Duell et al., Free-Base Nicotine Determination in Electronic Cigarette
   Liquids by H NMR Spectroscopy, 31 Chem. Res. Toxicol. 431, 432 (Fig. 3).

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   56 mg/ml in each flavor, respectively, these flavors have roughly 3-4 mg/ml free-base nicotine.

   For comparison, “Zen” brand e-liquid contains 17 mg/ml of nicotine—less than one-third of the

   total nicotine content of JUUL’s flavors—but has a free-base fraction of 0.84,62 resulting in over

   14 mg/ml of free-base nicotine. The Duell Study’s authors found that the low free-base fraction in

   JUUL aerosols suggested a “decrease in the perceived harshness of the aerosol to the user and thus

   a greater abuse liability.”63

            122.    Dramatically reducing the throat hit is not necessary for a product that is aimed at

   smokers, who are accustomed to the harshness of cigarette smoke, but it very effectively appeals

   to nonsmokers, especially youths. The cigarette industry has long recognized this; a published

   study of industry documents concluded that “product design changes which make cigarettes more

   palatable, easier to smoke, or more addictive are also likely to encourage greater uptake of

   smoking.”64 The Duell study concluded that JLI’s use of nicotine salts “may well contribute to the

   current use prevalence of JUUL products among youth.”65

            123.    Reducing the harshness of nicotine also allows more frequent use of e-cigarettes,

   for longer periods of time, and masks the amount of nicotine being delivered. By removing the

   physiological drawbacks of inhaling traditional free-base nicotine, JLI’s technology removes the

   principal barrier to nicotine consumption and addiction. The Duell study further concluded that

   JLI’s creation of a non-irritating vapor that delivers unprecedented amounts of nicotine is

   “particularly problematic for public health.”66



   62
      Anna K. Duell et al., Free-Base Nicotine Determination in Electronic Cigarette Liquids by H NMR Spectroscopy,
   31 Chem. Res. Toxicol. 431 (hereinafter “Duell Study”).
   63
      Id. at 431–34.
   64
      David A. Kessler, Juul Says It Doesn’t Target Kids. But Its E-Cigarettes Pull Them In, N.Y. Times (July 31, 2019),
   https://www.nytimes.com/2019/07/31/opinion/juul-kids.html
   65
      Duell Study at 433 (citing Willett, J. G., et al., Recognition, use and perceptions of JUUL among youth and young
   adults, Tobacco Control, 054273 (2018)).
   66
      Id. at 431.

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        3)          JUULs Rapidly Deliver Substantially Higher Doses of Nicotine than Cigarettes

             124.     In 2014, JLI conducted blood plasma testing on three subjects, comparing

   pharmacokinetic blood plasma levels between one reference cigarette and seven blends used in an

   e-cigarette device.67 From these measurements, the scientists calculated key pharmacokinetic

   parameters, including maximum concentration of nicotine in the blood (Cmax) and total nicotine

   exposure (Area Under the Curve or AUC). JLI reported the results in U.S. Patent No. 9,215,895

   (the ’895 patent), for which JLI applied on October 10, 2014,68 and which was granted in December

   2015. The named inventors on the patent were ADAM BOWEN and Chenyue Xing.

             125.     Among the formulations was a 4% benzoate formulation, which was made with

   3.8% benzoic acid and 5% nicotine, as well as propylene glycol and vegetable glycerin.69 As a

   comparator, JLI also measured nicotine blood levels after smoking Pall Mall cigarettes. This study

   also tested a 2% benzoate formulation, which like the other formulations, had a similar Cmax as a

   Pall Mall cigarette.70 The following graph shows the pharmacokinetic results of the Phase 0 study.71




   67
      U.S. Patent No. 9,215,895 at 25.
   68
      This application was a continuation of U.S. Patent Application No. 14/271,071, filed May 6, 2014, which claimed
   the benefit of U.S. Provisional Patent Application Serial No. 61/820,128, filed May 6, 2014, and U.S. Provisional
   Patent Application Serial No. 61/912,507, filed December 5, 2013.
   69
      U.S. Patent No. 9,215,895 at 19:63-20:4.
   70
      U.S. Patent No. 9,215,895 at 26.
   71
      U.S. Patent No. 9,215,895 at Figure 4, Sheet 7 of 8.

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              126.     According to Table 1 in the patent, the Cmax (the maximum nicotine concentration

   in blood) for Pall Mall cigarettes was 11.65 ng/mL, and for 4% benzoate it was 15.06 ng/mL,

   which is nearly 30% higher. The total nicotine exposure (as measured by Area Under the Curve or

   AUC) was 367.5 ng * min/mL for Pall Mall cigarettes and 400.2 ng * min/mL for 4% benzoate,

   which is almost 9% higher. The 4% benzoate formulation had the highest Cmax and AUC of any

   of the formulations measured.

              127.     Describing these results, JLI’s ’895 patent all but brags that it surpassed a

   commercially available combustible cigarette (Pall Mall) in maximum delivery and nearly rivaled

   it in how soon it could deliver peak nicotine. According to the ‘895 patent, “certain nicotine salt

   formulations [i.e., JLI’s] provide satisfaction in an individual superior to that of free base nicotine,

   and more comparable to the satisfaction in an individual smoking a combustible cigarette.”72 The

   patent further explains that the “rate of nicotine uptake in the blood” is higher for some claimed

   nicotine salt formulations “than for other nicotine salt formulations aerosolized by an electronic



   72
        U.S. Patent No. 9,215, 895, at 7:51-55 (filed Dec. 22, 2015) (emphasis added).

                                                              44
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   cigarette . . . and likewise higher than nicotine free-base formulations, while the peak nicotine

   concentration in the blood and total amount of nicotine delivered appears comparable to a

   combustible cigarette.”73

            128.     In other words, JLI distinguishes itself, and established the patentability of its e-

   liquids, by reference to their superlative ability to deliver nicotine, both in terms of peak blood

   concentration and total nicotine delivery. The rate of nicotine absorption is key to providing users

   with the nicotine “kick”74 that drives addiction and abuse.75 Because “nicotine yield is strongly

   correlated with tobacco consumption,”76 a JUUL pod with more nicotine will strongly correlate

   with higher rates of consumption of JUUL pods, generating more revenue for JUUL. For example,

   a historic cigarette industry study that looked at smoker employees found that “the number of

   cigarettes the employees smoked per day was directly correlated to the nicotine levels.”77 In

   essence, JLI distinguished itself based on its e-liquids’ extraordinary potential to addict.

            129.     The Reilly corroborates that the 4% benzoate solution delivers more nicotine than

   a combustible cigarette and suggests that JUUL delivers more nicotine per puff than a Marlboro

   cigarette.78 The Reilly study tested JUUL’s tobacco, crème brûlée, fruit medley, and mint flavors

   and found that a puff of JUUL delivered 164 ± 41 micrograms of nicotine per 75 mL puff. By

   comparison, a 2014 study using larger 100 mL puffs found that a Marlboro cigarette delivered


   73
      Id. at 7:63-8:4.
   74
      Internal Memo from Frank G. Colby (R.J. Reynolds), Cigarette Concept to Assure RJR a Larger Segment of the
   Youth Market, (Dec. 4, 1973).
   75
      As the National Institutes of Health has noted, the “amount and speed of nicotine delivery . . . plays a critical role
   in the potential for abuse of tobacco products.” How Tobacco Smoke Causes Disease: The Biology and Behavioral
   Basis for Smoking-Attributable Disease, A Report of the Surgeon General at 181 (2010),
   https://www.ncbi.nlm.nih.gov/books/NBK53017/pdf/Bookshelf_NBK53017.pdf
   76
      Martin J. Jarvis et al., Nicotine Yield From Machine Smoked Cigarettes and Nicotine Intakes in Smokers:
   Evidence From a Representative Population Survey, 93 Nt’l Cancer Inst. 134 (Jan. 17, 2001),
   https://academic.oup.com/jnci/article/93/2/134/2906355
   77
      Letter from Peggy Martin to Study Participants, Resume of Results from Eight-Week Smoking Study, UCSF
   Library, 1003285443-5443 (Sept. 10, 1971).
   78
      Samantha M. Reilly et al., Free Radical, Carbonyl, and Nicotine Levels Produced by JUUL Electronic Cigarettes,
   21 Nicotine Tobacco Research 1274 (Aug. 19, 2019), https://www.ncbi.nlm.nih.gov/pubmed/30346584

                                                              45
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   152-193 μg/puff.79 Correcting to account for the different puff sizes between these two studies, this

   suggests that, at 75 mL/puff, a Marlboro would deliver about 114-145 μg/puff.

           130.     Additionally, depending on how the product is used, an e-cigarette with the 4%

   benzoate solution is capable of delivering doses that are materially higher than the studies JLI

   included in its patent application. As a paper published by the European Union notes: “[A]n e-

   cigarette with a concentration of 20 mg/ml delivers approximately 1 milligram of nicotine in five

   minutes (the time needed to smoke a combustible cigarette, for which the maximum allowable

   delivery is 1 mg of nicotine).”80 With at least 59 mg/ml of nicotine in a salt form that increases the

   rate and efficiency of uptake (and even with a lower mg/ml amount), a JUUL pod easily exceeds

   the nicotine dose of a combustible cigarette. Not surprisingly, the European Union has banned all

   e-cigarette products with a nicotine concentration of more than 20 mg/ml nicotine, and other

   countries have considered similar regulations.81

           131.     JLI scientists realized in 2014 that the amount of nicotine that JUUL e-cigarettes

   delivered could be problematic. Chenyue Xing stated that “[y]ou hope that they get what they

   want, and they stop,” but JLI scientists were concerned that “a Juul—unlike a cigarette—never

   burns out,” so the device gives no signal to the user to stop. According to Xing, JLI scientists

   “didn’t want to introduce a new product with stronger addictive power.”82 For this reason, “the

   company’s engineers explored features to stop users from ingesting too much of the drug, too



   79
      Megan J. Schroeder & Allison C. Hoffman, Electronic Cigarettes and Nicotine Clinical Pharmacology, 23
   Tobacco Control ii30 (May 23, 2014), www.ncbi.nlm.nih.gov/pmc/articles/PMC3995273/
   80
      E-Cigarettes, European Comm’n, https://ec.europa.eu/health/sites/health/files/tobacco/docs/fs_ecigarettes_en.pdf
   (last visited February 10, 2020) (citing United Kingdom Medicines and Healthcare Products Regulatory Agency and
   industry reports).
   81
      Charis Girvalaki et al., Discrepancies in Reported Versus Measured Nicotine Content of E-cigarette Refill Liquids
   Across Nine European Countries Before and After the Implementation of the EU Tobacco Products Directive, 55
   Eur. Respir. J. 1900941 (2020), https://doi.org/10.1183/13993003.00941-2019
   82
      Chris Kirkham, Juul Disregarded Early Evidence it was Hooking Teens, Reuters (Nov. 5, 2019, 11:00 AM),
   https://www.reuters.com/investigates/special-report/juul-ecigarette/.

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   quickly. JLI’s founders applied for a patent in 2014 that described methods for alerting the user or

   disabling the device when the dose of a drug such as nicotine exceeds a certain threshold.”83 For

   example, “[o]ne idea was to shut down the device for a half-hour or more after a certain number

   of puffs[.]”84 But upper management rejected the concerns that the scientists raised, and “[t]he

   company never produced an e-cigarette that limited nicotine intake.”85

                 132.     As another option, JLI could have limited the duration of each puff to prevent the

   JUUL from delivering doses of nicotine exceeding those of a cigarette on a per-puff basis, but it

   failed to do so.

                 133.     Despite knowing the results of multiple internal tests and the studies, all JUUL

   formulations at launch in 2015 used the same amount of nicotine and benzoic acid as did the

   formulation that resulted in the highest nicotine blood levels in the study with three participants

   reported in JUUL’s patent. JUUL pods were foreseeably exceptionally addictive, particularly

   when used by persons without prior exposure to nicotine.


            4)          JLI and the MANAGEMENT DEFENDANTS Knew That JUUL was
                        Unnecessarily Addictive Because It Delivered More Nicotine Than Smokers
                        Needed or Wanted

                 134.     The JUUL e-cigarette launched in 2015. After the launch, JLI and the

   MANAGEMENT DEFENDANTS continued to collect information about the addictiveness of

   JUUL. Over time, JLI and the MANAGEMENT DEFENDANTS obtained more and more

   evidence that the amount of nicotine in JUULpods was needlessly high, confirming what they

   already knew: JUUL was exceptionally dangerous because of its addictiveness. None of this

   information was a surprise, nor did it cause JLI or the MANAGEMENT DEFENDANTS to change



   83
      Id.
   84
      Id.
   85
      Id.

                                                          47
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   JLI’s products or marketing. In fact, they embraced it.

             135.     At some point during the coordination between JLI, the MANAGEMENT

   DEFENDANTS, and ALTRIA, but no later than the due-diligence period for ALTRIA’s

   investment in JLI, either JLI (through its employees) or one or more of Defendants BOWEN,

   MONSEES, PRITZKER, HUH, and VALANI provided ALTRIA with data and information

   confirming that the amount of nicotine in JUULpods was needlessly high and dangerously

   addictive. Despite that information, JLI, the MANAGEMENT DEFENDANTS, and ALTRIA

   have maintained and promoted the 5% JUUL pods as JLI’s flagship offering of JUUL pods because

   the 5% JUULpod hooks users faster and keeps them addicted to nicotine.


        5)          JUUL’s Design Did Not Look Like a Cigarette, Making it Attractive to Non-
                    Smokers and Easy for Young People to Use Without Detection

             136.     Not only did JUUL contain high levels of nicotine that delivered a strong “buzz”

   from the first puff, JLI designed its product to look appealing to youth and non-smokers.

             137.     JLI’s strategy to position a nicotine-delivery device as the cool thing to do is not

   new.      Decades before, Dr. Teague from R.J. Reynolds observed: “pre-smokers” face

   “psychological pressure” to smoke if their peers are doing so, “a new brand aimed at a young

   smoker must somehow be the ‘in’ brand and its promotion should emphasize togetherness,

   belonging and group acceptance, while at the same time emphasizing ‘doing one’s own thing.’”86

   Again, JUUL followed the cigarette playbook verbatim.

             138.     JLI knew that among its target audience, young people, cigarette smoking had

   become increasingly stigmatized. JLI wanted to create a product that would create “buzz” and

   excitement, totally different from the image of addicted cigarette smokers huddling outside their


   86
    Claude Teague, Research Planning Memorandum on Some Thoughts About New Brands of Cigarettes for the Youth
   Market, (internal RJR memo) (Feb. 2, 1973).

                                                       48
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   workplaces in the cold to get their nicotine fix.

          139.    Unlike the distinct smell and odor emitted from combustible cigarettes, JUUL emits

   a reduced aerosol with a nearly undetectable scent. And unlike other e-cigarettes, the JUUL device

   does not produce large plumes of smoke. Instead, the vapor cloud is very small and dissipates very

   quickly, allowing for concealed use. As a result, a young user can, and do, use JUUL—in class or

   at home—without detection.

          140.    The JUUL device is small and discrete. Fully assembled, the device is just over 9.5

   cm in length and 1.5 cm wide. The JUUL device resembles a memory stick and can be charged in

   a computer’s USB drive. This design allows the device to be concealed in plain sight, camouflaged

   as a thumb-drive, for use in public spaces, like schools.




                                                       49
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          141.    Referred to as “the iPhone of e-cigarettes,” JLI’s design was also slick and

   high-tech, which made it appealing to youth. JLI co-founder BOWEN drew on his experience as

   a design engineer at Apple to make JUUL resonate with Apple’s popular aesthetics. This high-

   tech style made JUULs look “more like a cool gadget and less like a drug delivery device. This

   wasn’t smoking or vaping, this was JUULing.”87 The evocation of technology makes JUUL

   familiar and desirable to the younger tech-savvy generation, particularly teenagers. According to

   a 19-year-old interviewed for the Vox series By Design, “our grandmas have iPhones now, normal

   kids have JUULs now. Because it looks so modern, we kind of trust modern stuff a little bit more

   so we’re like, we can use it, we’re not going to have any trouble with it because you can trust it.”88

   A 16-year-old agreed, explaining that “the tech aspect definitely helps people get introduced to it

   and then once they’re introduced to it, they’re staying, because they are conditioned to like all

   these different products. And then this is another product. And it’s just another product. Until

   you’re addicted to nicotine.”89

          142.    JUUL’s design also included an LED light, which allowed users to active “party

   mode,” whereby the LED light would flash a rainbow of colors. “Party mode” is activated by the


   87
      How JUUL Made Nicotine Go Viral, Vox (Aug. 10, 2018), https://www.youtube.com/watch?v=AFOpoKBUyok
   88
      Id.
   89
      Id.

                                                    50
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   user by waving the JUUL device back and forth until the white LED light starts flashing multiple

   colors, so that the rainbow colors are visible while the person inhales from the JUUL device. “Party

   mode” can also be permanently activated on the JUUL by the user quickly and firmly slapping the

   JUUL against the palm of the hand, until the LED light starts flashing multiple colors permanently.

   Party mode on the JUUL is described by users to be “like an Easter egg in a video game” and

   allows for “some cool tricks that are going to drive [] friends crazy.” 90 This feature was another

   characteristic that set JUUL apart from other e-cigarettes on the market and made it even more

   appealing and “cool” to young users.




        6)          JLI and E-Liquid Manufacturing Defendants Enticed Newcomers to Nicotine
                    with Kid-Friendly Flavors Without Ensuring the Flavoring Additives Were Safe
                    for Inhalation.

                      A.     JLI Develops Flavored JUUL Products That Would Appeal to Youth

             143.     Cigarette companies have known for decades that flavored products are key to




   90
    Jon Hos, Getting Your Juul Into Party Mode, (Jul. 12, 2018), https://vapedrive.com/getting-your-juul-into-party-
   mode.

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   getting young people to acclimate to nicotine.91 A 2004 study found that seventeen-year-old

   smokers were more than three times as likely as those over the age of twenty-five to smoke

   flavored cigarettes, and they viewed flavored cigarettes as safer.92

            144.    In June 2015, JUUL came to market in four flavors including tabaac (later renamed

   Tobacco), fruut (later renamed Fruit Medley), bruulé (later renamed Crème Brulee), and miint

   (later renamed mint).




            145.    JUUL later offered other kid-friendly flavors, including cool mint, cucumber, and

   mango.




   91
      A Sept. 1972 Brown & Williamson internal memorandum titled “Youth Cigarette New Concepts,” observed that
   “it’s a well known fact that teenagers like sweet products.” A 1979 Lorillard memorandum found “younger” customers
   would be “attracted to products with ‘less tobacco taste,’” and suggested investigating the “possibility of borrowing
   switching study data from the company which produces ‘Life Savers’ as a basis for determining which flavors enjoy
   the widest appeal” among youth.
   92
       Gardiner Harris, Flavors Banned From Cigarettes to Deter Youth, N.Y. Times (Sept. 22, 2009),
   https://www.nytimes.com/2009/09/23/health/policy/23fda.html.

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            146.     In 2009, the FDA banned flavored cigarettes (other than menthol) as its first major

   anti-tobacco action pursuant to its authority under the Family Smoking Prevention and Tobacco

   Control Act of 2009. “Flavored cigarettes attract and allure kids into addiction,” Health and Human

   Services Assistant Secretary Howard Koh, MD, MPH, said at a news conference held to announce

   the ban.93 In January 2020, the FDA banned flavored e-cigarette pods, other than “Tobacco” and

   “Menthol” flavors.

            147.     The availability of e-liquids in flavors that appeal to youth increases rates of e-

   cigarette adoption by minors. A national survey found that that 81% of youth aged twelve to

   seventeen who had ever used e-cigarettes had used a flavored e-cigarette the first time they tried

   the product, and that 85.3% of current youth e-cigarette users had used a flavored e-cigarette in

   the past month. Moreover, 81.5% of current youth e-cigarette users said they used e-cigarettes

   “because they come in flavors I like.”94

            148.     Adding flavors to e-liquids foreseeably increases the risk of nicotine addiction by

   making it easier and more pleasant to ingest nicotine.95 Research has shown that adolescents whose

   first tobacco product was flavored are more likely to continue using tobacco products than those

   whose first product was not flavored.

            149.     In a recent study, 74% of youth surveyed indicated that their first-use of a JUUL




   93
      Daniel J. DeNoon, FDA Bans Flavored Cigarettes: Ban Includes Cigarettes With Clove, Candy, and Fruit Flavors,
   WebMD (Sept. 22, 2009), https://www.webmd.com/smoking-cessation/news/20090922/fda-bans-flavored-
   cigarettes#2
   94
      See Bridget K. Ambrose et al., Flavored Tobacco Product Use Among US Youth Aged 12-17 Years, 2013-2014,
   314 JAMA 1871 (2015). Another peer-reviewed study concluded that “Young adults who use electronic cigarettes
   are more than four times as likely to begin using regular cigarettes as their peers who have not used e-cigarettes, a
   new study has found.”
   95
      See How Tobacco Smoke Causes Disease: The Biology and Behavioral Basis for Smoking-Attributable Disease: A
   Report of the Surgeon General, Chapter 4 (Centers for Disease Control and Prevention ed. 2010),
   https://www.ncbi.nlm.nih. gov/books/NBK53018/ #ch4.s92.

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   was of a flavored JUUL pod.96

           150.     Research shows that when youth see advertisements for flavored e-cigarettes, they

   believe the advertisements and products are intended for them.97

           151.     A significant majority of under-age users chose flavored e-cigarette products.98

   Instead of taking corrective action or withdrawing the kid-friendly flavors, JLI capitalized on their

   popularity with kids.

           152.     JLI asserts that it did not intend its flavors to appeal to underage consumers. After

   eleven Senators sent a letter to JLI questioning its marketing approach and kid-friendly e-cigarette

   flavors, JLI visited Capitol Hill and told Senators that it never intended its products to appeal to

   kids and did not realize they were using the products, according to a staffer for Senator Dick

   Durbin. JLI’s statements to Congress—which parallel similar protests of innocence by cigarette

   company executives—were false.99

           153.     A former JUUL manager, who spoke to The New York Times on the condition that

   his name not be used, said that within months of JUUL’s 2015 introduction, it became evident that

   teenagers were either buying JUULs online or finding others who made the purchases for them.

   Some people bought more JUUL kits on the company’s website than they could individually use—

   sometimes ten or more devices at a time. “First, they just knew it was being bought for resale,”

   said the former senior manager, who was briefed on the company’s business strategy. “Then, when




   96
      Karma McKelvey et al., Adolescents and Young Adults Use in Perceptions of Pod-based Electronic Cigarettes. 1
   JAMA Network Open e183535 (2018), https:// doi:10.1001/jamanetworkopen.2018.3535.
   97
      D.C. Petrescu, et al. What is the Impact of E-Cigarette Adverts on Children’s Perceptions of Tobacco Smoking?
   An Experimental Study, 26 Tobacco Control 421 (2016); Julia C. Chen-Sankey, et al. Perceived Ease of Flavored E-
   Cigarette Use and E-Cigarette Use Progression Among Youth Never Tobacco Users, 14 PLoS ONE 1 (2019).
   98
      Karen A. Cullen et al., E-cigarette Use Among Youth in the United States, 2019, 322 JAMA, 2095 (2019),
   https://tinyurl.com/y3g75gmg (“Among current exclusive e-cigarette users, an estimated 72.2% . . . of high school
   students and 59.2% . . . of middle school students used flavored e-cigarettes. . . .").
   99
      https://www.politico.com/story/2018/12/08/juul-lobbying-washington-1052219

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   they saw the social media, in fall and winter of 2015, they suspected it was teens.”100

           154.     JLI’s use of flavors unfairly targeted not only youth, but unsuspecting adults as

   well. By positioning JUUL pods as a flavor-oriented product rather than a system for delivering a

   highly addictive drug, JLI deceptively led consumers to believe that JUUL pods were not only

   healthy (or at least essentially harmless), but also a pleasure to be enjoyed regularly, without guilt

   or adverse effect.


                    B.      Defendants Developed and Promoted the Mint Flavor and Sought to
                            Preserve its Market

           155.     While JLI and the MANAGEMENT DEFENDANTS were developing and

   marketing their flavored products to appeal to and recruit youth, ALTRIA, recognizing the value

   of those young “replacement smokers” committed itself to the cause. With the shared goal to grow

   the number of nicotine-addicted users, and as detailed further below, JLI, the MANAGEMENT

   DEFENDANTS, and ALTRIA set out to do whatever was necessary to create and preserve the

   lucrative market for flavors. In order to maximize the value of its mint line of JUUL pods, JLI,

   with the support of the MANAGEMENT DEFENDANTS, chemically and socially engineered its

   mint pods to become the most popular “flavor” among youth, including through extensive

   surveillance of youth behavior and preferences.

           156.     In July 2013, Reynolds American Inc.101 released the VUSE, the first-known

   cartridge-based nicotine salt e-cigarette to reach the domestic market.102 ALTRIA entered the

   nicotine salt market one month later, with the MarkTen cig-a-like.103 JLI would enter the market


   100
       Matt Richtel & Sheila Kaplan, Did Juul Lure Teenagers and Get ‘Customers for Life’?, N.Y. Times (Aug. 27,
   2018), https://www.nytimes.com/2018/08/27/science/juul-vaping-teen-marketing.html.
   101
       Reynolds is now a wholly owned subsidiary of British American Tobacco.
   102
       See FAQs, RJR Vapor Co., LLC, http://www.vusevapor.com/faqs/product/ (“Since Vuse’s launch in 2013, all of
   our closed systems available for sale nationally (i.e., Vuse Solo, Vuse Ciro, Vuse Vibe, and Vuse Alto) include
   nicotine salts.”) (last visited Feb. 10, 2020).
   103
       Additional Info, Nu Mark LLC, https://markten.com (“certain varieties” of MarkTen Original “contain acetic

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   in June 2015.

            157.     Though mint was one of the least popular e-cigarette flavor categories with youth

   in 2015, trailing the fruit and dessert categories,104 Reynolds, ALTRIA and JLI had all introduced

   mint-flavored products within a year of each company’s initial release. By mid-2014, Reynolds

   had added “Mint, Rich Mint, Spearmint, [and] Wintergreen” to its VUSE lineup.105 By February

   2015, ALTRIA’s Nu Mark LLC, under the leadership of Joe Murillo (JLI’s current regulatory

   head), released a Winter Mint flavor for MarkTen.

            158.     Unlike Reynolds and ALTRIA, which released mint products after first releasing a

   menthol variant, JLI skipped menthol and went straight to mint, adding Menthol in late 2017

   around the same time it released its mango JUUL pods.

            159.     JLI’s flavored JUUL pods were particularly popular with its underage users and,

   when mango was introduced, it was the underage user’s flavor of choice.

            160.     JLI, the MANAGEMENT DEFENDANTS, and ALTRIA recognized both the

   potential of using flavors to hook kids and the inevitability that the government would seek to

   regulate said flavors. So, they sought to solidify the market presence of a “substitute” youth-

   friendly flavor—mint—which might escape regulation and preserve JLI’s astronomical sales

   figures.


                              i.       JLI Manipulates Chemistry of Mint JUUL pods

            161.     JLI also enhanced the nicotine impact of the mint flavor by adding excess nicotine




   acid, benzoic acid, and lactic acid.”)
   104
       See M.B. Harrell et al., Flavored e-cigarette use: Characterizing youth, young adult, and adult users, 5
   Preventive Medicine Reports, 33-40, § 3.3 (Mar. 2017),
   https://www.sciencedirect.com/science/article/pii/S2211335516301346.
   105
       See Sen. Richard Durbin, et al., Gateway to Addiction? (April 14, 2014), available at
   https://www.durbin.senate.gov/imo/media/doc/Report%20-%20E-Cigarettes%20with%20Cover.pdf

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   to mint JUUL pods,106 and by boosting mint’s nicotine delivery profile through pH manipulation,

   thereby increasing nicotine impact.107

            162.     One recent study found that JLI’s mango had the lowest free-base content, making

   it the least harsh formula; and that mint had the highest free-base content (30% more free-base

   than    mango),      making       mint     the    formula      with     the    strongest     nicotine     impact:108




            163.     These findings evidence the JLI, the MANAGEMENT DEFENDANTS, and

   ALTRIA’s plan to make the flavor whose lifespan they were working hard to preserve the most

   potent when it got into the hands of nonsmokers, including youth.


                              ii.      JLI’s youth surveillance programs confirmed that Mint JUUL
                                       pods are preferred by teens

            164.     In January 2018, Kevin Burns, JUUL’s new CEO, deployed his experience as the

   former CEO of a yogurt company to begin developing JUUL’s flavor portfolio.

            165.     According to Siddharth Breja, who was Senior Vice President for Global Finance


   106
       See Duell AK, et al. Nicotine in tobacco product aerosols: ‘It's déjà vu all over again’ Tob Control, 5 ((Dec. 17,
   2019), available at https://tobaccocontrol.bmj.com/content/tobaccocontrol/early/2019/12/16/tobaccocontrol-2019-
   055275.full.pdf
   107
       S.G. Burch et al., Effect of pH on Nicotine Absorption and Side Effects Produced by Aerosolized Nicotine, 6 J.
   Aerosol Med. 1, 45 (1993).
   108
       See Duell, supra (Dec. 17, 2019).

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   at JLI, after JLI pulled most flavored pods from the market, then-CEO Kevin Burns said that “[y]ou

   need to have an IQ of 5 to know that when customers don’t find mango they buy mint.”109 And it

   was public knowledge that mint and menthol have a well-documented history of facilitating youth

   tobacco use, as Dr. Jonathan Winickoff testified before Congress:


                    [it is] completely false to suggest that mint is not an attractive flavor
                    to children. From candy canes to toothpaste, children are introduced
                    to mint flavor from a young age. Not only do children enjoy mint,
                    but it has special properties that make it an especially dangerous
                    flavor for tobacco. Menthol’s anesthetic properties cool the throat,
                    mask the harshness of nicotine, and make it easier for children to
                    start using and continue using tobacco products. The impact of mint
                    and menthol flavors on increasing youth tobacco addiction is well
                    documented.110

           166.     As detailed below, JLI, the MANAGEMENT DEFENDANTS, and ALTRIA

   committed to work to preserve mint as a flavor for as long as possible. Indeed, to further this goal,

   Defendants PRITZKER and VALANI poured additional money into JLI a mere two months later

   as part of a $600 million funding round.111

           167.     By keeping mint on the market long after other flavors were pulled, these

   Defendants continued to expand the number of addicted e-cigarette users.


                    C.      JLI and the E-Liquid Defendants Used Toxic Flavorings and Raw
                            Ingredients in JUUL Pods Without Ensuring They Were Safe For
                            Inhalation and Without Providing Warnings to Plaintiff of the
                            Potential Dangers.

           168.     It is well-established that flavoring additives and raw ingredients used in JUUL e-


   109
       Sheila Kaplan and Jan Hoffman, Juul Knowingly Sold Tainted Nicotine Pods, Former Executive Say, N.Y. Times
   (Nov. 20, 2019), https://www.nytimes.com/2019/10/30/health/juul-pods-contaminated.html
   110
       Examining Juul’s Role in the Youth Nicotine Epidemic, Testimony of Jonathan Winickoff Before the U.S. House
   of Representatives Committee on Oversight and Reform Subcommittee on Economic and Consumer Policy,
   (“Winickoff Testimony”) at 3, U.S. House Committee on Oversight & Reform (July 24, 2019),
   https://oversight.house.gov/sites/democrats.oversight.house.gov/files/2019.07.24%20Winickoff%20AAP%20Testim
   ony.pdf.
   111
       Crunchbase, JLI Raises $650M Of Its $1.25B Mega-Round, 2018-07-10 (Last Visited 2019-12-26)
   https://news.crunchbase.com/news/juul-raises-650m-of-its-1-25b-mega-round/

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   liquids are known causes of lung injuries when inhaled in the workplace setting.112

            169.     Safety and toxicity analyses in the context of flavored e-liquids have also been

   published in the medical and scientific literature.

            170.     In 2016, Tierney, et al., performed an analysis of the ingredients in several popular

   flavors and brands of e-cigarettes. They found that the concentration of artificial flavor chemicals

   in e-cigarette fluids are sufficiently high for inhalation exposure by vaping to be of toxicological

   concern. Also, the researchers found that certain flavoring additives appeared to be popular across

   all brands such as vanillin, ethyl vanillin, maltol and ethyl maltol, benzaldehyde and benzyl

   alcohol, ethyl butyrate and ethyl acetate. A review of the JUUL master formulations and ingredient

   lists for flavored JUUL pods identify many of these same popular toxic ingredients studied by

   Tierney.113

            171.     A 2018 study examined the effect of popular e-cigarette flavoring on cells. The

   authors found that cell exposure to diacetyl, cinnamaldehyde, acetoin, pentanedione, o-vanillin,

   maltol, and coumarin without nicotine caused cytotoxicity dose-dependently. Mixing a greater

   variety of flavors resulted in an even greater cytotoxicity and cell-free ROS levels compared to

   treatments with individual flavors.114

            172.     Talih, et al. analyzed the characteristics and toxicant emissions of JUUL and found

   that JUUL aerosol contained numerous toxic carbonyl compounds including formaldehyde,

   acetaldehyde and acetone, all known carcinogens.115

            173.     Omaiye, et al. performed an analysis of the ingredients in a number of chemical


   112
       Flavorings-Related Lung Disease, Exposure To Flavoring Chemicals: What Are Flavorings?, National Institute
   for Occupational Safety and Health (October 3, 2017), https://www.cdc.gov/niosh/topics/flavorings/exposure.html
   113
       Peyton A Tierney, et al., Flavour chemicals in electronic cigarette fluids, Tob Control, 25:e10-e15, Apr. 15, 2015.
   114
       Thivanka Muthumalage, et al., Inflammatory and Oxidative Responses Induced by Exposure to Commonly Used e-
   Cigarette Flavoring Chemicals and Flavored e-Liquids without Nicotine, 8 Frontiers in Physiology 1130 (2018).
   115
       Talih S, Salman R, El-Hage R, et al., Characteristics and toxicant emissions of JUUL electronic cigarettes,
   Tobacco Control 2019;28:678-680.

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   flavored JUUL pods and found that they were cytotoxic when exposed to human bronchial cells.

   The study found the following known harmful chemicals in the JUUL e-liquids including: 2-

   methoxyphenol; 2,3,5-Trimethylpyrazine; 2,5-dimethylpyrazine; isopulegol; ethyl maltol;

   benzaldehyde; 4-terpineol; maltol; hydrocoumarin; vanillin; ethyl vanillin; phenoethyl alcohol;

   benzyl alcohol; p-Cymene; corylone; and pulegone. They also found the following irritant

   chemicals included: p-Anisaldehyde; eucalyptol; piperidone; piperonal; linalool; methyl

   anthranilate; beta-Damascone; benzaldehyde PG acetal; gamma-terpinene; ethyl anthranilate;

   alpha-terpineol; delta-decalactone; gamma-octalatone; 3-Hecen-1-ol; ethyl isovalerate; beta-

   undecalactone; hexyl acetate; acetylpurazine; ethyl hexacanoate; ethyl 2-methylbutanoate; and

   menthol. In addition, they found the following environmentally hazardous chemicals included:

   thymol, ally hexanoate, alpha-pinene, beta-pinene, and limonene.116

           174.     Another study published in 2019 examined the artificial flavoring additives in e-

   liquids in JUUL pods. The authors concluded that the cumulated data suggested that artificial

   flavors induce oxidative stress, inflammation, epithelial barrier dysfunction, and DNA damage in

   lung cells. Specifically, JUUL crème brulee and cool cucumber caused epithelial barrier

   dysfunction in 16-HBE cells. Moreover, all flavors damaged DNA upon exposure in monocytes.

   The findings included increased mitochondrial superoxide generation, IL-8 inflammatory cytokine

   response, IL-8 inflammatory cytokine response in monocytes, and OGE2 response in monocytes.

   All findings are a known cause of acute and chronic lung injuries, as well as other serious and

   significant injuries.117




   116
       Esther E. Omaiye, et al., High-Nicotine Electronic Cigarette Products: Toxicity of JUUL Fluids and Aerosols
   Correlates Strongly with Nicotine and Some Flavor Chemical Concentrations, Chem Res Toxicol, 32(6): 1058-69,
   June 17, 2019.
   117
       Thivanka Muthumalage, et al., E-cigarette flavored pods induce inflammation, epithelial barrier dysfunction, and
   DNA damage in lung epithelial cells and monocytes, Scientific Reports, 9:19035 (Feb. 1, 2019).

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            175.     A number of other studies have examined the effects of exposure to inhaled

   flavoring additives in e-liquids and determined that inhalation of flavoring additives in e-cigarette

   aerosol carry a significant risk of toxicity and other injuries.118

            176.     In addition, there is evidence that combining a number of flavoring additives into

   an e-liquid formulation can significantly increase toxicity.119

            177.     Despite the body of evidence demonstrating a significant risk associated with the

   flavoring additives used in JUUL e-liquids, Defendants failed to warn consumers or the public,

   including Plaintiff of this risk thereby recklessly disregarding the safety of the millions of JUUL

   users throughout the country, including millions of teenagers and young adults who were non-

   smokers.

            178.     Upon information and belief, Defendant JLI entered into an agreement in California

   with Defendant MOTHER MURPHY’S and Defendant ALTERNATIVE in or around 2014

   wherein in conjunction with JLI, MOTHER MURPHY’S and ALTERNATIVE designed,

   manufactured and supplied flavoring additives and the                     flavored E-liquids pursuant to JLI

   directives and specifications derived from their patents for use in its JUUL pods. Upon information




   118
       Jessica L. Fetterman, et al., Flavorings in Tobacco Products Induce Endothelial Cell Dysfunction, Arterioscler
   Thromb Vasc Biol (July 2018); Isaac Sundar, et al., E-cigarettes and flavorings induce inflammatory and
   prosenescence responses in oral epithelial cells and periodontal fibroblasts, Oncotarget, 7(47): 77196-204 (Oct. 24,
   2016); Hae-Ryung Park, et al., Transcriptomic response of primary human airway epithelial cells to flavoring
   chemicals in electronic cigarettes, Scientific Reports, 9:1400, (Feb. 1, 2019); Chad A. Lerner, et al., Vapors Produced
   by Electronic Cigarettes and E-Juices with Flavorings Induce Toxicity, Oxidative Stress, and Inflammatory Response
   in Lung Epithelial Cells and in Mouse Lung, PLoS ONE, 10(2): e0116732, (Feb. 6, 2015); Michael S. Werley, et al.,
   Toxicological assessment of a prototype e-cigaret device and three flavor formulations: a 90-day inhalation study in
   rats, Inhalation Toxicology, 28(1), 22-28, (Jan. 18, 2016); Wavreil FDM, Heggland SJ, Cinnamon-flavored electronic
   cigarette liquids and aerosols induce oxidative stress in human osteoblast-like MG-63 cells, Toxicology Reports
   (2019), doi: https://doi.org/10.1016/j.toxrep.2019.11.019; Behar, et al., Analytical and toxicological evaluation of
   flavor chemicals in electronic cigarette refill fluids, Scientific Reports, (May 29, 2018).
   119
       Marescotti D, et al., Systems toxicology assessment of a representative e-liquid formulation using human primary
   bronchial epithelial cells, Toxicology Reports (2019), doi: https://doi.org/10.1016/j.toxrep.2019.11.016; Temperance
   R. Rowell, et al., Electronic Cigarettes: Not All Good News? Flavored e-cigarette liquids reduce proliferation and
   viability in the CALU3 airway epithelial cell line, Am. J. Physiol. Lung Cell Mol. Physiol., 313:L52-L66 (Apr. 14,
   2017).

                                                            61
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   and belief, MOTHER MURPHY’S and ALTERNATIVE continue to design, manufacture and

   supply flavoring additives and flavored e-liquids to JLI for use in its JUUL pods presently.

             179.   MOTHER MURPHY’S and ALTERNATIVE would use their own chemical

   additives and flavorings to formulate the e-liquids but “the overall manufacturing processes are

   unique to the JUUL system and the formulas and chemistries for the e-liquids for the JUUL system,

   are proprietary to JLI” as alleged in JLI’s responses to Congress.120

             180.   MOTHER MURPHY’S and ALTERNATIVE would report regularly to JLI as to

   the production processes and progress and took direction from JLI in California as to business

   directives, including phone calls, e-mails and regular forms of electronic communication coming

   from JLI in California.

             181.   Upon information and belief, MOTHER MURPHY’S and ALTERNATIVE

   performed “one-third of the final nicotine production” for JUUL products that go into the e-liquid

   mix.121

             182.   Defendant MOTHER MURPHY’S describes itself as “an industry leader in flavor

   innovation.” According to its website:


                    MOTHER MURPHY’S is a food flavoring business, family-owned
                    and operated since 1946. We ship food flavorings, flavor extracts
                    and powered flavorings to over 30 different countries. We are very
                    innovative, and our in-house chemists are always developing and
                    seeking new flavor extracts and powdered flavorings to add to our
                    library of already more than 60,000 flavors. In fact, we say ‘if you
                    can imagine it, we can create it’.122

             183.   Upon information and belief, MOTHER MURPHY’S is the parent company of




   120
       “Responses of JUUL LABS INC. to Questions for the Record at the July 25, 2019 Hearing before the House
   Committee on Oversight and Record Examining JUUL’s role in the Youth Nicotine Epidemic: Part II p. 6.
   121
       Id. at 7.
   122
       http://www.mothermurphys.com/

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   ALTERNATIVE. ALTERNATIVE’s website was taken down in the Fall of 2019 when news

   broke that a lawsuit had been filed by a former JLI employee alleging that ALTERNATIVE

   supplied over a million contaminated pods which JLI sold to users, including teenagers and young

   adults, with reckless disregard for consumer safety.123

              184.     A snapshot of ALTERNATIVE’s website from 2016 accessed through

   wayback.org internet archive, describes ALTERNATIVE as “Established in Greensboro, North

   Carolina, ALTERNATIVE Ingredients, Inc. was created to serve the relatively new Vaping

   Industry, also known as the Electronic Nicotine Delivery Systems (ENDS) industry. Our product

   offering include E-Flavor Concentrates, Nicotine Solutions and finished E-Liquids.” It also states

   that:


                       We emphasize that while we have sought to create a group of
                       flavors compatible with the ENDS industry, to our knowledge, no
                       independent studies have been conducted which document the
                       safety of these flavors in a vaping environment or in e-cigarettes.
                       We expect that these studies will be forthcoming, but until they are
                       released, we make no representation or warranty as to the safety of
                       these flavors when used in a vaping environment or in e-
                       cigarettes.124 (emphasis added).

              185.     However, no such warning was provided when the e-liquids were shipped and/or

   sold to millions of consumers throughout the United States. MOTHER MURPHY’S and

   ALTERNATIVE did not see to it that JLI provide the same reservation as to lack of safety tasting

   and lack of warranty as to the safety of the chemical flavoring additives to the consumers that they

   themselves cautioned about to their potential vaping industry customers.

              186.     In conjunction with JLI, MOTHER MURPHY’S and ALTERNATIVE designed,

   manufactured, and supplied flavoring ingredients for JUUL e-liquids utilizing flavoring additives,


   123
         See Breja v. JUUL labs, Inc., NDCA 3:19-cv-07148.
   124
         https://web.archive.org/web/20160312122149/http://www.alternativeingredients.com/

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   which were never tested for safety risks associated with inhalation in e-cigarettes. Accordingly,

   JLI, MOTHER MURPHY’S and ALTERNATIVE’s design, manufacture, and supply of JUUL e-

   liquids was done with reckless disregard for the safety of consumers, including Plaintiff, and

   millions of teenagers, young adults and older adults who unknowingly inhaled e-liquids containing

   flavoring additives that were never tested to determine whether they were safe for use in this

   manner and for which Defendants knew, or should have known, carried a severe and significant

   inhalation risk to the lung and other organs. MOTHER MURPHY’S and ALTERNATIVE placed

   JUUL e-liquids into the stream of commerce with the full knowledge that it was unsafe for use in

   the manner for which it was intended. MOTHER MURPHY’S and ALTERNATIVE knew, or

   should have known, that the e-liquid it designed, and was manufacturing and supplying was an

   inherently dangerous and toxic product which could cause the personal injuries as described

   herein.

             187.   Occupational safety protections pursuant to OSHA and state laws were needed to

   ensure that ALTERNATIVE and Mother Murphy’s employees were protected from the fumes

   from these flavoring additives, nicotine and other chemicals; the very chemicals designed to be

   vaporized and then inhaled by consumers.

             188.   Despite the knowledge of the inhalation risks, MOTHER MURPHY’S and

   ALTERNATIVE, manufactured e-liquids and placed the products into the stream of commerce

   for millions of people, including Plaintiff, to inhale without warning of any risks caused by

   inhalation of the ingredients contained therein.

             189.   Due to the continued blockbuster success and increased demand for JUUL, as well

   as anticipated global expansion, JLI entered into an agreement with the Maryland based

   corporations Defendant TTI and Defendant ELIQUITECH in or around 2017 wherein TTI and



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   ELIQUITECH also manufactured and supplied flavoring additives and blended the flavored e-

   liquids in JLI’s JUUL pods. Upon information and belief, TTI and ELIQUITECH continue to

   design, manufacture and supply flavoring additives and flavored e-liquids in conjunction with JLI

   for use in its JUUL pods presently.

          190.    In addition to MOTHER MURPHY’S and ALTERNATIVE, Defendants TTI and

   ELIQUITECH, based upon contractual relations with JLI in California, also used specifications

   created by JLI in San Francisco, and designed, manufactured and supplied flavoring ingredients

   and blended the JUUL e-liquids utilizing flavoring additives, which were never tested for safety

   risks associated with inhalation in e-cigarettes. TTI and ELIQUITECH placed JUUL e-liquids into

   the stream of commerce with the full knowledge that it was unsafe for use in the manner for which

   it was intended. TTI and ELIQUITECH knew, or should have known, that the e-liquid it was

   designing, manufacturing, and supplying in conjunction with JLI was an inherently dangerous and

   a toxic product which could cause the personal injuries as described herein.

          191.    Neither TTI nor ELIQUITECH had ever tested the products for safety risks

   associated with utilizing the material in e-liquids. In fact, TTI and ELIQUITECH were fully aware

   that the Safety Data Sheets prepared for each flavoring additive specifically stated that the

   ingredient carried inhalation health risks. Despite the knowledge of the inhalation risks, TTI and

   ELIQUITECH manufactured e-liquids utilizing these ingredients and placed the product into the

   stream of commerce for millions of people, including Plaintiff, to inhale without warning of any

   risks caused by inhaling of the ingredients contained therein.

          192.    The flavoring additives and raw ingredients manufactured and supplied by the E-

   LIQUID MANUFACTURERS and used in the JUUL e-liquid formulations as designed in

   conjunction with JLI are associated with severe and significant risks of acute and chronic lung



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   injuries, cardiovascular injuries and seizures. The E-LIQUID MANUFACTURERS knew, or

   should have known of the risks and failed to warn Plaintiff, and failed to ensure that its’ contractual

   partner/customer JLI warned its consumers of the risks, in reckless disregard for human safety.

           193.   The E-LIQUID MANUFACTURERS maintained substantial contacts with the

   state of California in that they entered into contracts originating in California with JLI to

   manufacture and supply goods to be shipped throughout the United States, including to California.

   Upon information and belief, said Defendants continue to maintain substantial contacts with the

   state of California as described herein. Moreover, E-LIQUID MANUFACTURERS regularly

   supplied and shipped raw ingredients, flavoring additives and batches of e-liquid to Defendant

   JLI’s headquarters in San Francisco, California over a period of many years. The products that

   were shipped were either used in the research and development of JUUL products and/or were

   sold to consumers. The E-LIQUID MANUFACTURERS made at least three or more sales within

   a one year prior for each year over the last five years, thus subjecting themselves to California

   Regulation 1595 (d). Further, they subjected themselves to California law by adhering to some

   extent to certain requirements of California Proposition 65.

           194.   The aforementioned E-LIQUID MANUFACTURERS were all manufacturers and

   suppliers of flavoring ingredients for JUUL E-liquids utilizing flavoring additives. The E-LIQUID

   MANUFACTURERS were negligent in that they failed to warn and failed to ensure its contractual

   partner JLI warned the consumers and users of the risks associated with inhaling their products

   contained in the JUUL e-liquid and thereby acted in reckless disregard for the safety of the public,

   consumer and users of JUUL including millions of teenagers, young and older adults. The E-

   LIQUID MANUFACTURERS were otherwise negligent and liable for the injuries sustained by

   Plaintiff.



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    D.        Defendants Developed and Implemented a Marketing Scheme to Mislead
              Consumers into Believing that JUUL Products Contained Less Nicotine Than
              They Actually Do and Were Healthy and Safe

              195.     Having created a product designed to hook users to its nicotine, JLI had to mislead

   consumers into believing JUUL was something other than what it actually was. So, the company

   engaged in a years’ long campaign to downplay JUUL’s nicotine content, nicotine delivery, and

   the unprecedented risks of abuse and addiction JUUL poses. Defendants devised and knowingly

   carried out a material scheme to defraud consumers by (a) misrepresenting the nicotine content,

   nicotine delivery profile, and risks of JUUL products, (b) representing to the public that JUUL was

   a smoking cessation tool, and (c) using third-party groups to spread false and misleading narratives

   about e-cigarettes, and JUUL in particular.


         1)          The Defendants Knowingly Made False and Misleading Statements and
                     Omissions Concerning JUUL’s Nicotine Content.

              196.     Every 5% strength JUUL pod package represents that one pod is equivalent to one

   pack of cigarettes. This statement is deceptive, false and misleading. As JLI’s regulatory head

   explained internally to former CEO Kevin Burns in 2018, each JUUL pod contains “roughly twice

   the nicotine content of a pack of cigarettes.”

              197.     In addition, and as JLI and the MANAGEMENT DEFENDANTS know, it is not

   just the amount of nicotine, but the efficiency with which the product delivers nicotine into the

   bloodstream, that determines the product’s narcotic effect, risk of addiction, and therapeutic use.

   Most domestic cigarettes contain 10–15 mg of nicotine per cigarette and each cigarette yields

   between 1.0 to 1.4 mg of nicotine, meaning that around 10% of the nicotine in a cigarette is

   typically delivered to the user. JUUL e-cigarettes, on the other hand, have been found to deliver at

   least 82% of the nicotine contained in a JUUL pod to the user. JLI’s own internal studies suggest

   a nicotine transfer efficiency rate of closer to 100%.


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              198.     Defendants also knew that that the use of benzoic acid and nicotine salts in JUUL

   pods affects pH and facilitates “absorption of nicotine across biological membranes.”125 JUUL’s

   e-liquid formulation is highly addictive not only because it contains a high concentration of

   nicotine, but because it contains a particularly potent form of nicotine, i.e., nicotine salts. And

   the ALTRIA DEFENDANTS were aware of the research showing the potency of nicotine salts

   from their many years in the tobacco business.

              199.     Despite this knowledge, the Defendants knowingly made deceptive, false and

   misleading statements to consumers about JUUL’s nicotine content and potency.


         2)          JLI and the MANAGEMENT DEFENDANTS Transmitted, Promoted and
                     Utilized Statements Concerning JUUL’s Nicotine Content that They Knew Was
                     False and Misleading

              200.     As set forth above, the statements in JLI advertisements and on JUUL pod

   packaging that each JUUL pod contains about as much nicotine as a pack of cigarettes are

   deceptive, false and misleading. Defendants knew this.

              201.     JLI and the MANAGEMENT DEFENDANTS caused deceptive, false and

   misleading statements that a JUUL pod had an equivalent amount of nicotine as one pack of

   cigarettes to be distributed to consumers including Plaintiff. These Defendants have thus materially

   misrepresented the nicotine content of JUUL products to the consuming pubic including Plaintiff.

              202.     By no later than October 30, 2016 (and likely much earlier), the JLI Website –

   which, as discussed above, the MANAGEMENT DEFENDANTS on JLI’s Board of Directors

   reviewed and approved – advertised that “[e]ach JUULpod contains 0.7mL with 5% nicotine by

   weight, approximately equivalent to 1 pack of cigarettes or 200 puffs.”126 The language on the


   125
       Neal L. Benowitz et al., Nicotine Chemistry, Metabolism, Kinetics and Biomarkers, 192 Handb. Exp. Pharmacol.,
   29 (2010), https://www.ncbi.nlm.nih.gov/pmc/articles/PMC2953858/.
   126
       JUULpod, JUUL Labs, Inc. (Oct. 30, 2016),
   https://web.archive.org/web/20161030085646/https://www.juulvapor.com/shop-pods/.

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   website would later change, but still maintained the same fraudulent misrepresentation – i.e., that

   “[e]ach 5% JUULpod is roughly equivalent to one pack of cigarettes in nicotine delivery.”127

           203.    As noted above, JLI and the MANAGEMENT DEFENDANTS directed and

   approved the content of the JUUL website, and they also directed and approved the distribution

   channels for JUUL pods and their deceptive, misleading and fraudulent statements regarding

   JUUL’s nicotine content. And although they knew that these statements, were untrue, JLI and the

   MANAGEMENT DEFENDANTS have made no effort to retract such statements or correct their

   lies.

           204.    In addition to approving the JLI website, knowing that it contained deceptive,

   misleading and false statements, JLI (through its employees) and the MANAGEMENT

   DEFENDANTS also were directly responsible for the selling and distributing JUUL pod

   packaging that contained misrepresentations and omissions.

           205.    JUUL pod packages that DEFENDANTS sold and distributed stated that JUUL

   pods are “approximately equivalent to about 1 pack of cigarettes.”128 These statements, as well as

   the statements on the JLI website, are false and misleading.

           206.    The statement on the JLI website, and in its marketing, promotions, advertisements

   and packaging, that each JUUL pod contains 5% nicotine and is approximately equivalent to a

   pack of cigarettes is false and likely to deceive and mislead, because the actual amount of nicotine

   contained in a JUUL pod is as much as twice as high as that in a pack of cigarettes.

           207.    ALTRIA greatly expanded the reach of this fraud by providing its retail and

   distribution might for JLI products, causing millions of JUUL pods sold and distributed with



   127
       What is Vaping?, JUUL Labs, Inc. (July 2, 2019), https://www.JUUL.com/resources/What-is-Vaping-How-to-
   Vape.
   128
       Juul Labs, Feb. 14, 2018, 10:35 a.m. Tweet, https://twitter.com/JUULvapor/status/963844069519773698.

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   packaging stating that JUUL pods contain only 5% nicotine by weight and are “approximately

   equivalent to about 1 pack of cigarettes.”129 JLI, the MANAGEMENT DEFENDANTS, and

   ALTRIA knew that these statements are false and misleading, but nevertheless utilized JUUL

   product packing, marketing and advertising to maintain their fraud.

               208.   ALTRIA knew in 2017 that a JUUL pod delivered more nicotine than one pack of

   cigarettes. In 2017, ALTRIA launched its MarkTen Bold ENDS, a relatively high-strength 4%

   formulation compared to the 2.5% and 3.5% strength MarkTen products initially offered. Even

   though JLI was already on store shelves and was rapidly gaining market share with its 5% nicotine

   formulation, ALTRIA chose to bring a less potent 4% formulation to market.

               209.   According to ALTRIAS’ own pharmacokinetic testing as reflected in the below

   chart, this 4% less potent formulation was nevertheless sufficient to raise plasma nicotine to levels

   approaching those generated by combustible cigarettes. In other words, ALTRIAS’ own

   pharmacokinetic testing suggested the highly addictive nature of a 5% formulation, as such a

   formulation would readily equal or exceed the nicotine delivery profile of a combustible cigarette.




         Figure 1: Presented at ALTRIA Group Inc.’s November 1, 2017 Investor Day Presentation.
                                            MarkTen Bold 4%

   129
         Id.

                                                    70
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            210.     Based on its own internal knowledge, ALTRIA knew that a 5% nicotine

   formulation would carry more nicotine than one pack of cigarettes. In addition to data it received

   from JLI, the ALTRIA DEFENDANTS’ due diligence undoubtedly included a careful

   examination of JLI’s intellectual property, including the ’895 patent, which provides a detailed

   overview of nicotine benzoate’s pharmacokinetic profile.

            211.     Thus, JLI, the MANAGEMENT DEFENDANTS, and ALTRIA knew that the

   statement on JUUL pod packaging that each JUUL pod contains 5% nicotine and about as much

   nicotine as a pack of cigarettes is literally false and they intended such statements to mislead.

   Neither ALTRIA, nor JLI or the MANAGEMENT DEFENDANTS has made any effort to correct

   or retract the false and misleading statements as to the true nicotine content in JUUL pods. Instead,

   they have continued to misrepresent the product’s nicotine content and design, with the goal of

   misleading and deceiving consumers.

            212.     From JLI’s pre-release announcements to this day, JLI has continuously

   represented that each pod is approximately equivalent to a pack of cigarettes. These claims, which

   JLI repeats widely in advertisements, press releases, and its web site, have been distributed via the

   wires and mails and disseminated by reputable and widely reliable sources that accepted those

   representations is true.130




   130
      See Truth Initiative, 6 Important Facts about Juul (last visited March 4, 2020), https://truthinitiative.org/research-
   resources/emerging-tobacco-products/6-important-facts-about-juul; Erin Brodwin, An e-cigarette with twice the
   nicotine of comparable devices is taking over highschools – and scientists are sounding the alarm, Business Insider,
   (April 30, 2018, 12:03 pm), https://www.businessinsider.com/juul-e-cig-vaping-health-effects-2018-3; Caroline
   Kee, Everything you need to know about the JUUL, including the health effects, Buzzfeed News, (February 5, 2018,
   5:51 pm), https://www.buzzfeednews.com/article/carolinekee/juul-ecigarette-vape-health-effects; Jan Hoffman, The
   Price of Cool: A teenager, a juul and nicotine addiction, New York Times, (November 16, 2018),
   https://www.nytimes.com/2018/11/16/health/vaping-juul-teens-addiction-nicotine.html; Sarah Milov, Like the
   tobacco industry, e-cigarette manufacturers are targeting children, The Washington Post, (September 23, 2018,
   6:00 a.m.), https://www.washingtonpost.com/outlook/2018/09/23/like-tobacco-industry-e-cigarette-manufacturers-
   are-targeting-children/; Washington State Department of Health, What are vapor products?, (Last Visited March 4,
   2020), https://www.doh.wa.gov/YouandYourFamily/Tobacco/VaporProducts

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           213.     Not     only    have    JLI,    MANAGEMENT              DEFENDANTS             and    ALTRIA

   misrepresented or concealed the actual amount of nicotine consumed via JUUL pods, but they also

   did not effectively or fully inform users about the risks associated with the potent dose of nicotine

   delivered by its products. Despite making numerous revisions to JUUL packaging since 2015, the

   packaging did not include nicotine addiction warnings until JLI was forced to add them in August

   2018.

           214.     Moreover, the form of nicotine JUUL pods contain is particularly potent. JUUL’s

   use of “strength” to indicate concentration by weight is also at odds with the industry standard of

   reporting concentration by volume,131 leading consumers to believe it contains less nicotine than

   other formulations advertised as 6% nicotine, when JUUL pods in fact contain approximately the

   same nicotine as a solution that is 6% nicotine by volume.

           215.     The “5% strength” statement in Defendants’ marketing, advertisements and

   promotions misrepresents the most material feature of the JUUL product -- the nicotine content --

   and has misled consumers to their detriment. Resellers, apparently assuming that “5% strength”

   means “50mg/mL” nicotine by volume, compound confusion among consumers by stating that

   JUUL pods contain “50 mg/mL,” which they do not.132

           216.     If JLI and the MANAGEMENT DEFENDANTS did not know when JLI released


   131
       See, e.g., https://www.whitecloudelectroniccigarettes.com/blog/nicotine-measurements/; American E-Liquids
   Manufacturing Standards Association, E-Liquids Manufacturing Standards, § 1.05 (2017) (quantifying e-liquid
   nicotine content in terms of volume), https://www.aemsa.org/wp-content/uploads/2017/03/AEMSA-Standards-
   v2.3.3.pdf.
   132
       See, e.g. Tracy Vapors, Starter Kits,
   http://web.archive.org/web/20190422143424/https://www.tracyvapors.com/collections/starter-kit; Lindsey Fox,
   JUUL Vapor Review, Ecigarette Reviewed, (March 20, 2017) https://ecigarettereviewed.com/juul-review (“The
   nicotine content of the JUUL pods is always the same: 5% or 50 mg/ml”); Jason Artman, JUUL E-Cigarette Review,
   eCig One (Oct. 26, 2016), https://ecigone.com/e¬cigarette-reviews/juul-e-cigarette-review/ (“the e-liquid contains
   50 mg of nicotine per ml of e-liquid”); West Coast Vape Supply,
   http://web.archive.org/web/20190718190102/https://westcoastvapesupply.com/products/juul-starter-kit (“5% . . . 50
   mg”); Vapor4Life, How Much Nicotine is In a JUUL? (“Each official JUUL pod contains a whopping 50mg of
   nicotine per milliliter of liquid (most other devices range from 3 to 30mg per milliliter).”),
   https://www.vapor4life.com/blog/how-much-nicotine-is-in-a-JUUL/.

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   JUUL pods that the “5% strength” representation in Defendants’ advertisements were misleading,

   they learned that there was widespread confusion about the JUUL pods’ nicotine content. By 2017,

   studies revealed that smokers did not understand “5% strength,” and some understood that phrase

   to mean 5% of a cigarette. JLI, ALTRIA and the MANAGEMENT DEFENDANTS did nothing

   to stop or correct this confusion about the nicotine content.

              217.     The “5% strength” statement in Defendants’ marketing, promotions and

   advertisements is also misleading. At least two independent studies testing multiple varieties of

   JUUL pods have likewise found significantly higher concentrations of nicotine than the 59 mg/mL

   JUUL’s website represents, suggesting that the difference in the total nicotine content of a JUUL

   pod vs. a pack of combustible cigarettes could be even greater.


         3)          Defendants Used Food and Coffee Themes to Give False Impression that JUUL
                     Products Were Safe and Healthy

              218.     In late 2015, JLI and the MANAGEMENT DEFENDANTS employed a deceptive

   marketing scheme to downplay the harms of e-cigarettes with a food-based advertising campaign

   called “Save Room for JUUL.” The campaign framed JUUL’s addictive pods as “flavors” to be

   paired with foods.133 JLI described its crème brûlée nicotine pods as “the perfect evening treat”

   that would allow users to “indulge in dessert without the spoon.”134 In one 2016 e-mail, JLI bluntly

   suggested that users satisfy their sugar cravings with JUUL’s highly-addictive nicotine vapor:

   “Have a sweet tooth? Try Brulee.” 135 JLI similarly promoted the Fruit Medley pods using images


   133
       Erin Brodwin, $15 billion startup JUUL used ‘relaxation, freedom, and sex appeal’ to market its crème-brulee-
   flavored e-cigs on Twitter and Instagram but its success has come at a big cost, Business Insider (Oct. 26, 2018),
   https://www.businessinsider.com/juul-e-cig-marketing-youtube-twitter-instagram-social-media-advertising-study-
   2018-10.




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   of ripe berries. JLI described its “cool” mint pods as having a “crisp peppermint taste with a

   pleasant aftertaste” and encouraged consumers to “Beat The August Heat With Cool Mint.”136




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           219.   Again, none of these advertisements disclosed that JUUL was addictive and

   unsafe.137

           220.   In several caffeine-pairing advertisements, JUUL devices or pods sit next to coffee

   and other caffeinated drinks, sometimes with what appear to be textbooks in the picture.138 JLI’s

   coffee-based advertisements suggest that JUUL should be part of a comfortable routine, like a cup

   of coffee.

           221.   JLI’s reference to coffee is no mere marketing gimmick, it reflects the larger effort

   to mislead customers into believing that JUUL is no more harmful than coffee; reinforcing the




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   false and dangerous concept if a substance is “not harmful,” then addiction to that substance cannot

   be harmful.




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            222.     Defendants knew that tying JUUL to caffeine and food would mislead their target

   audience—youth and non-smokers—into believing that JUUL was a healthy, safe treat.


       4)          The “Make the Switch” Campaign Intentionally Misled and Deceived Users to
                   Believe that JUUL Is a Cessation Device.

            223.     JLI, ALTRIA, and the MANAGEMENT DEFENDANTS recognized that one of

   the keys to growing and preserving the number of nicotine-addicted e-cigarette users (and thus,

   JLI’s staggering market share), was to mislead potential customers about the true nature of JUUL

   products. Defendants knew that if it became public that JUUL was designed as a way to introduce

   nicotine to youth and otherwise hook new users with its potent nicotine content and delivery, it

   would not survive the public and regulatory backlash. Therefore, JLI (with the knowledge and

   support of the MANAGEMENT DEFENDANTS) and ALTRIA repeatedly made false and

   misleading statements to the public that JUUL was created and designed as a smoking cessation

   device, and falsely and misleadingly used the mails and wires to spread the subterfuge. JLI, the

   MANAGEMENT DEFENDANTS, and ALTRIA committed these deceptive, misleading and

   fraudulent acts intentionally and knowingly. In making these representations, JLI, the

   MANAGEMENT DEFENDANTS, and ALTRIA intended that consumers, the public, and

   regulators rely on misrepresentations that JUUL products were designed to assist smoking

   cessation.

            224.     The most blatant evidence of the cover-up scheme was the January 2019, $10

   million “Make the Switch” television advertising campaign. This campaign, which was the

   continuation of JLI’s web-based Switch campaign, was announced less than a month after

   ALTRIA announced its investment in JLI.

            225.     The “Make the Switch” television ads featured former smokers aged 37 to 54




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   discussing “how JUUL helped them quit smoking.”139 According to JLI’s Vice President of

   Marketing, the “Make the Switch” campaign was “an honest, straight down the middle of the

   fairway, very clear communication about what we’re trying to do as a company.”140 These

   statements were false as JUUL was not intended to be a smoking cessation device. JLI, the

   MANAGEMENT DEFENDANTS, and ALTRIA committed acts of deceit and fraud when they

   caused the “Make the Switch” campaign to air on television with the fraudulent intent of deceiving

   and misleading the public, the United States Congress, and government regulators into believing

   that the company is and had been focused solely on targeting adult smokers. ALTRIA also

   committed acts of deceit and fraud when they caused tens of thousands, if not millions, of written

   versions of the Make the Switch campaign to be distributed with packages of its combustible

   cigarettes.

           226.     DEFENDANTS continually sought to frame JUUL products as smoking cessation

   devices in their public statements on their and website. MONSEES explained during his testimony

   before Congress:


                    The history of cessations products have extremely low efficacy.
                    That is the problem we are trying to solve here. So, if we can give
                    consumers an alternative and market it right next to other cigarettes,
                    then we can actually make something work.

                    [T]raditional nicotine replacement therapies, which are generally
                    regarded as the gold standard for tools, right, for quitting, those are
                    nicotine in a patch or a gum form, typically, and the efficacy rates
                    on those hover just below about a 10 percent or so. JUUL-we ran a
                    very large study of JUUL consumers, ex-smokers who had picked
                    up JUUL, and looked at them, looked at their usage on a longitudinal
                    basis, which is usually the way that we want to look at this, in a
                    sophisticated fashion ... what we found was that after 90 days, 54

   139
       Angelica LaVito, JLI combats criticism with new TV ad campaign featuring adult smokers who quit after switching
   to e-cigarettes, CNBC (Jan. 8, 2019), https://www.cnbc.com/2019/01/07/juul-highlights-smokers-switching-to-e-
   cigarettes-in-ad-campaign.html.
   140
       Id.

                                                           79
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                    percent of those smokers had stopped smoking completely, for a
                    minimum of 30 days already. And the most interesting part of this
                    study is that if you follow it out further, to 180 days, that number
                    continues to go up dramatically, and that is quite the opposite of
                    what happens with traditional nicotine replacement therapies.141

           227.     In response to a direct question about whether people buy JUUL to stop smoking,

   MONSEES candidly responded: “Yes. I would say nearly everyone uses our product as an

   alternative to traditional tobacco products.”142

           228.     Other illustrative and non-exhaustive examples include the following:

   Statements by Defendant JLI:

           229.     “JUUL Labs was founded by former smokers, James and Adam, with the goal of

   improving the lives of the world’s one billion adult smokers by eliminating cigarettes. We

   envision a world where fewer adults use cigarettes, and where adults who smoke cigarettes have

   the tools to reduce or eliminate their consumption entirely, should they so desire.” (JLI

   Website, April 2018 (or earlier));143

           230.     “JUUL Labs, which exists to help adult smokers switch off of combustible

   cigarettes.” (JLI Website, September 19, 2019); and,144

           231.     “To paraphrase Commissioner Gottlieb, we want to be the offramp for adult

   smokers to switch from cigarettes, not an on-ramp for America’s youth to initiate on nicotine.”

   (JLI Website, November 13, 2018);145




   141
       Testimony of JAMES Monsees, Co-founder and Chief Product Officer, JUUL Labs, Inc., Subcommittee on
   Economic and Consumer Policy, Committee on Oversight and Reform, Hearing on Examining JUUL 's Role in the
   Youth Nicotine Epidemic: Part 2 (July 25, 2019), https://oversight.house.gov/legislation/hearings/examining-juul-s-
   role-in-the-youth-nicotine-epidemic-part-ii.
   142
       Id.
   143
       Our Mission, JUUL LABS (2019), https://www.juul.com/mission-values (last visited February 7, 2020).
   144
       CONSUMER UPDATE: 9/19, JUUL Labs, Inc (Sept. 19, 2019), https://newsroom.juul.com/consumer-update-9-
   19/.
   145
       JLI Labs Action Plan, JUUL Labs, Inc. (Nov. 13, 2018), https://newsroom.juul.com/juul-labs-action-plan/
   (statement of then-CEO Kevin Burns).

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            Statements by ALTRIA:

            232.   “We are taking significant action to prepare for a future where adult smokers

   overwhelmingly choose non-combustible products over cigarettes by investing $12.8 billion in

   JUUL, a world leader in switching adult smokers . . . . We have long said that providing adult

   smokers with superior, satisfying products with the potential to reduce harm is the best way to

   achieve tobacco harm reduction.” (ALTRIA Website, December 20, 2018);146 and,

            233.   “We believe e-vapor products present an important opportunity to adult

   smokers to switch from combustible cigarettes.” (Letter to FDA Commissioner Gottlieb,

   10/25/18).147

            234.   “We have long said that providing adult smokers with superior, satisfying

   products with the potential to reduce harm is the best way to achieve tobacco harm reduction.

   Through Juul, we are making the biggest investment in our history toward that goal.” (ALTRIA

   Earning Call, December 20, 2018)

            235.   “Through JUUL, we have found a unique opportunity to not only participate

   meaningfully in the e-vapor category but to also support and even accelerate transition to

   noncombustible alternative products by adult smokers.” (ALTRIA Earning Call, January 31,

   2019);

            236.   We expect the JUUL product features that have driven JUUL’s success in

   switching adult smokers in the U.S. to strongly appeal to international adult cigarette smokers.

   (ALTRIA Earning Call, January 31, 2019).




   146
       ALTRIA Makes $12.8 Billion Minority Investment in JUUL to Accelerate Harm Reduction and Drive Growth,
   BUSINESSWIRE (Dec. 20, 2018, 7:00 AM EST),
   https://www.businesswire.com/news/home/20181220005318/en/ALTRIA-12.8-Billion-Minority-Investment-JUUL-
   Accelerate.
   147
       Letter from Howard A. Willard III, ALTRIA, to Dr. Scott Gottlieb, FDA, 2 (October 25, 2018).

                                                      81
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          237.   DEFENDANTS knew at the time of making these statements that they were false,

   deceptive and misleading. JUUL does not have FDA approval as a cessation product.

          238.   The Switch advertisements reinforced the impression left by the testimony of JLI’s

   co-founder, clearly linking JUUL to cessation and quitting. For example:




          239.   Representative Rashida Tlaib, upon presenting this ad to MONSEES, had the


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   following exchange:


                   Rep. Tlaib: After 30 lines, starting with “quit,” the ad says
                   “switch,” followed by no further mentions of start smoking again.
                   You were a smoker. Does this ad give a smoker hope that there
                   might be a way to quit cigarettes for good?

                   Mr. MONSEES: I think the intention of this ad is to make it very
                   clear to consumers that there is an alternative, finally, to combustible
                   cigarettes. I am one of those people.148

           240.    DEFENDANTS’ tacit message in their Switch advertisements is switch because,

   unlike cigarettes, JUUL is harmless to your health.

           241.    DEFENDANTS’ false, deceptive and misleading Switch campaign suggests that

   smoking and JUULing are mutually exclusive and that purchasing a JUUL will “switch” a smoker

   to a non-smoker.

           242.    DEFENDANTS know that a large number of smokers who use JUUL products do

   not end up switching but end up consuming cigarettes and JUUL.

           243.    JLI has advertised cost-savings calculators as part of its Switch campaign. Those

   calculators assume that a smoker who switches will continue consuming the same amount of

   nicotine that he or she did as a smoker (i.e., a pack a day smoker is presumed to consume one

   JUUL pod a day). DEFENDANTS know that the calculator is misleading because smokers who

   switch to JUUL typically increase their nicotine intake or end up consuming cigarettes and JUUL

   products, rendering the calculator misleading at best.

           244.    JUUL labels and advertisements also marketed the product as an “alternative” to

   cigarettes:



   148
     JAMES MONSEES, Testimony of JAMES MONSEES before the U.S. House of Representatives Committee on
   Oversight and Reform and Consumer (“MONSEES Testimony”) at 3, U.S. HOUSE COMMITTEE ON OVERSIGHT &
   REFORM (July 31, 2019), https://www.c-span.org/video/?c4811191/user-clip-wasserman-grothman-tlaib-question-
   MONSEES at 12:33-13:04.

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          1.     Other advertisements similarly marketed the product as smoking “evolved”:




          245.   The goal of these advertisements was to convey the deceptive, misleading and false

   impression that JUUL products could help consumers quit smoking and break nicotine addiction

   in a way that was healthy and safe. But, as noted above, that was simply not the case. Defendants

   never disclose to consumers that JUUL e-cigarettes and JUUL pods are at least as addictive as, if

   not more addictive, than combustible cigarettes. And each of JLI, the MANAGEMENT



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   DEFENDANTS, and ALTRIA received this data and were aware of this fact.

           246.     In addition, the notion that JUUL products are designed only for existing cigarette

   smokers, and safer than combustible cigarettes is belied by JLI’s own knowledge, marketing plan

   and intentions on several fronts. First, Defendants sought to grow a new group of consumers of

   nicotine products (e.g., “vapers”), not just to market to the shrinking number of existing cigarette

   smokers. Second, JLI and BOWEN designed the JUUL device to be easy to use for youth and

   others who have never smoked and to create and exacerbate nicotine addiction by encouraging

   ingestion of excessive amounts of nicotine. Third, as noted above, JLI’s own internal testing

   revealed that JUUL products were often too intense for combustible cigarette smokers. Each of the

   MANAGEMENT DEFENDANTS knew this from their position on JLI’s Board of Directors, and

   THE ALTRIA DEFENDANTS knew the same when it began to actively coordinate with JLI and

   the MANAGEMENT DEFENDANTS. Despite this knowledge, these Defendants made numerous

   deceptive, false and misleading public statements that JUUL was intended to be a cessation device.

           247.     JUUL is not a product adults typically use to quit smoking. Researchers have found

   that as of 2018, only 7.9% of American adults had ever used USB shaped vape devices, like JUUL,

   and only 2% of adults currently used them.149 And as mentioned above, youth were 16 times more

   likely to use the USB-shaped JUUL than adults.150

           248.     213.    JLI’s own marketing research indicated that the JUUL was not appropriate

   as a cessation device for adults.

           249.     The deceptive, misleading and fraudulent nature of the “Make the Switch”




   149
       Kristy L Marynak et al., Use and reasons for use of electronic vapour products shaped like USB flash drivers
   among       a    national     sample     of     adults,    28    Tobacco     Control     685    (Nov.     2019),
   https://tobaccocontrol.bmj.com/content/28/6/685.
   150
       D.M. Vallone et al., Prevalence and correlates of JLI use among a national sample of youth and young adults,
   Tobacco Control (Oct. 29, 2018), http://dx.doi.org/10.1136/tobaccocontrol-2018-054693.

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   campaign is evident when comparing the campaign’s advertisements to JUUL’s initial advertising,

   as demonstrated below. The fact that these advertisements are for the same product confirms that,

   notwithstanding the advice that JLI and ALTRIAS’ received from their media consultants, the

   Defendants never intended to target only adult smokers.




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            250.    DEFENDANTS ensured that JUUL was the opposite of a “tool[] to reduce or

   eliminate” nicotine consumption. According to the National Institutes of Health, the “amount and

   speed of nicotine delivery . . . plays a critical role in the potential for abuse of tobacco products.”151

   As described above, JLI and BOWEN designed the JUUL product to deliver nicotine in larger

   amounts and at a faster rate than even cigarettes, and then knowingly misled the public about those

   facts.

            251.    The Switch campaign also does not disclose or warn about the risks of using

   multiple tobacco products, “dual use” or that the JUUL is not a smoking cessation product. In

   addition to the heightened risks of addiction that tobacco product use poses, one recent study found

   that persons who use e-cigarettes and smoke have blood toxin levels far higher than one would

   expect given the blood toxin levels that e-cigarettes and cigarettes generate individually.152

            252.    The FDA and other government regulators, enforcing existing laws addressing e-



   151
        CDC et al., Nicotine Addiction: Past and Present, How Tobacco Smoke Causes Disease (2010),
   https://www.ncbi.nlm.nih.gov/books/NBK53018/#ch4.s92.
   152
       Julie B Wang, et al., Cigarette and E-Cigarette Dual use and Risk of Cardiopulmonary Symptoms in the Health
   eHeart Study, 13 PLoS ONE 1 (2018).

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   cigarettes,153 publicly criticized the “Make the Switch” campaign and other efforts by

   DEFENDANTS to depict JUUL as a smoking cessation device. Section 911(b)(2)(A)(i) of the

   Federal Food, Drug, and Cosmetics Act (FDCA) (21 U.S.C. § 387k(b)(2)(A)(i)) states that when

   advertising or labeling of a cigarette product directly or indirectly suggests that the product has a

   lower risk of cigarette-related disease, is less harmful than combustible cigarettes, or is otherwise

   ‘safer’ than combustible cigarettes, then the product becomes a “modified risk tobacco product.”154

            253.     In late 2019, and in response to the House of Representatives hearings in which JLI

   Executives testified, the FDA issued two warning letters to JLI detailing its concern that JLI was

   unlawfully marketing its e-cigarette products as cessation tools or as “modified risk tobacco

   products” within the meaning of the FDCA.155

            254.     Then, in its September 9, 2019 letter to JLI, the FDA notified JLI that its advertising

   slogans such as “99% safer,” “much safer,” and “a safer alternative” than cigarettes was

   “particularly concerning because [those] statements were made directly to children in school.”156

   The FDA concluded that in using advertising language that e-cigarettes were safer than cigarettes,

   JLI had violated Sections 902(8) and 911 by marketing JUUL products as “modified risk tobacco

   products” without prior approval.157

            255.     The September 9, 2019 letter also detailed the FDA’s concerns with JLI’s “Switch”




   153
      Section 911(b)(2)(A)(i) of the FDCA (21 U.S.C. § 387k(b)(2)(A)(i)) states that when advertising or labeling of a
   cigarette product directly or indirectly suggests that the product has a lower risk of cigarette-related disease, is less
   harmful than traditional cigarettes, or is otherwise ‘safer’ than traditional cigarettes, then the product becomes a
   “modified risk tobacco product.”



   155
       U.S. Food and Drug Administration Warning Letter to JUUL Labs, (September 9, 2019),
   https://www.fda.gov/inspections-compliance-enforcement-and-criminal-investigations/warning-letters/juul-labs-inc-
   590950-09092019
   156
       Id.
   157
       Id.

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   marketing campaign. “[T]roubled by recent testimony” that JLI had given to the House

   Subcommittee on Economic and Consumer Policy of the Committee on Oversight and Reform,

   the FDA noted that JLI’s Switch advertising campaign “may also convey that switching to JUUL

   is a safer alternative to cigarettes.”158

              256.     The FDA specifically highlighted the Switch campaign slogans which referenced

   smoking cigarettes, or attempts to quit smoking, followed by “Make the Switch.” The FDA stated

   that JLI’s campaign was in violation of multiple FDA regulations and the FDCA subsections, and

   that JLI’s Switch campaign purported to tell the public that using e-cigarettes was an alternative

   to smoking, or a possible cessation tool.159

              257.     On the same day, the FDA requested that JLI provide all documents related to its

   decision to market the Switch campaign to the Cheyenne River Sioux Tribe, in light of the

   testimony by JLI that it had taken a “public health” approach to Native American tribes, and had

   sought healthcare professionals to refer Native American smokers to JLI’s Switching Program.160


         5)          JLI, ALTRIA, and Others in the E-Cigarette Industry Coordinated With
                     Third-Party Groups To Mislead the Public About the Harms and Benefits of E-
                     Cigarettes

              258.     Through a collective and parallel effort of funding, leadership, and board

   membership, JLI, ALTRIA and others in the e-cigarette industry leveraged third-parties, ranging

   from industry-funded non-governmental organizations to online blogs more accessible to youth,

   to mislead the public about the impacts of consuming e-cigarettes.

              259.     An assortment of lobbyists, trade associations, and online publications have

   coordinated with the e-cigarette industry, including JLI and ALTRIA, to promote a consistent


   158
       U.S. Food and Drug Administration Center for Tobacco Products Letter to JUUL Labs, (September 9, 2019),
   https://www.fda.gov/media/130859/download
   159
       Id.
   160
       Id.

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   message that consuming e-cigarettes is not harmful, that nicotine is not harmful, and that the

   impacts of e-cigarettes are greatly exaggerated. These organizations receive funding from the e-

   cigarette industry, feature executives on those companies’ boards of directors, and in return,

   promote industry products, industry views, or fund “independent” studies of their own that reach

   the same conclusions as e-cigarette industry-funded research.

                    A.       The American Vaping Association

           260.     The AVA is a pro-e-cigarette lobby group founded by Greg Conley, who notably

   publishes articles criticizing the CDC for its stance on restricting e-cigarette use.161 Other executive

   members of the AVA possess business interests in e-cigarettes; for example, Treasurer David J.

   Danzak Jr. is associated with an e-cigarette business called Vapornine LLC.162 Vice-President

   Antoinette Lanza is an owner of an exclusively e-cigarette shop in Hoboken, New Jersey called

   Smokeless Image.163 Half of the AVA’s functional expenses are for lobbying efforts.164 It lists

   several sponsors, all of which are e-cigarette, e-liquid, or cigarette companies.165

           261.     Conley has a prolific social media presence and frequently appears on television

   and radio to tout the benefits of consuming e-cigarettes and dispute negative news. The AVA

   website lists “studies” which are uniformly authored by noted industry-funded or industry-friendly

   authors, such as Polosa and Shahab.166 AVA lists CASAA, Not Blowing Smoke, and the VTA, all



   161
       Jeff Stier, The War on E-Cigarettes, National Review (2011), https://www.nationalreview.com/2011/09/war-e-
   cigarettes-jeff-stier-gregory-conley/.
   162
       Vaporine LLC’s business information page, Buzzfile, http://www.buzzfile.com/business/Vapornine-LLC-904-
   372-3244 (last visited Mar. 4, 2020).
   163
       Stacy Jones, Tobacco regulators mull more oversight as e-cigarettes see increased popularity, NJ.com (Updated
   Mar. 30, 2019; Posted July 08, 2013), https://www.nj.com/business/2013/07/tobacco_regulators_mull_more_o.html
   164
       Form 990, American Vaping Association Inc.’s Return of Organization Exempt from Income Tax, 2018, irs.com,
   https://apps.irs.gov/pub/epostcard/cor/464203951_201812_990O_2019122716980021.pdf (last visited Mar. 4,
   2020).
   165
       AVA Sponsors page, American Vaping Association, https://vaping.org/about-us/ava-sponsors/ (last visited Mar.
   4, 2020).
   166
       Research Reports page, American Vaping Association, https://vaping.org/research-report/(last visited Mar. 4,
   2020).

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   established fronts for the e-cigarette industry, as “Resources.”

           262.     The AVA receives its funding from sponsors, who are organized into tiers such as

   Platinum, Gold, Silver, Bronze, and Green.167 Current advertised sponsors include e-cigarette

   distributors and retailers such as E-Cigarette Empire, and VaporBeast.168 Prior sponsors are a who’s

   who of e-cigarette retailers. In 2016, Platinum sponsors included AltSmoke and Vapor Kings,

   while Gold sponsors included the now defunct Smokeless Image.169

           263.     On social media, the AVA regularly downplays the risks of consuming e-cigarettes,

   criticizes negative coverage as myths or exaggerations, and lauds efforts to curb any regulation of

   the e-cigarette industry.170

           264.     Based on information and belief, JLI actively sought out the AVA to promote

   JUUL.

           265.     Based on information and belief, in 2018, JLI took advantage of its coordinated

   efforts with the AVA to downplay the risks associated with JUUL.

           266.     The AVA also coordinated with JLI on pro-e-cigarette research. In March 2018,

   Conley facilitated a conversation between Dr. Konstantinos Farsalinos, a researcher at the

   University of Patras, Greece, who regularly publishes e-cigarette industry-friendly articles, and

   Gal Cohen, then Director of Scientific Affairs at JLI.171

                    B.      Vaping360

           267.     Vaping360 is a website dedicated to news regarding the e-cigarette industry. The


   167
       AVA Sponsors page, American Vaping Association, https://vaping.org/about-us/ava-sponsors/ (last visited Mar.
   4, 2020).
   168
       Id.
   169
       AVA Sponsors page, American Vaping Association, Wayback Machine – Internet Archive (Aug. 14, 2017),
   https://web.archive.org/web/20170814221226/http://vaping.org/about-us/ava-sponsors/.
   170
       American Vaping Assn (@AVABoard), Twitter, https://twitter.com/AVABoard (last visited Mar. 4, 2020).
   171
       Juul Labs, JUUL Labs Presents Findings at the Global Forum on Nicotine 2018, Cision PR Newswire (June 15,
   2018, 08:30 ET) ( https://www.prnewswire.com/news-releases/juul-labs-presents-findings-at-the-global-forum-on-
   nicotine-2018-300666743.html.

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   website boasts “40 million smokers and vaping enthusiasts reached since 2015.” This entity has a

   big social media presence and huge publication strategy.

           268.    Vaping360’s main message misleads the public about the health impacts of

   consuming e-cigarettes. Vaping360 has published various articles, including “10 Lies and Myths

   About Juuling Exposed.”172 This article, published in May 9, 2018, claimed, among other things,

   that JUUL was not as dangerous as smoking; JUUL did not cause cancer or “popcorn lung”; JUUL

   was not popular among teenagers, nor did it sell kid-friendly flavors or flavors aimed to entice

   young people; and the nicotine in JUUL is “a relatively mild drug, [and] may cause dependence.”173

           269.    Vaping360 regularly published articles praising, promoting, or downplaying the

   risks of JUUL, including, among others: “These Scientists Want to Kill Smokers’ Hope (For

   Vaping)”; “UK Scientists to WHO: Your Vape Report Is Junk”; “One Free Pack JUUL Coupon

   Codes 2019”; and an article disparaging anti-smoking advocacy group Truth Initiative by claiming

   that “Truth Initiative Promo Encourages Risky Teen Behavior.”174

           270.    One of the main writers at Vaping360 is Jim McDonald who aggressively attacks

   any negative science as fake news. For example, McDonald frequently posts on social media

   platforms, including on Facebook and Twitter, but ALSO comments on others posts extensively

   disputing negative news about consuming e-cigarettes.175

           271.    Vaping360 has taken funding from e-cigarette manufacturers, and in return

   coordinates with e-cigarette manufacturers to promote their products, while publishing favorable


   172
         Jim McDonald, 10 Lies and Myths About Juuling Exposed, Vaping 360 (May 9, 2018),
   https://vaping360.com/lifestyle/juuling/
   173
       Id.
   174
        Jim McDonald, Truth Initiative Promo Encourages Risky Teen Behavior, Vaping 360 (Jan. 9, 2020),
   https://vaping360.com/vape-news/87705/truth-initiative-promo-encourages-risky-teen-behavior/
   175
        Jim McDonald, Mass. Senate Passes Worst Vaping Law in the Country, Vaping 360 (Nov. 21, 2019),
   https://vaping360.com/vape-news/86852/mass-senate-passes-worst-vaping-law-in-the-country/; Jim McDonald,
   Meet the Rich Moms Who Want to Ban Vaping, Vaping 360 (Oct. 8, 2018), https://vaping360.com/vape-
   news/71696/meet-the-rich-moms-who-want-to-ban-vaping/

                                                     92
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   content.

           272.    In 2018, McDonald continued to write articles specifically praising JLI, such as

   “Coming Soon: A JUUL to Help You Quit JUULing” and “10 Lies and Myths About JUULing

   Exposed.”176 As of 2020, Vaping360 continues to offer discounts for JUUL products.177

                   C.       Foundation for a Smoke-Free World

           273.    The Foundation was founded in 2017, and presents itself as a public health

   organization, purportedly “advancing global progress in smoking cessation and harm reduction.”178

   It is funded entirely by Philip Morris International, which in 2017 announced a $1 billion

   commitment to fund the Foundation.179 The Foundation’s 2018 Form 990 lists only one donor:

   PMI Global Services, Inc., or Philip Morris International, with a contribution of $80 million.180

           274.    The Foundation is headed by Derek Yach, a noted advocate and promoter of e-

   cigarettes and consuming e-cigarettes.181

           275.    In 2018, the Foundation announced that it would support Centers of Excellence to

   conduct tobacco control research.182 This tactic is a well-known tool of the cigarette industry, which

   has a history of funding “research” centers to promote industry-friendly views, such as the Center

   for Indoor Air Research, which promulgated industry-funded studies that sowed doubt about the


   176
         Jim McDonald, Coming Soon: A JUUL to Help You Quit Juuling, Vaping 360 (Sept. 7, 2018),
   https://vaping360.com/vape-news/70262/coming-soon-a-juul-to-help-you-quit-juuling/
   177
        [One FREE Pack] JUUL Coupon Codes 2019, Vaping 360 (Aug. 24, 2018) https://vaping360.com/vape-
   coupons/juul-coupon-promo-code/.
   178
       Home - Foundation for a Smoke-Free World, Foundation for a Smoke-Free World (2020),
   https://www.smokefreeworld.org/.
   179
       David Meyer, Philip Morris Pledges Almost $1 Billion to Anti-Smoking Fight (2017),
   https://www.webcitation.org/6tjyBv4dA.
   180
       Return of Private Foundation, (2018),
   https://web.archive.org/web/20190828104138/https://www.smokefreeworld.org/sites/default/files/uploads/document
   s/fsfw_2018_form_990-pf_public_inspection.pdf.
   181
       David Yach, Anti-smoking advocates should embrace e-cigarettes, National Post (2015),
   https://nationalpost.com/opinion/derek-yach-anti-smoking-advocates-should-embrace-e-cigarettes.
   182
       Support Global Research, Foundation for a Smoke-Free World, Web.archive.org (2020),
   https://web.archive.org/web/20180531105105/https://www.smokefreeworld.org/our-areas-focus/support-global-
   research.

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   addictiveness of nicotine, claimed that indoor air quality was unaffected by cigarette smoke and

   downplayed the harms of cigarettes broadly. Institutes such as the Center for Indoor Air Research

   were forced to dissolve as part of the Master Settlement Agreement in 1998.

           276.     A 2017 report in The Verge detailed the e-cigarette industry’s apparently

   coordinated efforts to use biased research to downplay the risks of consuming e-cigarettes.183 For

   example, e-cigarette manufacturers routinely conduct studies focusing on the “good news” about

   e-cigarettes, i.e. they release less harmful aerosolized chemicals than combustible cigarettes, or

   that their aerosol lingers for less time indoors than combustible cigarettes.184 Industry-funded

   authors then regularly cite to each other’s studies in their own research.185 On information and

   belief, JLI and ALTRIA, among others in the e-cigarette industry, funnel their industry-funded

   studies to friendly pro-industry groups knowing that those entities will misrepresent the results as

   evidence that e-cigarettes are safe, or not harmful.

                    D.       Vapor Technology Association

           277.     The Vapor Technology Association (VTA) bills itself as a trade association and

   advocates for the e-cigarette industry. It was founded in January 2016, with the banner tagline on


   183
       Liza Gross, Vaping companies are using the same old tricks as Big Tobacco The Verge (2017),
   https://www.theverge.com/2017/11/16/16658358/vape-lobby-vaping-health-risks-nicotine-big-tobacco-marketing.
   184
       See, e.g., J Margham & K McAdam, Chemical Composition of Aerosol from an E-Cigarette: A Quantitative
   Comparison with Cigarette Smoke, PubMed NCBI Ncbi.nlm.nih.gov (2016),
   https://www.ncbi.nlm.nih.gov/pubmed/27641760.; Tanvir Walele, Jim Bush & Annelize Koch, Evaluation of the
   safety profile of an electronic vapour product used for two years by smokers in a real-life setting, PubMed NCBI
   Ncbi.nlm.nih.gov (2018), https://www.ncbi.nlm.nih.gov/pubmed/29248487; Dainius Martuzevicius, Tadas
   Prasauskas & Ari Setyan, Characterization of the Spatial and Temporal Dispersion Differences Between Exhaled E-
   Cigarette Mist and Cigarette Smoke, Fontemscience.com (2018), http://www.fontemscience.com/wp-
   content/uploads/2018/07/nty121.pdf.
   185
       See, e.g., Gene Gillman, Determining the impact of flavored e-liquids on aldehyde production during Vaping,
   ScienceDirect (2019), https://www.sciencedirect.com/science/article/pii/S0273230020300143.; Colin Mendelsohn,
   Legalising Vaping in Australia (2019),
   https://pdfs.semanticscholar.org/3e13/8e46419913a29f8fc9ddad52ec771f73fa76.pdf.; Violeta Kaunelienė, Impact of
   Using a Tobacco Heating System (THS) on Indoor Air Quality in a Nightclub, Aaqr.org,
   http://www.aaqr.org/files/article/7967/1_AAQR-19-04-OA-0211_1961-1968.pdf; Maya Mitova, Human chemical
   signature: Investigation on the influence of human presence and selected activities on concentrations of airborne
   constituents (2020), https://www.sciencedirect.com/science/article/pii/S0269749119334268.

                                                          94
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   its website reading “VAPE IS HOPE.”186

           278.    In 2018, JLI, SMOK, VMR, Turning Point Brands, and Joyetech were all featured

   as “Platinum Members,” a level of membership that required a $100,000 annual contribution.

   Thus, JLI paid VTA $100,000 in 2018 to become a Platinum Member, and in return, VTA offered

   JLI a board seat; invitations to lobbying strategy meetings; access to the FDA; other federal

   agencies; and members of Congress, and conference participation.187

           279.    The VTA, like other lobbying and trade association groups in the industry,

   advocates for less regulation of e-cigarettes, and testifies in opposition to flavor bans.188

                   E.       Retailer Lobbying

           280.    Retailers have also taken to creating subsidiaries or wholly owned companies

   whose purpose is to produce quasi-journalistic content to promote consuming e-cigarettes,

   discredit health initiatives, and suggest that consuming e-cigarettes has no harmful health impacts.

   The best example of this is the website SoupWire, which publishes articles and editorials that

   promote consuming e-cigarettes and criticizes studies that look at negative impacts of consuming

   e-cigarettes.189 For example, when JLI donated $7.5 million towards a study on the impacts of

   consuming e-cigarettes on teens, a SoupWire report concluded that the study will likely find

   “nothing Earth-shattering.”190




   186
       Vape is Hope, Vapor Technology Association, Wayback Machine – Internet Archive (Feb. 25, 2016),
   https://web.archive.org/web/20160225154600/http://www.vaportechnology.org:80/
   187
       Some of Our Members, Vapor Technology Association, Wayback Machine – Internet Archive (Nov. 28, 2018),
   https://web.archive.org/web/20181128162940/https://vaportechnology.org/membership/
   188
       Vapor Technology Association, https://vaportechnology.org/ (last visited Mar. 4, 2020).
   189
       Soupwire – The Truth About Vaping, https://soupwire.com/ (last visited Mar. 4, 2020).
   190
       Jeff Hawkins, JUUL Donates $7.5 Million to Teen Vaping Study, Soupwire – The Truth About Vaping (July 2,
   2019), https://soupwire.com/juul-donates-7-5-million-to-teen-vaping-study/

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         6)          ALTRIA Falsely Stated That It Intended to Use Its Expertise in “Underage
                     Prevention” Issues to Help JLI.

              281.     ALTRIAS’ announcement that it intended to invest in JLI came less than two

   months after it told the FDA that ALTRIA “believe[s] that pod-based products significantly

   contribute to the rise in youth use of e-vapor products” and that it accordingly would be removing

   its own pod-based products from the market.191 ALTRIA made the same representations to its

   investors.192

              282.     Although ALTRIA claimed its investment in JLI had an altruistic motive—“we

   believed the transaction would give ALTRIA an unprecedented opportunity to share our

   experience in underage tobacco prevention with JUUL to help address youth usage,” ALTRIA

   recently confirmed that JLI has not even availed itself of that experience. In ALTRIAS’ October

   2019 letter to Senator Dick Durbin, ALTRIA CEO Howard Willard acknowledged that while

   ALTRIA “offered to JUUL services relating to underage prevention efforts,” to date “JUUL has

   not accepted ALTRIA’s offers of assistance in addressing underage vaping relating issues.”193

   Willard has stated that the deal would allow ALTRIA to “work[] with JUUL to accelerate its

   mission.”194 But as ALTRIA knew, as reflected in its letter to the FDA just two months prior, that

   mission had resulted in usage throughout the youth market. ALTRIA’S admission that pod-based

   products contributed to underage use show that ALTRIA knew its investment in JLI would

   “strengthen[] its financial profile and enhance[] future growth prospects” specifically because JLI




   191
       Letter from Howard A. Willard III, ALTRIA, to Dr. Scott Gottlieb, FDA, 2 (October 25, 2018)
   192
       Altria Group Inc (MO) Q3 2018 Earnings Conference Call Transcript, (October 25, 2018)
   https://www.fool.com/earnings/call-transcripts/2018/10/25/altria-group-inc-mo-q3-2018-earnings-conference-
   ca.aspx
   193
       Letter from Howard A. Willard III to Senator Richard J. Durbin, (October 14, 2019) (emphasis added).
   194
       ALTRIA Makes $12.8 Billion Minority Investment in JUUL to Accelerate Harm Reduction and Drive Growth,
   Business, Wire (Dec. 20, 2018), https://www.businesswire.com/news/home/20181220005318/en/ALTRIA-12.8-
   Billion-Minority-Investment-JUUL-Accelerate.

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   dominated the youth market for e-cigarettes.195

           283.     ALTRIA recognized JLI’s market share dominance in the e-cigarette market as the

   path to ALTRIA’s continued viability and profitability. In a January 31, 2019 earnings call,

   ALTRIA explained that “[w]hen you add to JUUL’s already substantial capabilities, our underage

   tobacco prevention expertise and ability to directly connect with adult smokers, we see a

   compelling future with long-term benefits for both adult tobacco consumers and our shareholders.

   We are excited about JUUL’s domestic growth and international prospects and their potential

   impact on our investment.”196 JUUL’s growth was, as ALTRIA well knew, due to the product’s

   viral popularity among teens. Willard briefly acknowledged the youth vaping crisis, stating,

   “Briefly touching on the regulatory environment, the FDA and many others are concerned about

   an epidemic of youth e-vapor usage. We share those concerns. This is an issue that we and others

   in the industry must continue to address aggressively and promptly.197

           284.     ALTRIA’s representations that it intended to help JUUL curb the prevalence of

   underage use was false and misleading. As discussed below, ALTRIA coordinated with JUUL to

   capture and maintain the youth market.


     E.     Defendants Targeted the Youth Market

           285.     Having created a product, like combustible cigarettes, that sought to get users

   addicted to nicotine, and while taking steps to ensure that consumers and regulators did not

   appreciate the true nicotine content or potential harm from using JUULs, to successfully sink their



   195
       Press Release, Altria Makes $12.8 Billion Minority Investment In Juul To Accelerate Harm Reduction And Drive
   Growth, Altria (Dec. 20, 2018),
   https://www.sec.gov/Archives/edgar/data/764180/000119312518353970/d660871dex991.htm.
   196
       Altria Group (MO) Q4 2018 Earnings Conference Call Transcript: MO earnings call for the period ending
   December 31, 2018. (Jan. 31, 2019), https://www.fool.com/earnings/call-transcripts/2019/02/01/altria-group-mo-q4-
   2018-earnings-conference-call-t.aspx
   197
       Id.

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   high-tech nicotine hook into American consumers, JLI, BOWEN, and MONSEES needed

   investors willing to adopt the tactics of the cigarette industry as their own. They found those

   investors in PRITZKER, HUH, and VALANI.

              286.     Under the leadership of the MANAGEMENT DEFENDANTS, JLI marketed to

   nicotine to kids. JLI and the MANAGEMENT DEFENDANTS deployed a sophisticated viral

   marketing campaign that strategically laced social media with false and misleading messages to

   ensure their uptake and distribution among young consumers. JLI and the MANAGEMENT

   DEFENDANTS’ campaign was wildly successful—burying their hook into kids and initiating a

   public health crisis.


         1)          JLI Emulated the Marketing of Cigarette Companies

              287.     As DEFENDANTS knew, nearly 9 out of 10 smokers start smoking by age 18, and

   more than 80% of underage smokers choose brands from among the top three most heavily

   advertised.198 The overwhelming consensus from public health authorities, independent studies,

   and credible expert witnesses is that “marketing is a substantial contributing factor to youth

   smoking initiation.”199

              288.     Struggling to define their own identities, teenagers are particularly vulnerable to

   image-heavy advertisements that psychologically cue them on the “right” way to look and behave

   amongst peers.200 Advertisements that map onto adolescent aspirations and vulnerabilities drive

   adolescent tobacco product initiation.201

              289.     For decades, cigarette companies spun smoking as signifier of adulthood. This


   198
          Preventing Tobacco Use Among Youths, Surgeon General Fact Sheet, Surgeon                     Gen.,
   https://www.hhs.gov/surgeongeneral/reports-and-publications/tobacco/preventing-youth-tobacco-use-
   factsheet/index.html (last visited Dec. 9, 2019).
   199
       USA v. Philip Morris, 449 F. Supp. 2d 1, 570 (D.D.C. 2006) (J. Kessler).
   200
       Id. at 578.
   201
       Id. at 570, 590.

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   turned smoking into a way for teenagers to project independence and enhance their image among

   their peers.202

            290.     Youth marketing was critical to the success of cigarette companies. In the 1950s,

   PHILIP MORRIS—now JUUL’s corporate affiliate—intentionally marketed cigarettes to young

   people as a pool from which to “replace smokers” to ensure the economic future of the cigarette

   industry.203

            291.     PHILIP MORRIS’S documents set out their youth strategy, explaining: “Today’s

   teenager is tomorrow’s potential regular customer, and the overwhelming majority of smokers first

   begin to smoke while still in their teens”.204

            292.     It wasn’t just PHILIP MORRIS. The strategy of hooking kids was an open secret

   in the cigarette industry.205

            293.     As detailed below, JLI and the MANAGEMENT DEFENDANTS sought to

   emulate this approach. Indeed, MONSEES admitted to using historical cigarette ads to inform

   JLI’s own advertising campaign.206

            294.     The emulation is obvious. A side-by-side comparison of JUUL advertisements with

   historical cigarette advertisements reveals the appropriated pattern of focusing on imagery related

   to attractiveness, stylishness, sex appeal, fun, “belonging,” relaxation, and sensory pleasure,




   202
       Id. at 1072.
   203
       U.S. v. Philip Morris, No. 99- 2496 (D.D.C. Aug. 17, 2006), ECF No. 5750 (Amended Final Opinion, at 972.
   204
        Tobacco Company Quotes on Marketing to Kids, Campaign for Tobacco-Free Kids (May 14, 2001),
   https://www.tobaccofreekids.org/assets/factsheets/0114.pdf.
   205
       C.A. Tucker, Marketing Plans Presentation to RJRI B of D at 2, U.C.S.F. Truth Tobacco Industry Documents
   (Sept. 30, 1974), https://www.industrydocumentslibrary.ucsf.edu/tobacco/docs/#id=ypmw0091. (RJ Reynolds
   executive explaining that the “young adult . . . market . . . represent[s] tomorrow’s cigarette business. As this 14-24
   age group matures, they will account for a key share of the total cigarette volume—for at least the next 25 years.”).
   206
       Matthew Perone and Richard Lardner, AP News, Juul exec: Never intended electronic cigarette for teens (July
   26, 2019), https://apnews.com/4b615e5fc9a042498c619d674ed0dc33; Gabriel Montoya, Pax Labs: Origins with
   James Monsees, Social Underground, https://socialunderground.com/2015/01/pax-ploom-origins-future-james-
   monsees

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   including taste.207




              295.    JLI and the MANAGEMENT DEFENDANTS deployed this same strategy, but


   207
         See Appendix A, Ads 9-50.

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   adapted it to modern advertising tactics.


         2)          JLI and the MANAGEMENT DEFENDANTS Intentionally Marketed JUUL to
                     Young People

              296.     The risk that children would use a new e-cigarette product was well-known and

   well-publicized in the months leading up to the launch of the JUUL e-cigarette. For example, in

   April 2015, the CDC published the results from its 2014 National Youth Tobacco Survey.208 The

   CDC found that “[i]n 2014, e-cigarettes were the most commonly used tobacco product among

   middle (3.9%) and high (13.4%) school students.”209 Moreover, “[b]etween 2011 and 2014,

   statistically significant increases were observed among these students for current use of both e-

   cigarettes and hookahs (p<0.05), while decreases were observed for current use of more traditional

   products, such as cigarettes and cigars, resulting in no change in overall tobacco use.”210 The CDC

   blamed e-cigarette marketing, the use of “a mixture of ‘sex, free samples, [and] flavors’ — the

   same things that were originally found to be problematic with cigarette ads.”211

              297.     Seeking to enter this nascent youth market for e-cigarettes, from its inception, JLI

   intentionally targeted youth. In March 2015, MANAGEMENT DEFENDANTS supervised the

   advertising campaigns that would accompany the launch of JUUL.

              298.     Consistent with MONSEES’ position that he has no “qualms” with marketing to

   people that were not yet addicted to nicotine,212 based on information and belief JLI”s marketing

   strategy targeted youth and those who are nicotine naive. Based on information and belief, JLI


   208
        Centers for Disease Control and Prevention, Tobacco Use Among Middle and High School Students — United
   States, 2011–2014, Morbidity and Mortality Weekly Report (MMWR) 64(14); 381-385 (April 17, 2015),
   https://www.cdc.gov/mmwr/preview/mmwrhtml/mm6414a3.htm.
   209
       Id.
   210
       Id.
   211
         Jacob Kastrenakes, More teens are vaping instead of smoking, The Verge (Apr. 16, 2015),
   https://www.theverge.com/2015/4/16/8429639/teen-ecigarette-use-triples-vaping-beats-smoking
   212
        David H. Freedman, How do you Sell a Product When You Really Can’t Say What it Does?,
   Inc.,.https://www.inc.com/magazine/201405/david-freedman/james-MONSEES-ploom-ecigarette-company-
   marketing-dilemma.html.

                                                       101
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   hired marketing companies with reputations of marketing products to adolescents and the younger

   generation.


       3)          JLI Advertising Exploited Young People’s Psychological Vulnerabilities

            299.     Informed by decades of tobacco marketing, JLI ran a consistent, simple message:

   JUUL is used by young, popular, attractive, and stylish people.

            300.     This was not the only marketing scheme JLI could have adopted. JLI had other

   options. In 2014, JLI engaged a Calgary-based advertising agency, Cult Collective Ltd. (“Cult”),

   to complete a “diagnostic” evaluation of the JUUL brand and to make recommendations regarding

   the best advertising strategy to market the JUUL e-cigarette.

            301.     In keeping with typical e-cigarette marketing, which messaged to existing smokers

   looking to quit, Cult recommended that JUUL position its e-cigarette technology as the focus of

   its advertisements. Cult presented JUUL with exemplar advertisements that used images of a boom

   box and a joy stick, juxtaposed against the JUUL e-cigarette, with the tag line: “Everything

   changes. JUUL the evoluution of smoking.”




            302.     This campaign expressly invokes combustible cigarettes and positions the JUUL as


                                                    102
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   a technological upgrade for the modern smoker.

           303.    JLI rejected this approach.

           304.    Instead, in June of 2015, JLI launched the “Vaporized” advertising campaign.213

           305.    Applying the template for preying on teens established by the cigarette industry,

   the Vaporized campaign used stylish models, bold colors, and highlighted themes of sexual

   attractiveness, thinness, independence, rebelliousness and being “cool.”214

           306.    The targeting of young consumers was evident in the design and implementation of

   the Vaporized campaign, which featured models in their 20s whose “poses were often evocative

   of behaviors more characteristic of underage teen than mature adults.”215




   213
       Declan Harty, JUUL Hopes to Reinvent E-Cigarette Ads with ‘Vaporized Campaign’, AdAge (June 23, 2015),
   http://adage.com/article/cmo-strategy/juul-hopes-reinvent-e-cigarette-ads¬campaign/299142/.
   214
       See Appendix A, Advertisement 1 (example of targeting of young people).
   215
       Jackler, JUUL Advertising (2015-2018) at 7.

                                                       103
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            307.     In the months leading up to the launch of JUUL e-cigarettes, based on information

   and belief, the MANAGEMENT DEFENDANTS knew that the ads targeted the young, but “Juul’s

   board of directors signed off on the company’s launch plans[.]”216 In addition, “MONSEES, who

   was CEO at the time, personally reviewed images from the billboard photo shoot while it was in

   session.”217 A senior manager later told the New York Times that “he and others in the company

   were well aware” that the marketing campaign “could appeal to” teenagers.218

            308.     As part of the Vaporized campaign, JLI advertised on a 12-panel display over

   Times Square.219 Billboard advertising of cigarettes has for years been unlawful under the Master

   Settlement Agreement.




   216
       Ainsley Harris, How Juul, founded on a life-saving mission, became the most embattled startup of 2018: E-cigarette
   startup Juul Labs is valued at more than $16 billion. It’s also hooking teens on nicotine and drawing scrutiny from
   the FDA. Can the company innovate its way out of a crisis it helped create?, Fast Company (Nov. 19, 2018),
   https://www.fastcompany.com/90262821/how-juul-founded-on-a-life-saving-mission-became-the-most-embattled-
   startup-of-2018
   217
       Id.
   218
       Matt Richtel & Sheila Kaplan, Did Juul Lure Teenagers and Get ‘Customers for Life’?, N.Y. Times (Aug. 27,
   2018), https://www.nytimes.com/2018/08/27/science/juul-vaping-teen-marketing.html.
   219
          See Appendix A, image 14; see also https://inrejuul.myportfolio.com (also available at
   http://tobacco.stanford.edu/tobacco_main/subtheme_pods.php?token=fm_pods_ mt068.php) (last accessed January
   25, 2019) (additional images and videos).

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             309.    JLI’s Vaporized campaign was so effective that it gained national attention on an

   October 15th, 2015 episode of Late Night with Stephen Colbert, who ridiculed the notion that the

   young, dancing models were consistent with a target market of adult smokers. As Colbert joked

   after viewing the close-up video of young models dancing in place, “[y]eah! There is something

   about vaping that just makes me want to dance in a way that doesn’t require much lung strength. .

   . . And it’s not just ads featuring hip young triangles that appeal to the youths. . . . There is no

   reason to worry about the long-term effects of vaping, because e-cigarettes are so new that their

   long-term effects are still unknown.”220

             310.    The Vaporized campaign was not limited to the Times Square billboards however.

   The ads were also placed in nationally-distributed magazines, and the videos were displayed on

   screens at the top of point-of-sale JUUL kiosks provided by JUUL to retailers across the country.

             311.    To the extent that the Vaporized advertisements disclosed that JUUL contained

   nicotine, the warnings were in small print against low-contrast backgrounds, making them easy to

   overlook. By way of comparison, cigarette advertisements, are required to display a health warning


   220
         https://www.youtube.com/watch?v=PMtGca_7leM

                                                       105
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   in high contrast black and white, covering 20% of the image.

              312.     Likewise, JLI’s social media ads did not disclose any health risks of using JUUL

   until May of 2018, when they were required to warn of addiction. But even then, JUUL placed

   these warnings in areas that were only viewable if the social media user clicked on the “full

   version” of the JLI post, which is not how teens typically engage with social media advertising.221

   Notably, on Twitter, a social media platform that is geared towards reading text, and on Facebook,

   where some users do read text, JLI typically did not include the disclaimer in its advertisements at

   all.222


         4)          JLI Pushed the Vaporized Campaign Into Youth Targeted Channels

                       A.     JLI Placed Its Vaporized Ads on Youth Oriented Websites and Media

              313.     JLI engaged programmatic media buyers to place advertisements on websites

   attractive to children, adolescents in middle school and high school, and underage college students.

   These advertisements, which included the images of models from the Vaporized campaign, began

   appearing on websites as early as June 2015. The chosen websites included: nickjr.com (the

   website for a children’s television network run by Nickelodeon Group); the Cartoon Network’s

   website at cartoonnetwork.com; allfreekidscrafts.com; hellokids.com; and kidsgameheroes.com.

              314.     A picture of the homepage of nickjr.com is below:




   221
      See Appendix A, Advertisement 3.
   222
       See Appendix A, Advertisement 65; see also Juul Image Galleries (2015-2018) SRITA Collection,
   https://inrejuul.myportfolio.com/twitter-1.

                                                     106
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           315.     JLI also purchased banner advertisements on websites providing games targeted to

   younger girls,223 educational websites for middle school and high school students,224 and other teen-

   targeted websites.225

           316.     JLI promoted the Vaporized campaign on Facebook, Instagram, and Twitter.

           317.     JLI could have employed age-gating on its social media accounts to prevent

   underage consumers from viewing its Vaporized advertisements, but chose not to do so.

           318.     The Vaporized campaign included the largest e-cigarette smartphone campaign of

   2015, which accounted for 74% of all such smartphone advertising that year.

           319.     JLI promoted Vaporized through Vice Magazine, which bills itself as the “#1 youth

   media brand” in the world.226




   223
       The sites included dailydressupgames.com, didigames.com, forhergames.com, games2girls.com, girlgames.com,
   and girlsgogames.com.
   224
       E.g., coolmath-games.com. JUUL also purchased advertisements on basic-mathematics.com, coolmath.com,
   math-aids.com, mathplayground.com, mathway.com, onlinemathlearning.com, and purplemath.com.
   225
       E.g., teen.com, seventeen.com, justjaredjr.com, and hireteen.com. JUUL purchased advertisements on websites
   for high school students hoping to attend college such as collegeconfidential.com and collegeview.com.
   226
       Kathleen Chaykowski, The Disturbing Focus of Juul’s Early Marketing Campaigns, Forbes (Nov. 16, 2018 2:38
   PM), https://www.forbes.com/sites/kathleenchaykowski/2018/11/16/the-disturbing-focus-of-juuls-early-marketing-
   campaigns/#3da1e11b14f9;

                                                        107
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           320.     By 2016, an estimated 20.5 million U.S. middle and high school students were

   exposed to advertisements for e-cigarettes, including JUUL.227

                    B.      JLI Used Influencers and Affiliates to Amplify Its Message to a
                            Teenage Audience
           321.     Influencers are prized sources of brand promotion on social media networks.

           322.     JLI targeted influencers that were young and popular with adolescents. One

   influencer JLI targeted was Tavi Gevinson, who was nineteen years old in the summer of 2015.

   The year before, Rolling Stone magazine described Gevinson as “possibly the most influential 18-

   year-old in America.”228

           323.     JLI contracted with a company to enlist influencers by sending them free JUUL e-

   cigarettes. The company provided free JUULs to Luka Sabbat, known as the “the Internet’s

   Coolest Teenager,”229 who was 17 years old during the summer of 2015.

           324.     JLI encouraged its distributors, wholesalers, and other resellers—either explicitly


   227
       Kristy Marynak et al., Exposure to Electronic Cigarette Advertising Among Middle and High School Students –
   United States, 2014-2016, CDC: Morbidty and Mortality Weekly Report (Mar. 16, 2018),
   https://www.cdc.gov/mmwr/volumes/67/wr/mm6710a3.htm.
   228
       Alex Morris, Tavi Gevinson: A Power Teen’s New Direction, Rolling Stone (Aug. 14, 2014, 3:57 PM),
   https://www.rollingstone.com/culture/culture-features/tavi-gevinson-a-power-teens-new-direction-232286/.
   229
       Alexis Barnett, Who Is Luka Sabbat? Meet the Internet’s Coolest Teenager, Complex (Aug. 17, 2015),
   https://www.complex.com/style/luka-sabbat-interview-on-youth-kanye-west-and-fashion.

                                                        108
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   or implicitly— to hire affiliates and influencers to promote JLI’s brand and products. Even if not

   paid directly by JLI, these Influencers profited from the promotion of JUUL products either

   because they were paid by JUUL resellers, JUUL accessory sellers, or sellers of JUUL-compatible

   products.

           325.     For example, one YouTube user Donnysmokes (Donny Karle, age twenty-one)

   created a JUUL promotional video in 2017 that garnered roughly 52,000 views, many of which

   were from users under the age of eighteen.230 Since that time, Karle has made a series of videos,

   including one titled “How to HIDE & HIT Your JUUL at SCHOOL WITHOUT Getting

   CAUGHT.”231 Karle has admitted to earning approximately $1200 a month from unspecified

   sources simply from posting videos of himself consuming e-cigarettes, especially of JUUL

   products online.232

           326.     At least one JLI sales representative sent DonnySmokes a private message thanking

   him for promoting JUUL products on social media. Similarly, JUUL repeatedly thanked and

   encouraged the owner of the @JUULnation Instagram account for his posting of youth-oriented

   JUUL content on Instagram.

           327.     JLI’s affiliates promoted JUUL on social media platforms including YouTube,

   Instagram, Facebook, Snapchat, and Twitter and routinely failed to disclose that they were being

   paid to promote JUUL products.

           328.     As with much of the marketing strategy for JUUL, the practices described above

   are prohibited by the Master Settlement Agreement.



   230
       Robert K. Jackler, The Role of the Company in the Juul Teen Epidemic, Testimony for the House Subcommittee
   on Economic and Consumer Policy (Jul. 24, 2019),
   https://docs.house.gov/meetings/GO/GO05/20190724/109844/HHRG-116-GO05-Wstate-JacklerR-20190724.pdf
   231
       Id.
   232
       Allie Conti, This 21-year-old is Making Thousands a Month Vaping on YouTube (Feb. 5, 2018 9:30 AM),
   https://www.vice.com/en_us/article/8xvjmk/this-21-year-old-is-making-thousands-a-month¬vaping-on-youtube .

                                                        109
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                    C.      JLI Used Viral Marketing Techniques Known to Reach Young People

           329.     JLI deployed “viral marketing” techniques to great success. Viral marketing is

   defined as “marketing techniques that seek to exploit pre-existing social networks to produce

   exponential increases in brand awareness, through processes similar to the spread of an

   epidemic.”233 Viral marketing effectively converts customers into salespeople, who, by sharing

   their use of a product (on social media or otherwise), repeat a company’s representations and

   endorse the product within their network. The success of viral marketing depends on peer-to-peer

   transmission. Hence, a successful viral marketing campaign looks like a series of unrelated,

   grassroots communications, when in fact they are the result of carefully orchestrated corporate

   advertising campaigns.

           330.     Social media platforms are the most effective way to launch viral marketing

   campaigns among young people. As of May 2018, among teenagers, 95% reported use of a smart

   phone, 85% use YouTube, 72% use Instagram, and 45% reported being online “constantly.”234

           331.     A key feature of JLI’s viral marketing campaign was inviting user-generated

   content. This strategy revolves around prompting social media followers to provide their own

   JUUL-related content—e.g. post a selfie in your favorite place to use JUUL. The response

   provided by a user is then typically distributed—by the social media platform employed—into the

   user’s personal network. In this way, brands can infiltrate online communities with personalized

   content that promotes their product (e.g. a picture of a friend using a JUUL e-cigarette at the

   beach). Within a few months of the JLI’s commercial release in June 2015, a former JLI executive

   reportedly told the New York Times that JLI “quickly realized that teenagers were, in fact, using


   233
       N. Deepa et al., Viral Marketing as an On-Line Marketing Medium, IOSR J. of Bus. And Management 18,
   http://www.iosrjournals.org/iosr-jbm/papers/ncibppte-volume-2/1115.pdf; P. R. Datta, D. N. Chowdhury & B.R.
   Chakraborty, Viral Marketing: New Form of Word-of-Mouth Through Internet, 3 The Business Review 69 (2005).
   234
       Monica Anderson And Jingjing Jiang, Teens, Social Media & Technology 2018: Appendix A: Detailed Tables (May
   31, 2018), https://www.pewresearch.org/internet/2018/05/31/teens-technology-appendix-a-detailed-tables/

                                                        110
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   [JUULs] because they posted images of themselves vaping JUULs on social media.”235

           332.    To drive consumer participation in its ad campaign, JLI peppered its advertising

   and social media posts with hashtags, including those referencing JLI and consuming e-cigarettes

   (e.g., #juul, #juulvapor, #switchtojuul, #vaporized, #juulnation, #juullife, #juulmoment); and

   trending topics unrelated to JUUL, as well as topics #mothersday, #goldenglobes, #nyc, etc.




           333.    JUUL users began taking photos of themselves using JUUL devices and putting

   them on social media with the hashtag #juul. They were creating JUUL content that looked and

   felt like real JUUL ads: featuring young people having fun and using JUUL. The flavor-based

   hashtag campaigns #MangoMonday and #coolmint generated hundreds of thousands of user-

   generated posts.

           334.    JLI could have stepped in and attempted to stop the use of its trademark in posts

   directed to underage audiences, including the use of all the hashtags that contain the word “JUUL.”

   It could have sought to shut down infringing accounts such as @doit4juul and @JUULgirls. It did

   not do so.


   235
      Matt Richtel & Sheila Kaplan, Did Juul Lure Teenagers and Get ‘Customers for Life’?, N.Y. Times (Aug. 27,
   2018), https://www.nytimes.com/2018/08/27/science/juul-vaping-teen-marketing.html.

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         5)          JLI Targeted Youth Retail Locations

              335.     Studies show that tobacco use is associated with exposure to retail advertising and

   relative ease of in-store access to tobacco products. Some studies have shown that youth who were

   frequently exposed to point of sale tobacco marketing were twice as likely to try or initiate smoking

   than those who were not as frequently exposed.

              336.     For years, JLI made it difficult for smoke shops and other age-restricted stores to

   carry its products, instead directing its product to gas stations and convenience stores, which

   historically make the most underage sales. JLI knows that nicotine naïve young people frequent

   gas stations and convenience stores rather than smoke shops. By distributing in those kinds of

   stores, JUUL increased the likelihood that these people would purchase its product.

              337.     JLI marketed its products extensively in convenience stores, employing video and

   product displays with bright colors and young adults using and displaying the JUUL device. The

   retail marketing worked and by late-2017 JUUL became the most popular e-cigarette sold in

   convenience stores according to Nielsen data.236

              338.     Like all in-store cigarette advertising, JLI’s point of sale materials played a major

   role in driving youth addiction. JLI actively encouraged youth to seek out these laxly regulated

   retail locations, sending marketing e-mails to hundreds of thousands of customers, referring them

   to the JUUL store locator and offering discounts. And JLI actively encouraged its retailers to

   leniently regulate sales to youth by providing profit margins that far exceeded any other tobacco

   product being sold.

              339.     Before its launch in 2015, JLI and Cult Collective developed packaging and in-



   236
      Campaign for Tobacco-Free Kids, JUUL and Youth: Rising E-Cigarette Popularity, Kansas Department of Health
   and Environment (July 6, 2018), http://www.kdheks.gov/tobacco/download/Campaign_for_tobacco-
   free_kids_rising_popularity_of_e-cigarettes.pdf

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   store displays that looked similar to iPhone packaging, which JLI knew would resonate with young

   people and further JLI’s campaign to be the “the iPhone of e-cigarettes.”

           6)          JLI Hosted Parties to Create a Youthful Brand and Gave Away Free Products
                       to Get New Consumers Hooked

                340.     JLI also sponsored at least twenty-five live social events for its products in

   California, Florida, New York and Nevada. The invitations to JUUL’s events did not indicate that

   the JUUL was intended for cigarette smokers, contained nicotine, or was addictive.237 Instead, the

   invitations traded on PAX Lab, Inc.’s reputation as a manufacturer of marijuana vaporizers and

   promised attendees “free #JUUL starter kit[s],” live music, or slumber parties.238 Photographs from

   these events indicate that they drew a youthful crowd. Product promotion through sponsored

   events was a long-standing practice for cigarette companies, but is now prohibited.




   237
         See Appendix A, Advertisements 78-81.
   238
         Id.

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          341.   At these live social events, JLI gave attendees free JUUL “Starter Kits,” which

   contain a JUUL device and 4 JUUL pods of various flavors. JLI gave away samples at music

   events without age restrictions, including Outside Lands in San Francisco’s Golden Gate Park.

          342.   Giving away free samples is prohibited conduct for a cigarette company under the

   Master Settlement Agreement.



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           343.     JLI also held sampling events in stores. Documents obtained by the New York

   Attorney General show that JLI recruited young “brand ambassadors” to staff these events and

   required a dress code that included skinny jeans, high-top sneakers or booties, and an iPhone in a

   JUUL-branded case.239




           344.     Though JLI publicly acknowledged in October 2017 that it is unlawful to distribute

   free samples of its products at live events,240 it continued to reach out to new users by offering

   samples, sometimes at $1 “demo events.” Like so many of JLI’s initiatives, promotions of this

   kind are prohibited for cigarette companies by the Master Settlement Agreement.241

           345.     The effect—and purpose—of JLI’s Vaporized giveaways was to flood major cities



   239
       Jake Offenhartz, Juul Hooked Teens Through Sick Parties and Hip Ambassadors, NY AG Says, Gothamist (Nov.
   19, 2019 2:02 PM), https://gothamist.com/news/juul-hooked-teens-through-sick-parties-and-hip-ambassadors-ny-ag-
   says; Kathleen Chaykowski, The Disturbing Focus of Juul’s Early Marketing Campaigns, Forbes (Nov. 16, 2018
   2:38 PM), https://www.forbes.com/sites/kathleenchaykowski/2018/11/16/the-disturbing-focus-of-juuls-early-
   marketing-campaigns/#3da1e11b14f9.
   240
       See Nik Davis (@bigbabynik), Twitter (Nov. 17, 2017 1:11 PM),
   https://twitter.com/JLIvapor/status/931630885887266816; Robert K. Jackler, The Role of the Company in the Juul
   Teen Epidemic, Testimony for the House Subcomittee on Economic and Consumer Policy (Jul. 24, 2019),
   https://docs.house.gov/meetings/GO/GO05/20190724/109844/HHRG-116-GO05-Wstate-JacklerR-20190724.pdf.
   241
       Robert K. Jackler et al., JUUL Advertising Over Its First Three Years on the Market, Stanford Research Into the
   Impact of Tobacco Advertising (Jan. 31, 2019),
   http://tobacco.stanford.edu/tobacco_main/publications/JUUL_Marketing_Stanford.pdf. at 6.

                                                          115
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   with products that would hook thousands of new users, and to generate buzz for the brand among

   urban trendsetters who would then spread JLI’s message to their friends via word of mouth and

   social media.

              346.     According to BeCore, one of the firms responsible for designing and implementing

   JLI’s live events, JLI distributed the nicotine-equivalent of approximately 500,000 packs of

   cigarettes at all twenty-five events.242 And this was just to get people started.


         7)          The MANAGEMENT DEFENDANTS’ Direction And Participation In The
                     Youth Marketing Schemes
                       A.     The MANAGEMENT DEFENDANTS, And In Particular BOWEN,
                              MONSEES, PRITZKER, HUH, And VALANI, Oversaw The Youth
                              Marketing Scheme

              347.     Based upon information and belief, the MANAGEMENT DEFENDANTS were

   well aware that JUUL branding was oriented toward teens and duplicated earlier efforts by the

   cigarette industry to hook children on nicotine. Based on information and belief, the

   MANAGEMENT DEFENDANTS actively participated and approved JLI’s efforts to market to

   youth.

              348.     Some company leaders, including HUH, opposed any actions to curb youth sales.

   Youth sales were a large potential source of revenue.243 As one manager explained, perhaps “people

   internally had an issue” with sales of JUULs to teenagers, “[b]ut a lot of people had no problem

   with 500 percent year-over-year growth.”244 And company leaders understood that teenagers who

   were hooked on nicotine were the most likely segment to become lifelong addicts and thus were




   242
       Robert K. Jackler et al., JUUL Advertising Over Its First Three Years on the Market, Stanford Research Into the
   Impact of Tobacco Advertising (Jan. 31, 2019),
   http://tobacco.stanford.edu/tobacco_main/publications/JUUL_Marketing_Stanford.pdf. at 9
   243
       Chris Kirkham, Juul Disregarded Early Evidence it was Hooking Teens, Reuters (Nov. 5, 2019, 11:00 AM
   GMT), https://www.reuters.com/investigates/special-report/juul-ecigarette/.
   244
       Id.

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   the most profitable customers to target.245

           349.     In October 2015, JUUL leadership resolved the debate in favor of selling to teens,

   and JLI pressed ahead with its youth-oriented Vaporized ad campaign through early 2016.246

           350.     The company also implemented the Board’s decision in October 2015 to target and

   sell to minors in many other ways. For example, Pax Labs, Inc. modified its online the age

   verification system so that users were more likely to pass. By doing so, Pax Labs, Inc. deliberately

   chose to continue selling to underage purchasers.

           351.     By March 2016, however, JLI employees internally recognized that its efforts to

   market to children were too obvious. Around this time, Pax Labs, Inc. reoriented its JUUL

   advertising from the explicitly youth-oriented Vaporized campaign to a more subtle approach to

   appeal to the young. The advertising’s key themes continued to include pleasure/relaxation,

   socialization/romance, and flavors247—all of which still appealed to teenagers.

           352.     The MANAGEMENT DEFENDANTS continued to direct and approve misleading

   marketing campaigns long after launch. For example, JLI deceptively marketed mint to youth,

   through flavor-driven advertising, hashtag campaigns and ads cross-promoting mango and mint.

   Through their positions on the JLI Board of Directors, the MANAGEMENT DEFENDANTS were

   directly responsible for this marketing, as they had “final say” over all of JLI’s marketing

   activities.248 In other words, JLI and the MANAGEMENT DEFENDANTS controlled the



   245
       Id.
   246
       The Vaporized advertising campaign continued at least into early 2016. Robert K. Jackler et al., JUUL
   Advertising Over Its First Three Years on the Market, Stanford Research Into the Impact of Tobacco Advertising
   (Jan. 31, 2019), http://tobacco.stanford.edu/tobacco_main/publications/JUUL_Marketing_Stanford.pdf at 7.
   247
       Robert K. Jackler et al., JUUL Advertising Over Its First Three Years on the Market, Stanford Research Into the
   Impact of Tobacco Advertising (Jan. 31, 2019),
   http://tobacco.stanford.edu/tobacco_main/publications/JUUL_Marketing_Stanford.pdf at 9.
   248
       Examining JLI’s Role in the Youth Nicotine Epidemic: Part II: Hearing Before the Subcommittee on Economic
   and Consumer Policy of the Committee on Oversight and Reform, House of Representatives, 116th Cong. 70 (2019)
   (statement of JAMES MONSEES, CPO, JLI Labs).

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   messaging around JUUL products.

          353.    Notably, none of JLI’s early advertisements, including those of the “Vaporized”

   campaign and others targeted to youths, disclosed that JUUL contains high amounts of nicotine;

   indeed, those advertisements did not advertise JUUL’s nicotine content whatsoever.

          354.    Likewise, none of JLI’s advertisements, including those of the “Vaporized”

   campaign and others targeted to youths, disclosed the health risks from consuming JUUL products.

          355.    JLI and the MANAGEMENT DEFENDANTS knew of course that JUUL

   contained an ultra-high concentration of nicotine, and that ultra-high concentration of nicotine was

   designed to addict. They also knew that e-cigarette products, including JUUL, would expose users

   to increased health risks, including risks to their lungs and cardiovascular system. Despite that

   knowledge, JLI and the MANAGEMENT DEFENDANTS took affirmative actions, the natural

   consequence of which was the approval and transmission of these false and misleading

   advertisements that did not include a disclosure of JUUL’s high nicotine content and

   concentration, nor any health risks at all.

                  B.      PRITZKER, HUH, And VALANI Were Able to Direct and
                          Participate in the Youth Marketing Because They Seized Control of
                          the JLI Board of Directors

          356.    Although BOWEN and MONSEES were the visionaries behind JLI and the most

   hands-on in its early stages, by the time JLI was pushing its marketing campaigns in early-to mid-

   2015, JLI (through the individuals running the company), BOWEN, MONSEES, PRITZKER,

   HUH, and VALANI were each intimately involved in the planning and execution of activities,

   taking actions that went beyond the regular and legitimate business operations of JLI.

          357.    And at the same time the MANAGEMENT DEFENDANTS had approved the early

   JLI marketing campaigns that were intentionally targeting youth, the MANAGEMENT

   DEFENDANTS were planning a fundamental shift in roles to allow PRITZKER, HUH, and

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   VALANI to take charge of the instrumentalities of JLI, including its employees and resources.

              358.     Specifically, in October 2015, MONSEES stepped down from his role as Chief

   Executive Officer of JLI (to become Chief Product Officer) and, in his stead, PRITZKER, HUH,

   and VALANI formed an Executive Committee of the JLI Board of Directors that would take

   charge of fraudulently marketing JUUL products, including to youth. The MANAGEMENT

   DEFENDANTS, and in particular HUH, wanted to continue their fraudulent marketing, knowing

   that these ads were also targeted to youth, “argu[ing] that the company couldn’t be blamed for

   youth nicotine addiction.”249

              359.     Over the next year, until the installation of a new CEO in August 2016, Defendants

   PRITZKER, HUH, and VALANI used worked to expand the number of addicted e-cigarette users

   through fraudulent advertising and representations to the public. They cleaned house at JLI by

   “dismiss[ing] other senior leaders and effectively tak[ing] over the company.”250 Despite any

   potential internal misgivings about their fraudulent conduct, notably, none of MANAGEMENT

   DEFENDANTS terminated their relationship with JLI during this time period.


         8)          JLI and the MANAGEMENT DEFENDANTS Knew Their Efforts Were Wildly
                     Successful in Building a Youth Market and Took Coordinated Action to Ensure
                     That Youth Could Purchase JUUL Products

                       A.     JLI’s Strategy Worked

              360.     The MANAGEMENT DEFENDANTS knew that the JUUL marketing campaigns

   they directed and approved were successful in targeting youth. As Reuters has reported, “the first

   signs that JUUL had a strong appeal to young people came almost immediately after the sleek

   device went on sale in 2015 . . . . Employees started fielding calls from teenagers asking where


   249
       Chris Kirkham, Juul Disregarded Early Evidence it was Hooking Teens, Reuters (Nov. 5, 2019, 11:00 AM),
   https://www.reuters.com/investigates/special-report/juul-ecigarette/
   250
       Julie Creswell & Sheila Kaplan, How Juul Hooked a Generation on Nicotine, N.Y. Times (Nov. 24, 2019),
   https://www.nytimes.com/2019/11/23/health/juul-vaping-crisis.html.

                                                      119
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   they could buy more JUULs, along with the cartridge-like disposable ‘pods’ that contain the liquid

   nicotine.”251 A former senior manager told the New York Times that “[s]ome people bought more

   JLI kits on the company’s website than they could individually use—sometimes 10 or more

   devices.” He added that “[f]irst, they just knew it was being bought for resale,” but later “when

   they saw the social media, in fall and winter of 2015, they suspected it was teens.”252 BOWEN

   admitted that “he was aware early on of the risks e-cigarettes posed to teenagers[.]”253 It was

   common knowledge within JLI that JUULs were being sold to children.

            361.     After the Vaporized campaign, retail stores began selling out of JUUL products and

   JLI had a difficult time trying to meet demand coming from its online ordering platform.

            362.     Furthermore, it was obvious to those outside the company that JLI was selling

   JUUL products to children. In June 2015, reporting on the “Vaporized” campaign that

   accompanied the JUUL launch, AdAge reported that John Schachter, director of state

   communications for Campaign for Tobacco-Free Kids, “expressed concern about the JUUL

   campaign because of the youth of the men and women depicted in the campaign, especially when

   adjoined with the design” and added that there had been “obvious trends that appeal to adolescents

   in e-cigarette campaigns[.]”254 Robert Jackler, a Stanford physician who investigated JLI’s launch

   campaign, concluded that “JLI’s launch campaign was patently youth-oriented.”255 JUUL’s




   251
       Chris Kirkham, Juul Disregarded Early Evidence it was Hooking Teens, Reuters (Nov. 5, 2019, 11:00 AM GMT),
   https://www.reuters.com/investigates/special-report/juul-ecigarette/.
   252
       Matt Richtel and Sheila Kaplan, Did Juul Lure Teenagers and Get ‘Customers for Life’?: The e-cigarette company
   says it never sought teenage users, but the F.D.A. is investigating whether Juul intentionally marketed its devices to
   youth, NY Times (Aug. 27, 2018),
   https://www.nytimes.com/2018/08/27/science/juul-vaping-teen-marketing.html.
   253
       Id.
   254
       Declan Harty, JUUL Hopes to Reinvent E-Cigarette Ads with ‘Vaporized Campaign’, AdAge (June 23, 2015),
   http://adage.com/article/cmo-strategy/juul-hopes-reinvent-e-cigarette-ads¬campaign/299142/.
   255
       Erin Brodwin, See how Juul turned teens into influencers and threw buzzy parties to fuel its rise as Silicon
   Valley's favorite e-cig company, Business Insider (Nov 26, 2018, 6:07 AM),
   https://www.businessinsider.com/stanford-juul-ads-photos-teens-e-cig-vaping-2018-11

                                                           120
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   commercials’ attempts to appeal to teenagers were so obvious that, by October 2015, Stephen

   Colbert ran a satirical segment on it that noted, among other things: “And it’s not just ads featuring

   hip young triangles that appeal to the youths; so do vape flavors like cotton candy, gummi bear,

   and skittles.”256

            363.   Moreover, the MANAGEMENT DEFENDANTS knew that kids were marketing

   JLI products on social media, and some even sought to take advantage of that to build the JLI

   brand.


                   B.      JLI Closely Tracked Its Progress in Reaching Young Customers
                           through Social Media and Online Marketing

            364.   Tracking the behaviors and preferences of youth that are under twenty-one, and

   especially those under eighteen, has long been essential to the successful marketing of tobacco

   products. Whether the activity is called “tracking” or “targeting,” the purpose has always been the

   same: getting young people to start smoking and keeping them as customers.

            365.   As early as 1953, PHILIP MORRIS was gathering survey data on the smoking

   habits of “a cross section of men and women 15 years of age and over.”257 Commenting on these

   data, George Weissman, then-Vice President of PHILIP MORRIS, observed that “we have our

   greatest strength in the 15-24 age group.”258

            366.   Traditional approaches to youth tracking (e.g., interviews conducted face-to-face

   or over the telephone) were limited, however, in that they often failed to capture data from certain

   subsets of the target market. As a PHILIP MORRIS employee noted in a June 12, 1970



   256
      The Late Show with Stephen Colbert, YOUTUBE (Oct. 7, 2015),
   https://www.youtube.com/watch?v=PMtGca_7leM. The “triangles” ad was a JUUL ad; the listed flavors were not,
   but JUUL also had flavors that appealed to children
     257
         Philip Morris Vice President for Research and Development, Why One Smokes, First Draft, 1969, Autumn
     (Minnesota Trial)
     258
         United States v. Philip Morris, 449 F. Supp. 2d 1, 581 (D.D.C. 2006).

                                                      121
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   memorandum, Marlboro smokers were “among the types of young people our survey misses of

   necessity (on campus college students, those in the military and those under 18 years of age).”259

           367.     However, modern technology has removed many of the hurdles that made youth

   tracking difficult in decades past. With e-mail, social media and online forums, JLI can track and

   JLI has consistently tracked and monitored its target youth market, including those below the

   minimum legal age to purchase or use JUUL products.

           368.     Using the tools available to them, JLI would have known that its viral marketing

   program was a resounding success, and in particular with young people.

           369.     Between 2015 and 2017, JUUL-related posts on Twitter increased quadratically,

   which is the exact result to be expected from an effective viral marketing campaign.260 Its growth

   on Instagram was likely even more rapid.

           370.     A 2018 study of JLI’s sales and presence on social media platforms found that JLI

   grew nearly 700%, yet spent “no recorded money” in the first half of 2017 on major advertising

   channels, and spent only $20,000 on business-to-business advertising.261 Despite JLI’s apparently

   minimal advertising spend in 2017, the study found a significant increase in JUUL-related tweets

   in 2017.262

           371.     On Instagram, the study found seven JUUL-related accounts, including DoIt4JUUL

   and JUUL.girls, which accounted for 4,230 total JUUL-related posts and had more than 270,000

   followers.263



     259
         Id. at 1007.
   260
         Brittany Emelle, et al., Mobile Marketing of Electronic Cigarettes in the U.S., (May 2017),
   https://www.slideshare.net/YTHorg/mobile-marketing-of-electronic-cigarettes.
   261
       Jidong Huang et al., Vaping versus JUULing: how the extraordinary growth and marketing of JUUL transformed
   the       US       retail   e-cigarette    market,     TOBACCO         CONTROL        (May       31,     2018),
   http://tobaccocontrol.bmj.com/content/early/2018/05/31/tobaccocontrol-2018-0543 82.
   262
       Id.
   263
       Id.

                                                        122
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           372.     In addition to JUUL’s explosive growth on individual social media platforms, the

   study found JUUL products being marketed across platforms in an apparently coordinated fashion,

   including smaller targeted campaigns and affiliate marketing, all of which caused the authors to

   question whether JLI was paying for positive reviews and JUUL-related social media content.

           373.     The lead author of the study concluded that JLI was “taking advantage” of the reach

   and accessibility of multiple social media platforms to “target the youth and young adults . . .

   because there are no restrictions,” on social media advertising.264

           374.     A separate study of e-cigarette advertising on mobile devices, where young people

   spend most of their day consuming media, found that 74% of total advertising impressions were

   for JUUL products.265

           375.     A 2019 study found that as much as half of JUUL’s Twitter followers were aged

   thirteen to seventeen.266

           376.     A 2019 study characterizing JUUL-related Instagram posts between March and

   May 2018 found that among nearly 15,000 relevant posts from over 5,000 unique Instagram

   accounts, more than half were related to youth or youth lifestyle.267

           377.     Some Twitter users have reported what appear to be JUUL bots.268 Other Twitter

   users appear to either be bot accounts or native advertisers, in that they have a small number of




   264
       Laura Kelley, JUUL Sales Among Young People Fueled by Social Media, Says Study, The Washington Times (June
   4, 2018), https://www.washingtontimes.com/news/2018/jun/4/juul-sales¬among-young-people-fueled-by-social-
   med/
   265
       Brittany Emelle, et al., Mobile Marketing of Electronic Cigarettes in the U.S., (May 2017),
   https://www.slideshare.net/YTHorg/mobile-marketing-of-electronic-cigarettes.
   266
       Steven Reinberg, Study: Half of Juul's Twitter followers are teens, young adults, United Press International
   HealthDay News, (May 20, 219, 5:31 PM) https://www.upi.com/Health_News/2019/05/20/Study-Half-of-Juuls-
   Twitter-followers-are-teens-young-adults/1981558384957/
   267
       Lauren Czaplicki et al., Characterizing JUUL-related posts on Instagram, (August 1, 2019),
   https://tobaccocontrol.bmj.com/content/early/2019/07/30/tobaccocontrol-2018-054824
   268
       One example of what appear to be JUUL bots in action on Twitter is available at:
   https://twitter.com/search?q=juul%20bot&src=typd.

                                                        123
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   followers, follow few other users, and post exclusively about JUUL content.269

              378.     By April 2018, searching “JUUL” on YouTube yielded 137,000 videos with forty-

   three videos having over 100,000 views.270 Of these, a huge number were plainly related to

   underage use, including: 1,730 videos on “hiding JUUL in school,” 789 on “JUUL in school

   bathroom,” 992 on “hiding JUUL at home,” and 241 on “hiding JUUL in Sharpie.”271

              379.     In 2018, JLI was internally collecting hundreds of social media posts—directed at

   JLI—informing them of their wild popularity with young people and in many cases requesting that

   they do something to stop it.272


         9)          JLI Coordinates with Veratad Technologies To Expand Youth Access to JUUL
                     Products

              380.     At the same time JLI and the MANAGEMENT DEFENDANTS were taking

   coordinated actions to maintain and expand the number of nicotine-addicted e-cigarette users in

   order to ensure a steady and growing customer base through unlawful marketing and distribution

   activities, they were coordinating with an outside entity – Veratad Technologies LLC – to get

   JUULs into the hands of the largest number of consumers possible.

              381.     JLI’s website, including its online store, was pivotal to these efforts.

              382.     JLI coordinated with Veratad to provide age verification services for its website

   from 2015 to 2018. Veratad has also provided age verification services to other e-cigarette sellers.

   Consistent with the claim on Veratad’s website that “You can create your own verification rules,”

   the company encouraged sellers like JLI to set the desired compliance level for age verification.

   As a member of a major e-cigarette trade organization, Veratad also offered insight into what


   269
       Hennrythejuul (@hennrythejuul), Twitter, (March 4, 2020, 9:35 am) https://twitter.com/hennrythejuul.
   270
       Divya Ramamurthi et al.,, JUUL and Other Stealth Vaporizers: Hiding the Habit from Parents and Teachers,
   Tobacco Control 2019, https://tobaccocontrol.bmj.com/content/tobaccocontrol/28/6/610.full.pdf
   271
       Id.
   272
       Complaint at 60, People v. JUUL, et al. CRT REPORTER, (Super. Ct. of Cal. 2019).

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   competitors were doing, and offered to “guide your setup to follow industry best practices for age

   verification.”

              383.     Though it is illegal to sell and ship e-cigarettes to minors under both state and

   federal law, JLI and Veratad designed and implemented an age verification system designed to

   maximize the number of prospective purchasers who “pass” the process rather than to minimize

   the number of underage sales.273 As a result of these intentionally permissive age verification

   practices, JLI and Veratad used online payment systems and the mails to ship tens of millions of

   dollars of JUUL pods to unverified customers, many of whom were minors.

              384.     From June 2015 through the end of 2018, the age verification process on JLI’s

   website typically prompted prospective purchasers to submit their name, address, and date of birth,

   which JLI forwarded to Veratad. Veratad then attempted to match all or some limited part of the

   consumer’s information to a person of the minimum legal sales age in its database. If Veratad was

   able to locate a sufficient match of the prospective purchaser to a person of the minimum legal

   sales age in its database, then it would return a “pass” result to JLI. If Veratad was unable to make

   such a match, Veratad returned a “fail” result to JLI.

              385.     If Veratad returned a “fail” result to JLI, rather than decline the prospective

   purchaser, JLI would prompt the person to enter an “alternate” address. If Veratad still could not

   find a match based on this alternate address, JLI would prompt the consumer to enter the last four

   digits of his or her social security number.

              386.     If Veratad, supplied with the last four digits of a consumer’s social security number,

   still could not match the consumer to a person of the minimum legal sales age in its database, JLI

   would prompt the consumer to upload an image or photograph of his or her driver’s license or



   273
         Complaint at 165, People v. JUUL, et al. CRT REPORTER, (Super. Ct. of Cal. 2019).

                                                          125
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   another governmental identification document. A JLI employee would then conduct a personal

   review of the image and decide whether the consumer was of the minimum legal sales age.

           387.     Crucially, Veratad’s age verification system was purposefully flexible, so JLI and

   Veratad could work together to decide just how closely a prospective purchaser’s personal

   information had to match records in Veratad’s database in order to “pass” the age verification

   process. JLI and Veratad could also set, or modify, the applicable minimum legal sales age to be

   used for verification.

           388.     By the fall of 2015, JLI and Veratad knew that bulk purchases were being made for

   resale on JLI’s website by minors and for resale to minors.274 Nevertheless, JLI repeatedly sought,

   and Veratad repeatedly recommended and directed, changes to the age verification process so that

   more prospective JUUL purchasers would “pass.” Both did so in an effort to increase direct sales

   of JLI’s e-cigarettes without regard to whether its less stringent age verification process would

   permit more underage consumers to purchase them.

           389.     Between June 2015 and August 2017 (and perhaps even through early 2018), JLI

   and Veratad tailored the age verification system to “pass” prospective purchasers even if certain

   portions of the purchaser’s personal information – e.g., the purchaser’s street address or date of

   birth – did not match the information corresponding to a person of the minimum legal sales age in

   Veratad’s database.275



   274
       Matt Richtel and Sheila Kaplan, Did Juul Lure Teenagers and Get ‘Customers for Life’?: The e-cigarette
   company says it never sought teenage users, but the F.D.A. is investigating whether Juul intentionally marketed its
   devices to youth, NY Times (Aug. 27, 2018), https://www.nytimes.com/2018/08/27/science/juul-vaping-teen-
   marketing.html
   275
       A January 29, 2018 e-mail exchange between Tom Canfarotta, Director of Strategic Accounts & Client Quality
   Services at Veratad, and Annie Kennedy, JUUL’s Compliance Manager, reveals this to have been the case. Kennedy
   asked Canfarotta why a particular customer had “passed via the address step (public record check)…but we’ve since
   learned that is not a correct address—so we’re curious as to how it passed.” In response, Canfarotta wrote, “Your
   current rule set does not require a full address match.” He went on to explain that approval of the customer was not
   an anomaly or a mistake; instead, Veratad’s age verification system was working exactly the way it was designed.

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           390.     Similarly, between June 2015 and August 2017, JLI and Veratad tailored the system

   to “pass” a prospective purchaser under certain circumstances even when the prospective

   purchaser’s year of birth did not match the information corresponding to a person of the minimum

   legal sales age in Veratad’s database.

           391.     JLI and Veratad sought to increase “pass” rates by modifying the age verification

   system to allow users multiple opportunities to change their personal information if a match was

   not initially found in an appropriate government database. A Veratad Performance Report from

   August 5, 2017 shows that, for 1,963 consumers Veratad recorded 3,794 transactions – an average

   of 1.93 attempts per consumer.276 Only 966 consumers – less than half – passed age verification on

   the first attempt.277 By allowing consumers to alter their personal information and attempt age

   verification up to three times, JLI was able to increase its database match pass rate from 49.2% to

   61.2%.278

           392.     Based on information and belief, JLI customer service representatives would go so

   far as to alter identifying information for customers to get around the age verification system; a

   Slack chat among customer service representatives confirmed that representatives were authorized

   to “adjust the street address, apartment number, or zip code” associated with shipment.279

           393.     The age verification procedures designed by JLI and Veratad have allowed

   hundreds of thousands of e-cigarette products to be sold and/or delivered to fictitious individuals

   at fictitious addresses.280 Many of these improper sales may have been made to underage

   purchasers or to resellers who sold the products to underage consumers on the grey market.281



   276
       Id.
   277
       Id.
   278
       Id.
   279
       Complaint at 169, People v. JUUL, et al. CRT REPORTER, (Super. Ct. of Cal. 2019).
   280
       Complaint at 138, People v. JUUL, et al. CRT REPORTER, (Super. Ct. of Cal. 2019).
   281
       Id.

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           394.     By divorcing the address from the other customer data in the age verification

   process, JLI and Veratad allowed consumers to request that tobacco products be sent to locations

   other than their permanent legal residences.282 For example, JUUL sent thousands of orders to

   commercial high rises and office parks.283 It is unlikely these orders would have been approved

   had JUUL and Veratad required that addresses provided by users match information in an

   appropriate government database and followed the requirement that the shipping address and

   billing address be the same.284

           395.     Based on information and belief, the failure of the JLI/Veratad age verification

   procedure was intentional.285

           396.     Further underscoring their common purpose of growing the e-cigarette market,

   even if that meant selling to youth, JLI and Veratad did not require that the year of birth and last

   four digits of the social security number match exactly the information corresponding to a person

   of the minimum legal sales age in Veratad’s database until August 2018.

           397.     Not only did JLI and Veratad’s efforts result in more sales to minors, it also allowed

   JLI to build a marketing e-mail list that included minors—a data set that would prove highly

   valuable to ALTRIA.

           398.     In the summer of 2017, JLI engaged a company called Tower Data to determine

   the ages of the persons associated with e-mail addresses on its e-mail marketing list. According to

   this analysis, approximately 269,000 e-mail addresses on JLI’s e-mail marketing list were not

   associated with a record of an individual who had “passed” JLI’s age verification process.286


   282
       Complaint at 146, People v. JUUL, et al. CRT REPORTER, (Super. Ct. of Cal. 2019).
   283
       Complaint at 147, People v. JUUL, et al. CRT REPORTER, (Super. Ct. of Cal. 2019).
   284
       Id.
   285
       Complaint at 173, People v. JUUL, et al. CRT REPORTER, (Super. Ct. of Cal. 2019).
   286
       Complaint at 121, Commonwealth of Massachusetts v. JUUL, et al., No. 20-00402 (Filed Super. Ct. of Mass.
   February 12, 2020) https://www.mass.gov/doc/juul-complaint/download; Janice Tan logo, E-cigarette firm JUUL
   sued for using programmatic buying to target adolescents (Feb. 14, 2020), https://www.marketing-

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   Additionally, approximately 40,000 e-mail addresses on JLI’s e-mail marketing list were

   associated with records of individuals who had “failed” JLI’s own age verification process.287

   Tower Data informed JLI that 83% of the approximately 420,000 e-mail addresses on JLI’s

   marketing list could not be matched with the record of an individual at least eighteen years of

   age.288

             399.     Despite knowing that their marketing list included minors, JLI continued to use that

   marketing list to sell JUUL products, and then shared that list with ALTRIA to use for its marketing

   purposes.

             400.     JLI and the MANAGEMENT DEFENDANTS knew, however, that it was not

   enough to disseminate advertisements and marketing materials that promote JLI to youth or to

   open online sales to youth, while omitting mention of JUUL’s nicotine content and manipulated

   potency. To truly expand the nicotine market, they needed to deceive those purchasing a JUUL

   device and JUULpods as to how much nicotine they were actually consuming. And, through

   PRITZKER, HUH, and VALANI’s control of JLI’s Board of Directors, they did just that.


        10)         JLI Engaged in a Sham “Youth Prevention” Campaign

             401.     By April 2017, JLI had determined that the publicity around its marketing to

   children was a problem and began efforts to create a youth prevention program. While ostensibly

   aimed at reducing youth sales, JLI’s youth prevention program actually served to increase, not

   reduce, sales to children.

             402.     As part of its “youth prevention program”, JLI paid schools for access to their

   students during school time, in summer school, and during a Saturday School Program that was



   interactive.com/e-cigarette-firm-juul-sued-for-using-programmatic-buying-to-target-adolescents
   287
       Id.
   288
       Id.

                                                         129
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   billed as “an alternative to ‘traditional discipline’ for children caught using e-cigarettes in

   school.”289 JLI created the curriculum for these programs, and, like the “Think Don’t Smoke”

   campaign by PHILIP MORRIS, which “insidiously encourage[d] kids to use tobacco and become

   addicted Philip Morris customers[,]”290 JLI’s programs were shams intended to encourage youth

   vaping, not curb it. According to testimony before Congress, during at least one presentation, “[n]o

   parents or teachers were in the room, and JUUL’s messaging was that the product was ‘totally

   safe.’ The presenter even demonstrated to the kids how to use a JUUL.”291 Furthermore, JLI

   “provided the children snacks” and “collect[ed] student information from the sessions.”292

           403.     The problems with JLI’s youth prevention programs were widespread. According

   to outside analyses, “the JUUL Curriculum is not portraying the harmful details of their product,

   similar to how past tobacco industry curricula left out details of the health risks of cigarette use.”293

   Although it is well-known that teaching children to deconstruct ads is one of the most effective

   prevention techniques, JLI programs entirely omitted this skill, and JLI’s curriculum barely

   mentioned JUUL products as among the potentially harmful products to avoid.294 As one expert

   pointed out, “we know, more from anecdotal research, that [teens] may consider [JUULs] to be a

   vaping device, but they don’t call it that. So when you say to a young person, ‘Vapes or e-cigarettes

   are harmful,’ they say, ‘Oh I know, but I’m using a JUUL.’”295


   289
       Subcommittee on Economic and Consumer Policy Memo (July 25, 2019),
   https://oversight.house.gov/sites/democrats.oversight.house.gov/files/Supplemental%20Memo.pdf
   290
       William V. Corr, American Legacy Foundation Study Shows Philip Morris 'Think Don't Smoke' Youth Anti-
   Smoking Campaign is a Sham, Campaign for Tobacco Free Kids (May 29, 2002),
   https://www.tobaccofreekids.org/press-releases/id_0499
   291
       Subcommittee on Economic and Consumer Policy Memo (July 25, 2019),
   https://oversight.house.gov/sites/democrats.oversight.house.gov/files/Supplemental%20Memo.pdf
   292
       Id.
   293
       Victoria Albert, Juul Prevention Program Didn't School Kids on Dangers, Expert Says: SMOKE AND MIRRORS.
   JUUL—which made up 68 percent of the e-cigarette market as of mid-June—seems to have taken a page from the
   playbook of Big Tobacco, The Daily Beast (Oct. 19, 2018), https://www.thedailybeast.com/juul-prevention-program-
   didnt-school-kids-on-dangers-expert-says
   294
       Id.
   295
       Id.

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           404.     Based on information and belief, JLI also bought access to teenagers at programs

   outside of school.

           405.     Eventually, JLI ended this version of the youth prevention program, but the damage

   had been done: following the playbook of the tobacco industry, JLI had hooked more kids on

   nicotine.

           406.     Based on information and belief, the Board was intimately involved in these “youth

   prevention” activities.


         11)      The FDA Warned JUUL and Others That Their Conduct is Unlawful

           407.     Throughout 2018, the FDA put JLI and others in the e-cigarette industry on notice

   that their practices of marketing to minors needed to stop. It issued a series of Warnings Letters

   and enforcement actions:

           408.     On February 24, 2018, the FDA sent a letter to JLI expressing concern about the

   popularity of its products among youth and demanding that JLI produce documents regarding its

   marketing practices.296

           409.     In April 2018, the FDA conducted an undercover enforcement effort, which

   resulted in fifty-six warning letters issued to online retailers, and six civil money complaints to

   retail establishments, all of which were related to the illegal sale of e-cigarettes to minors.297

   Manufacturers such as JLI were also sent letters requesting documents regarding their marketing

   and sales methods.298

           410.     In May 2018, the FDA again issued more warning letters to manufacturers,


   296
       Matthew Holman, Letter from Director of Office of Science, Center for Tobacco Products, to Zaid Rouag, at JUUL
   Labs, Inc., U.S. Food & Drug Admin. (Apr. 24, 2018), https://www.fda.gov/media/112339/download.
   297
       Enforcement Priorities for Electronic Nicotine Delivery Systems (ENDS) and Other Deemed Products on the
   Market      Without    Premarket     Authorization,     U.S.     Food      &   Drug     Admin.       (Jan.   2020),
   https://www.fda.gov/media/133880/download
   298
       Id.

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   distributors, and retailers of e-liquids for labeling and advertising violations; these labels and

   advertisements targeted children and resembled children’s food items such as candy or cookies.299

            411.     In September 2018, the FDA engaged in several other regulatory enforcement

   actions, issuing over 1300 warning letters and civil money complaints to e-cigarette and e-liquid

   retailers and distributors.300

            412.     On September 12, 2018, the FDA sent letters to JLI and other e-cigarette

   manufacturers putting them on notice that their products were being used by youth at disturbing

   rates.301 The FDA additionally requested manufacturers to enhance their compliance monitoring

   mechanisms, implement stricter age verification methods, and limit quantities and volume of e-

   cigarette products that could be purchased at a time.302

            413.     Finally, in October 2018, the FDA raided JLI’s headquarters and seized more than

   a thousand documents relating to JLI’s sales and marketing practices.303 Since then, the FDA, the

   Federal Trade Commission, multiple state attorneys general and the U.S. House of Representatives

   Committee on Oversight and Reform have all commenced investigations into JLI’s role in the

   youth vaping epidemic and whether JLI’s marketing practices purposefully targeted youth.

            414.     Siddharth Breja, who was senior vice president for global finance at Juul Labs,

   “claims that after the F.D.A. raided Juul headquarters in October 2018, seeking internal



   299
       Id.
   300
       Id.
   301
         Letter from US FDA to Kevin Burns, U.S. Food & Drug Admin. (Sept. 12, 2018),
   https://www.fda.gov/media/119669/download.
   302
       Press Release, FDA takes new steps to address epidemic of youth e-cigarette use, including a historic action against
   more than 1,300 retailers and 5 major manufacturers for their roles perpetuating youth access: Warning letters and
   civil money penalty complaints to retailers are largest coordinated enforcement effort in agency history; FDA requests
   manufacturers provide plan for mitigating youth sales within 60 days; warns it may restrict flavored e-cigarettes to,
   US Food & Drug Administration (Sept. 11, 2018), https://www.fda.gov/news-events/press-announcements/fda-takes-
   new-steps-address-epidemic-youth-e-cigarette-use-including-historic-action-against-more
   303
       Laurie McGinley, FDA Seizes Juul E-Cigarette Documents in Surprise Inspection of Headquarters, Wash. Post
   (Oct. 2, 2018), https://www.washingtonpost.com/health/2018/10/02/fda-seizes-juul-e-cigarette-documentssurprise-
   inspection-headquarters/.

                                                            132
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   documents, Mr. Burns instructed Mr. Breja and other executives not to put anything relating to

   regulatory or safety issues in writing, so that the F.D.A. could not get them in the future.”304


         12)      In Response to Regulatory Scrutiny, Defendants Misled the Public, Regulators,
                  and Congress that JLI Did Not Target Youth

           415.     To shield their youth-driven success from scrutiny, ALTRIA, JLI, and the

   MANAGEMENT DEFENDANTS’ had a long-running strategy to feign ignorance over JLI and

   the MANAGEMENT DEFENDANTS’ youth marketing efforts and youth access to JLI’s

   products. They were well aware that JLI’s conduct in targeting underage users was reprehensible

   and unlawful, and that if it became widely known that this was how JLI obtained its massive market

   share, there would be public outcry and calls for stricter regulation or a ban on JLI’s products.

   Given the increasing public and regulatory scrutiny of JLI’s market share and marketing tactics, a

   dis-information campaign was urgently needed to protect the Defendants’ bottom line. For this

   reason, JLI, the MANAGEMENT DEFENDANTS, and ALTRIA hid JLI’s conduct by

   vociferously denying that JLI had marketed to and targeted youth and instead claiming to engage

   in youth prevention. Defendants continued to make these statements while and after actively and

   successfully trying to market to and recruit youth non-smokers. These false statements were

   designed to protect JLI’s market share, and ALTRIAS’ investment, by concealing JLI’s

   misconduct.

           416.     For example, after 11 Senators sent a letter to JUUL questioning its marketing

   approach and kid-friendly e-cigarette flavors like fruit medley, creme brulee and mango, JLI

   visited Capitol Hill and told senators that it never intended its products to appeal to kids and did

   not realize they were using the products, according to a staffer for Sen. Dick Durbin (D-Ill.). JLI’s


   304
     Sheila Kaplan and Jan Hoffman, Juul Knowingly Sold Tainted Nicotine Pods, Former Executive Say, N.Y. Times
   (Nov. 20, 2019), https://www.nytimes.com/2019/10/30/health/juul-pods-contaminated.html

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   statements to Congress—which parallel similar protests of innocence by tobacco company

   executives—were false.

           417.     JLI also engaged in wire fraud when it made public statements seeking to disavow

   the notion that it had targeted and sought to addict teens:

           418.     “It’s a really, really important issue. We don’t want kids using our products.”

   (CNBC Interview of JLI’s Chief Administrative Officer, December 14, 2017);305

           419.     “We market our products responsibly, following strict guidelines to have material

   directly exclusively toward adult smokers and never to youth audiences.” (JLI Social Media Post,

   March 14, 2018);306

           420.     “Of course, we understand that parents and lawmakers are concerned about

   underage use of JUUL. As are we. We can’t restate this enough. As an independent company that

   is not big tobacco, we are driven by our mission and commitment to adult smokers.” (JLI CEO

   Kevin Burns Letter to JUUL Community on Reddit, July 18, 2018);307

           421.     “We don’t want anyone who doesn’t smoke, or already use nicotine, to use JUUL

   products. We certainly don’t want youth using the product. It is bad for public health, and it is bad

   for our mission. JUUL Labs and FDA share a common goal – preventing youth from initiating on

   nicotine. . . . Our intent was never to have youth use JUUL products.” (JLI Website, November

   12, 2018);308


   305
       Angelica LaVito, Nearly one-quarter of teens are using pot, CNBC (Dec. 14, 2017),
   https://www.cnbc.com/2017/12/13/marijuana-and-nicotine-vaping-popular-among-teens-according-to-study.html
   (Interview with Ashely Gould, JUUL Chief Administrative Officer).
   306
       Robert K. Jackler et al., JUUL Advertising Over Its First Three Years on the Market, Stanford Research Into the
   Impact of Tobacco Advertising (Jan. 31, 2019),
   http://tobacco.stanford.edu/tobacco_main/publications/JUUL_Marketing_Stanford.pdf (citing a JUUL social media
   post from March 14, 2018).
   307
       A Letter to the JUUL Community from CEO Kevin Burns (July 18, 2018), Reddit,
   https://www.reddit.com/r/juul/comments/8zvlbh/a_letter_to_the_juul_community_from_ceo_kevin/
   308
       JUUL Labs Action Plan, JUUL Labs, Inc. (Nov. 13, 2018), https://newsroom.juul.com/juul-labs-action-plan/
   (statement of Ken Burns, former CEO of JUUL).

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           422.     “To paraphrase Commissioner Gottlieb, we want to be the offramp for adult

   smokers to switch from cigarettes, not an on-ramp for America’s youth to initiate on nicotine.”

   (JLI Website, November 13, 2018);309

           423.     “First of all, I’d tell them that I’m sorry that their child’s using the product. It’s not

   intended for them. I hope there was nothing that we did that made it appealing to them. As a parent

   of a 16-year-old, I’m sorry for them, and I have empathy for them, in terms of what the challenges

   they’re going through.” (CNBC Interview of JLI CEO, July 13, 2019);310

           424.     “We have no higher priority than to prevent youth usage of our products which is

   why we have taken aggressive, industry leading actions to combat youth usage.” (JLI Website,

   August 29, 2019);311

           425.     JAMES MONSEES, one of the company’s co-founders, said selling JUUL

   products to youth was “antithetical to the company’s mission.” (JAMES MONSEES’ Statement

   to New York Times, August 27, 2019);312

           426.     “We have never marketed to youth and we never will.” (JLI Statement to Los

   Angeles Times, September 24, 2019);313 and,

           427.     “As scientists, product designers and engineers, we believe that vaping can have a

   positive impact when used by adult smokers, and can have a negative impact when used by

   nonsmokers. Our goal is to maximize the positive and reduce the negative.” (JLI Website, March


   309
       Juul Labs Action Plan, JUUL Labs, Inc. (Nov. 13, 2018), https://newsroom.juul.com/juul-labs-action-plan/
   (statement of then-CEO Kevin Burns)
   310
       Angelica LaVito, As JLI grapples with teen vaping ‘epidemic,’ CEO tells parent ‘I’m sorry’, CNBC (July 13,
   2019), https://www.cnbc.com/2019/07/13/as-juul-deals-with-teen-vaping-epidemic-ceo-tells-parents-im-sorry.html.
   311
       Our Actions to Combat Underage Use, JUUL Labs, Inc. (Aug. 29, 2019), https://newsroom.juul.com/ouractions-
   to-combat-underage-use/ (JUUL statement in response to lawsuits).
   312
       Matt Richtel & Sheila Kaplan, Did Juul Lure Teenagers and Get ‘Customers for Life’?, N.Y. Times (Aug. 27,
   2018), https://www.nytimes.com/2018/08/27/science/juul-vaping-teen-marketing.html.
   313
       Michael Hiltzik, Column: Studies show how JLI exploited social media to get teens to start vaping, L.A. Times
   (Sept. 24, 2019), https://www.latimes.com/business/story/2019-09-24/hiltzik-juul-target-teens (statement made on
   behalf of JUUL).

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   6, 2020).314

           428.     As the JLI Board of Directors had “final say” over all of JLI’s marketing efforts,

   these statements regarding JLI’s marketing efforts can be imputed to the MANAGEMENT

   DEFENDANTS, who were therefore directly responsible for the messaging over the marketing of

   JUUL products.

           429.     However, JLI, the MANAGEMENT DEFENDANTS, and ALTRIA realized that

   attempting to shift public opinion through fraudulent statements was not enough to achieve their

   goal of staving off regulation. To accomplish this goal, they would also need to deceive the FDA

   and Congress. And so they set out to do just that through statements and testimony by JLI

   representatives. These include, but are not limited to, the following:

           430.     Statements by JLI to the FDA:

                        a. “JUUL was not designed for youth, nor has any marketing or research effort

                            since the product’s inception been targeted to youth.” (Letter to FDA, June

                            15, 2018).315

                        b. “With this response, the Company hopes FDA comes to appreciate why the

                            product was developed and how JUUL has been marketed — to provide a

                            viable alternative to cigarettes for adult smokers.” (Letter to FDA, June 15,

                            2018).316

           431.     Statements by ALTRIA to the FDA:

                        a. “[W]e do not believe we have a current issue with youth access to or use of

                            our pod-based products, we do not want to risk contributing to the issue.”



   314
       Our Mission, JUUL LABS (2019), https://www.juul.com/mission-values (last visited March 6, 2020).
   315
       Letter from JUUL's Counsel at Sidley Austin to Dr. Matthew Holman, FDA at 2 (June 15, 2018).
   316
       Id. at 3.

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                            (Letter from ALTRIA CEO to FDA Commissioner Scott Gottlieb, October

                            25, 2018).317

                        b. “We believe e-vapor products present an important opportunity to adult

                            smokers to switch from combustible cigarettes.” (Letter to FDA

                            Commissioner Gottlieb, 10/25/18)

           432.     Statements by JLI to Congress:

                        a. “We never wanted any non-nicotine user, and certainly nobody under the

                            legal age of purchase, to ever use JLI products. . . .That is a serious problem.

                            Our company has no higher priority than combatting underage use.”

                            (Testimony of JAMES MONSEES, July 25, 2019).318

                        b. “Our product is intended to help smokers stop smoking combustible

                            cigarettes.” (Ashley Gould, JLI Chief Administrative Officer, Testimony

                            before House Committee on Oversight and Reform, July 25, 2019).319

           433.     Statements by ALTRIA to Congress:

                        a. “In late 2017 and into early 2018, we saw that the previously flat e-vapor

                            category had begun to grow rapidly. JUUL was responsible for much of the

                            category growth and had quickly become a very compelling product among

                            adult vapers. We decided to pursue an economic interest in JUUL, believing

                            that an investment would significantly improve our ability to bring adult



   317
       Letter from ALTRIA CEO Howard Willard to Dr. Scott Gottlieb, FDA at 2 (October 25, 2018).
   318
       Examining JUUL’s Role in the Youth Nicotine Epidemic: Part II: Hearing Before the House Committee on
   Oversight and Reform Subcommittee on Economic and Consumer Policy at 1 (July 25, 2019),
   https://docs.house.gov/meetings/GO/GO05/20190725/109846/HHRG-116-GO05-Wstate-MONSEESJ-
   20190725.pdf (testimony of JUUL Founder JAMES MONSEES).
   319
       Ashley Gould, Testimony of Ashley Gould: Hearing on E-Cigarettes and Teen Usage, Day 2 at 01:53:25, U.S.
   House Committee on Oversight & Reform (July 25, 2019), https://www.c-span.org/video/?462992-1/hearing-
   cigarettes-teen-usage-day-2&start=6431.

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                            smokers a leading portfolio of non-combustible products and strengthen our

                            competitive position with regards to potentially reduced risk products.”

                            (Letter from ALTRIA CEO to Senator Durbin, October 14, 2019).320

           434.     Each of the foregoing statements constitutes an act of wire fraud. JLI, MONSEES,

   and ALTRIA made these statements, knowing they would be transmitted via wire, with the intent

   to deceive the public, the FDA, and Congress as to the DEFENDANTS’ true intentions of hooking

   underage users.

           435.     Their disinformation scheme was successful. While certain groups such as the

   American Medical Association were calling for a “sweeping ban on vaping products,”321 no such

   ban has been implemented to date. Accordingly, JLI’s highly addictive products remain on the

   market and available to underage users.


     F.     JLI Partnered with Veteran Cigarette Industry Distributors and Retailers to
            Spread and Amplify their Deceptive Messages and Place JUUL Products within
            Reach of Millions of Customers, Including Kids and Non-Smokers.

           436.     Through the false and deceptive viral marketing campaign, described above, JUUL

   DEFENDANTS and the MANAGEMENT DEFENDANTS had built a successful product, largely

   on the back of improperly marketing to youth and by creating a false impression that that JUUL

   products were “safer” than cigarettes.

           437.     After achieving early success, JUUL DEFENDANTS and the MANAGEMENT

   DEFENDANTS knew that to take its profits to the next level and dramatically expand the market

   for JUUL products, it needed to access a broader distribution channel, namely marketing and

   selling its products in the thousands of chain convenience stores throughout the United States.



   320
      ALTRIA’S October 14, 2019 letter to Senator Durbin, et. al., by Howard Willard III (2019).
   321
      Karen Zraick, A.M.A. Urges Ban on Vaping Products as JLI is Sued by More States, N.Y. Times (Nov. 19, 2019),
   https://www.nytimes.com/2019/11/19/health/juul-lawsuit-ny-california.html.

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   Indeed, a single contract to market and sell through a convenience store chain could result in JUUL

   being sold in thousands of stores to millions of customers.

           438.    Not only had JUUL DEFENDANTS and the MANAGEMENT DEFENDANTS

   emulated the cigarette industry in its marketing, but they also sought to recreate the cigarette

   industry’s distribution machine to push that marketing to a far wider swath of consumers than JLI

   itself could reach. That distribution machine included the major retail convenience stores (“Chain

   Convenience Stores”). It also included the cigarette industry distributors who had been the

   powerful middlemen between the cigarette industry and the Chain Convenience Stores in the

   cigarette market for decades.

           439.    While the cigarette industry distributors largely operated behind the scenes of

   cigarette manufacturing giants like PHILIP MORRIS (ALTRIA) and R.J. Reynolds, they too are

   giants in the cigarette industry who have played a significant role in the decades of massive

   cigarette sales in America.

           440.    For example, the cigarette industry Distributors Defendant MCLANE is a wholly

   owned subsidiary of Berkshire Hathaway322 with an annual revenue of approximately $50 billion.323

   MCLANE provides wholesale distribution services in all 50 states to customers that include

   convenience stores, discount retailers, wholesale clubs, drug stores, military bases, quick service

   restaurants and casual dining restaurants. MCLANE maintains a dominant market share within the

   convenience store industry and serves most of the national convenience store chains, providing

   products to approximately 50,000 retail locations nationwide.324 MCLANE has served as one of

   the largest tobacco distributors in the United States for the cigarette industry giants such as



   322
       https://www.mclaneco.com/content/mclaneco/en/home.html.
   323
       https://www.berkshirehathaway.com/2018ar/2018ar.pdf.
   324
       Berkshire Hathaway 10-K at K-18.

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   ALTRIA and R.J. Reynolds.325, 326 MCLANE is the largest wholesale distributor for ALTRIA,

   accounting for approximately 27%, 26% and 25% of ALTRIAS’ consolidated net revenues for the

   years ended December 31, 2018, 2017 and 2016, respectively.

           441.    Similarly, CORE-MARK is one of the largest wholesale distributors to the

   convenience retail industry in North America, providing sales, marketing, distribution and logistics

   services to approximately 43,000 customer locations across the United States (“U.S.”) and

   Canada.327 CORE-MARK posted an annual revenue of over $16 billion in 2018.328

           442.    EBY BROWN is the largest privately-owned tobacco, candy and convenience store

   distributor in the United States. The company services over 14,500 convenience stores around the

   United States, including the Speedway convenience store chain.

           443.    The DISTRIBUTOR DEFENDANTS were necessary partners to elevate the JUUL

   market and ensure that the JUUL DEFENDANTS and the MANAGEMENT DEFENDANTS false

   and deceptive marketing campaign had a wide reach. Indeed, from years of partnering with the

   cigarette industry and their existing relationships with the Chain Convenience Stores, the cigarette

   industry distributors already had the existing infrastructure to widely push JUUL products to a

   massive audience serviced by their existing customers.

           444.    Securing a partnership with the cigarette industry distributors, including the

   DISTIBUTOR DEFENDANTS, would be a major coup for the JUUL DEFENDANTS and the

   MANAGEMENT DEFENDANTS.

           445.    Not only were the cigarette industry’s distributors valuable to JUUL



   325
       “The largest customer of PM USA, USSTC, Middleton and Nat Sherman, MCLANE COMPANY, Inc.,
   accounted for approximately 27%, 26% and 25% of ALTRIA’s consolidated net revenues for the years
   ended December 31, 2018, 2017 and 2016, respectively.” http://www.snl.com/Cache/c396883765.html
   326
       Reynolds America, 2016 Inc. 10-K, https://seekingalpha.com/filing/2987262
   327
       CORE-MARK 2018 10-K at 1.
   328
       CORE-MARK 2018 10-K, at 3.

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   DEFENDANTS and the MANAGEMENT DEFENDANTS but JUUL was valuable to the

   DISTIBUTOR DEENDANTS.

            446.     Like the cigarette manufacturers, cigarette industry distributors including the

   DISTIBUTOR DEENDANTS were losing profit over the decline in cigarette sales following the

   efforts to combat cigarette industry’s prior illegal marketing campaigns.

            447.     By the time JUUL launched in 2015, cigarette consumption had been steadily

   declining for over a decade. Based on data compiled from the U.S. Department of Agriculture -

   Economic Research Service and provided by the Tobacco Merchants Association (“TMA”), total

   cigarette consumption in the U.S. declined from 351 billion cigarettes in 2008 to 249 billion

   cigarettes in 2017, or a compounded annual decline of approximately 3.4%.329 An entire industry

   including the cigarette industry distributors had depended on lucrative cigarette sales for decades.

            448.     The entire cigarette industry was hurting. Indeed, as announced in CORE-MARK’s

   2018 Annual Report, a slow-down in tobacco sales was affecting the major tobacco distributors’

   bottom line.330

            449.     Capitalizing on the void left by a slow-down in cigarette sales, JLI approached the

   cigarette industry distributors, including MCLANE, CORE-MARK and EBY BROWN, and

   convinced them that one of the ways to plug their financial hole was to join JLI in growing the

   JUUL market.

            450.     This could be accomplished by plugging the JUUL Products into the cigarette

   industry marketing and distribution model that had been so successful for decades.

            451.     The proposal was attractive to the cigarette industry distributors as they could use


   329
      CORE-MARK 10-K at 2.
   330
      CORE-MARK 2018 10-K at 1 (“The rate of growth in our net sales was lower than what we experienced the last
   several years due primarily to an acceleration of the decline of cigarette carton sales as well as fewer significant retail
   chains bidding their business in 2018.”).

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   JUUL to assuage investors that the void created by declining cigarette sales could be filled. For

   example, in 2018, CORE-MARK assured investors that “a greater decline in total cigarette

   consumption has been partially offset by consumption of alternative nicotine products and

   [OTHER TOBACCO PRODUCTS (OTP)].”331 CORE-MARK detailed how selling e-cigarettes

   would fill a financial void for the company for years to come stating that “[a]lthough we anticipate

   overall cigarette consumption will continue to decline, we expect to offset these declines through

   continued growth in our non-cigarette categories including alternative nicotine products and OTP,

   market share expansion and incremental gross profit from cigarette manufacturer price

   increases.”332

             452.   A collaboration with JLI was lucrative, because margins for JUUL exceeded

   cigarette profit margins.

             453.   Plugging the hole left by declining cigarette sales and reaping the profits attainable

   through JUUL’s margins was only possible, however, if the cigarette industry distributors were

   able to activate their distribution juggernaut to convince their Chain Convenience Store trade

   partners to widely market and sell JUUL products. In short, the entire supply chain had to commit

   to the deceptive marketing and sales campaign that JLI had started.

             454.   Starting in 2016, each of the cigarette industry distributors, including

   DISTIBUTOR DEENDANTS committed to joining with JUUL DEFENDANTS and the

   MANAGEMENT DEFENDANTS to elevate the JUUL market. That was accomplished by JUUL

   DEFENDANTS and the MANAGEMENT DEFENDANTS and the Cigarette Industry

   Distributors by pushing JUUL DEFENDANTS’ and the MANAGEMENT DEFENDANTS’

   dangerous products which were designed for and aimed at youth to its Chain Convenience Store


   331
         CORE-MARK 10-K at 4.
   332
         CORE-MARK 10-K at 4.

                                                     142
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   partners, and through them to the ultimate customers. It was accomplished by ensuring that JUUL

   DEFENDANTS’ and the MANAGEMENT DEFENDANTS’ false deceptive and dangerous

   marketing campaign was pushed to the Chain Convenience Stores and from there to a wide swath

   of convenience store customers across the United States.

          455.    Indeed,    the    cigarette    industry   distributors,    including   DISTIBUTOR

   DEENDANTS, became an essential piece of the supply chain to push products to millions of

   customers around the United States, including to youth customers and illegally to minors.

          456.    Even though the cigarette industry distributors knew that the JUUL vaping Products

   contained nicotine, from at least 2016 to 2018, the DISTRIBUTOR DEFENDANTS, JUUL

   DEFENDANTS and the MANAGEMENT DEFENDANTS worked to sell JUUL products that

   neither disclosed the products’ nicotine content, nor any of its risks.

          457.    The    DISTRIBUTOR            DEFENDANTS,       JUUL       DEFENDANTS     and   the

   MANAGEMENT DEFENDANTS knowingly pushed a product designed for a youth market to a

   massive consumer audience that should never have been marketed and sold to youth. They did so

   through devising and coordinating a campaign that would ensure JUUL DEFENDANTS’ and the

   MANAGING DEFENDANTS’ false and deceptive marketing campaign reached millions of

   customers across America.

          458.    Based on information and belief, the DISTRIBUTOR DEFENDANTS, JUUL

   DEFENDANTS and the MANAGEMENT DEFENDANTS worked together to maximize

   distribution of JUUL products to customers. Based on information and belief, this campaign

   employed the messages, the images and the deceptive content of the JUUL DEFENDANTS and

   the MANAGING DEFENDANTS original fraudulent marketing campaign, but deployed it to a

   much wider audience.



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               459.     Upon information and belief, high level representatives of the DISTRIBUTOR

   DEFENDANTS, met with the JUUL DEFENDANTS and the MANAGEMENT DEFENDANTS

   at different times with JLI officers and or management employees at the JLI headquarters in San

   Francisco, California to further these business transactions.

               460.     Based on information and belief, JUUL DEFENDANTS and the MANAGEMENT

   DEFENDANTS provided the DISTRIBUTOR DEFENDANTS with false and deceptive

   marketing materials aimed at ultimately reaching consumers.                This allowed the JUUL

   DEFENDANTS and MANAGEMENT DEFENDANTS to achieve results that they could not have

   done alone. Indeed, by 2016, the false and deceptive marketing campaign was reaching customers

   in thousands of Chain Convenience Stores across the country.

               461.     Based on information and belief, the DISTRIBUTOR DEFENDANTS were

   financially incentivized by the JUUL DEFENDANTS and MANAGEMENT DEFENDANTS to

   increase sales.

               462.     All of this was done at the expense of safety. Indeed, as this Complaint details,

   DEFENDANTS took a dangerous product targeted at youth and launched a massive campaign to

   widely distribute this product without regard to the dangers it would pose to America’s youth and

   without regard to the fact that such a campaign would undo decades of progress that had been

   made in smoking cessation and public health.


     G.        ALTRIA Provided Services to JLI to Expand JUUL Sales and Maintain JUUL’s
               Position as the Dominant E-Cigarette

          1)          Before ALTRIA’S Investment in JLI, ALTRIA and JLI Exchanged Market
                      Information Pertaining to Key Decisions

               463.     On November 2, 2017, ALTRIA announced that it had acquired a minority interest




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   in Avail.333 ALTRIA’s comments to investors highlighted that the investment allowed ALTRIA

   access to Avail’s “extensive data around adult vaper purchasing patterns,” and “full-service

   analytical science laboratory,” located in ALTRIA’s hometown of Richmond, Virginia.334

           464.     On November 21, 2017—three weeks after ALTRIA announced its investment in

   Avail—JLI and Avail entered into a distribution agreement, which has been renewed twice—once

   in November 19, 2018 and again on January 8, 2019.335

           465.     Through its investment in Avail, ALTRIA had access to sales data for JUUL

   products long before the companies exchanged diligence in connection with ALTRIA’s investment

   in JLI. Although JLI represented to Congress that “[JLI’s] data [from Avail] was not available to

   ALTRIA,”336 statements in a ALTRIA’s 2019 letter to Congress suggest otherwise.

           466.     In that letter, ALTRIA admitted that it possessed JUUL sales data that corresponds

   to the very same time period in which JLI began selling its products at Avail stores, starting in late

   2017.337 That sales data showed that JLI was dominating the e-cigarette market during this time

   period.338 By November 2017, JLI had sold one million units of its blockbuster product, boasting

   621% growth in year-to-year sales and capturing 32% of e-cigarette sales tracked by Nielsen.339

   Sales of ALTRIA’s own e-cigarettes, on the other hand, trailed behind both the JUUL and British


   333
       Rich Duprey, Is ALTRIA Trying to Corner the E-Cig Market?, The Motley Fool (Jan. 7, 2018),
   https://www.fool.com/investing/2018/01/07/is-ALTRIA-trying-to-corner-the-e-cig-market.aspx; Lauren Thomas,
   ALTRIA shares plunge after FDA releases road map to curb tobacco-related deaths, CNBC (July 28, 2017),
   https://www.cnbc.com/2017/07/28/ALTRIA-shares-fall-after-fda-releases-roadmap-to-curb-tobacco-related-deaths-
   .html.
   334
       Experience ALTRIA (Investor Day Presentation), ALTRIA (Nov. 1, 2017),
   http://investor.ALTRIA.com/Cache/1001243382.PDF.
   335
       Responses of JUUL Labs, Inc. to Questions for the Record - July 25, 2019 Hearing Before House Committee on
   Oversight and Reform, 28 (January 12, 2020) ("House Oversight January 2020 Response").
   336
       Id.
   337
       Letter from Howard A. Willard III to Senator Richard J. Durbin, 6 (October 14, 2019) (emphasis added).
   338
       ALTRIA’s October 14, 2019 letter to Senator Durbin, et. al., by Howard Willard III (2019). (emphasis added).
   339
       Melia Robinson, How a startup behind the 'iPhone of vaporizers' reinvented the e-cigarette and generated $224
   million in sales in a year, Business Insider (Nov. 21, 2017), https://www.businessinsider.com/juul-e-cigarette-one-
   million-units-sold-2017-11


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   American Tobacco’s Vuse. ALTRIA sought to grow JLI’s market dominance and young customer

   base. JLI, in the regulatory crosshairs, needed ALTRIA’s experience and its influence in

   Washington.

              467.     ALTRIA recognized that JLI had, against the backdrop of steadily declining

   cigarette sales, created the right product to addict a new generation to nicotine. JLI faced existential

   threats, however, from regulatory and congressional scrutiny, and public outrage over the growing

   vaping epidemic.

              468.     JLI, ALTRIA, and the MANAGEMENT DEFENDANTS thus began to coordinate

   their activities in 2017 through Avail Vapor. This back-channel, and the information it provided

   ALTRIA, allowed ALTRIA to take actions to benefit itself, JLI, and the MANAGEMENT

   DEFENDANTS without drawing the scrutiny of the public and regulators that they knew would

   inevitably follow a formal announcement of a partnership between JLI and ALTRIA.


         2)          JLI, the MANAGEMENT DEFENDANTS and ALTRIA Coordinated to
                     Market JUUL in Highly-Visible Retail Locations

              469.     JLI, the MANAGEMENT DEFENDANTS, and ALTRIA’s coordination continued

   in other ways throughout 2018 as they prepared for ALTRIA’S investment in JLI.

              470.     A key aspect of this early coordination was ALTRIA’s acquisition of shelf-space

   that it would later provide to JLI to sustain the exponential growth of underage users of JUUL

   products. By acquiring shelf space, ALTRIA took steps to ensure that JUUL products would be

   placed in premium shelf space next to Marlboro brand cigarettes, the best-selling cigarette overall

   and by far the most popular brand among youth.340

              471.     ALTRIA’s own relatively unsuccessful e-cigarette products did not warrant the


   340
      Preventing Tobacco Use Among Youth and Adults, A Report of the Surgeon General at 161, 164 (2012),
   https://www.hhs.gov/surgeongeneral/reports-and-publications/tobacco/index.html..

                                                       146
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   investment. ALTRIA spent approximately $100 million in 2018 to secure shelf-space at retailers

   for e- cigarette products—purportedly for the MarkTen e-cigarette that ALTRIA stopped

   manufacturing in 2018, and its pod-based MarkTen Elite, which it launched on a small scale in

   only 25,000 stores,341 as compared to its 2014 launch of the original MarkTen in 60,000 stores in

   the first month in the western United States alone.342 Yet ALTRIA’s payments for shelf space were

   a mixture of “cash and display fixtures in exchange for a commitment that its e-cigarettes would

   occupy prime shelf space for at least two years.”343

           472.      In reality, ALTRIA spent approximately $100 million on shelf-space in furtherance

   of expanding the e-cigarette market, including JLI’s massive, ill-gotten market share. It has since

   been reported that ALTRIA “pulled its e-cigarettes off the market” not out of concern for the

   epidemic of youth nicotine addiction JUUL created, but because a non-compete was a “part of its

   deal with J[LI].”344

           473.      When ALTRIA later announced its $12.8 billion investment in JLI, part of the

   agreement between the two companies was that ALTRIA would provide JLI with this premium

   shelf space.345

           474.      ALTRIA’s purchase of shelf space in 2018 shows how ALTRIA, JLI, and the

   MANAGEMENT DEFENDANTS were coordinating even before ALTRIA announced its

   investment in JLI. ALTRIA’s actions ensured that, even after public and regulatory scrutiny forced

   JLI to stop its youth-oriented advertising, JUUL products would still be placed where kids are



   341
       Sheila Kaplan, ALTRIA to Stop Selling Some E-Cigarette Brands That Appeal to Youths, N.Y. Times (Oct. 25,
   2018), https://www.nytimes.com/2018/10/25/health/ALTRIA-vaping-ecigarettes.html.
   342
       Melissa Kress, MarkTen National Rollout Hits 60,000 Stores, Convenience Storew News (July 22, 2014),
   https://csnews.com/markten-national-rollout-hits-60000-stores.
   343
       Jennifer Maloney & John McKinnon, ALTRIA-JLI Deal Is Stuck in Antitrust Review, Wall St. J. (Jan. 17, 2020),
   https://www.wsj.com/articles/ALTRIA-juul-deal-is-stuck-in-antitrust-review-11579257002.
   344
       Id.
   345
       Id.

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   most likely to see them—next to Marlboros, the most iconic, popular brand of cigarettes among

   underage users—in a location they are most likely to buy them -- retail establishments.346


         3)          ALTRIA Contributes to the Success of JLI’s and the MANAGEMENT
                     DEFENDANTS’ Scheme Through a Range of Coordinated Activities

              475.     While JLI and ALTRIA remain separate corporate entities in name, following its

   equity investment in JLI, ALTRIA and JLI forged even greater significant, systemic links – i.e.,

   shared leadership, contractual relationships, financial ties, and continuing coordination of

   activities.

              476.     In 2019, two key ALTRIA executives became JLI’s CEO and head of regulatory

   affairs, respectively.

              477.     K.C. Crosthwaite, who was president of ALTRIA Client Services when the

   company carried out a study that would later be used by ALTRIA to shield JUUL’s mint pods

   from federal regulation, is now JLI’s CEO. Before joining JLI, Crosthwaite was ALTRIA’s chief

   growth officer.

              478.     Joe Murillo, who launched the MarkTen line at ALTRIA and more recently headed

   regulatory affairs for ALTRIA, is now JLI’s chief regulatory officer.347 A 24-year career ALTRIA

   executive, Murillo previously ran ALTRIA’s e-cigarette business, Nu Mark, “before ALTRIA

   pulled its e-cigarettes off the market as part of its deal with J[UUL].”348

              479.     In addition to its effective takeover of JLI, ALTRIA provides services to JLI in

   furtherance of their common goal of expanding the number of nicotine-addicted e-cigarette users,




   346
       Laura Bach, Where Do Youth Get Their E-Cigarettes?, Campaign for Tobacco Free Kids (Dec. 3, 2019),
   https://www.tobaccofreekids.org/assets/factsheets/0403.pdf.
   347
       Jennifer Maloney, JLI Hires Another Top Altria Executive, Wall St. J. (Oct. 1, 2019), available at
   https://www.wsj.com/articles/juul-hires-another-top-altriaexecutive-11569971306.
   348
       Id.

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   in the areas of “direct marketing; sales, distribution and fixture services; and regulatory affairs.”349

   These services include, among other things:


                    a.       “Piloting a distribution program to provide long haul freight, warehouse
                             storage and last mile freight services.”

                    b.       “Making available [ALTRIA’s] previously contracted shelf space with
                             certain retailers,” thus allowing JUUL products to receive prominent
                             placement alongside a top-rated brand of combustible cigarettes, Marlboro,
                             favored by youth.

                    c.       “Executing direct mail and email campaigns and related activities. ..”

                    d.       “Leveraging ALTRIA’s field sales force to . . . provide services such as
                             limited initiative selling, hanging signs, light product merchandising, and
                             surveys of a subset of the retail stores that ALTRIA calls upon.”

                    e.       “Providing regulatory affairs consulting and related services to [JUUL] as
                             it prepares its PMTA application.”350

           480.     ALTIRA also worked with JLI to cross-market JUUL and Marlboro cigarettes. For

   example, ALTRIA offered coupons for JUUL starter kits inside packs of Marlboro cigarettes.351




   349
       ALTRIA’s October 14, 2019 letter to Senator Durbin, et. al., by Howard Willard III at 11 (2019).
   350
       Id. at 13.
   351
       Reddit, Points for us!
   https://www.reddit.com/r/juul/comments/d50jku/points_for_us/. (last visited March 8, 2020).

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           481.     ALTRIA’s investment in JLI was not only a financial contribution; rather, it was

   an important aspect of JLI, ALTRIA, and the MANAGEMENT DEFENDANTS’ plan to continue

   growing the user base, stave off regulation, and keep JLI’s most potent and popular products on

   the market and available to kids and the public at large. ALTRIA is and was working to actively

   help expand sales of JLI’s products. ALTRIA’s investment brings legal and regulatory benefits to

   JLI, by helping with patent infringement battles and consumer health claims and helping to

   navigate the regulatory waters and FDA pressure.

           482.     ALTRIA also brings lobbying muscle to the table, which has played an important

   role in JLI, ALTRIA, and the MANAGEMENT DEFENDANTS’ scheme of staving off regulation

   by preventing new federal or state legislation targeting JUUL or the e-cigarette category more

   broadly. ALTRIA “has a potent lobbying network in Washington [D.C.] and around the

   country.”352 Vince Willmore, a spokesman for the Campaign for Tobacco-Free Kids, which has

   been involved in many state lobbying battles, said, “It’s hard to say where ALTRIA ends and JLI




   352
      Shelia Kaplan, In Washington, JLI Vows to Curb Youth Vaping. Its Lobbying in States Runs Counter to That
   Pledge., N.Y. Times (Apr. 28, 2019), https://www.nytimes.com/2019/04/28/health/juul-lobbying-
   statesecigarettes.html.

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   begins.”353 While an ALTRIA spokesman has denied that there was any contractual services

   agreement for lobbying between JLI and ALTRIA, he admitted that he did not know what informal

   advice and conversations ALTRIA has had with JLI about lobbying efforts. Since JLI, the

   MANAGEMENT DEFENDANTS, and ALTRIA joined forces, JLI’s spending on lobbying has

   risen significantly. JLI spent $4.28 million on lobbying in 2019, compared to $1.64 million in

   2018.354

           483.    In addition, ALTRIA’s arrangement with JLI greatly expands JLI’s retail footprint.

   While JUUL products have typically been sold in 90,000 U.S. retail outlets, ALTRIA reaches

   230,000 U.S. outlets. ALTRIA also brings its logistics and distribution experience (although, after

   increasing public scrutiny, ALTRIA announced on January 30, 2020 that it would limit its support

   to regulatory efforts beginning in March 2020355). And importantly, as noted above, ALTRIA gives

   JLI access to shelf space that it had obtained under fraudulent pretenses. This is not just any shelf

   space; it is space near ALTRIA’s blockbuster Marlboro cigarettes and other premium products and

   retail displays. The arrangement allows JLI’s tobacco and menthol-based products to receive

   prominent placement alongside a top-rated brand of combustible cigarettes.

           484.    ALTRIA decided to make a significant investment in JLI to further cash in on its

   efforts to maintain and expand the number of nicotine-addicted e-vapor users in order to ensure a

   steady and growing customer base, which ultimately benefits ALTRIA by ensuring a new

   generation of customers for its products. In fact, when announcing its investment, ALTRIA

   explained that its investment in JLI “enhances future growth prospects” and committed to applying



   353
       Id.
   354
       Center for Responsive Politics, Client Profile: JUUL Labs, https://www.opensecrets.org/federal-
   lobbying/clients/summary?cycle=2019&id=D000070920 (last visited February 6, 2020).
   355
       Nathan Bomey, Marlboro maker ALTRIA distances itself from vaping giant JLI amid legal scrutiny, USA Today
   (Jan. 31, 2020), https://www.usatoday.com/story/money/2020/01/31/juul-ALTRIA-distances-itself-e-cigarette-
   maker-amid-scrutiny/4618993002/.

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   “its logistics and distribution experience to help JLI expand its reach and efficiency.”356 ALTRIA

   has helped JLI maintain, and expand its market share—a market share that, based on ALTRIA’s

   own October 25, 2018 letter to the FDA, it believes was gained by employing marketing and

   advertising practices that contributed to youth vaping.


     H.        JLI, ALTRIA, and Others Have Successfully Caused More Young People to Start
               Using E-Cigarettes, Creating a Youth E-Cigarette Epidemic and Public Health
               Crisis

               485.     Defendants’ tactics have misled the public regarding the addictiveness and safety

   of e-cigarettes generally, and JUUL products specifically, resulting in an epidemic of e-cigarette

   use among youth in particular.

               486.     Defendants’ advertising and third-party strategy, as discussed above, ensured that

   everyone from adults to young children, would believe JUULing was a cool, fun, and safe activity.

               487.     To this day, JLI has not fully disclosed the health risks associated with its products,

   has not recalled or modified its products despite the known risks, and continues to foster a public

   health crisis, placing millions of people in harm’s way.


          1)          Defendants’ Caused Consumers to be Misled into Believing that JUUL was Safe
                      and Healthy

               488.     In 2016, the National Institute on Drug Abuse issued findings regarding “Teens and

   Cigarettes,” reporting that 66% of teens believed that e-cigarettes contained only flavoring, rather

   than nicotine.357

               489.     Two years later, despite the ongoing efforts of public health advocates, a 2018 study



   356
       ALTRIA Makes $12.8 Billion Minority Investment in JUUL to Accelerate Harm Reduction and Drive Growth,
   BUSINESSWIRE (Dec. 20, 2018, 7:00 AM EST),
   https://www.businesswire.com/news/home/20181220005318/en/ALTRIA-12.8-Billion-Minority-Investment-JUUL-
   Accelerate.
   357
       Teens and E-cigarettes, National Institute on Drug Abuse, https://www.drugabuse.gov/related-topics/trends-
   statistics/infographics/teens-e-cigarettes (last visited Mar. 4, 2020).

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   of JUUL users between the ages of fifteen and twenty-four revealed that 63% remained unaware

   that JUUL products contain nicotine.358

           490.      Further, the study found that respondents using e-cigarettes were less likely to

   report that e-cigarettes were harmful to their health, that people can get addicted to e-cigarettes, or

   that smoke from others’ e-cigarettes was harmful.359

           491.      Similarly, in 2018, a literature review (of seventy-two articles) published in the

   International Journal of Environmental Research and Public Health found that e-cigarettes were

   perceived by adults and youth as being healthier, safer, less addictive, safer for one’s social

   environment, and safer to use during pregnancy in comparison to combustible cigarettes.360

   Further, researchers found that specific flavors (including dessert and fruit flavors) were perceived

   to be less harmful than tobacco flavors among adult and youth e-cigarette users.361 In addition,

   researchers found that youth e-cigarette users perceived e-cigarettes as safe to use and

   fashionable.362

           492.      In 2019, a study published in Pediatrics found that 40% of participants reported

   using nicotine-free e-cigarette products, when in fact the products they were using contained

   significant levels of nicotine.363

           493.      In 2019, a study published in the British Medical Journal Open systematically

   reviewed all peer-reviewed scientific literature published on e-cigarette perceptions through March



   358
       Jeffrey G. Willett et al., Recognition, Use and Perceptions of Juul Among Youth and Young Adults, 28 Tobacco
   Control 054273 (2019).
   359
       Id.
   360
       Id.
   361
       Kim A. G. J. Romijnders et al., Perceptions and Reasons Regarding E-Cigarette Use Among Users and Non-
   Users: A Narrative Literature Review, 15(6) Int’l J. of Envtl. Research & Public Health 1190 (2018), https://doi:
   10.3390/ijerph15061190.
   362
       Id.
   363
       Rachel Boykan et al., Self-Reported Use of Tobacco, E-Cigarettes, and Marijuana versus Urinary Biomarkers,
   143 Pediatrics (2019), https://doi.org/10.1542/peds.2018-3531.

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   2018 (including fifty-one articles).364 Researchers found consistent evidence showing that flavors

   attract both youth and young adults to use e-cigarettes.365 In addition, among this same group, fruit

   and dessert flavors decrease the perception that e-cigarettes are harmful, while increasing the

   willingness to try e-cigarettes.366


         2)          Use of JUUL by Minors Has Skyrocketed

              494.     On December 28, 2018, the University of Michigan’s National Adolescent Drug

   Trends for 2018 reported that increases in adolescent e-cigarette use from 2017 to 2018 were the

   “largest ever recorded in the past 43 years for any adolescent substance use outcome in the U.S.”367

              495.     The percentage of 12th grade students who reported consuming nicotine almost

   doubled between 2017 and 2018, rising from 11% to 20.9%.368 This increase was “twice as large

   as the previous record for largest-ever increase among past 30-day outcomes in 12th grade.”

              496.     By 2018 approximately 3.6 million middle and high school students were

   consuming e-cigarettes regularly,369 and one in five 12th graders reported used an e-cigarette

   containing nicotine in the last 30 days.370 As of late 2019, 5 million students reported active use of

   e-cigarettes, with 27.5% of high school students and 10.5% of middle school students using them

   within the last thirty days and with most youth reporting JLI as their usual brand.371



   364
       Meernik, et al, Impact of Non-Menthol Flavours in E-Cigarettes on Perceptions and Use: An Updated Systematic
   Review, BMJ Open, 9:e031598 (2019), available at https://bmjopen.bmj.com/content/9/10/e031598.
   365
       Id.
   366
       Id.
   367
       National Adolescent Drug Trends in 2018, University of Michigan Institute for Social Research (Dec. 17, 2018),
   http://monitoringthefuture.org/pressreleases/18drugpr.pdf.
   368
        News Release, Teens Using Vaping Devices in Record Numbers (Dec. 17, 2018) https://www.nih.gov/news-
   events/news-releases/teens-using-vaping-devices-record-numbers
   369
       See Jan Hoffman, Addicted to Vaped Nicotine, Teenagers Have no Clear Path to Quitting, N.Y. Times (Dec. 18,
   2018), https://www.nytimes.com/2018/12/18/health/vaping-nicotine-teenagers.html.
   370
       Id.
   371
       National Youth Tobacco Survey (2019), https://www.fda.gov/tobacco-products/youth-and-tobacco/youth-
   tobacco-use-results-national-youth-tobacco-survey; Karen Cullen, et al.,e-Cigarette Use Among Youth in the United
   States, 2019. JAMA. 2019;322(21):2095–2103. https://jamanetwork.com/journals/jama/article-abstract/2755265

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           497.    The Secretary of the U.S. Department of Health and Human Services declared that

   “[w]e have never seen use of any substance by America’s young people rise as rapidly as e-

   cigarette use [is rising].”372 Then FDA Commissioner Dr. Gottlieb described the increase in e-

   cigarette consumption as an “almost ubiquitous—and dangerous—trend” that is responsible for an

   “epidemic” of nicotine use among teenagers.373 The rapid—indeed infectious—adoption of e-

   cigarettes “reverse[s] years of favorable trends in our nation’s fight to prevent youth addiction to

   tobacco products.”374 CDC Director Robert Redfield agreed, “The skyrocketing growth of young

   people’s e-cigarette use over the past year threatens to erase progress made in reducing tobacco

   use. It’s putting a new generation at risk for nicotine addiction.”375 Then-Commissioner Gottlieb

   identified the two primary forces driving the epidemic as “youth appeal and youth access to

   flavored tobacco products.”376


   372
       Jan Hoffman, Study Shows Big Rise in Teen Vaping This Year, N.Y. Times (Dec. 17, 2018),
   https://www.nytimes.com/2018/12/17/health/ecigarettes-teens-nicotine-.html; Rajiv Bahl, Teen Use of Flavored
   Tobacco was Down, But E-Cigarettes Are Bringing It Back Up, Healthline (Jan. 9, 2019),
   https://www.healthline.com/health-news/flavored-tobacco-use-rising-again-among-teens#An-unhealthy-habit.
   373
       FDA Launches New, Comprehensive Campaign to Warn Kids About the Dangers of E-Cigarette Use as Part of
   Agency’s Youth Tobacco Prevention Plan, Amid Evidence of Sharply Rising Use Among Kids (Sept. 18, 2018),
   https://www.fda.gov/NewsEvents/Newsroom/PressAnnouncements/ucm620788.htm.
   374
       Caitlin Owens, FDA unveils its vaping crackdown, Axios (Nov. 15, 2018), https://www.axios.com/fda-youth-
   vaping-crackdown-juul-1542288105-095b5376-49cc-421c-9c95-6bb42be579a9.html
   375
       Amir Vera, Texas Governor Signs Law Increasing the Age to Buy Tobacco Products to 21, CNN (June 8, 2019),
   https://www-m.cnn.com/2019/06/08/health/texas-new-tobacco-
   law/index.html#:~:targetText=Supporters%20say%20increasing%20the%20minimum,go%20into%20effect%20Sep
   tember%201.?r=https%3A%2F%2Fwww.google.com%2F.
   376
       Press Release, FDA Unveils New Steps to Protect Youth by Preventing Access to Flavored Tobacco Products,
   Announces Plans to Ban Menthol in Cigarettes and Cigar, US Food and Drug Administration (Nov. 15, 2018),

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           498.     Within days of the FDA’s declaration of an epidemic, Surgeon General Dr. Jerome

   Adams also warned that the “epidemic of youth e-cigarette use” could condemn a generation to “a

   lifetime of nicotine addiction and associated health risks.”377 The Surgeon General’s 2018

   Advisory states that JUUL, with its combination of non-irritating vapor and potent nicotine hit, “is

   of particular concern for young people, because it could make it easier for them to initiate the use

   of nicotine . . . and also could make it easier to progress to regular e-cigarette use and nicotine

   dependence.”

           499.     The JUUL youth addiction epidemic spread rapidly across high schools in the

   United States. JUUL surged in popularity, largely through social media networks, and created

   patterns of youth usage, illegal youth transactions, and addiction, that are consistent with this

   account from Reddit in 2017:


                    Between classes the big bathroom in my school averages 20-25
                    kids, and 5-10 JUULs. Kids usually will give you a dollar for a
                    JUUL rip if you don’t know them, if you want to buy a pod for 5$
                    you just head into the bathroom after lunch. We call the kids in
                    there between every class begging for rips ‘JUUL fiends.’ Pod
                    boys are the freshman that say ‘can I put my pod in ur juul?’ and
                    are in there every block. I myself spent about 180$ on mango pods
                    and bought out a store, and sold these pods for 10$ a pod, making
                    myself an absolutely massive profit in literally 9 days. Given
                    because I’m 18 with a car and that’s the tobacco age around here, I
                    always get offers to get pod runs or juuls for kids. people even
                    understand the best system to get a head rush in your 2 minutes
                    between classes, is all the juuls at once. So someone yells “GIVE
                    ME ALL THE JUULS” and 3-7 are passed around, two hits each.
                    This saves us all juice, and gives you a massive head rush. Kids
                    also scratch logos and words onto their juuls to make i[t] their
                    own, every day you can find the pod covers in my student parking
                    lot. I know this sounds exaggerated, but with a school with 1400
                    kids near the city and JUULs being perceived as popular, it’s truly


   https://www.fda.gov/tobacco-products/ctp-newsroom/fda-unveils-new-steps-protect-youth-preventing-access-
   flavored-tobacco-products-announces-plans-ban
   377
       Surgeon General’s Advisory on E-cigarette Use Among Youth, (2018), https://e-cigarettes. surgeongeneral.
   gov/documents/surgeon-generals-advisory-on-e-cigarette-use-among¬youth-2018.pdf.

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                    fascinating what can happen.378

           500.     In response to the post above, several others reported similar experiences:


                    a.       “[T]his is the exact same thing that happens at my school, we call [JUUL
                             fiends] the same thing, kind of scary how similar it is.”379

                    b.       “Same thing at my school. JUUL fiend is a term too.”380

                    c.       “Yeah nicotine addiction has become a huge problem in my high school
                             because of juuls even the teachers know what they are.”381

                    d.       “[S]ame [expletive] at my school except more secretive because it’s a
                             private school. It’s crazy. Kids hit in class, we hit 3-5 at once, and everyone
                             calls each other a juul fiend or just a fiend. Funny how similar it all is.”382

                    e.       “[T]he same [expletive] is happening in my school. kids that vaped were
                             called [expletive] for the longest time, that all changed now.”383

                    f.       “Made an account to say that it’s exactly the same way in my school! LOL.
                             I’m from California and I think I know over 40 kids that have it here just in
                             my school. We do it in the bathrooms, at lunch etc. LMAO. ‘Do you have
                             a pod man?’”384

                    g.       “It’s the same at my school and just about every other school in
                             Colorado.”385

                    h.       “2 months into this school year, my high school made a newspaper article
                             about the ‘JUUL epidemic’.”386

                    i.       “Wow do you go to high school in Kansas because this sounds EXACTLY
                             like my school. I’ll go into a different bathroom 4 times a day and there will
                             be kids in there ripping JUUL’s in every single one.”387.

                    j.       “At my high school towards the end of lunch everyone goes to the bathroom
                             for what we call a ‘juul party.’ People bring juuls, phixes, etc. It’s actually
                             a great bonding experience because freshman can actually relate to some
                             upperclassmen and talk about vaping.”388


   378
       What’s Juul in School, https://www.reddit.com/r/juul/comments/61is7i/whats_juul_in_school/ (last visited Dec.
   19, 2018).
   379
       Id.
   380
       Id.
   381
       Id.
   382
       Id.
   383
       Id.
   384
       Id.
   385
       Id.
   386
       Id. (citing Juuls Now Rule the School as Students Frenzy Over E-cig (Oct. 5, 2016), https://imgur.com/a/BKepw).
   387
       Id.
   388
       Id.

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                    k.     “To everyone thinking that this is just in certain states, it’s not. This is a
                           nationwide trend right now. I’ve seen it myself. If you have one you’re
                           instantly insanely popular. Everyone from the high-achievers to the kids
                           who use to say ‘e-cigs are for [expletives]’ are using the juul. It’s a craze. I
                           love it, I’ve made an insane amount of money. It’s something that has swept
                           through our age group and has truly taken over. And it happened almost
                           overnight.”389
           501.     The following graph illustrates JLI’s responsibility for the nationwide youth e-

   cigarette epidemic. While the rest of the e-cigarette industry stagnated from 2017 through 2018,

   JLI experienced meteoric growth. Through that same timeframe, youth e-cigarette rates nearly

   doubled from more than 11.% in 2017 to more than 20% in 2018. Through October 5, 2019 (the

   last date for which data was available), rates of youth e-cigarette use continued to increase, tracking

   the growth of JUUL.




                                                                                                        390




           502.     The unique features of the JUUL e-cigarette—high nicotine delivery, low



   389
      Id. (emphasis added).
   390
      The area graph depicts e-cigarette unit sale volumes in retail outlets tracked by Nielsen by manufacturer and
   month from 2013 through October 5, 2019; the line graph depicts national high school and middle school e-cigarette
   past-30-day usage rates as percentages from 2013 through 2019, with each data point representing a year. See
   Nielsen: Tobacco All Channel Data; National Youth Tobacco Survey (2019), https://www.fda.gov/tobacco-
   products/youth-and-tobacco/youth-tobacco-use-results-national-youth-tobacco-survey. See also Complaint,
   Commonwealth of Penn. v. Juul Labs, Inc., Case ID 200200962.

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   harshness, and easy-to-conceal design—have caused patterns of addiction with no historical

   precedent. It is not uncommon for fifteen-year-old students, even those who live at home with their

   parents, to consume two or more JUUL pods a day.


     I.        JUUL Thrived Due to Extensive Efforts to Delay Meaningful Regulation of its
               Products

          1)          E-Cigarette Manufacturers Successfully Blocked the Types of Regulations that
                      Reduced Cigarette Sales, Creating the Perfect Opportunity for JLI

               503.     One of the main reasons e-cigarettes like JUUL were so appealing from an

   investment and business development perspective is that, unlike combustible cigarettes, e-

   cigarettes were relatively unregulated. This regulatory void was not an accident; the cigarette

   industry, and then the e-cigarette industry, spent significant resources blocking, frustrating, and

   delaying government action. A 1996 article in the Yale Law & Policy Review detailed how

   cigarette companies vehemently opposed the FDA mid-1990s rules on tobacco products, using

   lawsuits, notice-and-comment, and arguments related to the FDA’s jurisdiction to delay or undo

   any regulatory efforts.391

               504.     In 2009, Congress enacted the Family Smoking Prevention and Tobacco Control

   Act (TCA). The TCA amended the Federal Food, Drug, and Cosmetic Act to allow the FDA to

   regulate tobacco products.

               505.     Although the TCA granted the FDA immediate authority to regulate combustible

   cigarettes, it did not give the FDA explicit authority over all types of tobacco products—including

   those that had not yet been invented or were not yet popular. To “deem” a product for regulation,

   the FDA must issue a “deeming rule” that specifically designates a tobacco product, such as e-

   cigarettes, as falling within the purview of the FDA’s authority under the TCA.


   391
      Melvin Davis, Developments in Policy: The FDA's Tobacco Regulations Digitalcommons.law.yale.edu (1996),
   https://digitalcommons.law.yale.edu/cgi/viewcontent.cgi?article=1321&context=ylpr

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           506.    The TCA also mandated that all “new” tobacco products (i.e., any product not on

   the market as of February 15, 2007) undergo a premarket authorization process before they could

   be sold in the United States.

           507.    Four years later, on April 25, 2014, the FDA finally issued a proposed rule deeming

   e-cigarettes for regulation under the Tobacco Act (“2014 Proposed Rule”).

           508.    Once issued, the e-cigarette industry, together with its newfound allies, parent

   companies, and investors—the cigarette industry and pro-e-cigarette lobbyists—set to work to

   dilute the rule’s effectiveness. For example, in comments to the 2014 Proposed Rule, companies

   such as Johnson Creek Enterprises (one of the first e-liquid manufacturers) stated that the “FDA

   [] blatantly ignored evidence that our products improve people’s lives.”392

           509.    The New York Times reported that ALTRIA was leading the effort to dilute,

   diminish, or remove e-cigarette regulations. Notwithstanding ALTRIA’s professed concern about

   flavors attracting youth customers, ALTRIA submitted comments in August 2014 in response to

   the proposed rule opposing the regulation of flavors. ALTRIA asserted that restrictions could result

   in more illicit sales, and that adults also liked fruity and sweet e-cigarette flavors. 393

           510.    In 2015, ALTRIA lobbied Capitol Hill with its own draft legislation to eliminate

   the new requirement that most e-cigarettes already on sale in the United States be evaluated

   retroactively to determine if they are “appropriate for the protection of public health.” In effect,

   ALTRIA lobbied to “grandfather” all existing e-cigarette brands, including JUUL, into a lax

   regulatory regime. That proposed legislation was endorsed by R.J. Reynolds. ALTRIA delivered



   392
       Eric Lipton, A Lobbyist Wrote the Bill. Will the Tobacco Industry Win Its E-Cigarette Fight?, Nytimes.com
   (2020), https://www.nytimes.com/2016/09/03/us/politics/e-cigarettes-vaping-cigars-fda-ALTRIA.html.
   393
       ALTRIA Client Services Inc., Comment Letter on Proposed Rule Deeming Tobacco Products to be Subject to the
   Federal Food, Drug, and Cosmetic Act at 47-48 (August 8, 2014), https://www.ALTRIA.com/-
   /media/Project/ALTRIA/ALTRIA/about-ALTRIA/federal-regulation-of-tobacco/regulatory-
   filings/documents/ALCS-NuMark-Comments-FDA-2014-N-0189.pdf.

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   its proposal, entitled “F.D.A. Deeming Clarification Act of 2015,” to Representative Tom Cole of

   Oklahoma, who introduced the bill two weeks later using ALTRIA’s draft verbatim.394 Seventy

   other representatives signed on to ALTRIA’s legislation. 395

           511.     The e-cigarette industry, along with the intertwined cigarette industry, was able to

   leverage support among Members of Congress such as Representative Cole and Representative

   Sanford Bishop of Georgia, who advocated for cigarette industry interests and opposed retroactive

   evaluation of e-cigarette products. Both Cole and Bishop echoed a common cigarette and e-

   cigarette industry refrain, that any regulations proposed by the FDA would bankrupt small

   businesses, even though the overwhelming majority of e-cigarettes were manufactured and

   distributed by large cigarette companies.

           512.     Representatives Cole and Bishop received some of the largest cigarette industry

   contributions of any member of the U.S. House of Representatives, with Representative Bishop

   receiving $13,000 from ALTRIA, and Representative Cole $10,000 from ALTRIA in the 2015-

   2016 cycle.396

           513.     By thwarting and delaying regulation, or by ensuring what regulation did pass was

   laced with industry-friendly components, the e-cigarette industry, including Defendants, hobbled

   the FDA—and by extension—Congress’s efforts to regulate e-cigarettes. Simultaneously, the e-

   cigarette industry continued to market their products to youth, and it coordinated to sow doubt and

   confusion about the addictiveness and health impacts of e-cigarettes.

           514.     Even after the FDA issued its final deeming rule in 2016, e-cigarette industry




   394
       Eric Lipton, A Lobbyist Wrote the Bill. Will the Tobacco Industry Win Its E-Cigarette Fight?, Nytimes.com
   (2020), https://www.nytimes.com/2016/09/03/us/politics/e-cigarettes-vaping-cigars-fda-ALTRIA.html.
   395
       Id.
   396
       Id.; The Politics, Rep. Tom Cole - Oklahoma District 04 OpenSecrets (2017),
   https://www.opensecrets.org/members-of-congress/contributors?cid=N00025726&cycle=2016.

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   lobbying continued to pay dividends to companies like JLI. In 2017, when Dr. Scott Gottlieb took

   over as the FDA Commissioner, one of his first major acts was to grant e-cigarette companies a

   four-year extension to comply with the deeming rule, even as data indicated sharp increases in teen

   e-cigarette use.397 Gottlieb had previously served on the board of Kure, a chain of e-cigarette

   lounges in the United States.398

              515.     The four-year extension was celebrated by e-cigarette lobbyists. Greg Conley,

   president of the American Vaping Association (AVA), stated that but for the extension, “over 99

   percent of vaper products available on the market today would be banned next year.”399 Despite

   the minimal research publicly available on the health effect of e-cigarettes, Ray Story, who had

   since become commissioner of the Tobacco Vapor Electronic Cigarette Association, lauded the

   decision: “Absolutely, it’s a good thing . . . [w]hen you look at harm reduction, it’s a no brainer.”400


         2)          JLI, the MANAGEMENT DEFENDANTS, and ALTRIA Successfully Shielded
                     the Popular Mint Flavor from Regulation.

              516.     JLI, the MANAGEMENT DEFENDANTS, and ALTRIA had a two-fold plan for

   staving off regulation: (1) ensure the FDA allowed certain flavors, namely mint, to remain on the

   market; and (2) stave off a total prohibition on JUUL that was being contemplated in light of JLI’s

   role in the youth vaping epidemic. These schemes involved acts of mail and wire fraud, with the

   intent to deceive the FDA, Congress, and the public at large.

              517.     First, JLI, the MANAGEMENT DEFENDANTS, and ALTRIA publicly defended




   397
       Katie Thomas & Sheila Kaplan, E-Cigarettes Went Unchecked in 10 Years of Federal Inaction, NY Times.com
   (2019), https://www.nytimes.com/2019/10/14/health/vaping-e-cigarettes-fda.html (last visited Mar 4, 2020).
   398
       Zeke Faux & Dune Lawrence, Vaping Venture Poses Potential Conflict for Trump's FDA Nominee, Bloomberg
   (2017), https://www.bloomberg.com/news/articles/2017-04-19/vaping-venture-poses-potential-conflict-for-trump-s-
   fda-nominee.
   399
       Sheila Kaplan, F.D.A. Delays Rules That Would Have Limited E-Cigarettes on Market NY Times (2017),
   https://www.nytimes.com/2017/07/28/health/electronic-cigarette-tobacco-nicotine-fda.html.
   400
       Id.

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   mint flavoring as a substitute for menthol cigarette smokers, when in fact JLI’s studies indicated

   that mint users are not former menthol smokers. Second, by fighting to keep mint as the last flavor

   on the market, the cigarette industry could continue to appeal to non-smokers, including youth.

   JLI and the MANAGEMENT DEFENDANTS coordinated with ALTRIA to pursue a fraudulent

   scheme to convince the FDA into leaving the mint flavor on the market, sacrificing other flavors

   in the process.

           518.      On August 2, 2018, JLI met with the FDA to discuss a proposed youth-behavioral

   study regarding the prevalence of use, perceptions of use, and intentions to use JUUL and other

   tobacco products among adolescents aged 13-17 years (the “Youth Prevalence Study”).401

           519.      On November 5, 2018, JLI transmitted the results of the Youth Prevalence Study

   to the FDA and reported that a study of over 1,000 youth had found that only 1.5% of youth had

   ever used a JUUL, and that only 0.8% of youth had used a JUUL in the last 30 days.

           520.      JLI’s study was a sham. JLI, the MANAGEMENT DEFENDANTS, and ALTRIA

   knew their reported data was inconsistent JLI’s report featured responses to a carefully selected

   survey question—which single flavor youth used most often?—that obscured the widespread use

   of mint JUULpods among youth.

           521.      Ironically, just a few days after JLI submitted the misleading Youth Prevalence

   Study to the FDA, the National Youth Tobacco Survey was released. Revealing the depths of the

   deception of JLI’s Youth Prevalence Study, which found that only 1.5% of youth were current

   users of e-cigarettes, the National Youth Tobacco Survey found that 20.8% of high school student

   were current users (i.e., consumed e-cigarettes within the last 30 days).

           522.      The Youth Prevalence Study that JLI submitted to the FDA, either via U.S. mail or


   401
      Letter from Joanna Engelke, JUUL Labs, Inc., to David Portnoy, Ph.D., M.P.H., FDA Center for Tobacco
   Products (Sept. 12, 2018).

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   by electronic transmission, was false and misleading. JLI, the MANAGEMENT DEFENDANTS,

   and ALTRIA knew as much. Indeed, they counted on it.

            523.     As the e-cigarette crisis grew, on September 25, 2018, then-FDA Commissioner

   Scott Gottlieb sent letters to ALTRIA, JLI and other e-cigarette manufacturers, requesting a

   “detailed plan, including specific timeframes, to address and mitigate widespread use by

   minors.”402

            524.     As evidenced by ALTRIA’s recent admission that negotiations with JLI were

   ongoing in late 2017,403 ALTRIA and JLI’s responses to the FDA reflect a coordinated effort to

   mislead the FDA with the intention that regulators, in reliance on their statements, allow JLI to

   continue marketing mint JUUL pods.404

            525.     DEFENDANTS’ plan centered on efforts to deceive the FDA that (1) mint was

   more akin to Tobacco and Menthol than other flavors; and (2) kids did not prefer mint.

            526.     JLI took the first step in this coordinated effort to deceive the FDA. In response to

   then-Commissioner Gottlieb’s September 25, 2018 letter, JLI prepared an “Action Plan,” which it

   presented to the FDA at an October 16, 2018 meeting, and presented to the public on November

   12, 2018. The substance of JLI’s presentation to the FDA and its public-facing Action Plan were

   largely identical.405

            527.     In JLI’s Action Plan, then-CEO Burns stated that only products that “mirror what

   is currently available for combustible cigarettes – tobacco and menthol-based products (menthol



   402
       Letter from Scott Gottlieb, M.D. to JUUL Labs, Inc. (Sept. 25, 2018); Letter from Scott Gottlieb, M.D. to
   ALTRIA Group Inc. (Sept. 25, 2018)
   403
       ALTRIA’s October 14, 2019 letter to Senator Durbin, et. al., by Howard Willard III (2019).
   404
       See United States v. Jones (9th Cir. 1983) 712 F.2d 1316, 1320-1321 (“It is enough that the mails be used as part
   of a ‘lulling’ scheme by reassuring the victim that all is well and discouraging him from investigating and
   uncovering the fraud.”).
   405
       JUUL did not include in its Action Plan a proposal for Bluetooth or wifi equipped devices that was included in
   JLI’s October presentation.

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   and mint pods) – will be sold to retail stores.”406

              528.     In both JLI’s October 2018 presentation to the FDA and JLI’s Action Plan that was

   shared with the public, JLI and its CEO fraudulently characterized mint as a non-flavored cigarette

   product, akin to tobacco and menthol cigarettes, suggesting that it was a product for adult smokers.

   The image below was included in both the public-facing Action Plan and JLI’s presentation to the

   FDA.




              529.     JLI knew that non-smoking youth liked mint as much as any flavor. Most

   importantly, JLI knew that mint was the most popular JUUL pod. Though other flavors might draw

   new customers, JLI’s most addictive “flavor” predictably became its most popular.

              530.     The characterization of mint as an adult tobacco product was also fraudulent

   because JLI knew that teens viewed mint as favorably as mango, which implies that mango and

   mint were fungible goods for JLI’s underage users. As alleged in a Whistleblower Complaint,

   JLI’s then-CEO told his employees: “You need to have an IQ of 5 to know that when customers


   406
         JUUL Labs Action Plan, JUUL Labs, Inc. (Nov. 13, 2018), https://newsroom.juul.com/juul-labs-action-plan/.

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   don’t find mango they buy mint.”407

            531.     On October 25, 2018, less than ten days after JLI presented its fraudulent,

   misleading Action Plan to the FDA, ALTRIA’s CEO Howard Willard submitted a letter in

   response to the FDA’s call to combat the youth epidemic. Willard’s letter was a clear indication

   of ALTRIA’s willingness to continue the fraudulent scheme and deception of the FDA. While

   Willard’s letter confirmed that ALTRIA understood that JLI’s conduct and product was addicting

   many children to nicotine, this letter repeated the misleading statement that mint was a “traditional

   tobacco flavor” despite ALTRIA and JLI knowing it was no such thing. Willard then claimed that

   the youth epidemic was caused, in part, by “flavors that go beyond traditional tobacco flavors”—

   which, according to JLI and ALTRIA, did not include mint—and announced that ALTRIA would

   discontinue all MarkTen flavors except for “traditional tobacco, menthol and mint flavors.”

   Willard asserted that these three flavors were essential for transitioning smokers. But Willard, and

   ALTRIA, knew this was not true.408

            532.     That same day—October 25, 2018—ALTRIA continued its deception on an

   earnings call with investors. ALTRIA fraudulently described its decision to remove its pod-based

   products from the market as one intended to address the dramatic increase in youth e-cigarette use,

   while it was only weeks away from publicly announcing its 35% stake in JLI:


                     We recently met with Commissioner Gottlieb to discuss steps that
                     could be taken to address underage access and use. Consistent with
                     our discussion with the FDA and because we believe in the long-
                     term promise of e-vapor products and harm reduction, we’re taking
                     immediate action to address this complex situation.

                     First, Nu Mark will remove from the market MarkTen Elite and

   407
       Angelica LaVito, Former JLI executive sues over retaliation, claims company knowingly sold tainted nicotine pods,
   CNBC (Oct. 30, 2019), https://www.cnbc.com/2019/10/30/former-juul-executive-sues-over-retaliation-claims-
   company-knowingly-sold-tainted-pods.html.
   408
       ALTRIA’s October 14, 2019 letter to Senator Durbin, et. al., by Howard Willard III (2019).

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                    Apex by MarkTen pod-based products until these products receive
                    a market order from the FDA or the youth issue is otherwise
                    addressed. Second, for our remaining MarkTen and Green Smoke
                    cig-a-like products, Nu Mark will sell only tobacco, menthol and
                    mint varieties. Nu Mark will discontinue the sale of all other flavor
                    variants of our cig-a-like products until these products receive a
                    market order from the FDA or the youth issue is otherwise
                    addressed. Although we don't believe we have a current issue with
                    youth access or use of our e-vapor products, we are taking this
                    action, because we don't want to risk contributing to the issue.

                    After removing Nu Mark’s pod-based products and cig-a-like flavor
                    variants, approximately 80% of Nu Mark's e-vapor volume in the
                    third quarter of 2018 will remain on the market. 409

           533.     Willard reiterated that “pod-based products and flavored products” were behind the

   increase in youth use of e-cigarettes:


                    I mean, I think the way we thought about this was that we believe e-
                    vapor has a lot of opportunity to convert adult cigarette smokers in
                    the short, medium and long-term, but clearly, this significant
                    increase in youth usage of the products puts that at risk and we think
                    rapid and significant action is necessary. And I think as we looked
                    at the data that is available in some of the remarks from the FDA, I
                    think we concluded that the driver of the recent increase we think is
                    pod-based products and flavored products and so we thought that
                    the two actions that we took addressed the drivers of the increased
                    youth usage here in the short run.410

           534.     Willard emphasized that ALTRIA’s withdrawal of its own pod-based products was

   intended to address youth use: “[W]e really feel like in light of this dramatic increase in youth

   usage, withdrawing those products until the PMTA is filed is one path forward.” He later said:

   “And frankly, the actions we took were the actions that we thought we could take that would have

   the biggest impact on addressing the increased use of e-vapor products by youth . . . we wanted to



   409
       Altria Group Inc (MO) Q3 2018 Earnings Conference Call Transcript
   MO earnings call for the period ending September 30, 2018 (Oct. 25, 2018),
   https://www.fool.com/earnings/call-transcripts/2018/10/25/altria-group-inc-mo-q3-2018-earnings-conference-
   ca.aspx
   410
       Id.

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   make a significant contribution to addressing the issue.”411 As noted above, however, it has since

   been reported that ALTRIA “pulled its e-cigarettes off the market” not out of concern for the

   epidemic of youth nicotine addiction that JLI created, but because a non-compete clause was a

   “part of its deal with J[UUL].”412

           535.    Thus, while ALTRIA publicly announced that it would pull its pod-based products

   to combat youth usage, and publicly seemed to support removal of youth-friendly flavors, its

   defense of mint as a tobacco-analog was actually part of the scheme to protect the profits associated

   with JLI’s mint JUUL pods, one of JLI’s strongest products with the highest nicotine content and

   highest popularity among non-smokers and youth.

           536.    In support of his arguments to the FDA that mint was a flavor for adult smokers,

   Willard cited to a study that ALTRIA had conducted and presented at a conference that JLI

   attended.413 But Willard did not disclose that ALTRIA’s “study” was merely a “quasi-experimental

   online survey” and not a true scientific study.414 Notably, JLI’s current CEO, K.C. Crosthwaite,

   was the President and Chief Growth Officer of ALTRIA Client Services, which conducted

   ALTRIA’s mint “study” in Spring 2017, the same time that the MANAGEMENT DEFENDANTS

   and ALTRIA began their “confidential discussions.”415 Willard did not disclose that this study was

   contradicted by the “youth prevention” data provided by JLI during its acquisition due-diligence

   showing that mint was popular among teens.

           537.    Through these letters, ALTRIA sought to prevent the FDA—which was actively


   411
       Id.
   412
       Id.
   413
       Jessica Parker Zdinak, Ph.D., ALTRIA CLIENT SERVICES, E-vapor Product Appeal Among Tobacco Users and
   Non-users and the Role of Flavor in Tobacco Harm Reduction, 72nd Tobacco Science Research Conference,
   (September 18, 2018),
   https://sciences.ALTRIA.com/library/media/Project/ALTRIA/Sciences/library/conferences/2018%20TSRC%20J%2
   0Zdniak%20Presentation.pdf.
   414
       Id.
   415
       ALTRIA’s October 14, 2019 letter to Senator Durbin, et. al., by Howard Willard III (2019).

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   considering regulating flavors416—from banning JLI’s mint JUUL pods.

           538.     Acting in concert, JLI and ALTRIA committed acts of mail or wire fraud when (1)

   JLI transmitted its Action Plan to the FDA and the public; and (2) ALTRIA transmitted Willard’s

   letter to the FDA.

           539.     At the heart of these acts of fraud was Defendants’ characterization of mint as a

   tobacco product that was targeted to adult smokers. This characterization was fraudulent because

   Defendants knew kids prefer mint flavor and that JLI designed mint to be one of JLI’s most potent

   products. ALTRIA supported this plan and helped execute it. Together, these actions by JLI and

   ALTRIA ensured that mint would remain available to youths for many months, furthering their

   efforts to maintain and expand the number of nicotine-addicted e-vapor users in order to ensure a

   steady and growing customer base.

           540.     The deceptive scheme worked—the FDA did not protest JLI and ALTRIA’s plan.

   And on December 20, 2018, one month after JLI announced its Action Plan to keep selling mint,

   ALTRIA made a $12.8 billion equity investment in JLI.

           541.     By February of 2019, the FDA became aware that it had been deceived by JLI and

   ALTRIA. On February 6, 2019, then-FDA commissioner Gottlieb wrote JLI and ALTRIA

   demanding in-person meetings, excoriating ALTRIA for its “newly announced plans with JUUL

   [that] contradict the commitments you made to the FDA” in a prior meeting and Willard’s October

   25, 2018 letter to the FDA.417 Gottlieb’s letter to JLI alleged that JLI’s conduct was “inconsistent

   with its previous representations to the FDA.”418




   416
       Alex Lardieri, FDA Considers Ban on E-Cigarette Flavors Amid 'Epidemic' Use By Teens, U.S. News & World
   Report (Sept. 12, 2018), https://www.usnews.com/news/health-care-news/articles/2018-09-12/fda-considers-ban-on-
   e-cigarette-flavors-amid-epidemic-use-by-teens.
   417
       Letter from Scott Gottlieb to Howard Willard, ALTRIA (February 6, 2019).
   418
       Letter from Scott Gottlieb to Kevin Burns, JUUL Labs, Inc. (February 6, 2019).

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           542.    The FDA demanded ALTRIA be prepared to explain itself regarding its “plans to

   stop marketing e-cigarettes and to address the crisis of youth use of e-cigarettes.” Then-

   Commissioner Gottlieb told ALTRIA that “deeply concerning data” shows that “youth use of

   JUUL represents a significant proportion of overall use of e-cigarette products by children” and

   despite any alleged steps the companies had taken to address the issue he “ha[d] no reason to

   believe these youth patterns of use are abating in the near term, and they certainly do not appear

   to be reversing.”

           543.    JLI and ALTRIA met with Gottlieb in March 2019 in a meeting the then-

   Commissioner described as “difficult.”419 Gottlieb “did not come away with any evidence that

   public health concerns drove ALTRIA’s decision to invest in JLI, and instead sa[id] it looks like a

   business decision.” According to reporting by the NEW YORK TIMES, Gottlieb angrily criticized

   JLI’s lobbying of Congress and the White House, stating:


                   We have taken your meetings, returned your calls and I had
                   personally met with you more times than I met with any other
                   regulated company, and yet you still tried to go around us to the
                   Hill and White House and undermine our public health efforts. I
                   was trying to curb the illegal use by kids of your product and you
                   are fighting me on it.”420

           544.    But just a week after the “difficult” meeting with JLI and ALTRIA, Gottlieb posted

   a statement about the FDA’s new e-cigarette policy, proposing to ban all flavors except “tobacco-

   , mint- and menthol-flavored products.”421 He cited the strong support of President Trump (whose


   419
       Kate Rooney & Angelica LaVito, ALTRIA Shares Fall After FDA’s Gottlieb Describes ‘Difficult’ Meeting on
   Juul, CNBC (Mar. 19, 2019), https://www.cnbc.com/2019/03/19/ALTRIA-shares-fall-after-fdas-gottlieb-describes-
   difficultmeeting-on-juul.html.
   420
       Julie Creswell & Sheila Kaplan, How Juul Hooked a Generation on Nicotine, N.Y. Times (Nov. 24, 2019),
   https://www.nytimes.com/2019/11/23/health/juul-vaping-crisis.html.
   421
       Statement from FDA Commissioner Scott Gottlieb, M.D., on advancing new policies aimed at preventing youth
   access to, and appeal of, flavored tobacco products, including e-cigarettes and cigars (Mar. 13, 2019),
   https://www.fda.gov/news-events/press-announcements/statement-fda-commissioner-scott-gottlieb-md-advancing-
   new-policies-aimed-preventing-youth-access.

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   administration JLI had aggressively lobbied422), and also cited “recent evidence indicat[ing] that

   mint- and menthol-flavored ENDS products are preferred more by adults than minors.”423 Just a

   few weeks later, Gottlieb resigned from his position as commissioner of the FDA.

             545.     The scheme had succeeded in saving mint JUUL pods, as well as defendants’

   bottom-lines. JLI’s sale of mint JUUL pods rose from one third of its sales in September 2018 to

   approximately two thirds in February 2019. JLI’s 2019 revenues were estimated to be between

   $2.36 billion and $3.4 billion, and mint JUUL pods accounted for approximately 75% of JLI’s

   total 2019 sales. And because mint remained on the market until JLI withdrew it in November

   2019 in the face of growing scrutiny,424 thousands, if not millions, of underage JUUL users suffered

   the consequences.

             546.     As former New York City Mayor Mike Bloomberg stated: “JUUL’s decision to

   keep mint- and menthol-flavored e-cigarettes on the shelves is a page right out of the tobacco

   industry’s playbook.”425

             547.     JLI continues to sell menthol-flavored products.426

        3)          In Response to the Public Health Crisis Created by JUUL, the FDA Belatedly
                    Tried to Slow the Epidemic

             548.     In 2017, the FDA announced that it would be taking steps to regulate e-cigarette



   422
       Evan Sully and Ben Brody, JLI Spent Record $1.2 Million Lobbying as Regulators Stepped Up, Washington Post
   (Oct. 22, 2019), https://www.washingtonpost.com/business/on-small-business/juul-spent-record-12-million-
   lobbying-as-regulators-stepped-up/2019/10/22/2a0dbc52-f4de-11e9-b2d2-1f37c9d82dbb_story.html.
   423
       Statement from FDA Commissioner Scott Gottlieb, M.D., on advancing new policies aimed at preventing youth
   access to, and appeal of, flavored tobacco products, including e-cigarettes and cigars (Mar. 13, 2019),
   https://www.fda.gov/news-events/press-announcements/statement-fda-commissioner-scott-gottlieb-md-advancing-
   new-policies-aimed-preventing-youth-access.
   424
       Ellen Huet, JLI Pulls Mint-Flavor Vaping Products, but Menthol Remains, Bloomberg (Nov. 7, 2019),
   https://www.bloomberg.com/news/articles/2019-11-07/juul-stops-selling-mint-flavored-vaping-products.
   425
       Allison Aubrey, Juul Suspends Sales of Flavored Vapes And Signs Settlement To Stop Marketing To Youth, NPR
   (Oct. 17, 2019), https://www.npr.org/sections/health-shots/2019/10/17/771098368/juul-suspends-sales-of-flavored-
   vapes-and-signs-settlement-to-stop-marketing-to-#:~:text=
   426
       Sheila Kaplan, Juul Ends E-Cigarette Sales of Mint-Flavored Pods, N.Y. Times (Nov. 7, 2019),
   https://www.nytimes.com/2019/11/07/health/vaping-juul-mint-flavors.html.

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   devices such as JUUL. In late 2017, the FDA initiated its investigation of e-cigarette companies’

   advertising and sales practices. But, as noted above, the FDA’s 2017 Compliance Policy issued a

   four-year extension for compliance with the 2016 deeming rule, apparently to “balance between

   regulation and encouraging development of innovative tobacco products that may be less harmful

   than cigarettes.”427 In March 2018, the 2017 Compliance Policy was challenged by the American

   Academy of Pediatrics, along with other public health organizations concerned that a compliance

   extension for the e-cigarette industry would allow more e-cigarette products into the market and

   continue to addict thousands of youth.428

           549.     In March 2019, the FDA drafted guidance that modified the 2017 Compliance

   Policy, but it did not go into full effect. However, on May 15, 2019, the lawsuit filed by the

   American Academy of Pediatrics was successful—the U.S. District Court for the District of

   Maryland vacated the 2017 Compliance Policy, and directed the FDA to “require that premarket

   authorization applications for all new deemed products (“new” referred to any product launched

   after February 15, 2007 and thus would include JUUL) be submitted within ten months, by May

   2020.429

           550.     In January 2020, the FDA issued: Enforcement Priorities for Electronic Nicotine

   Delivery Systems (ENDS) and Other Deemed Products on the Market Without Premarket

   Authorization: Guidance for Industry (2020 FDA Guidance), directed at the e-cigarette industry,

   which detailed the FDA’s plan to prioritize enforcement of regulations prohibiting the sale of

   flavored e-cigarette products and prohibiting the targeting of youth and minors.430 The 2020 FDA



   427
       Enforcement Priorities for Electronic Nicotine Delivery Systems (ENDS) and Other Deemed Products on the
   Market Without Premarket Authorization, U.S. Food & Drug Admin. (Jan. 2020),
   https://www.fda.gov/media/133880/download
   428
       Id.
   429
       Id.; Am.Academy of Pediatrics, et al. v. Food and Drug Admin. et al., 379 F. Supp. 3d 461, 496 (D. Md. 2019).
   430
       Id.

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   Guidance focused on flavored e-cigarettes that appeal to children, including fruit and mint:

   “[C]ompanies that do not cease manufacture, distribution and sale of unauthorized flavored

   cartridge-based e-cigarettes . . . within 30 days risk FDA enforcement actions.”431


         4)          The Government’s Efforts to Address the JUUL Crisis Were Too Late and the
                     Damage Has Already Been Done

              551.     By the time the FDA acted, youth consumption of e-cigarettes had already reached

   an all-time high, and the e-cigarette industry’s presence on social media became an unstoppable

   force. The 2020 FDA Guidance acknowledges that two of the largest 2019 surveys of youth

   cigarette use found that e-cigarette use had reached the highest levels ever recorded.432 By

   December 2019, there were over 2,500 reported cases of e-cigarette related hospitalization for lung

   injury, including over fifty confirmed deaths.433 Despite the FDA’s efforts between 2017 and 2019,

   youth consumption of e-cigarettes doubled among middle and high school students over the same

   period.434 In 2019, the total number of middle and high school students reporting current use of e-

   cigarettes surpassed five million for the first time in history.435

              552.     JLI’s presence on social media has persisted, even without further initiation by

   JLI—the hallmark of a successful viral marketing campaign. When the “#juul” hashtag was first

   used on social media, it was a series of thirteen tweets on Twitter. By the time JLI announced it

   would shut down its Instagram account, “#juul” had featured in over 250,000 posts on Instagram.


   431
       FDA Finalizes Enforcement Policy on Unauthorized Flavored Cartridge-Based E-Cigarettes That Appeal to
   Children, Including Fruit and Mint, FDA News Release (Jan. 2, 2020), https://www.fda.gov/news-events/press-
   announcements/fda-finalizes-enforcement-policy-unauthorized-flavored-cartridge-based-e-cigarettes-appeal-
   children.
   432
       Enforcement Priorities for Electronic Nicotine Delivery Systems (ENDS) and Other Deemed Products on the
   Market Without Premarket Authorization, U.S. Food & Drug Admin. (Jan. 2020),
   https://www.fda.gov/media/133880/download
   433
       Karen A. Cullen et al., E-cigarette Use Among Youth in the United States, 2019, 322 JAMA, 2095 (2019).
   434
       Karen A. Cullen, et al., e-Cigarette Use Among Youth in the United States, 2019, JAMA. 2019; 322(21): 2095-
   2103. doi:10.1001/jama.2019.18387 (Nov. 5, 2019), https://jamanetwork.com/journals/jama/article-
   abstract/2755265.
   435
       Id.

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   A study by Stanford University found that in the eight months after JLI ceased all promotional

   postings, community posting accelerated, to nearly half a million posts. Whereas before JLI exited

   Instagram, “#juul” appeared on average in 315 posts per day, that number tripled to 1084 posts per

   day after JLI shut its Instagram account down.436

               553.     The FDA’s anti-e-cigarette campaign on social media was aimed at youth and

   middle and high school students. The campaign used the slogan “The Real Cost” to educate youth

   on social media platforms about the health impacts of e-cigarette consumption—the real cost of

   using e-cigarettes. A recent study from the University of California Berkeley found that since

   September 2018, when the FDA’s social media campaign began, the hashtag “#TheRealCost” was

   used about fifty times per month on Instagram. By comparison, e-cigarette related hashtags were

   used as many as 10,000 times more often. Despite the FDA’s social media intervention, the number

   of e-cigarette related posts, and the median number of likes (a strong metric of viewer engagement)

   the posts received, increased three-fold and six-fold, respectively.437

               554.     In short, by the time the FDA reacted to the epidemic created by Defendants,

   millions of youth were addicted to e-cigarettes and nicotine, and were sharing e-cigarette related

   posts on social media on their own.


     J.        JUUL Usage Increases the Risk of Cardiovascular, Pulmonary, Neurological, and
               Other Bodily Injuries

          1)          JUUL Products Cause Acute and Chronic Lung (Pulmonary) Injuries

               555.     The use of e-cigarettes, including JUUL, cause significant lung toxicity438 and have



   436
       Robert K. Jackler et al., Rapid Growth of JUUL Hashtags After the Company Ceased Social Media Promotion,
   Stanford Research Into the Impact of Tobacco Advertising (July 22, 2019),
   http://tobacco.stanford.edu/tobacco_main/publications/Hashtag JUUL Project_7-22-19F.pdf
   437
       Julia Vassey, #Vape: Measuring E-cigarette Influence on Instagram With Deep Learning and Text Analysis, 4
   Frontiers in Commc’n 75 (2019), https://www.frontiersin.org/articles/10.3389/fcomm.2019.00075/full
   438
       Lauren F. Chun et al., Pulmonary Toxicity of E-cigarettes, 313 Am. J. Physio. Lung Cell Mol. Physiol L193
   (May 18, 2017), https://www.ncbi.nlm.nih.gov/pubmed/28522559.

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   been implicated in multiple severe pathological lung injuries.

           556.     Recent studies have demonstrated that exposure to JUUL aerosol induces oxidative

   stress, inflammation, epithelial barrier dysfunction, and DNA damage in lung cells.439

           557.     Lung epithelial cells are the first-line of defense and provide barrier protection from

   toxic inhalants. Epithelial barrier dysfunction can allow toxic inhalants access to systemic

   circulation by which they can interact with other tissues to generate fibrosis. In addition, the

   impaired barrier function allows greater passage of inhaled chemicals into the body, increasing

   inflammation both locally in the lungs and systemically. This can lead to acute and chronic lung

   injury as well as exposure to, and increased susceptibility to, respiratory infections in users of e-

   cigarettes, including JUUL.440 441

           558.     Research has also demonstrated that ultrafine metal particles from heating devices

   have been found in e-cigarette aerosol, and in e-cigarette user’s lungs.442

           559.     In addition, exposure to JUUL aerosol has shown to significantly impair endothelial

   function comparable to impairment of endothelial function caused by use of combustible

   cigarettes.443

           560.     It is well-established that endothelial dysfunction and injury from direct toxic

   effects of inhalants such as cigarette smoke, cause lung injuries such as chronic obstructive




   439
       Thivanka Muthumalage, et al., E-cigarette Flavored Pods Induce Inflammation, Epithelial Barrier Dysfunction,
   and DNA Damage in Lung Epithelial Cells and Monocytes, 9 Scientific Reports 19035 (2019),
   https://www.nature.com/articles/s41598-019-51643-6.
   440
       Laura E. Crotty Alexander et al. Chronic Inhalation of E-cigarette Vapor Containing Nicotine Disrupts Airway
   Barrier Function and Induces Systemic Inflammation and Multiorgan Fibrosis in Mice, 314 Am. J. Physiol. Regul.
   Comp. Physiol. R834 (2018), https://journals.physiology.org/doi/full/10.1152/ajpregu.00270.2017.
   441
       Pieter S. Hiemstra et al., The Innate Immune Function of Airway Epithelial Cells in Inflammatory Lung Disease,
   45 Eur. Respir. J. 1150 (2015), https://erj.ersjournals.com/content/45/4/1150.
   442
       Alessandra Caporale et al., Acute Effects of Electronic Cigarette Aerosol Inhalation on Vascular Function
   Detected at Quantitative MRI, 293 Radiology 97 (2019), https://www.ncbi.nlm.nih.gov/pubmed/31429679.
   443
       Poonam Rao et al., Juul and Combusted Cigarettes Comparably Impair Endothelial Function, 6 Tob. Regul. Sci.
   30 (2020), https://www.ncbi.nlm.nih.gov/pmc/articles/PMC6953758/.

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   pulmonary disease (COPD), emphysema, asthma and chronic bronchitis.444

           561.     Recent epidemiological and toxicological studies detected links between asthma

   frequency and e-cigarette use in adolescents and reported that vaporized e-liquids containing the

   same flavor aldehydes found in JUUL induce inflammation in human respiratory epithelia.445

           562.     A study published in December 2019, found that among individuals who never

   smoked combustible cigarettes, current e-cigarette use was associated with 75% higher odds of

   chronic bronchitis, emphysema, and COPD compared to those who never used e-cigarettes.446

           563.     Moreover, the flavoring compounds used in e-cigarettes such as JUUL, include

   numerous chemicals known to be toxins if inhaled, such as diacetyl, acetyl propionyl, and

   benzaldehyde. These chemicals are linked to serious lung disease.447 Further details as to the

   chemical alphabet soup of comprising the JUUL liquid are set forth above regarding the

   flavoring/JUUL liquid manufacturers. A multitude of published case reports have linked e-

   cigarette use, including JUUL, to a variety of acute inhalational lung injuries such as lipoid

   pneumonia, bronchiolitis obliterans (popcorn lung), alveolar hemorrhage, eosinophilic pneumonia,

   hypersensitivity pneumonitis, chemical pneumonitis and collapsed lungs, among others.

           564.     In 2012, the first article was published in the medical literature describing

   respiratory illness occurring as a result of e-cigarettes. McCauley et al. reported on the case of a


   444
       Francesca Polverino et al. COPD as an Endothelial Disorder: Endothelial Injury Linking Lesions in the Lungs
   and Other Organs? 8 Pulm. Circ. 2045894018758528 (2018), https://www.ncbi.nlm.nih.gov/pubmed/29468936.
   445
       Phillip W. Clapp and Ilona Jaspers, Electronic Cigarettes: Their Constituents and Potential Links to Asthma, 79
   Curr Allergy Asthma Rep. 17 (2017), https://www.ncbi.nlm.nih.gov/pubmed/28983782.
   446
       Albert D. Osei, et al., Association Between E-Cigarette Use and Chronic Obstructive Pulmonary Disease by
   Smoking Status: Behavioral Risk Factor Surveillance System 2016 and 2017, 132 Am. J. Prev. Med. 949 (2019),
   https://www.ncbi.nlm.nih.gov/pubmed/30853474.
   447
       Centers for Disease Control & Prevention, Flavorings-Related Lung Disease (Oct. 3, 2017),
   https://www.cdc.gov/niosh/topics/flavorings/default.html; Won Hee Lee et al., Modeling Cardiovascular Risks of E-
   Cigarettes with Human-Induced Pluripotent Stem Cell-Derived Endothelial Cells. 73 J. Am. College of Cardiology
   2722 (2019), https://www.ncbi.nlm.nih.gov/pubmed/31146818; Sheila Kaplan & Matt Richtel, Mysterious Vaping
   Illness That’s ‘Becoming an Epidemic,’ N.Y. Times (Aug. 31, 2019),
   https://www.nytimes.com/2019/08/31/health/vaping-marijuana-ecigarettes-sickness.html?auth=login-
   email&login=email.

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   42-year-old woman admitted with a seven-month history of dyspnea, cough, and fevers, for which

   she had been given multiple courses of antibiotics after presenting to the emergency department,

   without improvement. Coinciding with the onset of symptoms the patient had begun using e-

   cigarettes. Chest imaging revealed “new multifocal bilateral opacities” and “extensive bilateral

   upper- and lower-lobe patchy ground glass pulmonary opacities in a ‘crazy paving’ pattern.” All

   other testing, including immunological, was unremarkable. The patient was diagnosed with lipoid

   pneumonia, a “primarily chronic inflammatory reaction secondary to the presence of lipid

   substances in the lungs, with subsequent uptake by alveolar macrophages and accumulation in the

   interstitium.” The authors also hypothesized the source of lipoid pneumonia was e-cigarette use,

   due to “glycerin-based oils found in e-cigarette nicotine vapor” added to “make the visual smoke

   when the solution is vaporized.”448

              565.     Thota et al., published another report of respiratory illness associated with e-

   cigarette use in 2014. This report described a 20-year-old previously healthy U.S. active-duty male

   sailor who presented with a three-day history of “persistent cough, shortness of breath, and facial

   flushing” which began an hour after using an e-cigarette device. The patient had no history of

   exposure to pulmonary irritants and had experienced worsening of symptoms when using e-

   cigarettes again en route to the emergency department. Tachycardia and tachypnea were noted in

   his initial workup. Chest imaging found “subtle diffuse patchy reticulonodular opacities” and

   “predominantly diffuse ground-glass opacities involving the upper and middle lobes of the lungs

   more than lower lobes.” The patient was administered antibiotics for presumed diagnosis of

   community-acquired pneumonia, but absence of microorganism infection upon bronchoscopy

   evaluation, nor indeed any other infectious etiology determined from subsequent testing, led to a



   448
         Lindsay McCauley et al., An Unexpected Consequence of Electronic Cigarette Use. 141 Chest 1110 (2012).

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   diagnosis of acute eosinophilic pneumonia. The patient was given prednisone and discharged after

   five days in the hospital, with improvement of his symptoms and significant resolution of lung

   opacity.449

           566.    In 2015, Atkins and Drescher reported a case of acute inhalational lung injury with

   ENDS with, importantly, positive rechallenge and dechallenge, significant indicators of an

   exposure being a causative effect for an outcome. A 60-year-old man with a history of cigar

   smoking was admitted with weakness, chills, and cough, which was treated with antibiotics and

   the patient discharged, and within three days he felt better. However, a month later the patient

   presented again with similar symptoms as well as a fever and hypoxemia, with “bilateral upper

   lung zone crackles and bilateral upper lobe predominant ground glass infiltrate on chest CT.” The

   patient revealed before each emergency room admittance he had used e-cigarettes. The patient was

   diagnosed with “suspected acute hypersensitivity pneumonitis, related to ENDS” and had no

   further episodes with cessation of ENDS use. Repeat chest CT at three months post-diagnosis

   revealed normal pulmonary function.450

           567.    Another case of lipoid pneumonia was reported in 2015 by Modi et al., who saw a

   31-year-old woman admitted to the hospital for dyspnea and cough. Chest imaging found “bilateral

   air space opacities” and “diffuse ground-glass opacities with interlobular septal thickening

   consistent with ‘crazy paving’ pattern” and, despite antibiotic administration, the patient “became

   increasingly hypoxic and was intubated due to concerns of acute respiratory distress syndrome.”

   Bronchoalveolar lavage demonstrated “reactive pneumocytes and alveolar macrophages with

   positive staining (Oil-Red-O) for lipid content.” Thus, the patient was started on IV steroids and


   449
       Darshan Thota & Emi Latham, Case Report of Electronic Cigarettes Possibly Associated with Eosinophilic
   Pneumonitis in a Previously Healthy Active-duty Sailor. 47 J. Emerg. Med. 15 (2014).
   450
       Graham Atkins & Frank Drescher, Acute Inhalational Lung Injury Related to the Use of Electronic Nicotine
   Delivery System (ENDS),148 Chest 83A (2015).

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   diagnosed with lipoid pneumonia, given the close temporality of her recent initiation of e-

   cigarettes three months prior to her onset of symptoms. The patient rapidly improved with steroids

   and cessation of use of e-cigarettes.451

           568.     In 2015, Moore et al., published a case report describing bilateral pneumonia and

   pleural effusions associated with e-cigarette use.452

           569.     In 2016, another case report recognizing a link between e-cigarettes and respiratory

   illness was published by Mantilla et al., who reported a case of a 27-year-old otherwise healthy

   man who was admitted to the hospital with dyspnea, cough, fever, and hemoptysis after increasing

   use of e-cigarettes for seven months prior to presentation, initiated in an effort to decrease his

   combustible tobacco dependence. Chest imaging revealed “diffuse, military nodular pattern” with

   “innumerable pulmonary nodules.” The patient worsened and required intubation and mechanical

   ventilator support in spite of absence of any notable findings on microorganism workup, “making

   infectious etiology for his pneumonia very unlikely.” Lung biopsy demonstrated bronchiolitis

   obliterans organizing pneumonia, which was treated with methylprednisolone.453

           570.     Additional published case reports and case series were published since 2016 noting

   serious and significant acute lung injuries associated with vaping or e-cigarette use. Despite the

   increasing reports in the published medical literature and the widespread use of JUUL among

   teenagers, JLI did not take any steps to warn the public and consumers of the risks of JUUL

   products. Instead it continued to aggressively market the product as safe and promoted it

   extensively in various media forms including on social media outlets and via influencers.



   451
       Sujal Modi et al., Acute Lipiod Pneumonia Secondary to E-Cigarettes Use: An Unlikely Replacement for
   Cigarettes, 148 Chest 382A (2015).
   452
       Kendall Moore et al., Bilateral Pneumonia and Pleural Effusions Subsequent to Electronic Cigarette Use, 3 Open
   Journal of Emergency Medicine 18 (2015).
   453
       Ronnie D. Mantilla et al., Vapor Lung: Bronchiolitis Obliterans Organizing Pneumonia (BOOP) in Patient with
   E-Cigarette Use, 193 Am. J. of Respiratory and Critical Care Med. A6513 (2016).

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              571.     Over the summer of 2019, healthcare providers started to note an influx of acute

   respiratory failure and a myriad of lung injuries in patients who were using e-cigarettes. This

   prompted a Center for Disease Control (“CDC”) investigation of an outbreak of vaping associated

   lung injuries. The reported injuries mirrored the injuries that had been reported in the medical

   literature since 2012.

              572.     In October 2019, the CDC, recognizing the seriousness of the vaping epidemic,

   issued treatment guidelines to assist doctors in clinical practice including a protocol for inquiring

   about vaping or e-cigarette history of use. The CDC defined a new recognized medical condition

   referred to as E-cigarette, or Vaping, Product Use Associated Lung Injury illnesses (EVALI).

              573.     Researchers noted that the recent proliferation of vaping-related cases, known as

   EVALI, demonstrated a heterogeneous collection of pneumonitis patterns that include acute

   eosinophilic pneumonia, organizing pneumonia, lipoid pneumonia, diffuse alveolar damage and

   acute respiratory distress syndrome (ARDS), diffuse alveolar hemorrhage, hypersensitivity

   pneumonitis, and the rare giant-cell interstitial pneumonitis. It was stated that, though the precise

   manifestations of the respiratory injury may be diverse, there were clues to the precipitants that

   warrant attention. About 80% of the persons who vaped and became ill reported having used both

   nicotine products and tetrahydrocannabinol (THC) or cannabidiol (CBD) products. Active

   infection (which would include live bacterial contamination of e-cigarette fluids) did not appear to

   explain the clinical presentation, but acute toxic lung injury did seem to fit. It was suggested that

   mixing of multiple ingredients with primary compounds and potential contaminants may result in

   in vitro (or even in vivo) production of new agents that may be toxic.454

              574.     Further, a recent publication in 2020 noted that there were almost 2000 cases of



   454
         David C. Christiani, Vaping-Induced Injury, 68 New England J. Med. 787 (2019).

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   EVALI at the time it was written. The authors further noted that Vitamin E acetate was one possible

   cause of the recent outbreak but there may be more than one cause and therefore, everyone should

   refrain from using any e-cigarette or vaping products.455

           575.     Another publication in January 2020 noted that there were a number of patients

   who were diagnosed with EVALI, reported the use of nicotine only e-cigarettes and had negative

   drugs screens for THC or CBD. The authors concluded that EVALI was also associated with

   nicotine only products and a different causative agent might be implicated in those cases.456

           576.     Also in January 2020, Lu, et al. reported a teenager who developed acute fibrinous

   organizing pneumonia (AFOP) after using JUUL as well as other e-cigarettes. AFOP presents with

   diffuse ground glass infiltrates and intra-alveolar fibrin balls. Subpleural sparing and

   pneumomediastinum described elsewhere in vaping associated lung injury were also seen. The

   authors noted that this patient's presentation fit with existing literature, but his young age, choice

   of e-cigarette, and lung pathology were considered unique. The images characterized AFOP, a

   newly evolving rare lung pathology within the field of pulmonology, which is now associated with

   e-cigarette use.457

           577.     In addition, multiple reports have been published in the medical literature of acute

   alveolar hemorrhage caused by e-cigarette use.458 Diffuse alveolar hemorrhage (DAH) is a life-

   threatening disorder which refers to bleeding that originates in the pulmonary microvasculature. It


   455
       Sascha Ellington et al., Update: Product, Substance-Use, and Demographic Characteristics of Hospitalized
   Patients in a Nationwide Outbreak of E-cigarette, or Vaping, Product Use-Associated Lung Injury—United States,
   August 2019–January 2020, 69 Morbidity and Mortality Weekly Rep. 44 (2020).
   456
       Isaac Ghinai et al., Characteristics of Persons Who Report Using Only Nicotine-Containing Products Among
   Interviewed Patients with E-cigarette, or Vaping, Product Use-Associated Lung Injury ˗ Illinois, August-December
   2019, 69 Morbidity and Mortality Weekly Rep. 84 (2020).
   457
       Monica A. Lu et al., Vaping-related Lung Injury in an Adolescent. 201 American J. of Respiratory & Critical
   Care Med. 481(2020).
   458
       Michael Agustin et al., Diffuse Alveolar Hemorrhage Induced by Vaping, 7 Case Rep. Pulmonol. 9724530 (2018);
   Peter J. Edmonds et al., Vaping-induced Diffuse Alveolar Hemorrhage, 29 Respiratory Med. Case Reports 100996
   (2020).

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   often results in acute respiratory failure.459

            578.    Hypersensitivity pneumonitis is a disease of the lungs in which the lungs become

   inflamed as a result of an allergic reaction to inhaled dust, fungus, molds or chemicals.

   Hypersensitivity pneumonitis has been linked to the use of e-cigarettes, such as JUUL, since

   2015.460

            579.    In 2018, Sommerfield, et al, published the first reported case of hypersensitivity

   pneumonitis and acute respiratory distress syndrome (ARDS) as a risk of e-cigarette use in an

   adolescent.461 ARDS is a buildup of fluid in the alveoli, the tiny air sacs in the lungs. This results

   in less oxygen travelling to organs, which is very dangerous and can result in severe life-

   threatening injuries, including death. ARDS can occur as a result of indirect or direct trauma to the

   lung.

            580.    The multiple pathological lung injuries and toxicity associated with e-cigarette use,

   including JUUL, can lead to acute respiratory failure, intubation with mechanic ventilation and

   death.

            581.    Recent case reports have also linked spontaneous pneumothorax (lung collapse) to

   vaping and use of e-cigarettes.462 463

            582.    While understandably the focus of concern over vaping is the addiction of a new

   generation of youth, there is certainly ample concern for older individuals as well. As noted by an



   459
       Brandi R. Newsome & Juan E. Morales, Diffuse Alveolar Hemorrhage, 104 Southern Med. J.
   269 (2011).
   460
       Graham Atkins et al., Acute Inhalational Lung Injury Related to the Use of Electronic Nicotine Delivery Systems
   (ENDS), 148 Chest 83A (2015).
   461
       Casey G. Sommerfield et al., Hypersensitivity Pneumonitis and Acute Respiratory Distress Syndrome From E-
   Cigarette Use, 141 Pediatrics e20163927 (2018).
   462
       Alex Bonilla et al., Recurrent Spontaneous Pneumothoraces and Vaping in an 18-year-old Man: A Case Report
   and Review of the Literature, 13 J. of Med. Case Reports 283 (2019), https://doi.org/10.1186/s13256-019-2215-4.
   463
       Munish Sharma et al. A Case Report of Secondary Spontaneous Pneumothorax Induced by Vape, 11 Cureus
   e6067 (2019), https://doi:10.7759/cureus.6067.

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   article written by the American Associated for Retired Persons (AARP) entitled Vaping Dangers

   for Older Adults: What to know about recent lung illnesses and deaths, “Most vaping patients

   were under 35 but a new CDC report shows adults older than 50 are getting hit hard: Among 342

   people with vaping illness, 69 percent of those over age 50 were admitted to hospital intensive-

   care units compared with 38 to 56 percent of younger adults and teens; older adults were more

   likely to need breathing tubes and spent nearly 15 days in the hospital, compared with six to seven

   days for younger people.” (Emphasis added).464

           583.     JUUL users are also at greater risk of suffering more serious complications if they

   contract the coronavirus. Michael Felberbaum, an FDA spokesman, noted that “E-cigarettes can

   damage lung cells,” and expose people who “smoke and/or vape tobacco or nicotine-containing

   products” to more “serious complications from Covid-19.”

           584.     Further, according to Nora Volkow, director of the National Institute on Drug

   Abuse, “[b]ecause it attacks the lungs, the coronavirus that causes COVID-19 could be an

   especially serious threat to those who smoke tobacco or marijuana or who vape”.

           585.     In short, older adults, especially those who were smokers are at increased risk of

   lung and other complications due to their baseline higher risk status, making them more vulnerable

   to the adverse health effects of vaping. Accordingly, as quoted by AARP, Brian King, Deputy

   Director for Research Translation of the Office on Smoking and Health at the Centers for Disease

   Control and Prevention (CDC) stated, “Everyone, including older adults, should refrain from using

   all e-cigarettes and vape products.”465

           586.     It has been established that the use of e-cigarettes, including JUUL, can lead to



   464
       Sari Harrar, Vaping Dangers for Older Adults: What to know about recent lung illnesses and deaths, AARP (Oct.
   17, 2019), https://www.aarp.org/health/conditions-treatments/info-2019/vaping-e-cigarettes-illnesses-deaths.html
   465
       Id.

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   acute and chronic lung injuries such as EVALI, lipoid pneumonia, organizing pneumonia,

   chemical pneumonitis, alveolar hemorrhage, bronchiolitis obliterans (popcorn lung),

   pneumothorax, acute respiratory failure, acute respiratory distress syndrome (ARDS), asthma,

   emphysema and COPD. Defendants never warned the public of the risk of serious acute and

   chronic lung injuries that were associated with the use of e-cigarettes, including JUUL. In fact, JLI

   downplayed any risk associated with the inhalation of JUUL aerosol and continued to overtly

   promote JUUL as safe.

              587.     It is notable, however, that in August 2019, JLI CEO Kevin Burns admitted that the

   long term health effects of JUUL are unknown.466 The failure to properly and adequately test the

   safety of JUUL prior to marketing it to the public, including teenagers and young adults, and

   continuing in the face of the onslaught of publications in the medical literature demonstrating an

   association with e-cigarette use and significant lung injuries, amounts to a reckless disregard for

   public safety and warrants an award of punitive damages.


         2)          JUUL Products Cause Cardiovascular Injuries

              588.     In addition to severe lung injuries and addiction, JUUL products cause significant

   and severe risks of cardiovascular injuries. Studies have shown that use of e-cigarettes such as

   JUUL increase the risk of strokes and heart attacks. 467

              589.     Research has demonstrated that e-cigarettes significantly increase blood pressure




   466
      CBS Interview JLI CEO, Kevin Burns (August 29, 2019).
   467
      E-cigarettes linked to higher risk of stroke, heart attack, diseased arteries, American Stroke Association News
   Release, Abstract 9, Session A2 (Jan. 30, 2019), https://newsroom.heart.org/news/e-cigarettes-linked-to-higher-risk-
   of-stroke-heart-attack-diseased-arteries; Mohindar R. Vindhyal et al., Impact on Cardiovascular Outcomes Among
   E-cigarette Users: A Review From National Health Interview Surveys, 73 J. of the Am. College of Cardiology
   Suppl. 2 (2019), www.onlinejacc.org/content/73/9_Supplement_2/11.; Paul M. Ndunda & Tabitha M. Muutu,
   Electronic Cigarette Use is Associated with a Higher Risk of Stroke, 50 Int’l Stroke Conference 2019 Oral
   Abstracts: Community/Risk Factors, Suppl. 1, Abst. 9, www.ahajournals.org/doi/10.1161/str.50.suppl_1.9.

                                                           184
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   and arterial stiffness, which also increases the risk of for strokes and heart attacks. 468 Further,

   scientists have found that e-cigarettes cause oxidative stress, which leads to vascular disease and

   damage, known risk factors for cardiovascular injuries.469

           590.     Recent biological and epidemiologic studies found that significant associations

   exist between e-cigarette use and myocardial infarctions (heart attacks), which appear to be dose-

   dependent. Biological investigations support this association, whereby a prothrombotic phenotype

   may develop after exposure to nicotine-containing e-cigarette vapors.470

           591.     Rader, et al., found that chronic e-cigarette users demonstrated substantially

   impaired coronary microvascular endothelial function, even more pronounced than that seen in

   chronic tobacco cigarette users. These findings also suggested that chronic e-cigarette use leads to

   measurable and persistent adverse vascular effects that are not directly related to nicotine.471

           592.     Alzahrani, et al., found that daily e-cigarette use was associated with an increased

   risk of myocardial infarction.472

           593.     A systematic review of the literature found that acute mainstream exposure to

   aerosol from JUUL, or from previous generation e-cigarettes using free-base nicotine, impaired

   vascular function comparably to combusted cigarette smoke and delivered considerably more

   nicotine to the blood on a per puff basis.473


   468
       Charalambos Vlachopoulos et al., Electronic Cigarette Smoking Increases Aortic Stiffness and Blood Pressure in
   Young Smokers, 67 J. Am. Coll. Cardiol. (2016).
   469
       Dennis Thompson, Vaping May Hurt the Lining of Your Blood Vessels, WebMD HealthDay Reporter (May 28,
   2019), www.webmd.com/mental-health/addiction/news/20190528/vaping-may-hurt-the-lining-of-your-blood-
   vessels#1; JUUL e-cigarettes and JUUL pods deliver dangerous toxins and carcinogens to users. The ingredients in
   JUUL pods include glycerol, propylene glycol, nicotine, benzoic acid, and flavoring chemicals,
   www.juul.com/learn/pods.
   470
       Giuseppe Lippi & Emmanuel J. Favaloro, An Update on Biological and Clinical Associations Between E-
   Cigarettes and Myocardial Infarction, Semin. Thromb. Hemost. (2019), https//:doi 10.1055/s-0039-3402451.
   471
       Florian Rader et al., E-Cigarette Use and Subclinical Cardiac Effects, medRxiv (preprint)
   https//:doi:https://doi.org/10.1101/2020.01.16.20017780 (2020).
   472
       Talal Alzahrani et al., Association Between Electronic Cigarette Use and Myocardial Infarction, 55 Am. J.
   Preventive Med. 455 (2018).
   473
       Nicholas Buchanan et al. Cardiovascular Risk of Electronic Cigarettes: A Review of Preclinical and Clinical

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             594.     The overarching conclusion from dozens of studies published in the past 8 years is

   that use of e-cigarettes, including JUUL, increases the risk of cardiovascular injury which can lead

   to strokes, heart attacks and death.

             595.     JLI never warned the public or consumers of the serious and significant risk of

   cardiovascular injuries associated with its products.


        3)          JUUL Products Cause and Contribute to Seizure(s)

             596.     On April 3, 2019 the FDA Center for Tobacco Products issued a Special

   Announcement notifying the public of an increase in reports of tobacco-related seizures,

   specifically relating to an increase in e-cigarette use, particularly among youth.474

             597.     The FDA is currently investigating the direct connection between e-cigarette use in

   young people and increased risk of seizures, and requested that physicians and members of the

   public report any similar incidents.475

             598.     Additionally, FDA Commissioner Scott Gottlieb, M.D. and the Principal Deputy

   Commissioner Amy Abernethy M.D., PhD issued a joint statement addressing the FDA’s ongoing

   scientific investigation of seizures following e-cigarette use as a potential safety issue in youth and

   young adults. The statement flags seizures following e-cigarette use as a source of concern for the

   FDA, adding that in addition to the 35 reported cases from 2010 to early 2019, the FDA

   “recognize[s] that not all of the cases may be reported” due to their voluntary nature.476



   Studies, 116 Cardiovascular Research 40 (2019).
   474
       Some E-cigarette Users Are Having Seizures, Most Reports Involving Youth and Young Adults, U.S. Food &
   Drug Administration (April 10, 2019), https://www.fda.gov/tobacco-products/ctp-newsroom/some-e-cigarette-users-
   are-having-seizures-most-reports-involving-youth-and-young-adults.
   475
       Id.
   476
       Scott Gottlieb & Amy Abernethy, Statement from FDA Commissioner Scott Gottlieb, M.D., and Principal
   Deputy Commissioner Amy Abernethy, M.D., Ph.D., on FDA’s Ongoing Scientific Investigation of Potential Safety
   Issue Related to Seizures Reported Following E-cigarette Use, Particularly in Youth and Young Adults (April 3,
   2019), https://www.fda.gov/news-events/press-announcements/statement-fda-commissioner-scott-gottlieb-md-and-
   principal-deputy-commissioner-amy-abernethy-md-phd.

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           599.     Symptomatic nicotine toxicity is a consequence of excessive vaping.477 As the FDA

   acknowledges in their statement, “seizures or convulsions are known potential side effects of

   nicotine poisoning.”478

           600.     It is well-documented that nicotine poisoning can cause seizures, including

   ingestion of e-cigarette fluid.479 Nicotine-induced seizure has long been considered a possible side

   effect of long-term nicotine exposure.480

           601.     Nicotine has pro-convulsive actions and, when overdosed, induces convulsive

   seizures both in humans and animals.481 JUUL’s high nicotine content and addictive nature cause

   JUUL users to be highly susceptible to seizures.

           602.     As indicated in the FDA’s announcement, reports of minor and young adult seizures

   following e-cigarette use have increased. At the time of the initial announcement in April 2019,

   35 cases of seizures following e-cigarette use had been reported. As of August 7, 2019, the agency

   had received 127 reports of seizure or other neurological symptoms, such as fainting or tremors

   that occurred after vaping between 2010 and 2019 representing an increase of 92 cases since April

   3, 2019.482

           603.     According to the Tobacco Product Problem Reports issued by the FDA, now a total

   of 187 events of seizures or grand mal seizures mentioning e-cigarette, or other vaping device have


   477
       Adrienne Hughes et al., An Epidemiologic and Clinical Description of E-cigarette Toxicity, 57 Clin. Toxicol. 287
   (2018), https://doi: 10.1080/15563650.2018.1510503.
   478
       Gottlieb, Statement from FDA Commissioner Scott Gottlieb, M.D.
   479
       Gerdinique C. Maessen et al., Nicotine Intoxication by E-cigarette Liquids: A Study of Case Reports,
   Pathophysiology, 58 Clinical Toxicology 1 (2020),
   https://www.tandfonline.com/doi/full/10.1080/15563650.2019.1636994.
   480
       Lucinda L. Miner et al., The Effect of Chronic Nicotine Treatment on Nicotine-induced Seizures, 52
   Psychopharmacology 52 (2018), https://doi.org/10.1007/BF00212766.
   481
       Higor Iha et al. Nicotine Elicits Convulsive Seizures by Activating Amygdalar Neurons, 8 Frontiers in
   Pharmacology 57 (2017).
   482
       FDA in Brief: FDA Encourages Continued Submission of Reports Related to Seizures Following E-cigarette Use
   as Part of Agency’s Ongoing Scientific Investigation of Potential Safety Issue, U.S. Food & Drug Administration
   (Aug. 7, 2019), https://www.fda.gov/news-events/fda-brief/fda-brief-fda-encourages-continued-submission-reports-
   related-seizures-following-e-cigarette-use.

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   been reported thereby representing a greater recognition of this growing problem.483

              604.     Moreover, it has been suggested that the use of e-cigarettes has been associated

   with an exacerbation of seizures in individuals who are predisposed.484

              605.     Seizures following e-cigarette use are a significant cause for concern due to the

   unnecessarily high levels of nicotine delivered, by design, via JUUL. As described herein, JLI

   intentionally designed its products to deliver a higher amount of nicotine, particularly targeting

   young people, and then failed to warn of the subsequent risks. JUUL devices were deliberately

   designed to deliver higher concentrations of nicotine per puff as compared to cigarettes, creating

   the risk for addiction as well as the risk of seizure due to potentially toxic levels of nicotine

   exposure.

              606.     JLI never warned the public or consumers of the risk of seizures associated with

   the use of e-cigarettes including JUUL.


         4)          Animal Studies Demonstrate Carcinogenic Potential of JUUL

              607.     In 2017, Canistro, et al. found that e-cigarettes induce toxicological effects that can

   raise the risk of cancer.485

              608.     Similarly, a 2018 study measured the DNA damage induced by nitrosamines in the

   organs (lung, bladder, and heart) of mice subjected to e-cigarette vapor. They concluded that e-

   cigarette vapor induces DNA damage in all three organs and reduces DNA-repair functions and

   proteins in mouse lungs. They further found that nicotine-derived nitrosamine ketone can induce

   the same effects and enhance mutational susceptibility and tumorigenic transformation of cultured


   483
       Tobacco Product Problem Reports, U.S. Food & Drug Administration (Nov. 1, 2019),
   https://www.fda.gov/tobacco-products/tobacco-science-research/tobacco-product-problem-reports#2019-reports.
   484
       Jessica D. Wharton et al. Increased Seizure Frequency Temporally Related to Vaping: Where There’s Vapor,
   There’s Seizures? 104 Pediatric Neurology 66 (2020).
   485
       Donatella Canistro et al., E-cigarettes Induce Toxicological Effects That Can Raise the Cancer Risk, 7 Scientific
   Reports (2017).

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   human bronchial epithelial and urothelial cells (leading them to believe that vaping could

   contribute to heart disease and lung and bladder cancer in humans).486

           609.      In 2019, Tang, et al. found that exposure to e-cigarette vapor, induced lung

   adenocarcinoma and bladder urothelial hyperplasia in mice.487

           610.      In 2020, researchers found that both vapers and smokers showed significant loss of

   DNA methylation in LINE-1 repeat elements in comparison to controls. The methylation levels of

   LINE-1 repeats were not significantly different between vapers and smokers. Because repetitive

   DNA elements comprise almost 50% of the human genome and account for more than one third

   of genome wide DNA methylation, it is largely thought that the global loss of methylation that is

   observed in cancer is primarily due to hypomethylation at repetitive elements. The observation

   that vapers have significant loss of methylation in LINE-1 repeat elements has important

   implications. Additionally, the finding that vapers and smokers have similar reductions in LINE-

   1 methylation levels is consistent with previous studies by others who have shown significantly

   reduced levels of LINE-1 methylation in smokers, environmentally or occupationally exposed

   individuals to carcinogens, as well as in cells treated in vitro with cigarette smoke condensate or

   select tobacco smoke carcinogens. Together, those studies demonstrated the utility of LINE-1

   hypomethylation as an informative biomarker of exposure as well as effect for known or suspected

   carcinogens.488

           611.      It is evident that there is a potential association between e-cigarettes, including




   486
       Hyun-Wook Lee et al., E-cigarette Smoke Damages DNA and Reduces Repair Activity in Mouse Heart, Lung,
   and Bladder as well as in Human Lung and Bladder Cells, 115 PNAS E1560 (2018).
   487
       Moon-shong Tang, et al., Electronic-cigarette Smoke Induces Lung Adenocarcinoma and Bladder Urothelial
   Hyperplasia in Mice, 116 PNAS 21727 (2019).
   488
       Andrew W. Caliri et al. Hypomethylation of LINE-1 Repeat Elements and Global Loss of DNA
   Hydroxmyethylation in Vapers and Smokers, 5 Epigenetics 1 (2020), https//:doi. 10.1080/15592294.2020.1724401.



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   JUUL, and cancer. Sadly, as time goes on it is expected that the population of JUUL users will

   develop cancers caused and or contributed to by vaping the JUUL toxic stew of chemicals they

   inhaled. Long term epidemiological studies will likely reveal an increased risk of cancer among

   this generation of youth who were unwitting targets of JLI in complete and utter reckless disregard

   for their safety.


     K.     JUUL’s Conduct Harmed Plaintiff

           612.    Prior to starting JUUL in August 2017 when he was approximately 13 years old,

   Plaintiff M.C.C. noticed that his friends began using JUUL. He soon began to notice JUUL related

   advertisements and influencers on social media and in print advertising.

           613.    Plaintiff started using JUUL with his friends, largely because it had a cool design,

   appealing flavors, and was fun to use. Part of the attraction for Plaintiff was the discreet, slick

   design that would avoid detection from teachers, parents, or other authority figures.

           614.    Before Plaintiff tried JUUL, he was not addicted to nicotine. Since becoming

   addicted to JUUL, Plaintiff has also tried other vaping devices in an effort to satisfy his cravings.

           615.        Like the majority of people surveyed, Plaintiff was not aware that, when he first

   began “JUULing,” the device was addictive or that it carried any health risks.

           616.    Plaintiff relied to his detriment on JUUL’s representations that the product was safe,

   not harmful, and fun.

           617.    JUUL never warned Plaintiff that JUUL was addictive, dangerous, could cause him

   to suffer lung injuries, cardiovascular injuries, would interfere with his personal life or would

   permanently alter his brain.

           618.    Had Plaintiff known that JUUL was overly addictive, carried health risks, and

   would cause the problems it has in his health and personal life, he never would have tried it.


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           619.     JUUL never disclosed that it had manipulated the nicotine in JUUL to deliver

   massive doses of nicotine that could addict him almost immediately, an addiction that he will now

   fight for the rest of his life.

           620.     JUUL never instructed Plaintiff that the product was unsafe for him, nor how much

   JUUL was safe to consume.

           621.     Had Plaintiff known that JUUL was not safe, was addictive, dangerous, could cause

   pulmonary and cardiovascular issues, could permanently alter his brain and impair his mood and

   mind, that JUUL had manipulated nicotine to maximize addiction, or that each JUULpod delivered

   substantially more nicotine than a pack of cigarettes, he would not have used or continued to use

   JUUL.

           622.     After using JUUL, Plaintiff became addicted to nicotine. His use steadily increased,

   until, by October 2017, he was using JUUL immediately upon waking up and constantly

   throughout the day. He struggled to function without nicotine, and when he tried to quit using the

   product, he would become moody, irritable, experience shakes and trouble sleeping. The level of

   nicotine his body required increased over time and before long he was consuming up to a pod per

   day on average.

           623.     Before he started to use JUUL, Plaintiff was a healthy, active, ambitious young

   student. While he has and will continue to fight his addiction and to lead as normal a life as

   possible, Plaintiff’s brain injuries have caused him to become more impatient with his family and

   friends.

           624.     Further, Plaintiff’s addiction to the JUUL led him to develop and suffer from a

   pneumomediastrinum with subcutaneous emphysema and an exacerbation of his asthma.

           625.     As a direct and proximate result of JUUL’s conduct, Plaintiff suffered life-altering



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   and permanent injuries, including severe nicotine addiction and breathing problems, and as a result

   of harm through exposure to toxic substances, the potential for future disease and health problems.

          626.    As a result of his injuries caused by JUUL, Plaintiff has incurred and will incur

   significant medical and other expenses to sustain and/or fight his nicotine addiction and address

   his lung injury for the rest of his life, pain and suffering, and emotional distress.

   V.     CAUSES OF ACTION


                                     CAUSE OF ACTION I
                              STRICT LIABILITY - DESIGN DEFECT
                                     Against All Defendants

          627.    Plaintiff incorporates by reference each preceding and succeeding paragraph as

   though set forth fully at length herein.

          628.    This claim is brought pursuant to the product liability laws of Florida.

          629.    At    all   relevant   times,   the     JUUL    DEFENDANTS,          MANAGEMENT

   DEFENDANTS, and E-LIQUID MANUFACTURING DEFENDANTS designed, manufactured,

   assembled, inspected, tested (or not), packaged, labeled, marketed, advertised, promoted, supplied,

   distributed, and/or sold the JUUL Products that Plaintiff consumed.

          630.    JUUL Products were designed and intended to be used as a method of ingesting

   nicotine and the other vaporized constituents of JUUL’s e-liquid solution.

          631.    JUUL Products were sold in a defective condition that is unreasonably dangerous

   and unsafe to the consumer because the JUUL DEFENDANTS and MANAGEMENT

   DEFENDANTS failed to adequately warn about the risk of nicotine addiction and entirely failed

   to warn of the risks of lung injuries, seizure, strokes, heart attacks, cardiovascular injuries,

   behavioral, cognitive and mental health injuries, among other harmful effects.

          632.    JUUL Products as designed were unreasonably dangerous, posed a substantial

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   likelihood of harm, and were therefore defective because of reasons including the high delivery of

   nicotine, the inclusion of a multitude of other harmful ingredients, the likelihood of nicotine

   addiction and the risks of lung injuries, seizure, strokes, heart attacks, cardiovascular injuries,

   behavioral, cognitive and mental health injuries, among other harmful effects.

          633.    The JUUL DEFENDANTS and MANAGEMENT DEFENDANTS defectively

   designed JUUL to specifically appeal to minors and young adults, who were particularly unable to

   appreciate the risks posed by JUUL.

          634.    The JUUL DEFENDANTS and MANAGEMENT DEFENDANTS effectively

   designed JUUL with a pharmacokinetic profile engineered to create risks of abuse and addiction

   (that exceeded that of a cigarette) in that JUUL delivered more nicotine than cigarettes.

          635.    The JUUL DEFENDANTS and MANAGEMENT DEFENDANTS defectively

   designed JUUL Products that are inherently dangerous because they included features making the

   product attractive and more palatable to youth and non-smokers. These features include but are

   not limited to “party mode” lights; in youth appealing colors and flavors, a sleek virtually smoke

   free design capable of escaping detection by adults and school authorities. In addition, the JUUL

   DEFENDANTS and MANAGEMENT DEFENDANTS increased the ease of inhaleability of

   JUUL and the level of nicotine that is absorbed by users making the product even more addictive

   and dangerous.

          636.    The JUUL DEFENDANTS and MANAGEMENT DEFENDANTS in conjunction

   with the E-LIQUID MANUFACTURING DEFENDANTS defectively designed JUUL Pods in

   youth appealing colors and flavors that are unsafe to inhale because the e-Liquid is dangerous and

   hazardous and includes constituent flavoring additives and other chemicals that carry a significant

   risk of toxicity and injuries that the E-LIQUID MANUFACTURING DEFENDANTS failed to



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   test as to the safety of the solutions they manufactured and sold for use in JUUL.

          637.    JUUL Products do not perform as safely as a reasonable and ordinary consumer

   would reasonably assume and reasonably expect. JUUL Products contain and deliver more

   nicotine than is represented, are delivered by heat vaporization inhaled into the body, and contain

   and deliver other harmful products that injure multiple organ systems, and are designed to cause

   nicotine addiction.

          638.    The risks inherent in the design of JUUL Products significantly outweigh any

   benefits of such design.

          639.    The JUUL DEFENDANTS, MANAGEMENT DEFENDANTS, and E-LIQUID

   MANUFACTURING DEFENDANTS could have utilized cost effective, reasonably feasible

   alternative designs to minimize these harms, such as by designing products that delivered less

   nicotine per puff, used less potent and addictive forms of nicotine (without reduction of the “throat

   hit”), reduced repeated exposure to toxic chemicals that do not pose substantial health risks to

   users while still delivering sufficient levels of nicotine to preexisting cigarette smokers. The JUUL

   DEFENDANTS, MANAGEMENT DEFENDANTS, and E-LIQUID MANUFACTURING

   DEFENDANTS could also have designed the products in a way in which they would not be as

   appealing to minors and non-smokers by designing the device with a throat hit and only designing

   non-flavored E-Liquids.

          640.    The JUUL DEFENDANTS and MANAGEMENT DEFENDANTS could have

   limited the duration of each puff to prevent the JUUL from delivering doses of nicotine far in

   excess of a cigarette on a per puff basis and could have designed the device to shut off for a period

   of time if excessive puffs were taken too close in time.

          641.    The JUUL DEFENDANTS and MANAGEMENT DEFENDANTS could have



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   used technology to enable user-level access restrictions so that use was tied to a user’s identity and

   age verification, restricting those underage from using the JUUL Product, or other similar

   technology, or youth restricting features.

           642.     The JUUL DEFENDANTS, MANAGEMENT DEFENDANTS, and E-LIQUID

   MANUFACTURING DEFENDANTS failed to design the product with an expiration or best if

   “used by” date, resulting in the potential for the products’ chemical properties to change in a

   deleterious manner.

           643.     Plaintiff used JUUL Products as intended or in reasonably foreseeable ways. The

   JUUL DEFENDANTS, MANAGEMENT DEFENDANTS and E-LIQUID MANUFACTURING

   DEFENDANTS specifically intended for minors to use its products, and were aware that minors

   were doing so.

           644.     Plaintiff’s injuries, physical, emotional and economic, were reasonably foreseeable

   to   the   JUUL       DEFENDANTS,         MANAGEMENT           DEFENDANTS          and    E-LIQUID

   MANUFACTURING DEFENDANTS at the time of the products’ design, manufacture,

   distribution, and sale.

           645.     JUUL Products were defective and unreasonably dangerous when they left the

   JUUL DEFENDANTS, MANAGEMENT DEFENDANTS and E-LIQUID MANUFACTURING

   DEFENDANTS’ possession. The defects continued to exist through the products’ sale to and use

   by consumers, including Plaintiff, who used the products without any substantial change in the

   products’ condition.

           646.     Plaintiff was injured as a direct and proximate result of JUUL’s defective design as

   described herein. The defective design of JUUL Products was a substantial factor in causing

   Plaintiff’s harms.



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           647.    Plaintiff demands judgment against DEFENDANTS for compensatory, treble, and

   punitive damages, medical monitoring to diagnose JUUL induced injuries at an earlier date to

   allow for timely treatment and prevention of exacerbation of injuries, together with interest, costs

   of suit, attorneys' fees, and all such other relief as the Court deems proper.

                                    CAUSE OF ACTION II
                            STRICT LIABILITY - FAILURE TO WARN
                                     Against All Defendants

           648.    Plaintiff incorporates by reference each preceding and succeeding paragraph as

   though set forth fully at length herein.

           649.    This claim is brought pursuant to the product liability laws of Florida.

           650.    At all relevant times, JUUL DEFENDANTS named herein designed,

   manufactured, assembled, inspected, tested (or not), packaged, labeled, marketed, advertised,

   promoted, supplied, distributed, and/or sold the JUUL Products that Plaintiff consumed.

           651.    JUUL Products are sold in a defective condition that is unreasonably dangerous and

   unsafe to the consumer by failing to adequately warn about the risk of nicotine addiction and failing

   to warn entirely of the risks of lung injuries, seizure, strokes, heart attacks, cardiovascular injuries,

   behavioral, cognitive and mental health injuries, among other harmful effects, as described herein.

           652.    JUUL DEFENDANTS were aware that JUUL Products posed risks that were

   known and knowable in light of scientific and medical knowledge that was generally accepted in

   the scientific community at the time of design, manufacture, distribution, and sale of JUUL devices

   and JUUL Pods.

           653.    JUUL Products are defective because, among other reasons described herein,

   DEFENDANTS failed to warn consumers including Plaintiff, in JUUL’s labeling, packaging and

   through the marketing, promotion and advertising of JUUL including that:



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                   a.     prior to November 2017 that JUUL Products contained nicotine;

                   b.     the amount of nicotine contained in a JUUL pod is as much as twice as high
                          as that in a pack of cigarettes, and not as “approximately equivalent to a
                          pack of cigarettes” as represented;

                   c.     JUUL Products cause, maintain, or aggravate nicotine addiction and subject
                          consumers to the risks of concomitant health hazards that addictive, i.e.,
                          compulsive behavior can result in, and that this danger was even greater for
                          minors;

                   d.     JUUL Products cause harm by increased exposure to nicotine and other
                          harmful, toxic ingredients as described herein;

                   e.     the representations about the actual nicotine content did not conform to the
                          pharmacokinetics of JUUL use and the products’ cigarette equivalence;

                   f.     JUUL was an e-cigarette intended not intended for persons under age 26;

                   g.     JUUL delivered more nicotine than cigarettes;

                   h.     JUUL’s pharmacokinetic profile had been engineered to create risks of
                          abuse and addiction that exceeded that of a cigarette;

                   i.     JUUL can be life-threatening and carries the risk of lung injuries, seizure,
                          strokes, heart attacks and cardiovascular injuries, behavioral, cognitive and
                          mental health injuries among other harmful effects;

                   j.     which and when medical symptoms warranted medical care; and,

                   k.     how many JUUL Pods are safe to consume in a day.

            654.   Through its aggressive social media campaign, and in other mass marketing efforts

   the JUUL DEFENDANTS and MANAGEMENT DEFENDANTS circumvented the post-August

   2018 requirement to warn of nicotine addiction by deputizing teenagers and young adults as social

   media influencers who failed to warn of nicotine addiction and of all the other injuries as set forth

   above.

            655.   The JUUL DEFENDANTS and MANAGEMENT DEFENDANTS affirmatively

   encouraged new users of JUUL through an instructional insert with the starter pack to “keep trying

   even if the JUUL feels too harsh”, and “[d]on’t give up, you’ll find your perfect puff,” essentially


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   an anti-warning urging those who felt discomfort to disregard it and instead to keep vaping.

          656.    The E-LIQUID MANUFACTURING DEFENDANTS warn their own employees

   through “Material Safety Data Sheets” of the risk of severe lung damage when handling or

   breathing in the chemicals used in the JUUL Pods; however, upon information and belief these

   Defendants failed to provide any comparable warning to JLI to include with its label, packaging

   or advertisements.

          657.    The E-LIQUID MANUFACTURING DEFENDANTS acknowledged no studies

   had been conducted to evaluate the safety of the flavoring additives and other E-Liquids chemicals

   when vaporized and inhaled as e-cigarettes and that these untested ingredients were contained

   within JUUL pods; however, no such warnings of the lack of safety studies was provided to

   millions of consumers throughout the United States.

          658.    The failure of the DEFENDANTS to adequately warn about its defective products

   and to misleadingly advertise through conventional and social media avenues created a danger of

   injuries described herein that were reasonably foreseeable at the time of labeling, design,

   manufacture, distribution, and sale of JUUL devices and JUUL Pods.

          659.    Ordinary consumers would not have recognized the potential risks of JUUL

   Products when used in a manner reasonably foreseeable to DEFENDANTS.

          660.    DEFENDANTS are strictly liable for the sale of defective JUUL Products that

   contained inadequate warnings.

          661.    Plaintiff could not have averted injury through the exercise of reasonable care for

   reasons including DEFENDANTS’ concealment of the true risks posed by JUUL Products.

          662.    The defects in JUUL Products, including the lack of adequate warnings and

   instructions, existed at the time the products left the DEFENDANTS’ possession and continued to



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   exist through the products’ sale to and use by consumers, including Plaintiff. JUUL Products were

   used without substantial change in their condition from the time of their manufacture or sale.

           663.   At all relevant times, DEFENDANTS could have provided adequate warnings and

   instructions to prevent the harms and injuries set forth herein, such as providing full and accurate

   information about the products in advertising, at point of sale, and on the product labels.

           664.   Plaintiff were injured as a direct and proximate result of DEFENDANTS’ failure

   to warn and instruct because they would not have used or purchased JUUL Products had they

   received adequate warnings and instructions that they could be harmed by higher-than-perceived

   nicotine exposure, develop an addiction, be exposed to a panoply of harmful chemical additives in

   the flavorings and suffer other negative health consequences including but not limited to life

   threatening lung injuries, cardiovascular injuries, seizure behavioral, cognitive and mental health

   injuries.

           665.   JUUL’s lack of adequate and sufficient warnings and instructions and its inadequate

   and misleading advertising was a substantial contributing factor in causing the harm to Plaintiff.

           666.   Plaintiff demands judgment against DEFENDANTS for compensatory, treble, and

   punitive damages, medical monitoring to diagnose JUUL induced injuries at an earlier date to

   allow for timely treatment and prevention of exacerbation of injuries, together with interest, costs

   of suit, attorneys' fees, and all such other relief as the Court deems proper.

                                  CAUSE OF ACTION III
                       STRICT LIABILITY - MANUFACTURING DEFECT
                                   Against All Defendants

           667.   Plaintiff incorporates by reference each preceding and succeeding paragraph as

   though set forth fully at length herein.

           668.   This claim is brought pursuant to the product liability laws of Florida.



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             669.    At   all    relevant     times,   the    JUUL     DEFENDANTS,   MANAGEMENT

   DEFENDANTS, and E-LIQUID MANUFACTURING DEFENDANTS designed, manufactured,

   assembled, inspected, tested (or not), packaged, labeled, marketed, advertised, promoted, supplied,

   distributed, and/or sold the JUUL Products that Plaintiff consumed.

             670.    The JUUL DEFENDANTS and MANAGEMENT DEFENDANTS contracted

   with the E-LIQUID MANUFACTURING DEFENDANTS to supply, manufacture, process and

   blend the E- liquids and flavoring following a “menu.”

             671.    Employees of the E-LIQUID MANUFACTURING DEFENDANTS were

   inadequately trained and supervised, resulting in widely variable products with different

   concentrations of nicotine, some highly excessive and beyond the specifications.

             672.    Upon       information     and    belief,   the    E-LIQUID   MANUFACTURING

   DEFENDANTS supplied contaminated contents that were inserted in Pods which JLI sold to users,

   including teenagers and young adults, with reckless disregard for consumer safety.i489

             673.    When JUUL Products left the control of the JUUL DEFENDANTS,

   MANAGEMENT DEFENDANTS, and E-LIQUID MANUFACTURING DEFENDANTS, they

   were expected to, and did reach Plaintiff without substantial change from the condition in which

   it left DEFENDANTS’ control.

             674.    Plaintiff used JUUL Products in substantially the same condition that they were in

   when they left the control of the JUUL DEFENDANTS, MANAGEMENT DEFENDANTS, and

   E-LIQUID MANUFACTURING DEFENDANTS and any changes or modifications were

   foreseeable by these Defendants.

             675.    Plaintiff used JUUL Products in a manner intended and/or foreseeable to the JUUL



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         See Complaint filed in Breha v. Juul Labs, Inc., No. 3:19-cv-7148 (N.D.Cal.) (ECF No. 1).

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   DEFENDANTS, MANAGEMENT DEFENDANTS, and E-LIQUID MANUFACTURING

   DEFENDANTS.

          676.   JUUL Products contained manufacturing defects when they left the JUUL

   DEFENDANTS’, MANAGEMENT DEFENDANTS’, and E-LIQUID MANUFACTURING

   DEFENDANTS’ control and were placed in the stream of commerce in that the products deviated

   from component specifications and design, posed a risk of serious injury or death, and failed to

   perform as safely as the intended design would have performed.

          677.   Without limitation, examples of the JUUL DEFENDANTS’, MANAGEMENT

   DEFENDANTS’,        and    E-LIQUID      MANUFACTURING           DEFENDANTS’          inadequate

   manufacturing, assembling, inspecting and packaging practices include:


                 a.      Failure to follow Good Manufacturing Practices (“GMPs”);
                 b.      Failure to adequately inspect/test JUUL Products during the manufacturing

                         process;

                 c.      Failure to ensure that instruments used to prepare E-Liquids for JUUL Pods

                         were properly cleaned and sterilized to ensure there was no cross

                         contamination between products;

                 d.      Failure to implement procedures that would measure and confirm the

                         amount of nicotine in each JUUL pod;

                 e.      Failure to timely establish procedures or practices to prevent JUUL

                         Products from being contaminated on the production line or elsewhere at

                         production facilities; and,

                 f.      Failure to have sanitary conditions and protocol at the facilities to avoid

                         contamination.
          678.   Plaintiff were injured as a direct and proximate result of the manufacturing,

   assembling, processing, blending, inspecting and packaging defects of JUUL Products as


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   described herein.

          679.    The defective manufacturing, assembling, inspecting and packaging of JUUL

   Products was a substantial factor in causing Plaintiff’s harms.

          680.    Plaintiff demands judgment against DEFENDANTS for compensatory, treble, and

   punitive damages, medical monitoring to diagnose JUUL induced injuries at an earlier date to

   allow for timely treatment and prevention of exacerbation of injuries, together with interest, costs

   of suit, attorneys' fees, and all such other relief as the Court deems proper.

                                 CAUSE OF ACTION IV
                       PRODUCTS LIABILITY - NEGLIGENT DESIGN
              Against JUUL, Management, and E-Liquid Manufacturing Defendants

          681.    Plaintiff incorporates by reference each preceding and succeeding paragraph as

   though set forth fully at length herein.

          682.    At    all   relevant   times,   the     JUUL   DEFENDANTS,        MANAGEMENT

   DEFENDANTS, and E-LIQUID MANUFACTURING DEFENDANTS designed, manufactured,

   assembled, processed, blended, inspected, tested (or not), packaged, labeled, marketed, advertised,

   promoted, supplied, distributed, and/or sold the JUUL Products that Plaintiff consumed.

          683.    JUUL Products were designed and intended to be used as a method of ingesting

   nicotine and the other vaporized constituents of JUUL’s nicotine solution.

          684.    The JUUL DEFENDANTS, MANAGEMENT DEFENDANTS, and E-LIQUID

   MANUFACTURING DEFENDANTS knew or, by the exercise of reasonable care, should have

   known, use of JUUL Products was dangerous, harmful and injurious when used by Plaintiff in a

   reasonably foreseeable manner, particularly with minors and young adults.

          685.    The JUUL DEFENDANTS, MANAGEMENT DEFENDANTS, and E-LIQUID

   MANUFACTURING DEFENDANTS knew or, by the exercise of reasonable care, should have



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   known, ordinary consumers such as Plaintiff would not have realized the potential risks and

   dangers of JUUL Products. JUUL Products contain and deliver more nicotine than is represented,

   contain and deliver other harmful products that injure multiple organ systems, and are designed to

   cause nicotine addiction.

          686.       The JUUL DEFENDANTS, MANAGEMENT DEFENDANTS, and E-LIQUID

   MANUFACTURING DEFENDANTS owed a duty to all reasonably foreseeable users to design

   a safe product.

          687.       The JUUL DEFENDANTS, MANAGEMENT DEFENDANTS, and E-LIQUID

   MANUFACTURING DEFENDANTS breached their duty by failing to use reasonable care in the

   design of JUUL Products because the products delivered a high amount of nicotine, included other

   harmful ingredients, and had the likelihood of causing nicotine addiction and the risks of lung

   injuries, seizure, strokes, heart attacks, cardiovascular, behavioral, cognitive and mental health

   injuries, among other harmful effects.

          688.       The JUUL DEFENDANTS, MANAGEMENT DEFENDANTS, and E-LIQUID

   MANUFACTURING DEFENDANTS breached their duty by failing to use reasonable care in the

   design of JUUL Products by negligently designing JUUL with a pharmacokinetic profile

   engineered to create risks of abuse and addiction that equaled or exceeded that of a cigarette and

   delivered more nicotine than cigarettes.

          689.       The JUUL DEFENDANTS, MANAGEMENT DEFENDANTS, and E-LIQUID

   MANUFACTURING DEFENDANTS breached their duty by failing to use reasonable care in the

   design of JUUL Products by negligently designing JUUL Products to specifically appeal to minors,

   who were particularly unable to appreciate the risks posed by JUUL. These features include but

   are not limited to “party mode” lights; in youth appealing colors and flavors, a sleek virtually



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   smoke free design capable of escaping detection by adults and school authorities. In addition, the

   JUUL DEFENDANTS and MANAGEMENT DEFENDANTS increased the ease of inhaleability

   of JUUL and the level of nicotine that is absorbed by users making the product even more addictive

   and dangerous.

          690.    The JUUL DEFENDANTS, MANAGEMENT DEFENDANTS, and E-LIQUID

   MANUFACTURING DEFENDANTS breached their duty by failing to use reasonable care in the

   design of JUUL Products because they designed JUUL Pods in youth appealing colors and flavors

   that are unsafe to inhale because the e-Liquid is dangerous and hazardous and includes constituent

   flavoring additives and other chemicals that carry a significant risk of toxicity and other injuries

   that the E-LIQUID MANUFACTURING DEFENDANTS failed to test as to the safety of the

   solutions they manufactured and sold for use in JUUL.

          691.    The JUUL DEFENDANTS, MANAGEMENT DEFENDANTS, and E-LIQUID

   MANUFACTURING DEFENDANTS breached their duty by failing to use reasonable care by

   failing to use cost effective, reasonably feasible alternative designs to minimize these harms,

   including but not limited to designing products that delivered less nicotine per puff, used less

   potent and addictive forms of nicotine (without reduction of the “throat hit”), reduced repeated

   exposure to toxic chemicals that do not pose substantial health risks to users while still delivering

   sufficient levels of nicotine to preexisting cigarette smokers.

          692.    The JUUL DEFENDANTS, MANAGEMENT DEFENDANTS, and E-LIQUID

   MANUFACTURING DEFENDANTS breached their duty by failing to use reasonable care by

   failing to use cost effective, reasonably feasible alternative designs that would make the product

   less appealing to minors and non-smokers including but not limited to designing the device with a

   throat hit and only designing non-flavored E-Liquids.



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           693.    The JUUL DEFENDANTS, MANAGEMENT DEFENDANTS, and E-LIQUID

   MANUFACTURING DEFENDANTS breached their duty by failing to use reasonable care by

   failing to use cost effective, reasonably feasible alternative designs that could have limited the

   duration of each puff to prevent the JUUL from delivering doses of nicotine far in excess of a

   cigarette on a per puff basis and could have designed the device to shut off for a period of time if

   excessive puffs were taken too close in time.

           694.    The JUUL DEFENDANTS, MANAGEMENT DEFENDANTS, and E-LIQUID

   MANUFACTURING DEFENDANTS breached their duty by failing to use reasonable care by in

   choosing to not include an expiration or best if “used by” date, resulting in the potential for the

   products’ chemical properties to change in a deleterious manner.

           695.    The JUUL DEFENDANTS, MANAGEMENT DEFENDANTS, and E-LIQUID

   MANUFACTURING DEFENDANTS breached their duty by failing to use reasonable care by

   failing to use cost effective, reasonably feasible alternative designs utilizing technology to enable

   user-level access restrictions so that use was tied to a user’s identity and age verification, restricting

   those that are underage from using the JUUL Product, or other similar technology, or youth

   restricting features.

           696.    A reasonable company under the same or similar circumstances would have

   designed a safer product.

           697.    Plaintiff was harmed directly and proximately by the JUUL DEFENDANTS’,

   MANAGEMENT DEFENDANTS’, and E-LIQUID MANUFACTURING DEFENDANTS’

   failure to use reasonable care in the design of JUUL Products. Such harm includes significant

   exposure to toxic substances, which can cause or contribute to significant physical injuries;

   nicotine addiction; emotional, psychiatric, psychological and economic harm.



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          698.    The design of JUUL Products was a substantial factor in causing Plaintiff’s harms.

          699.    Plaintiff demands judgment against DEFENDANTS for compensatory, treble, and

   punitive damages, medical monitoring to diagnose JUUL induced injuries at an earlier date to

   allow for timely treatment and prevention of exacerbation of injuries, together with interest, costs

   of suit, attorneys' fees, and all such other relief as the Court deems proper.

                               CAUSE OF ACTION V
                 PRODUCTS LIABILITY –NEGLIGENT FAILURE TO WARN
                               Against All Defendants

          700.    Plaintiff incorporates by reference each preceding and succeeding paragraph as

   though set forth fully at length herein.

          701.    At all relevant times, all DEFENDANTS named herein designed, manufactured,

   assembled, inspected, tested (or not), packaged, labeled, marketed, advertised, promoted, supplied,

   distributed, and/or sold the JUUL Products that Plaintiff consumed.

          702.    The JUUL DEFENDANTS, MANAGEMENT DEFENDANTS, and E-LIQUID

   MANUFACTURING DEFENDANTS knew or, by the exercise of reasonable care, should have

   known, use of JUUL Products was dangerous, harmful and injurious when used by Plaintiff in a

   reasonably foreseeable manner, particularly with minors and young adults.

          703.    The JUUL DEFENDANTS, MANAGEMENT DEFENDANTS, and E-LIQUID

   MANUFACTURING DEFENDANTS knew or, by the exercise of reasonable care, should have

   known, ordinary consumers such as Plaintiff would not have realized the potential risks and

   dangers of JUUL Products. JUUL Products contain and deliver more nicotine than is represented,

   contain and deliver other harmful products that injure multiple organ systems, and are designed to

   cause nicotine addiction.

          704.    The JUUL DEFENDANTS, MANAGEMENT DEFENDANTS, and E-LIQUID



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   MANUFACTURING DEFENDANTS knew or, by the exercise of reasonable care, should have

   known, that JUUL Products posed risks including the risks of addiction, lung injuries, seizure,

   strokes, heart attacks, cardiovascular injuries, behavioral, cognitive and mental health injuries,

   among other harmful effects, as described herein, that were known and knowable in light of

   scientific and medical knowledge that was generally accepted in the scientific community at the

   time of design, manufacture, distribution, and sale of JUUL devices and JUUL Pods.

          705.    The JUUL DEFENDANTS, MANAGEMENT DEFENDANTS, and E-LIQUID

   MANUFACTURING DEFENDANTS owed a duty to all reasonably foreseeable users to disclose

   the risks associated with the use of JUUL Products.

          706.    The JUUL DEFENDANTS, MANAGEMENT DEFENDANTS, and E-LIQUID

   MANUFACTURING DEFENDANTS breached their duty of care by failing to use reasonable

   care in providing adequate warnings in JUUL’s labeling and packaging and through marketing,

   promoting and advertising of JUUL including that:


                  a.     prior to November 2017 that JUUL Products contained nicotine;
                  b.     the amount of nicotine contained in a JUUL pod is as much as twice as high

                         as that in a pack of cigarettes, and not as “approximately equivalent to a

                         pack of cigarettes” as represented;

                  c.     JUUL Products cause, maintain, or aggravate nicotine addiction and subject

                         consumers to the risks of concomitant health hazards that addictive, i.e.,

                         compulsive behavior can result in, and that this danger was even greater for

                         minors;

                  d.     JUUL Products cause harm by increased exposure to nicotine and other
                         harmful, toxic ingredients as described herein;

                  e.     the representations about the actual nicotine content did not conform to the

                         pharmacokinetics of JUUL use and the products’ cigarette equivalence;

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                   f.     JUUL was an e-cigarette intended not intended for persons under age 26;

                   g.     JUUL delivered more nicotine than cigarettes;

                   h.     JUUL’s pharmacokinetic profile had been engineered to create risks of

                          abuse and addiction that exceeded that of a cigarette;

                   i.     JUUL can be life-threatening and carries the risk of lung injuries, seizure,

                   strokes, heart attacks and cardiovascular injuries, behavioral, cognitive and mental

                   health injuries among other harmful effects;

                   j.     which and when medical symptoms warranted medical care;

                   k.     how many JUUL Pods are safe to consume in a day;

                   l.     urging customers to keep puffing even if they found the vapor harsh; and

                   m.     JUUL products were comprised of many chemical additives and artificial

                          flavors that are known to cause injury to exposed workers in factories.

            707.   Through its aggressive social media campaign, and in other mass marketing efforts

   the JUUL DEFENDANTS and MANAGEMENT DEFENDANTS circumvented the post-August

   2018 requirement to warn of nicotine addiction by deputizing teenagers and young adults as social

   media influencers who failed to warn of nicotine addiction and of all the other injuries as set forth

   above.

            708.   The E-LIQUID MANUFACTURING DEFENDANTS warn their own employees

   through “Material Safety Data Sheets” of the risk of severe lung damage when handling or

   breathing in the chemicals used in the JUUL Pods; however, upon information and belief these

   Defendants failed to provide any comparable warning to JLI to include with its label, packaging

   or advertisements.

            709.   The E-LIQUID MANUFACTURING DEFENDANTS acknowledged no studies

   had been conducted to evaluate the safety of flavoring additives and flavored E-Liquids with e-

   cigarettes and that these untested ingredients were contained within JUUL pods; however, no such

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   warnings of the lack of safety studies was provided to millions of consumers throughout the United

   States.

             710.   The failure of the DEFENDANTS to adequately warn about its defective products

   and to misleadingly advertise through conventional and social media avenues created a danger of

   injuries described herein that were reasonably foreseeable at the time of labeling, design,

   manufacture, distribution, and sale of JUUL devices and JUUL Pods.

             711.   The JUUL DEFENDANTS and MANAGEMENT DEFENDANTS were negligent

   in affirmatively encouraging new users of JUUL through an instructional insert with the starter

   pack to “keep trying even if the JUUL feels too harsh”, and “[d]on’t give up, you’ll find your

   perfect puff,” essentially an anti-warning urging those who felt discomfort to disregard it and

   instead to keep vaping.

             712.   At all relevant times, DEFENDANTS could have provided adequate warnings and

   instructions to prevent the harms and injuries set forth herein, such as providing full and accurate

   information about the products in advertising, at point of sale, and on the product labels.

             713.   A reasonable company under the same or similar circumstances would have warned

   and instructed of the dangers.

             714.   Plaintiff were injured as a direct and proximate result of DEFENDANTS’ failure

   to warn and instruct because they would not have used or purchased JUUL Products had they

   received adequate warnings and instructions that they could be harmed by higher-than-perceived

   nicotine exposure, develop an addiction, be exposed to a panoply of harmful chemical additives in

   the flavorings and suffer other negative health consequences including but not limited to life

   threatening lung injuries, strokes, heart attacks, cardiovascular injuries, seizure, behavioral,

   cognitive and mental health injuries.



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          715.    JUUL’s lack of adequate and sufficient warnings and instructions and its inadequate

   and misleading advertising was a substantial contributing factor in causing the harm to Plaintiff.

          716.    Plaintiff demands judgment against DEFENDANTS for compensatory, treble, and

   punitive damages, medical monitoring to diagnose JUUL induced injuries at an earlier date to

   allow for timely treatment and prevention of exacerbation of injuries, together with interest, costs

   of suit, attorneys' fees, and all such other relief as the Court deems proper.

                                 CAUSE OF ACTION VI
                PRODUCTS LIABILITY – NEGLIGENT MANUFACTURING
              Against JUUL, Management, and E-Liquid Manufacturing Defendants

          717.    Plaintiff incorporates by reference each preceding and succeeding paragraph as

   though set forth fully at length herein.

          718.    At    all   relevant   times,   the     JUUL   DEFENDANTS,        MANAGEMENT

   DEFENDANTS, and E-LIQUID MANUFACTURING DEFENDANTS designed, manufactured,

   assembled, inspected, tested (or not), packaged, labeled, marketed, advertised, promoted, supplied,

   distributed, and/or sold the JUUL Products that Plaintiff consumed.

          719.    The JUUL DEFENDANTS, MANAGING DEFENDANTS, and E-LIQUID

   MANUFACTURING DEFENDANTS had a duty to use exercise reasonable care, in the

   manufacturing, assembling, inspecting and packaging of JUUL Products.

          720.    The JUUL DEFENDANTS, MANAGEMENT DEFENDANTS, and E-LIQUID

   MANUFACTURING DEFENDANTS knew or, by the exercise of reasonable care, should have

   known, use of JUUL Products carelessly manufactured, assembled, inspected and packaged was

   dangerous, harmful and injurious when used by Plaintiff in a reasonably foreseeable manner.

          721.    The JUUL DEFENDANTS, MANAGEMENT DEFENDANTS, and E-LIQUID

   MANUFACTURING DEFENDANTS knew or, by the exercise of reasonable care, should have



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   known, ordinary consumers such as Plaintiff would not have realized the potential risks and

   dangers of JUUL products improperly manufactured assembled, inspected and packaged.

          722.    The JUUL DEFENDANTS and MANAGER DEFENDANTS contracted with the

   E-LIQUID MANUFACTURING DEFENDANTS to supply, manufacture, process and blend the

   E- liquids and flavoring following specifications in a “menu.”

          723.    Employees of the E-LIQUID MANUFACTURING DEFENDANTS were

   inadequately trained and supervised, resulting in widely variable products with different

   concentrations of nicotine, some highly excessive and beyond the specifications.

          724.    Without limitation, examples of the JUUL DEFENDANTS’, MANAGEMENT

   DEFENDANTS’, and E-LIQUID MANUFACTURING DEFENDANTS’ breached their duty to

   exercise reasonable care in manufacturing, assembling, inspecting and packaging by their:


                  a.     Failure to follow Good Manufacturing Practices (“GMPs”);

                  b.     Failure to adequately inspect/test JUUL Products during the manufacturing
                         process;

                  c.     Failure to ensure that instruments used to prepare E-Liquids for JUUL Pods
                         were properly cleaned and sterilized to ensure there was no cross
                         contamination between products;

                  d.     Failure to implement procedures that would measure and confirm the
                         amount of nicotine in each JUUL pod:

                  e.     Failure to timely establish procedures or practices to prevent JUUL
                         Products from being contaminated on the production line or elsewhere at
                         production facilities; and,

                  f.     Failure to have sanitary conditions and protocol at the facilities to avoid
                         contamination.

          725.    A reasonable manufacturer under the same or similar circumstances would have

   implemented appropriate manufacturing procedures to better ensure the quality of their product.

          726.    Plaintiff was injured as a direct and proximate result of JUUL DEFENDANTS,

   MANAGEMENT DEFENDANTS, and E-LIQUID MANUFACTURING DEFENDANTS failure

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   to use reasonable care in the manufacturing, assembling, inspecting and packaging of JUUL

   Products as described herein.

           727.   The JUUL DEFENDANTS, MANAGEMENT DEFENDANTS, and E-LIQUID

   MANUFACTURING DEFENDANTS negligent manufacturing, assembling, inspecting and

   packaging of JUUL Products was a substantial factor in causing Plaintiff’s harms.

           728.   Plaintiff demands judgment against DEFENDANTS for compensatory, treble, and

   punitive damages, medical monitoring to diagnose JUUL induced injuries at an earlier date to

   allow for timely treatment and prevention of exacerbation of injuries, together with interest, costs

   of suit, attorneys' fees, and all such other relief as the Court deems proper.

                                 CAUSE OF ACTION VII
                         NEGLIGENCE AND/OR GROSS NEGLIGENCE
                                  Against All Defendants

           729.   Plaintiff incorporates by reference each preceding and succeeding paragraph as

   though set forth fully at length herein.

           730.   At all relevant times, all DEFENDANTS named herein designed, manufactured,

   assembled, inspected, tested (or not), packaged, labeled, marketed, advertised, promoted, supplied,

   distributed, and/or sold and/or otherwise placed JUUL Products into the stream of commerce, and

   therefore owed a duty of reasonable care to avoid causing harm to those that consumed it, such as

   Plaintiff.

           731.   JUUL Products were the types of products that could endanger others if negligently

   made or promoted.

           732.   DEFENDANTS had a duty of reasonable care in designing, manufacturing,

   assembling, inspecting, testing, packaging, labeling, marketing, advertising, promoting, supplying,

   distributing and/or selling JUUL to avoid causing harm to those that consumed JUUL Products.



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          733.    DEFENDANTS knew, or should have known the exercise of reasonable care, the

   risks to consumers of JUUL, a powerfully addictive and dangerous nicotine-delivery device.

          734.    DEFENDANTS knew, or should have known the exercise of reasonable care, that

   minors and young people would be attracted to these products.

          735.    DEFENDANTS knew or, by the exercise of reasonable care, should have known,

   use of JUUL Products was dangerous, harmful and injurious when used by Plaintiff in a reasonably

   foreseeable manner, particularly with minors and young adults.

          736.    The DEFENDANTS knew or, by the exercise of reasonable care, should have

   known, ordinary consumers such as Plaintiff would not have realized the potential risks and

   dangers of JUUL Products. JUUL Products contain and deliver more nicotine than is represented,

   contain and deliver other harmful products that injure multiple organ systems, and are designed to

   cause nicotine addiction.

          737.    DEFENDANTS knew or, by the exercise of reasonable care, should have known,

   that JUUL Products posed risks including the risks of addiction, lung injuries, seizure, strokes,

   heart attacks, cardiovascular injuries, behavioral, cognitive and mental health injuries, among other

   harmful effects, as described herein, that were known and knowable in light of scientific and

   medical knowledge that was generally accepted in the scientific community at the time of design,

   manufacture, distribution, and sale of JUUL devices and JUUL Pods.

          738.    DEFENDANTS knew or should have known that JUUL Products needed to be

   researched, designed, manufactured, assembled, inspected, tested packaged, labeled, marketed,

   advertised, promoted, supplied, distributed, and/or sold properly, without defects and with due

   care to avoid needlessly causing harm.

          739.    DEFENDANTS knew or should have known that its JUUL Products could cause



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   serious risk of harm, particularly to young persons and minors.

          740.    DEFENDANTS knew or should have known that adults who were encouraged to

   cease smoking by using JUUL as a cessation device were individuals with greater preexisting

   cardiovascular and other health risk factors who were at enhanced risk of harm by utilizing the

   misleadingly labeled JUUL Pods which misrepresented the nicotine content and failed to warn of

   the other chemicals’ content and risks.

          741.    The JUUL DEFENDANTS and MANAGEMENT DEFENDANTS were grossly

   negligent in affirmatively encouraging new users of JUUL through an instructional insert with the

   starter pack to “keep trying even if the JUUL feels too harsh”, and “[d]on’t give up, you’ll find

   your perfect puff,” essentially an anti-warning urging those who felt discomfort to disregard it and

   instead to keep vaping.

          742.    DEFENDANTS were negligent, reckless and careless and failed to take the care

   and duty owed to Plaintiff, thereby causing Plaintiff to suffer harm.

          743.    The negligence and extreme carelessness of DEFENDANTS includes, but is not

   limited to, the following:


                  a.      Failure to perform adequate testing of the JUUL Products prior to marketing
                          to ensure safety, including long-term testing of the product, and testing for
                          injury to the brain and cardiovascular systems, respiratory, pulmonary and
                          immune systems, and other related medical conditions, as well as its effect
                          on mental health;

                  b.      Failure to warn consumers that JUUL Products had not been adequately
                          tested or researched prior to marketing to ensure safety;

                  c.      Failure to take reasonable care in the design of JUUL Products;

                  d.      Failure to use reasonable care in the production of JUUL Products;

                  e.      Failure to use reasonable care in the manufacture of JUUL Products;

                  f.      Failure to use reasonable care in the assembly of JUUL Products;



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               g.    Failure of DISTRIBUTOR DEFENDANTS to use reasonable care in
                     supplying and distributing JUUL’s products;

               h.    Failure to use reasonable care in advertising, promoting, and marketing
                     JUUL Products;

               i.    Failure to use reasonable care in the sale of JUUL Products without
                     adequate warnings; use of flavors and design to appeal to minors and young
                     people, in that the products smell good, look cool and are easy to conceal
                     from parents and teachers;

               j.    Use of a design that maximizes nicotine delivery while minimizing
                     “harshness,” thereby easily creating and sustaining addiction;

               k.    Failure to utilize proper materials, ingredients, additives and components in
                     the design of JUUL Products to ensure they would not deliver unsafe doses
                     of nicotine and cause other injuries from inhalation of other hazardous
                     chemicals;

               l.    Failure to inspect JUUL Products for them to operate properly and avoid
                     delivering unsafe levels of nicotine and causing the injuries described
                     herein;

               m.    Failure to reasonably and properly test and properly analyze the testing of
                     JUUL Products under reasonably foreseeable circumstances;

               n.    Failure to warn consumers about the dangers associated with use of JUUL
                     Products, in that it was unsafe, significantly increases blood pressure,
                     causes vascular and pulmonary damage, causes seizures, carries risks of
                     stroke, heart attacks, and pulmonary and cardiovascular events, is
                     powerfully addictive, can cause permanent brain changes, mood disorders,
                     and impairment of thinking and cognition;

               o.    Failure to warn consumers of negative health consequences associated with
                     exposure to nicotine and other harmful and toxic ingredients contained with
                     JUUL Products;
               p.    Failure to warn consumers of the actual nicotine content, JUUL Products’
                     cigarette equivalence and the pharmacokinetics of JUUL use;

               q.    Misleadingly stating the amount of nicotine in JUUL Pods is
                     “approximately equivalent to a pack of cigarettes”, when the amount of
                     nicotine contained in a JUUL pod is as much as twice as high as that in a
                     pack of cigarettes;

               r.    Failure to provide any instructions regarding a safe amount of JUUL Pods
                     to consume in a day;

               s.    Failure to take necessary steps to modify JUUL Products to avoid delivering
                     high doses of nicotine and repeatedly exposing them to toxic chemicals;

               t.    Failure to recall JUUL Products; and

               u.    all other failures, acts and omissions set forth herein.

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          744.    DEFENDANTS’ acts and omissions constitute gross negligence, because they

   constitute a total lack of care and an extreme departure from what a reasonably careful company

   would do in the same situation to prevent foreseeable harm to Plaintiff.

          745.    DEFENDANTS acted and/or failed to act willfully, and with conscious and

   reckless disregard for the rights and interests of the Plaintiff, and their acts and omissions had a

   great probability of causing significant harm and in fact resulted in such harm to Plaintiff.

          746.    Based on their strategic and intentional promotion, advertising and marketing

   history, DEFENDANTS reasonably should have foreseen that young people would try JUUL

   Products and quickly become addicted to JUUL Products, resulting in teenagers and young adults

   developing lifelong addictions. After placing unnecessarily massive amounts of nicotine into their

   products, DEFENDANTS reasonably should have foreseen the emotional distress this would cause

   on the individuals who would get addicted, as well the stress this would place on their loved ones

   around them.

          747.    Plaintiff was injured as a direct and proximate result of negligence and/or gross

   negligence as described herein. Such harm includes nicotine addiction with its behavioral and

   emotional sequelae, seizures, acute and chronic respiratory injuries, cardiovascular injuries,

   addiction, and significant exposure to toxic substances, which may cause or contribute to

   additional disease.

          748.    DEFENDANTS’ negligence and/or gross negligence were a substantial factor in

   causing and or contributing to Plaintiff’s harms.

          749.    Plaintiff demands judgment against DEFENDANTS for compensatory, treble, and

   punitive damages, medical monitoring to diagnose JUUL induced injuries at an earlier date to

   allow for timely treatment and prevention of exacerbation of injuries, together with interest, costs



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   of suit, attorneys' fees, and all such other relief as the Court deems proper.

                               CAUSE OF ACTION VIII
                     NEGLIGENCE – WANTON AND WILLFUL CONDUCT
                                 Against All Defendants

           750.    Plaintiff incorporates by reference paragraphs above as if fully set forth herein.

           751.    DEFENDANTS had a duty and owed a duty to Plaintiffs to exercise a degree of

   reasonable certainty including, but not limited to: ensuring that JUUL marketing does not target

   minors, and ensuring that JUUL devices and JUULpods are not sold and/or distributed to minors.

           752.    DEFENDANTS knew the risks that minors would be attracted to their electronic

   cigarette devices and JUULpods and knew or should have known the importance of ensuring that

   the products were not sold and/or distributed to minors and young people.

           753.    312.    DEFENDANTS could have easily marketed the products to a whole

   different audience of prior smokers as well as could have easily informed the ultimate consumers

   of the extremely high nicotine content.

           754.    DEFENDANTS breached the duties they owed to Plaintiff and in doing so, were

   wholly unreasonable. Defendants breached their heightened duties owed to minors when they

   intentionally marketed and sold JUUL products to minors, which they should not have done.

           755.    DEFENDANTS’ acts and omissions constitute wanton and willful conduct,

   because they constitute a total lack of care and an extreme departure from what a reasonably careful

   person or a reasonably careful company that holds itself out as manufacturers of smoking cessation

   devices would do in the same situation to prevent foreseeable harm to young persons, like Plaintiff.

           756.    DEFENDANTS acted and/or failed to act willfully, and with conscious and

   reckless disregard for the rights and interests of Plaintiff.

           757.    DEFENDANTS’ acts and omissions had a great probability of causing significant



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   harm and in fact resulted in such harm.

           758.    But for DDEFENDANTS’ duties and breaches thereof, Plaintiff would not have

   been harmed as alleged in this Complaint.

           759.    Plaintiff was harmed directly and proximately by DEFENDANTS’ negligence and

   willful and wanton conduct. Such harm include significant exposure to toxic substances, which

   may cause or contribute to causing disease; severe nicotine addiction, a permanent injury that

   Plaintiff will now struggle with for the rest of his life; Plaintiff’s exposure to such a high content

   of nicotine has also affected his brain development as such a crucial age, an injury that cannot be

   undone; and economic harm in that he would not have been able to purchase JUUL if Defendant

   had properly utilized the state’s age safeguard to protect minors. Nor would Plaintiff have

   purchased JUUL products had he had known of the dangers. Plaintiff has paid and will continue

   to pay a premium because of DEFENDANTS’ negligence.

                                   CAUSE OF ACTION IX
                         NEGLIGENT FAILURE TO RECALL/ RETROFIT
                Against JUUL, Management, and E-Liquid Manufacturing Defendants

           760.    Plaintiff incorporates by reference each preceding and succeeding paragraph as

   though set forth fully at length herein.

           761.    At   all   relevant   times,   the     JUUL   DEFENDANTS,          MANAGEMENT

   DEFENDANTS, and E-LIQUID MANUFACTURING DEFENDANTS designed, manufactured,

   assembled, inspected, tested (or not), packaged, labeled, marketed, advertised, promoted, supplied,

   distributed, sold and/or otherwise placed JUUL Products into the stream of commerce, and

   therefore owed a duty of reasonable care to avoid causing harm to those that consumed it, such as

   Plaintiff.

           762.    The JUUL DEFENDANTS, MANAGEMENT DEFENDANTS, and E-LIQUID



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   MANUFACTURING DEFENDANTS knew or reasonably should have known that JUUL

   Products were dangerous or were likely to be dangerous when used in a reasonably foreseeable

   manner, particularly with minors and young adults.

          763.    The JUUL DEFENDANTS, MANAGEMENT DEFENDANTS, and E-LIQUID

   MANUFACTURING DEFENDANTS knew that its flavors had attracted young people and non-

   smokers, yet instead of withdrawing flavored JUUL Pods, these Pods remained available for

   purchase online until October 2019 and JUUL continued to offer mint-flavored JUUL Pods until

   November 2019. However, to date, menthol-flavored JUUL Pods are still available for purchase

   online and in retail stores which are still regularly consumed by minors and young adults suffering

   from addiction.

          764.    Additionally, JUUL DEFENDANTS, MANAGEMENT DEFENDANTS, and E-

   LIQUID MANUFACTURING DEFENDANTS were aware of growing reports of E-cigarette, or

   Vaping, Product Use Associated Lung Injury illnesses (EVALI) and other injuries related to

   vaping, yet continue to sell JUUL Products.

          765.    The JUUL DEFENDANTS and MANAGEMENT DEFENDANTS could have

   retrofitted the JUUL devices with a kill switch or locking component.

          766.    Despite the JUUL DEFENDANTS’, MANAGEMENT DEFENDANTS’, and E-

   LIQUID MANUFACTURING DEFENDANTS’ knowledge and awareness of defects in JUUL

   Products causing injuries to Plaintiff, these DEFENDANTS failed to retrofit their products and

   delayed withdrawal of flavored JUUL Pods from the market.

          767.    JUUL DEFENDANTS’, MANAGEMENT DEFENDANTS’, and E-LIQUID

   MANUFACTURING DEFENDANTS’ continue to market and sell JUUL Products without

   adequate warnings to advise consumers of these dangers.



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           768.   A reasonable company under the same or similar circumstances would have

   recalled or retrofitted the products and/or provided revised warnings.

           769.   The JUUL DEFENDANTS’, MANAGEMENT DEFENDANTS’, and E-LIQUID

   MANUFACTURING DEFENDANTS’ negligent failure to recall and/or retrofit JUUL Products

   was a substantial factor in causing Plaintiff’s harms.

           770.   Plaintiff was injured as a direct and proximate result of these DEFENDANTS’

   negligent failure to recall and/or retrofit JUUL Products as described herein. Such harm includes

   seizures, stroke, heart attack, acute and chronic respiratory injuries, cardiovascular injuries,

   addiction, behavioral, cognitive and mental health and significant exposure to toxic substances,

   which may cause or contribute to additional disease.

           771.   Plaintiff demands judgment against DEFENDANTS for compensatory, treble, and

   punitive damages, medical monitoring to diagnose JUUL induced injuries at an earlier date to

   allow for timely treatment and prevention of exacerbation of injuries, together with interest, costs

   of suit, attorneys' fees, and all such other relief as the Court deems proper.


                                     CAUSE OF ACTION X
                               NEGLIGENT MISREPRESENTATION
                                     Against All Defendants

           772.   Plaintiff incorporates by reference each preceding and succeeding paragraph as

   though set forth fully at length herein.

           773.   At all relevant times, all DEFENDANTS named herein designed, manufactured,

   assembled, inspected, tested (or not), packaged, labeled, marketed, advertised, promoted, supplied,

   distributed, sold and/or otherwise placed JUUL Products into the stream of commerce, and

   therefore owed a duty of reasonable care to avoid causing harm to those that consumed it, such as

   Plaintiff.


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          774.    DEFENDANTS were negligent, reckless and careless and owed a duty to Plaintiff

   to make accurate and truthful representations regarding JUUL Products, DEFENDANTS breached

   their duty, thereby causing Plaintiff to suffer harm.

          775.    DEFENDANTS represented to Plaintiff via the media, advertising, website, social

   media, packaging, and promotions, among other misrepresentations described herein that:


                  a.      JUUL Products were safe, were safer than cigarettes and were not harmful;

                  b.      That one JUUL pod is “approximately equivalent to about 1 pack of
                          cigarettes;”

                  c.      An inaccurate and misleading portrayal of JUUL Pods nicotine content;
                          and,

                  d.      That the flavored mango, cool cucumber and crème brulee were naturally
                          flavored derived from such foods instead of labeling them as artificially
                          flavored as they would be required to under food labeling rules.

          776.    These representations were false. JUUL is unsafe for anyone under age 26,

   especially minors as well as older users. The amount of nicotine consumed from one JUUL pod is

   actually equivalent to the amount of nicotine consumed through at least two packs of combustible

   cigarettes, and not one pack as represented.

          777.    DEFENDANTS knew or should have known these representations were false and

   negligently made them without regard for their truth.

          778.    DEFENDANTS had a duty to accurately provide this information to Plaintiff. In

   concealing this information from Plaintiff, DEFENDANTS breached their duty. DEFENDANTS

   also gained financially from, and as a result of their breach.

          779.    DEFENDANTS intended for Plaintiff to rely on these representations.

          780.    Each of these misrepresentations were material at the time they were made. In

   particular, each of the misrepresentations concerned material facts that were essential to the



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   analysis undertaken by Plaintiff as to whether to purchase or consume JUUL Products.

          781.    DEFENDANTS have yet to disclose correct these misrepresentations about JUUL

   Products.

          782.    Plaintiff reasonably relied on these representations and were harmed as described

   herein. Plaintiff’s reliance on DEFENDANTS’ representation was a substantial factor in causing

   Plaintiff’s harms. Had DEFENDANTS told Plaintiff the truth about the safety and composition of

   JUUL’s products, Plaintiff would not have consumed or purchased them.

          783.    DEFENDANTS’ acts and omissions as described herein were committed in

   reckless disregard of Plaintiff’s rights, interests, and well-being to enrich DEFENDANTS.

          784.    Plaintiff was injured as a direct and proximate result of DEFENDANTS’ negligent

   misrepresentations regarding JUUL Products as described herein. Such harm includes seizures,

   acute and chronic respiratory injuries, stroke, heart attack, other cardiovascular injuries, addiction,

   behavioral, cognitive and mental health injuries and significant exposure to toxic substances,

   which may cause or contribute to additional disease.

          785.    Plaintiff demands judgment against DEFENDANTS for compensatory, treble, and

   punitive damages, medical monitoring to diagnose JUUL induced injuries at an earlier date to

   allow for timely treatment and prevention of exacerbation of injuries, together with interest, costs

   of suit, attorneys' fees, and all such other relief as the Court deems proper.


                                        CAUSE OF ACTION XI
                                                FRAUD
                                         Against All Defendants

          786.    Plaintiff incorporates by reference each preceding and succeeding paragraph as

   though set forth fully at length herein.

          787.    At all relevant times, all DEFENDANTS named herein designed, manufactured,


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   assembled, processed, blended, inspected, tested (or not), packaged, labeled, marketed, advertised,

   promoted, supplied, distributed, sold and/or otherwise placed JUUL Products into the stream of

   commerce, and therefore owed a duty of reasonable care to avoid causing harm to those that

   consumed it, such as Plaintiff.

          788.    DEFENDANTS created and implemented a plan to generate a market for e-

   cigarettes and substantially increase sales of JUUL through a pervasive pattern of false and

   misleading statements and omissions. DEFENDANTS’ plan was intended to portray JUUL

   Products as cool and safe alternatives to combustible cigarettes, with a particular emphasis on

   appealing to minors, based in part on food flavors while misrepresenting or omitting key facts

   concerns JUUL nicotine content, addictiveness, flavoring content and safety.

          789.    DEFENDANTS’ marketing, promotions and advertisements contained deceptive

   statements that JUUL e-cigarettes were reasonable alternatives to combustible cigarettes and that

   they contained nicotine “approximately equivalent to a pack of cigarettes”, when in fact the amount

   of nicotine in a JUUL pod is as much as twice as high as that in a pack of cigarettes, higher than

   what DEFENDANTS represented.

          790.    DEFENDANTS’ marketing, promotions and advertisements failed to disclose that

   JUUL e-cigarettes were not reasonable alternatives to combustible cigarettes, were extremely

   potent nicotine-delivery mechanisms, contained nicotine levels higher than “approximately

   equivalent to a pack of cigarettes”, and posed significant risks of substantial physical injury

   resulting from the use of the products.

          791.    The labels and packaging of the JUUL Products failed to disclose that the products

   posed significant risks of substantial physical injury resulting from the use of the products. The

   labels and packaging also falsely stated that JUUL Products contained nicotine levels higher than



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   “approximately equivalent to a pack of cigarettes”, and that they were reasonable alternatives to

   combustible cigarettes.

           792.    The omissions were misleading and deceptive standing alone and were particularly

   deceptive in light of JUUL marketing, promotions and advertising its products as reasonable

   alternatives to cigarettes.

           793.    DEFENDANTS’        conduct    was     fraudulent   and   deceptive   because    their

   misrepresentations and omissions had the capacity to, were likely to, and in fact did, deceive

   reasonable consumers including the Plaintiff. Reasonable consumers, including the Plaintiff,

   would have found it material to their purchasing decisions that JUUL’s products: (i) were not a

   reasonable alternative to cigarettes, (ii) were extremely potent nicotine-delivery mechanisms, (iii)

   contained nicotine levels higher than “approximately equivalent to a pack of cigarettes,” (iii) were

   flavored with artificial flavors, and (iv) posed unreasonable risks of substantial bodily injury

   including addiction resulting from the use of the products. Knowledge of these facts would have

   been a substantial factor in Plaintiff’s decisions to purchase and consume JUUL Products.

           794.    Additionally, consumers, including teenagers, are accustomed to seeing food

   products labeled with the term “artificial flavors” when the flavoring is not natural. 21 CFR Section

   101.22, Subpart B--Specific Food Labeling Requirements governs food for human consumption

   and expressly requires that if a product's label makes a prominent representation with respect to a

   primary recognizable flavor, then that flavor is deemed to be a "characterizing flavor" and must be

   declared on the principle display panel (PDP). If the product contains any artificial flavor that

   simulates, resembles, or reinforces the characterizing flavor, the name of the food on the PDP must

   be accompanied by the name of the characterizing flavor with the words "artificial" or "artificially

   flavored."



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          795.    While JUUL pods were not regulated as food, the use of food flavors in the

   marketing and packaging of these products was misleading. Marketing “Crème Brulee” JUUL

   with a picture next to coffee, suggesting it was a sweet dessert-like product (without the calories),

   and without referencing the fact the flavoring contained many artificial flavors and chemicals,

   misleadingly suggested to the consumer that the flavors were indeed natural. Similarly, the

   cucumber product did not contain cucumber and all of the flavorings were replete with artificial

   flavorings and chemicals.

          796.    DEFENDANTS owed Plaintiff a duty to disclose these facts because they were

   known and/or accessible exclusively to DEFENDANTS, who have had exclusive and superior

   knowledge of the facts; because the facts would be materials to reasonable consumers; because

   JUUL’s products pose an unreasonable risk of substantial bodily injury; and because JUUL made

   partial representations concerning the same subject matter as the omitted facts.

          797.    Plaintiff reasonably and justifiably relied on the misrepresentations and/or

   omissions. Reasonable consumers would have been expected to have relied on JUUL’s

   misrepresentations and omissions.

          798.    DEFENDANTS knew or should have known that its misrepresentations and/or

   omissions were false and misleading, and intended for consumers to rely on such

   misrepresentations and omissions.

          799.    DEFENDANTS’ misrepresentations and/or omissions were a substantial factor in

   causing Plaintiff’s harms. Plaintiff was injured as a direct and proximate result of DEFENDANTS’

   fraudulent conduct as described herein.

          800.    Plaintiff demands judgment against DEFENDANTS for compensatory, treble, and

   punitive damages, medical monitoring to diagnose JUUL induced injuries at an earlier date to



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   allow for timely treatment and prevention of exacerbation of injuries, together with interest, costs

   of suit, attorneys' fees, and all such other relief as the Court deems proper.


                                      CAUSE OF ACTION XII
                                   FRAUDULENT CONCEALMENT
                                       Against All Defendants

           801.    Plaintiff incorporates by reference each preceding and succeeding paragraph as

   though set forth fully at length herein.

           802.    At all relevant times, all DEFENDANTS named herein designed, manufactured,

   assembled, inspected, tested (or not), packaged, labeled, marketed, advertised, promoted, supplied,

   distributed, sold and/or otherwise placed JUUL Products into the stream of commerce, and

   therefore owed a duty of reasonable care to avoid causing harm to those that consumed it, such as

   Plaintiff.

           803.    DEFENDANTS had a duty to disclose material facts about JUUL Products to

   Plaintiff.

           804.    DEFENDANTS fraudulently and deceptively marketed JUUL Products to Plaintiff

   as safe, healthful, or not harmful, when DEFENDANTS knew it to be untrue.

           805.    DEFENDANTS fraudulently and deceptively downplayed or minimized any risk

   associated with e-cigarettes generally, including promoting the “Make the Switch” campaign

   which suggests to the average consumer that unlike cigarettes, JUUL is harmless to one’s health.

   DEFENDANTS and others worked together to pitch news stories or other media content designed

   to downplay the risks of e-cigarettes, suggesting that any concern was overblown, or a panic. These

   tactics mimic those used by the tobacco industry to sow seeds of doubt and confusion among the

   public, to initiate new users, to keep customers buying JUUL Products, and to avoid regulation or

   legislative efforts to control sales.


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          806.    DEFENDANTS fraudulently and deceptively concealed that JUUL Products can

   cause physical injuries such as seizures, acute and chronic respiratory injuries, heart attacks,

   strokes and other cardiovascular injuries, addiction, behavioral, cognitive and mental health

   injuries and significant exposure to toxic substances, which may cause or contribute to additional

   disease.

          807.    DEFENDANTS fraudulently and deceptively concealed they had not adequately

   researched or tested JUUL and the E-Liquids to assess its safety before placing it on the market

   and promoting it to young people and older adults.

          808.    DEFENDANTS fraudulently and deceptively concealed JUUL was powerfully

   addictive and that its design inherently demanded dependency.

          809.    DEFENDANTS further failed to disclose to Plaintiff that JUUL is designed to

   create and sustain an addiction to nicotine. DEFENDANTS also manipulated the formulations of

   JUUL devices and JUUL Pods in ways that could and would impact their potency and

   addictiveness, and DEFENDANTS did so without notifying Plaintiff. DEFENDANTS actively

   concealed the nicotine content and nicotine potency of JUUL Products.

          810.    DEFENDANTS fraudulently concealed to users the amount of nicotine consumed

   by using JUUL. As previously explained, DEFENDANTS claim that one JUUL Pod is

   “approximately equivalent to about 1 pack of cigarettes,” but that is false and misleading. The

   amount of nicotine consumed from one JUUL pod is actually equivalent to the amount of nicotine

   consumed through at least two packs of combustible cigarettes.

          811.    DEFENDANTS fraudulently represented that the mango, cool cucumber and crème

   brulee were food derived when instead they were based upon artificial flavors.

          812.    Each of these misrepresentations and omissions were material at the time they were



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   made. Each of the misrepresentations and omissions concerned material facts that were essential

   to the analysis undertaken by Plaintiff as to whether to purchase or consume JUUL Products.

            813.   Plaintiff did not know of the facts that DEFENDANTS concealed.

            814.   DEFENDANTS intended to deceive Plaintiff and the public by concealing these

   facts.

            815.   DEFENDANTS had a duty to accurately provide this information to Plaintiff. In

   concealing this information from Plaintiff, DEFENDANTS breached their duty. DEFENDANTS

   also gained financially from, and as a result of their breach.

            816.   DEFENDANTS had ample opportunities to disclose these facts to Plaintiff, through

   packaging, advertising, retail outlets, on its website, and on social media. DEFENDANTS

   concealed material information at all relevant times, through today. DEFENDANTS have yet to

   disclose the truth about JUUL Products.

            817.   Plaintiff relied to his detriment on DEFENDANTS’ fraudulent omissions. Had

   Plaintiff been adequately informed of the material facts concealed from them regarding the safety

   of JUUL, and not intentionally deceived by DEFENDANTS, they would not have purchased or

   used JUUL Products.

            818.   DEFENDANTS’ fraudulent concealment was a substantial factor in Plaintiff’s

   harms as described herein, including: seizures, acute and chronic respiratory injuries,

   cardiovascular injuries, addiction, and significant exposure to toxic substances, which may cause

   or contribute to additional disease. Plaintiff was injured as a direct and proximate result of

   DEFENDANTS’ fraudulent conduct as described herein.

            819.   Plaintiff demands judgment against DEFENDANTS for compensatory, treble, and

   punitive damages, medical monitoring to diagnose JUUL induced injuries at an earlier date to



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   allow for timely treatment and prevention of exacerbation of injuries, together with interest, costs

   of suit, attorneys' fees, and all such other relief as the Court deems proper.

                                    CAUSE OF ACTION XIII
                                CONSPIRACY TO COMMIT FRAUD
                                     Against All Defendants

          820.    Plaintiff incorporates by reference each preceding and succeeding paragraph as

   though set forth fully at length herein.

          821.    This claim is brought by Plaintiff against the JUUL DEFENDANTS, MONSEES,

   BOWEN, PRITZKER, HUH, VALANI (“CONSPIRACY DEFENDANTS”). For ease of

   reference, Defendants JLI, MONSEES, BOWEN, PRITZKER, HUH, and VALANI are referred

   to below as the “EARLY CONSPIRACY DEFENDANTS.”

          822.    All CONSPIRACY DEFENDANTS entered into an agreement to advance their

   financial interests by injuring Plaintiff. Specifically, the CONSPIRACY DEFENDANTS worked

   in concert to maintain and expand the number of nicotine-addicted e-cigarette users to ensure a

   steady and growing customer base. This included protecting and expanding JLI’s massive, ill-

   gotten, share of the e-cigarette market. For ease of reference, this conspiracy is referred to below

   as the “Nicotine Market Expansion Conspiracy” or “the Conspiracy.”

          823.    The CONSPIRACY DEFENDANTS sought to accomplish this objective by (1)

   designing a product that delivered nicotine in a manner and in doses that were intended to addict

   or exacerbate the nicotine addiction of its users; (2) marketing, advertising, promoting and

   misbranding that potent product to consumers, including the vulnerable youth market; and (3)

   defrauding regulators and the public to advance their interests.

          824.    Plaintiff’s addiction to nicotine was a primary object of the Conspiracy.

   CONSPIRACY DEFENDANTS orchestrated efforts with a unity of purpose to addict this new



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   generation of teenagers and young adults to nicotine by way of unlawful conduct in marketing,

   promoting, manufacturing, designing, and selling JUUL products that substantially contributed to

   the Plaintiff’s injuries as alleged herein.

            825.     DEFENDANTS further conspired with one another by setting out to entice and lure

   new users of tobacco as a wrongful, unlawful and tortious means to make a profit.

            826.     Plaintiff demands the applicable relief set forth in the Prayer for Relief below.


       1)          Description of the Nicotine Market Expansion Conspiracy

            827.     The Nicotine Market Expansion Conspiracy exists separately from the otherwise

   legitimate business operations of THE JUUL DEFENDANTS, or the investment companies with

   which Defendants PRITZKER, HUH, and VALANI are affiliated.

            828.     The EARLY CONSPIRACY DEFENDANTS formed the Nicotine Market

   Expansion Conspiracy by at least 2015, when they prepared to launch the JUUL e-cigarette and

   capture and grow a market of nicotine-addicted users that would serve as customers for life.

            829.     As tobacco companies have long known, profitable growth requires a pipeline of

   “replacement smokers” or e-cigarette users. For that reason and others, ALTRIA joined the

   Nicotine Market Expansion Conspiracy in the Spring of 2017. The EARLY CONSPIRACY

   DEFENDANTS, for their part, eagerly invited ALTRIA into the fold—they needed allies and

   resources to further their Conspiracy, and, despite their public statements to the contrary, sought

   to be a part of the tobacco industry.

            830.     When ALTRIA joined the Nicotine Market Expansion Conspiracy, it shared the

   EARLY CONSPIRACY DEFENDANTS’ common purpose: maintaining and expanding the

   number of nicotine-addicted e-cigarette users in order to ensure a steady and growing customer

   base. Among ALTRIA’S motivations for pursuing this common purpose was access to JLI’s


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   customer base that would serve as ALTRIA’S pipeline of “replacement smokers” or e-cigarette

   users.

            831.   The Nicotine Market Expansion Conspiracy involved a growing membership and

   changed its shape to fit its needs, adding members when necessary and eliminating them when

   they became obsolete. From 2015 through 2017, the Conspiracy consisted of the EARLY

   CONSPIRACY DEFENDANTS and non-defendant Veratad Technologies LLC. In the Spring of

   2017, ALTRIA joined the Nicotine Market Expansion Conspiracy. Non-defendant member

   Veratad would leave the Conspiracy sometime in 2018 when it stopped coordinating with JLI.

   Each EARLY CONSPIRACY DEFENDANT is liable for the predicate acts of the Conspiracy

   committed no later than its formation in 2015, and ALTRIA is liable for the predicate acts of the

   Conspiracy committed no later than when it joined the Conspiracy in Spring 2017.

            832.   As described above, the EARLY CONSPIRACY DEFENDANTS established an

   ongoing relationship through, among other connections, Defendants’ PRIZTKER, HUH, and

   VALANI’S investment in JLI; Defendants’ BOWEN, MONSEES, PRITZKER, HUH, AND

   VALANI’S control of the JLI Board of Directors; the EARLY CONSPIRACY DEFENDANTS’

   assumption of “final say” on all marketing for JLI products, including fraudulent advertising; and

   the EARLY CONSPIRACY DEFENDANTS’ coordination on ensuring broad access to JLI

   products, including underage access, with non-defendant Conspiracy member Veratad. And the

   EARLY CONSPIRACY DEFENDANTS and ALTRIA established an ongoing relationship

   through, among other connections, ALTRIA’s equity investment in JLI, the many informal and

   formal agreements between these two defendants and their coordinated activities in furtherance of

   the common purpose of the Nicotine Market Expansion Conspiracy, and the overlap between JLI

   Executives, leadership, and ALTRIA.



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            833.     The CONSPIRACY DEFENDANTS formed the Nicotine Market Expansion

   Conspiracy to engage in a collaborative scheme to defraud and injure. As described above, the

   Nicotine Market Expansion CONSPIRACY DEFENDANTS shared and acted on a common

   purpose of maintaining and expanding the number of nicotine-addicted e-cigarette users in order

   to ensure a steady and growing customer base, including by maintaining and expanding JLI’s

   massive, and ill-gotten, share of the e-cigarette market.

            834.     The Nicotine Market Expansion Conspiracy has been in existence for almost five

   years and continues to operate to this day.


       2)          Conduct of the Nicotine Market Expansion Conspiracy

            835.     As described above, each CONSPIRACY DEFENDANT participated in the

   operation or management of the Nicotine Market Expansion Conspiracy. Illustrative but non-

   exhaustive examples include the following:


                            i.     EARLY Leadership


            836.     As described in sections IV (A)-(D), Defendants BOWEN and MONSEES were

   the visionaries behind the Conspiracy and would lead it in its EARLY days.


                            ii.    Fraudulent Marketing Scheme


            837.     As described in sections IV (D)-(F), JLI, and Defendants BOWEN, MONSEES,

   PRITZKER, HUH, and VALANI (through their “final say” on all of JLI’s marketing efforts)

   caused false and misleading advertisements that omitted any references to JUUL’s nicotine content

   to be transmitted, including the Vaporized campaign.


                            iii.   Youth Access Scheme



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          838.    As described in section IV (E), Defendant JLI (through its employees) coordinated

   with non-defendant member Veratad on behalf of the other EARLY CONSPIRACY

   DEFENDANTS to expand youth access to JUUL products.

          839.    As reflected in section IV (E), Veratad was a key player in the Nicotine Market

   Expansion Conspiracy. And while each member of the Conspiracy was not involved in every

   scheme (Veratad, for example, did not transmit the advertisements or packaging containing

   misrepresentations regarding JLI’s nicotine content), each worked in furtherance of the same

   common purpose and was aware of the other members’ participation in the Conspiracy. Moreover,

   each scheme was integral to the Conspiracy’s success in maintaining and expanding the number

   of nicotine-addicted e-cigarette users in order to ensure a steady and growing customer base.

   Veratad shared this common purpose, and its motivation for doing so was to maintain a lucrative

   client – one of several clients who relied on Veratad for intentionally ineffective age verification

   services.


                          iv.    Co-opting JLI’s Board of Directors


          840.    As described in section IV (E), Defendants PRITZKER, HUH, and VALANI took

   control of the JLI Board of Directors in October 2015, so they could use the Board as an

   instrumentality to effectuate fraudulent schemes in furtherance of the Nicotine Market Expansion

   Conspiracy ’s common purpose. In doing so, leadership of the Conspiracy transitioned from

   BOWEN and MONSEES to PRITZKER, HUH, and VALANI.


                          v.     Coordinating Activities of JLI and ALTRIA


          841.    By August 2016, Defendants PRITZKER, HUH, and VALANI had ceded

   executive leadership at JLI to a new CEO, GOLDMAN. Thus, when these parties started to

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   coordinate with ALTRIA, it was JLI (through its executives and employees – including

   GOLDMAN and his successors) and ALTRIA (through its executives and employees) that

   primarily directed the affairs of the Conspiracy, although Defendants BOWEN, MONSEES,

   PRITZKER, HUH, and VALANI remained critical to the success of the Conspiracy’s common

   purpose. Without their control of the JLI Board of Directors and prior fraudulent conduct, the close

   coordination between JLI and ALTRIA, and ALTRIA’s investment in JLI, would not have been

   possible.

          842.    As described in sections IV (F)-(I), the EARLY CONSPIRACY DEFENDANTS

   and ALTRIA began to actively coordinate their activities in 2017 and each took actions that would

   further the Conspiracy’s common purpose of maintaining and expanding the number of nicotine-

   addicted e-cigarette users in order to ensure a steady and growing customer base, including by

   maintaining and expanding JLI’s massive, and ill-gotten, share of the e-cigarette market. For

   example:


                  a.      As EARLY as 2017, the EARLY CONSPIRACY DEFENDANTS and
                          ALTRIA shared data and strategy to support their common purpose,
                          through a conduit, Avail Vapor.

                  b.      By 2018, ALTRIA was taking actions to ensure JLI’s products had access
                          to prime shelf space in retail locations.

                  c.      By 2018, ALTRIA was distributing and marketing JLI’s products to its
                          wider base of retailers.

                  d.      In December 2018, ALTRIA decided to cash in on its role in the Nicotine
                          Market Expansion Conspiracy by making a $12.8 billion equity investment
                          in JLI, the largest equity investment in United States history. This
                          investment would give ALTRIA three seats on the JLI Board of Directors,
                          and thus allow it to assert greater control over both JLI and the Nicotine
                          Market Expansion Conspiracy, which used the instrumentalities of JLI to
                          effectuate many of its fraudulent schemes.

                          vi.    Nicotine Content Misrepresentation Scheme


          843.    As described in sections IV (F)-(I), the EARLY CONSPIRACY DEFENDANTS


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   and ALTRIA caused thousands, if not millions, of JUUL pod packages to be distributed to

   consumers with false and misleading information regarding the JUUL pods’ nicotine content. The

   EARLY CONSPIRACY DEFENDANTS also caused the same false and misleading information

   to be distributed via JLI’s website.


                          vii.    Nicotine Content Misrepresentation Scheme


          844.    As described in sections IV (F)-(I), the EARLY CONSPIRACY DEFENDANTS

   and ALTRIA worked in concert to defraud the public and regulators in order to prevent regulation

   that would have impeded their plan to: maintain and expand the number of nicotine-addicted e-

   cigarette users in order to ensure a steady and growing customer base. Specifically, they worked

   to ensure the FDA allowed certain flavors, namely mint, to remain on the market.


                          viii.   Cover-up Scheme


          845.    The CONSPIRACY DEFENDANTS were not only concerned with protecting

   flavors, however. In light of growing public scrutiny of JLI’s role in the youth vaping crisis, these

   defendants continued their scheme to prevent a complete ban on JUUL products.

          846.    As described in sections IV (F)-(I), JLI provided false information on its website

   pages about the addictive potential of its products and denied that JLI marketed to youth, and

   Defendants BOWEN, MONSEES, PRITZKER, HUH, and VALANI provided direct input as to

   the content of the JLI website and had “final say” over JLI’s marketing messaging.

          847.    As described in sections IV (D)-(E), JLI, and Defendants BOWEN, MONSEES,

   PRITZKER, HUH, and VALANI (through their “final say” on all of JLI’s marketing efforts)

   caused deceptive, false and misleading marketing, promotions and advertising to be distributed

   over television, radio and the internet and through other mass media channels in order to give the


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   impression that JLI’s product was a smoking cessation device and that JLI never marketed to

   youth. As described in sections IV (D)-(F), Defendant ALTRIA continued this scheme by

   transmitting the fraudulent “Make the Switch” advertisements in packs of its combustible

   cigarettes.

            848.     As described in sections IV (H)-(I), beginning in October 2018, both ALTRIA and

   JLI were transmitting deceptive, false and misleading communications to the public and the

   government in an attempt to stave off regulation.

            849.     And no later than December 2018, ALTRIA began providing even more services

   to the Nicotine Market Expansion Conspiracy, as described in sections IV (G)-(H).


       3)          Pattern of Fraud in Furtherance of the Conspiracy

            850.     The CONSPIRACY DEFENDANTS advanced the Conspiracy’s objectives

   through common deceptions, fraud, misrepresentations, concealments, and material omissions.

            851.     In devising and executing the objectives of the Nicotine Market Expansion

   Conspiracy, the CONSPIRACY DEFENDANTS devised and knowingly carried out material

   schemes and/or artifices to defraud the public, including Plaintiff, and regulators by (1)

   transmitting marketing, promotional materials and advertisements that fraudulently and

   deceptively omitted any reference to JUUL’s nicotine content (or any meaningful reference, where

   one was made); (2) causing false and misleading statements regarding the nicotine content of

   JUUL pods to be posted on the JLI website; (3) causing thousands, if not millions, of JUUL pod

   packages containing false and misleading statements regarding the nicotine content of JUUL pods

   to be transmitted; (4) representing to consumers, including Plaintiff, and the public-at-large that

   JUUL was created and designed as a smoking cessation device, and by misrepresenting the

   nicotine content and addictive potential of its products; (5) making fraudulent statements to the


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   FDA to convince the FDA to allow certain flavors, namely mint, to remain on the market; and (6)

   making fraudulent statements to the public (including through advertising), the FDA, and Congress

   to stave off a total prohibition on JUUL that was being contemplated in light of JLI’s role in the

   youth vaping epidemic.

          852.     Illustrative and non-exhaustive examples include the following:

     From                To               Date             Description

     Fraudulent Statements Omitting Reference to JUUL’s Nicotine Content
     (see sec. IV(E)(3)-(4)

     All EARLY           Public (via      2015             “Vaporized” Campaign
     CONSPIRACY          television,
     DEFENDANTS          internet, and
                         mail)

     Fraudulent Statements that JUUL is a Cessation Device (see sec. IV(D)(4))

     All EARLY           Public (via      April 25,        “JUUL Labs was founded by
     CONSPIRACY          internet – JLI   2018 (or         former smokers, James and
     DEFENDANTS          Website)         earlier) to      Adam, with the goal of
                                          Present          improving the lives of the
                                                           world’s one billion adult
                                                           smokers by eliminating
                                                           cigarettes. We envision a world
                                                           where fewer adults use
                                                           cigarettes, and where adults
                                                           who smoke cigarettes have the
                                                           tools to reduce or eliminate
                                                           their consumption entirely,
                                                           should they so desire.”

     Kevin Burns         Public (via      November 13, “To paraphrase Commissioner
     (former JLI         internet – JLI   2018         Gottlieb, we want to be the
     CEO)                Website)                      offramp for adult smokers to
                                                       switch from cigarettes, not an
                                                       on-ramp for America’s youth to
                                                       initiate on nicotine.”

     All EARLY           Public (via      September        “JUUL Labs, which exists to
     CONSPIRACY          internet – JLI   19, 2019         help adult smokers switch off of
     DEFENDANTS          Website)                          combustible cigarettes.”


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     Howard Willard    Public (via      December 20,      “We are taking significant
     (ALTRIA CEO)      internet –       2018              action to prepare for a future
                       ALTRIA                             where adult smokers
                       website)                           overwhelmingly choose non-
                                                          combustible products over
                                                          cigarettes by investing $12.8
                                                          billion in JUUL, a world leader
                                                          in switching adult smokers . . . .
                                                          We have long said that
                                                          providing adult smokers with
                                                          superior, satisfying products
                                                          with the potential to reduce
                                                          harm is the best way to achieve
                                                          tobacco harm reduction.”

     Howard Willard    FDA              October 25,       “We believe e-cigarette
                                        2018              products present an important
                                                          opportunity to adult smokers to
                                                          switch from combustible
                                                          cigarettes.”

     Fraudulent Statements Regarding Nicotine Content in JUUL pods
     (see sec. IV(D)(2))

     All EARLY         Public (via      July 2, 2019      “Each 5% JUULpod is roughly
     CONSPIRACY        internet – JLI   (or earlier) to   equivalent to one pack of
     DEFENDANTS        website)         Present           cigarettes in nicotine delivery.”

     All EARLY         Public (via      April 21,         “JUULpod is designed to
     CONSPIRACY        internet – JLI   2017              contain approximately 0.7mL
     DEFENDANTS        website)                           with 5% nicotine by weight at
                                                          time of manufacture which is
                                                          approximately equivalent to 1
                                                          pack of cigarettes or 200 puffs.”

     All               Public           2015 to           JUULpod packages (1)
     CONSPIRACY                         Present           claiming a 5% nicotine
     DEFENDANTS                                           strength; (2) stating that a
                                                          JUULpod is “approximately
                                                          equivalent to about 1 pack of
                                                          cigarettes.”

     Fraudulent Youth Prevention Study (see sec. IV(I)(2))




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     JLI               FDA (via U.S. November 5,       Fraudulent youth prevalence
                       mail or       2018              study transmitted by JLI to the
                       electronic                      FDA.
                       transmission)

     Fraudulent Statements to Prevent Regulation of Mint Flavor (¶¶ x)

     JLI               FDA (via U.S.    October 16,   JLI’s Action Plan that
                       mail or          2018 (FDA)    fraudulently characterizes mint
                       electronic                     as a non-flavored tobacco and
                       transmission);   November 12, menthol product, suggesting
                       Public (via      2018 (Public) that it was a product for adult
                       internet – JLI                 smokers.
                       website)

     Howard Willard    FDA (via U.S. October 25,       Letter from H. Willard to FDA
     (ALTRIA CEO)      mail or       2018              fraudulently representing mint
                       electronic                      as a non-flavored tobacco and
                       transmission                    menthol product, suggesting
                       of letter to                    that it was a product for adult
                       Commissioner                    smokers.
                       Gottlieb)

     Fraudulent Statements to Prevent Ban on JUUL Products (see sec. IV(G)-(I))

     All EARLY         Public (via      January 2019   $10 million “Make the Switch”
     CONSPIRACY        Television)                     advertising campaign for the
     DEFENDANTS                                        purpose of deceiving the public
                                                       and regulators that JLI was only
                                                       targeting adult smokers with its
                                                       advertising and product and that
                                                       JUUL was a cessation product.

     ALTRIA            Public (via      March 2019     “Make the Switch” advertising
                       inserts in                      campaign for the purpose of
                       combustible                     deceiving smokers that JUUL
                       cigarette                       was a cessation product.
                       packs)

     Ashely Gould,     Public (via    December 14,     “It’s a really, really important
     JLI Chief         interview with 2017             issue. We don’t want kids using
     Administrative    CNBC, later                     our products.”
     Officer           posted on
                       internet)




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     JLI            Public (via      March 14,       “We market our products
                    internet -       2018            responsibly, following strict
                    social media)                    guidelines to have material
                                                     directly exclusively toward
                                                     adult smokers and never to
                                                     youth audiences.”

     Kevin Burns    FDA (via U.S.    October 16,   JLI’s Action Plan that
     (then-CEO of   mail or          2018 (FDA)    fraudulently states: “We don’t
     JLI)           electronic                     want anyone who doesn’t
                    transmission);   November 12, smoke, or already use nicotine,
                    Public (via      2018 (Public) to use JUUL products. We
                    internet – JLI                 certainly don’t want youth
                    website)                       using the product. It is bad for
                                                   public health, and it is bad for
                                                   our mission. JUUL Labs and
                                                   FDA share a common goal –
                                                   preventing youth from initiating
                                                   on nicotine. . . . Our intent was
                                                   never to have youth use JUUL
                                                   products.”


     Kevin Burns    Public (via    July 13, 2019     “First of all, I’d tell them that
                    interview with                   I’m sorry that their child’s
                    CNBC – later                     using the product. It’s not
                    posted on                        intended for them. I hope there
                    internet)                        was nothing that we did that
                                                     made it appealing to them. As a
                                                     parent of a 16-year-old, I’m
                                                     sorry for them, and I have
                                                     empathy for them, in terms of
                                                     what the challenges they’re
                                                     going through.”

     All EARLY      Public (via      August 29,      “We have no higher priority
     CONSPIRACY     internet - JLI   2019            than to prevent youth usage of
     DEFENDANTS     website)                         our products which is why we
                                                     have taken aggressive, industry
                                                     leading actions to combat youth
                                                     usage.”

     MONSEES        Public (via      August 27,      MONSEES said selling JUUL
                    statement to     2019            products to youth was
                    New York                         “antithetical to the company’s
                    Times – later                    mission.”


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                         posted on
                         internet)

     JLI                 Public (via     September       “We have never marketed to
                         statement to    24, 2019        youth and we never will.”
                         Los Angeles
                         Times – later
                         posted on
                         internet)

     JLI (via counsel)   FDA (via U.S. June 15, 2018     Letter from JLI's Counsel at
                         mail or                         Sidley Austin to Dr. Matthew
                         electronic                      Holman, FDA, stating: “JUUL
                         transmission                    was not designed for youth, nor
                         to Dr.                          has any marketing or research
                         Matthew                         effort since the product’s
                         Holman)                         inception been targeted to
                                                         youth.” and “With this
                                                         response, the Company hopes
                                                         FDA comes to appreciate why
                                                         the product was developed and
                                                         how JUUL has been marketed
                                                         — to provide a viable
                                                         alternative to cigarettes for
                                                         adult smokers.”

     MONSEES             Congress (via   July 25, 2019   Written Testimony of J.
                         U.S. mail or                    Monsees provided to Congress,
                         electronic                      stating “We never wanted any
                         transmission                    non-nicotine user, and certainly
                         of written                      nobody under the legal age of
                         testimony)                      purchase, to ever use JLI
                                                         products. . . .That is a serious
                                                         problem. Our company has no
                                                         higher priority than combatting
                                                         underage use.”

     Howard Willard      FDA (via U.S. October 25,       “[W]e do not believe we have a
                         mail or       2018              current issue with youth access
                         electronic                      to or use of our pod-based
                         transmission                    products, we do not want to risk
                         of letter to                    contributing to the issue.”
                         Commissioner
                         Gottlieb)




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     Howard Willard      Congress (via     October 14,      “In late 2017 and into EARLY
                         U.S. mail or      2019             2018, we saw that the
                         electronic                         previously flat e-cigarette
                         transmission                       category had begun to grow
                         of letter to                       rapidly. JUUL was responsible
                         Senator                            for much of the category
                         Durbin)                            growth and had quickly
                                                            become a very compelling
                                                            product among adult vapers.
                                                            We decided to pursue an
                                                            economic interest in JUUL,
                                                            believing that an investment
                                                            would significantly improve
                                                            our ability to bring adult
                                                            smokers a leading portfolio of
                                                            non-combustible products and
                                                            strengthen our competitive
                                                            position with regards to
                                                            potentially reduced risk
                                                            products.”


          853.    As described above, the Nicotine Market Expansion Conspiracy had a scheme to

   defraud the public and regulators in order to continue selling nicotine products to youth, and to

   protect their market share, by denying that JLI marketed to youth and claiming that JUUL was

   actually created and designed as a smoking cessation device or mitigated risk product.

          854.    The CONSPIRACY DEFENDANTS had a specific intent to defraud regulators and

   the public. For example, as alleged above, the members of the Nicotine Market Expansion

   Conspiracy made repeated and unequivocal statements that they were not marketing to children

   and that their product was designed for adult smokers. As even the evidence pre-discovery shows,

   this is not true. The authors of these fraudulent statements are high level executives at each of the

   Defendant companies who would reasonably be expected to have knowledge of the company’s

   internal research, public positions, and long-term strategies. Because these high-level executives

   made statements inconsistent with the internal knowledge and practice of the corporations, it


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   would be absurd to believe that these highly ranked-representatives and agents of these

   corporations had no knowledge that their public statements were false and fraudulent. The

   CONSPIRACY DEFENDANTS intended the public and regulators to rely on these false

   transmissions and this scheme was therefore reasonably calculated to deceive persons of ordinary

   prudence and comprehension.

            855.     The public and government regulators relied on the Nicotine Market Expansion

   Conspiracy’s fraudulent misstatements. For example, the regulators, including the FDA, relied on

   the Nicotine Market Expansion Conspiracy’s statements that mint was not a popular flavor in

   allowing mint JUULpods to remain on the market and relied on the Nicotine Market Expansion

   Conspiracy’s statements that it did not market to youth in allowing the CONSPIRACY

   DEFENDANTS to continue marketing and selling JUUL. Congress likewise relied on the

   Conspiracy’s statements in not bringing legislation to recall or ban e-cigarettes, despite the calls

   of members of both parties to do just that. And the public relied on statements that were transmitted

   by the CONSPIRACY DEFENDANTS regarding the nicotine content in JUULpods in deciding

   to purchase JUUL products.


       4)          Harm and Injuries to Plaintiff.

            856.     Plaintiff was injured—as set forth herein—by the Conspiracy and such injury

   would not have occurred but for the predicate acts of the CONSPIRACY DEFENDANTS. The

   combined effect of the CONSPIRACY DEFENDANTS’ fraudulent acts were: (1) inducing

   Plaintiff to purchase JUUL products that they would not have purchased had they known that

   JUUL products were not cessation products or if they had known of the addictive and toxic nicotine

   in said products; (2) lulling the FDA into allowing the continued sale of JLI’s mint pods, which

   allowed Plaintiff to purchase mint pods they would not have purchased; and (3) lulling Congress


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   and the FDA into allowing JUUL products to remain on the market, which allowed Plaintiff to

   purchase JUUL products they would not have purchased absent the CONSPIRACY

   DEFENDANTS’ schemes to preserve JLI’s ill-gotten market share.

           857.   DEFENDANTS’ conduct violated numerous states’ laws and constituted a

   conspiracy to harm Plaintiff. Plaintiff brings a cause of action for conspiracy to commit fraud.

           858.   DEFENDANTS’ conspiracy to commit fraud was a substantial factor in causing

   Plaintiff’s harms. Plaintiff was injured, as described herein, as a direct and proximate result of

   DEFENDANTS’ unlawful conspiracy as described herein.

           859.   Plaintiff demands judgment against Defendants for compensatory, treble, and

   punitive damages, together with interest, costs of suit, attorneys' fees, and all such other relief as

   the Court deems proper.

                                       CAUSE OF ACTION XIV
                                       UNJUST ENRICHMENT
                                        Against All Defendants

           860.   Plaintiff incorporates by reference each preceding and succeeding paragraph as

   though set forth fully at length herein.

           861.   At all relevant times, all DEFENDANTS named herein designed, manufactured,

   assembled, inspected, tested (or not), packaged, labeled, marketed, advertised, promoted, supplied,

   distributed, sold and/or otherwise placed JUUL Products into the stream of commerce, and

   therefore owed a duty of reasonable care to avoid causing harm to those that consumed it, such as

   Plaintiff.

           862.   DEFENDANTS created and implemented a plan to create a market for e-cigarettes

   and substantially increase sales of JUUL through a pervasive pattern of false and misleading

   statements and omissions. DEFENDANTS’ plan was intended to portray JUUL Products as cool



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   and safe alternatives to combustible cigarettes, with a particular emphasis on appealing to minors,

   while misrepresenting or omitting key facts concerns JUUL nicotine content, addictiveness, and

   safety.

             863.   DEFENDANTS were unjustly enriched as a result of their wrongful conduct,

   including through the false and misleading marketing, promotions and advertisements that

   included the following non-exhaustive list of omissions regarding: (i) whether JUUL Products are

   reasonable alternatives to cigarettes, (ii) were extremely potent nicotine-delivery mechanisms, (iii)

   contained nicotine levels higher than “approximately equivalent to a pack of cigarettes”, and (iv)

   posed unreasonable risks of substantial bodily injury resulting from the use of the products.

   DEFENDANTS were also unjustly enriched through their scheme of marketing, distributing and

   selling their products to minors in violation of 21 C.F.R. § 1140.14.

             864.   DEFENDANTS requested and received a measurable benefit at the expense of

   Plaintiff in the form of payment for JUUL Products.

             865.   DEFENDANTS appreciated, recognized, and chose to accept the monetary benefits

   Plaintiff conferred onto DEFENDANTS at the Plaintiff’s detriment. These benefits were the

   expected result of DEFENDANTS acting in their pecuniary interests at the expense of its

   customers.

             866.   There is no justification for DEFENDANTS’ enrichment. It would be inequitable,

   unconscionable, and unjust for DEFENDANTS to be permitted to retain these benefits because

   the benefits were procured as a result of their wrongful conduct.

             867.   DEFENDANTS wrongfully obfuscated the harm caused be their conduct. Thus,

   Plaintiff, who mistakenly enriched DEFENDANTS by relying on DEFENDANTS’ fraudulent

   representations, could not and did not know the effect that using JUUL Products would have on



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   Plaintiff’s health.

           868.    Plaintiff is entitled to restitution of the benefits DEFENDANTS unjustly retained

   and/or any amounts necessary to return Plaintiff to the position they occupied prior to dealing with

   DEFENDANTS. Due to the sprawling, decades-long tobacco litigations and other notice they have

   received as a result of lawsuits filed against them, DEFENDANTS are reasonably notified that

   Plaintiff would expect compensation from DEFENDANTS’ unjust enrichment stemming from

   their wrongful actions.

           869.    Plaintiff demands judgment against DEFENDANTS for compensatory, treble, and

   punitive damages, medical monitoring to diagnose JUUL induced injuries at an earlier date to

   allow for timely treatment and prevention of exacerbation of injuries, together with interest, costs

   of suit, attorneys' fees, and all such other relief as the Court deems proper.



                                  CAUSE OF ACTION XV
                          VIOLATION OF FLORIDA’S DECEPTIVE AND
                          UNFAIR TRADE PRACTICES ACT (FDUTPA)
                                  Fla. Stat. § 501.202, et seq.
                                   Against All Defendants

           870.    Plaintiff incorporates by reference each preceding and succeeding paragraph as

   though set forth fully at length herein.

           871.    This cause of action is brought under the laws of the State of Florida, including, but

   not limited to, Fla. Stat. § 501.202, et seq.

           872.    At all relevant times, all DEFENDANTS named herein designed, manufactured,

   assembled, inspected, tested (or not), packaged, labeled, marketed, advertised, promoted, supplied,

   distributed, sold and/or otherwise placed JUUL Products into the stream of commerce, and

   therefore owed a duty of reasonable care to avoid causing harm to those that consumed it, such as

   Plaintiff.

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           873.   DEFENDANTS are on notice that such claims may be asserted by Plaintiff.

           874.   Plaintiff purchased and/or used a JUUL PRODUCTS and/or JUUL PODS and

   suffered injuries as a result of DEFENDANTS’ actions in violation of these consumer protection

   laws.

           875.   Had DEFENDANTS not engaged in the deceptive conduct described herein,

   Plaintiff would not have purchased or used a JUUL PRODUCTS and/or JUUL PODS resulting in

   the monetary and physical injuries as alleged herein.

           876.   Fraudulent, unfair, and/or deceptive practices that violate consumer protection laws

   include but are not limited to the following:


                  a.      representing that goods or services have approval, characteristics, uses, or
                          benefits that they do not have;

                  b.      advertising goods or service with the intent not to sell them as advertised;
                          and

                  c.      engaging in fraudulent or deceptive conduct that creates a likelihood of
                          confusion.


           877.   Plaintiff was injured by DEFENDANTS’ unlawful conduct, which was intended to

   addict a new generation to nicotine, through a pervasive pattern of false and misleading statements

   and omissions, by targeting minors and portraying JUUL Products as cool and safe alternatives to

   combustible cigarettes while misrepresenting or omitting concerns about their nicotine content,

   addictiveness, and safety.

           878.   DEFENDANTS have a statutory duty to refrain from fraudulent, unfair, and

   deceptive acts or trade practices in the design, development, manufacture, promotion, and sale of

   their products. DEFENDANTS’            deceptive, unconscionable, unfair and/or fraudulent

   representations and material omissions to Plaintiff constituted consumer fraud and/or unfair and

   deceptive acts and trade practices in violation of consumer protection statutes, including, but not

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   limited to, Fla. Stat. § 501.202, et seq.

           879.    Under these and other consumer protection statutes, DEFENDANTS are the

   suppliers, distributors, manufacturers, advertisers, marketers, promoters and sellers of JUUL

   Products, who are subject to liability under such legislation from fraudulent, unfair, deceptive, and

   unconscionable consumer sales practices. The actions and omissions of DEFENDANTS are

   uncured or incurable and DEFENDANTS were put on notice more than 30 days before this filing

   and failed to take any action to cure their actions or omissions.

           880.    Plaintiff relied to his detriment on DEFENDANTS’ misrepresentations and

   omissions in deciding to purchase and use JUUL Products.

           881.    By reason of the fraudulent and unlawful acts engaged in by DEFENDANTS, and

   as a direct and proximate result thereof, Plaintiff sustained economic losses and other damages and

   are entitled to statutory and compensatory damages in an amount to be proven at trial.

           882.    Plaintiff demands judgment against DEFENDANTS for compensatory, treble, and

   punitive damages, medical monitoring to diagnose JUUL induced injuries at an earlier date to

   allow for timely treatment and prevention of exacerbation of injuries, together with interest, costs

   of suit, attorneys' fees, and all such other relief as the Court deems proper.


                                    CAUSE OF ACTION XVI
                                BREACH OF EXPRESS WARRANTY
                                     Against All Defendants

           883.    Plaintiff incorporates by reference each preceding and succeeding paragraph as

   though set forth fully at length herein.

           884.    At all relevant times, all DEFENDANTS named herein designed, manufactured,

   assembled, inspected, tested (or not), packaged, labeled, marketed, advertised, promoted, supplied,

   distributed, sold and/or otherwise placed JUUL Products into the stream of commerce, and


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   therefore owed a duty of reasonable care to avoid causing harm to those that consumed it, such as

   Plaintiff.

           885.   DEFENDANTS expressly warranted through public statements, press releases

   advertisements, marketing materials and descriptions that JUUL Pods and JUUL Products were

   safe for their intended use and that they were a safer alternative to traditional combustible

   cigarettes.

           886.   DEFENDANTS expressly warranted to Plaintiff through written statements,

   descriptions, and affirmations of fact on its website, print advertising, marketing materials, point-

   of-sale marketing and advertising, and its packaging materials that "JUUL pod contains ~.7 m1

   with 5% nicotine by weight" and is "approximately equivalent to about 1 pack of cigarettes."

           887.   DEFENDANTS expressly warranted to Plaintiff through written statements,

   descriptions, and affirmations of fact on its website, print advertising, marketing materials, point-

   of-sale marketing and advertising and its packaging materials that "JUUL pod contains ~.7 m1

   with 3% nicotine by weight."

           888.   DEFENDANTS also expressly warranted that JUUL Pods are "5% Strength" as

   stated on the front of JUUL's product packaging and that one JUUL pod is equivalent to "1 pack

   of cigarette or 200 puffs" as stated on JUUL's website and marketing materials including point-of-

   sale marketing and advertising.

           889.   DEFENDANTS expressly warranted that JUUL use causes less, or at least no more,

   nicotine to enter the bloodstream than a cigarette and that one JUUL pod is equivalent to "1 pack

   of cigarette or 200 puffs" as stated on JUUL's website and marketing materials, including , point-

   of-sale marketing and advertising.

           890.   These affirmations of fact became the basis of the bargain between DEFENDANTS



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   and Plaintiff, thereby creating express warranties that JUUL Products would conform to JUUL's

   affirmations of fact, representations, promises, and descriptions.

          891.    As described herein, JUUL Pods actually contain more nicotine than as advertised,

   and JUUL delivers more nicotine per puff than a combustible cigarette and JUUL Pods contain

   significantly more nicotine than one pack of cigarettes.

          892.    These express communications contained misrepresentations and failed to warn of

   the serious and known risks of JUUL Products as alleged herein.

          893.    When DEFENDANTS made these express warranties, they knew the intended

   purposes of the JUUL Products and warranted the product to be, in all respects, safe and proper

   for such purposes.

          894.    DEFENDANTS authored the documents and/or made the statements upon which

   these warranty claims were based and, in doing so, defined the terms of those warranties. The

   JUUL Products sold by DEFENDANTS did not conform to DEFENDANTS’ promises,

   descriptions or affirmations and were not adequately packaged, labeled, promoted and/or fit for

   the ordinary purposes for which they were intended.

          895.    All of the aforementioned written materials are known to DEFENDANTS and in

   their possession, and it is Plaintiff’s belief that these materials shall be produced by

   DEFENDANTS and made part of the record once discovery is completed.

          896.    DEFENDANTS’ breach of these express warranties were a substantial factor in

   causing Plaintiff’s harms.

          897.    As a direct and proximate result of DEFENDANTS’ breach of these warranties,

   Plaintiff suffered serious economic and physical injuries and/or sequelae thereto as alleged herein.

          898.    Plaintiff demands judgment against DEFENDANTS for compensatory, treble, and



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   punitive damages, medical monitoring to diagnose JUUL induced injuries at an earlier date to

   allow for timely treatment and prevention of exacerbation of injuries, together with interest, costs

   of suit, attorneys' fees, and all such other relief as the Court deems proper.


                               CAUSE OF ACTION XVII
                BREACH OF AN IMPLIED WARRANTY OF MERCHANTABILITY
                                 Against All Defendants

           899.   Plaintiff incorporates by reference each preceding and succeeding paragraph as

   though set forth fully at length herein.

           900.   At all relevant times, the DEFENDANTS named herein designed, manufactured,

   assembled, inspected, tested (or not), packaged, labeled, marketed, advertised, promoted, supplied,

   distributed, sold and/or otherwise placed JUUL Products into the stream of commerce, and

   therefore owed a duty of reasonable care to avoid causing harm to those that consumed it, such as

   Plaintiff.

           901.   The JUUL DEFENDANTS and MANAGEMENT DEFENDANTS at all times

   were merchants with respect to JUUL Products sold to Plaintiff and were in the business of sesuch

   products.

           902.   Each JUUL Product sold comes with an implied warranty that it will be

   merchantable and fit for the ordinary purpose for which it would be used.

           903.   The ordinary intended purposes of JUUL’s products—and the purpose for which

   they are marketed, promoted, and sold—is to serve as a safe alternative to cigarettes or a smoking

   cessation device. For example, the “Make the Switch” campaign reinforces the impression that

   JUUL is linked to cessation and quitting and that JUUL is less harmful to one’s health.

           904.   JUUL’s products are not fit for that use—or any other use—because they are an

   unreasonably potent nicotine-delivery mechanism, contain nicotine levels higher than


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   “approximately equivalent to a pack of cigarettes” in contrast to their warranties, and pose

   significant risks of substantial physical injury resulting from the use of the products. When used

   as intended or reasonably foreseeable, JUUL Products worsen or aggravate users’ underlying

   nicotine addiction. Furthermore, by worsening users' addiction, JUUL Products have served as a

   gateway to increased cigarette use.

          905.    Due to these and other features, JUUL’s products are not fit for their ordinary,

   intended use as either cigarette replacement devices or recreation smoking devices and JUUL

   Products are in fact defective and fail to conform to JUUL's implied warranties.

          906.    JUUL DEFENDANTS’ and MANAGEMENT DEFENDANTS’ breach of their

   implied warranties violated numerous statutes, including but not limited to, Ind. Code § 26-1-2-

   314.

          907.    The JUUL DEFENDANTS and MANAGEMENT DEFENDANTS have breached

   JUUL’s implied warranty of merchantability because JUUL Products were not in merchantable

   condition when sold, were defective when sold, and do not possess even the most basic degree of

   fitness for ordinary use.

          908.    Despite having received notice of these defects, the JUUL DEFENDANTS and

   MANAGEMENT DEFENDANTS continue to misrepresent the nature of its products and breach

   its implied warranties.

          909.    Plaintiff had sufficient direct dealings with the JUUL DEFENDANTS and/or

   MANAGEMENT DEFENDANTS via its website to establish privity of contract between JUUL.

          910.    Further, Plaintiff was a third-party beneficiary of JUUL’s agreements with its

   distributors, dealers, and sellers for the distribution, dealing, and sale of JUUL Products to

   consumers. Specifically, Plaintiff is the intended beneficiary of JUUL’s implied warranties.



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   JUUL’s products are manufactured with the express purpose an intent of being sold to consumers.

             911.     Plaintiff would not have used or purchased JUUL Products, or would not have

   purchased the products on the same terms, had he known the facts these Defendants failed to

   disclose.

             912.     DEFENDANTS’ breach of these warranties were a substantial factor in causing

   Plaintiff’s harms.

             913.     Plaintiff was injured as a direct and proximate result of DEFENDANTS’ breach of

   implied warranties of merchantability. Plaintiff has been harmed by DEFENDANTS’ failure to

   deliver merchantable products in the form of higher-than-perceived nicotine exposure, addiction,

   and other negative health consequences.

             914.     Plaintiff demands judgment against DEFENDANTS for compensatory, treble, and

   punitive damages, medical monitoring to diagnose JUUL induced injuries at an earlier date to

   allow for timely treatment and prevention of exacerbation of injuries, together with interest, costs

   of suit, attorneys' fees, and all such other relief as the Court deems proper.

   VI.       TIMELINES AND TOLLING OF STATUTES OF LIMITATIONS


             915.     Through the exercise of reasonable diligence, Plaintiff did not and could not have

   discovered that JUUL Products caused his injuries and/or sequelae thereto because, at the time of

   these injuries and/or sequelae thereto, the cause was unknown to Plaintiff.

             916.     Plaintiff did not suspect and had no reason to suspect JUUL Products caused his

   injuries and/or sequelae thereto until less than the applicable limitations period prior to the filing

   of this action.

             917.     In addition, DEFENDANTS’ fraudulent concealment has tolled the running of any

   statute     of    limitations.   Through   their   affirmative   misrepresentations   and   omissions,

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   DEFENDANTS actively concealed from Plaintiff the risks associated with the defects of JUUL

   Products and that these products caused their injuries and/or sequelae thereto. Through their

   ongoing affirmative misrepresentations and omissions, DEFENDANTS committed continual

   tortious and fraudulent acts.

          918.    As a result of DEFENDANTS’ fraudulent concealment, Plaintiff was unaware and

   could not have reasonably known or learned through reasonable diligence that they had been

   exposed to the defects and risks alleged herein and that those defects and risks were the direct and

   proximate result of DEFENDANTS’ acts and omissions.

   VII.   PRAYER FOR RELIEF


          919.    Plaintiff demands judgment against DEFENDANTS to the full extent of the law,

   including but not limited to:

          1.      judgment for Plaintiff and against DEFENDANTS;

          2.      damages to compensate Plaintiff for injuries sustained as a result of the use of JUUL

                  including but not limited to physical pain and suffering, mental anguish, loss of

                  enjoyment of life, emotional distress, expenses for hospitalizations and medical

                  treatments, other economic harm that includes but is not limited to lost earnings

                  and loss of earning capacity;

          5.      exemplary, treble, and/or punitive damages in an amount in excess of the

                  jurisdictional limits;

          6.      attorneys’ fees;

          7.      experts’ fees;

          8.      costs of litigation;

          9.      pre-judgment and post-judgment interest at the lawful rate;

          10.     a trial by jury on all issues of the case;


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         11.    medical monitoring costs or programs; and,

         12.    any other relief as this court may deem equitable and just, or that may be available.


   VIII. JURY TRIAL DEMAND

         920.   Plaintiff demands trial by jury.



   Dated: November 9, 2020                     Respectfully Submitted,


                                               /s/Christopher G. Paulos
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